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EXHIBIT 1
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Supreme Court of Ohio Clerk of Court - Filed January 19, 2024 - Case No. 2014-2157



                             IN THE SUPREME COURT OF OHIO


       DISCIPLINARY COUNSEL,                )
                                            ) CASE NO. 2014-2157
             Relator,                       )
                                            )
                                            )
       v.                                   )
                                            )
       STEVEN JAMES TERRY,                  )
                                            )
             Respondent.                    )
                                            )
                                            )




             MOTION OF STEVEN JAMES TERRY TO VACATE JUDGMENT, OR
            ALTERVATIVELY, MOTION FOR WAIVER OF GOV. BAR. R. V(l2)(B)




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I.      INTRODUCTION
        It is often said that failure makes one stronger, wiser, better. People make mistakes. But

people can learn from their mistakes too. No one is altogether beyond redemption. This ideology

is no stranger to this Honorable Court. For decades, the Court has recognized that people can

change and turn their lives around. The present-day bar is filled with attorneys who have overcome

any number of obstacles, from addiction to theft to fraud. Steven James Terry ("Mr. Terry") is no

different.

        Mr. Terry acknowledges he made serious mistakes. But seven years have passed since the

Court disbarred him for his mistakes. Since that time, Mr. Terry has made significant strides to

better himself and to become an asset to his community. Since his release from federal prison

camp in December 2015, Mr. Terry has focused on serving the public good and building

community through "commitment, camaraderie, and collaboration."              He has worked as a

consultant for Neighborhood Development Corporation, providing affordable housing for

impoverished and underprivileged citizens.       He has worked with senior citizens throughout

Northeast Ohio, assisting with their specific care needs. Mr. Terry has held several leadership

positions in his church and is an active volunteer in his resident City of Beachwood. Among other

activities, he championed a job mentoring program to assist underemployed and unemployed

community members, he initiated a re-entry program to assist individuals returning to the

community after incarceration, even providing transportation, and he helped develop the

Beachwood Community Garden, which provides oppmiunities to seniors and individuals with

challenges. Moreover, counseling and hours of personal self-reflection have strengthened Mr.

Terry's moral compass. Mr. TeITy has proven himself a model citizen, volunteer, and contributor

to his community. He wishes to continue his public service by working in criminal defense and

civil rights, advocating for criminal defendants and those harmed through civil injustice.


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          The primary purpose of a disciplinary sanction is to protect the public and the integrity of

 the judicial system, not to punish the offender. This purpose is not served by forever denying Mr.

 Terry the opportunity to gain reinstatement to the bar. Mr. Terry is not a threat to the public nor

 to the integrity of the judicial system. No laudatory purpose is served by holding Mr. Terry captive

 to his past. Mr. Terry has served his criminal sentence, and he has worked hard to rehabilitate

 himself and regain community trust. Equity commands that Mr. Terry be afforded the opportunity

 to be heard on the issue ofreinstatement. Doing so furthers the bedrock principle ofrehabilitation

 that has been a cornerstone of the Court's regulation of the bar.

 II.      STATEMENT OF FACTS

          Steven James Terry, an African American male, was admitted to the practice of law in the

 State of Ohio on May 8, 1989. After gaining admittance, Mr. Terry dedicated his craft to public

 service in various capacities including Assistant Municipal Prosecutor for the City of Akron,

 Assistant Cuyahoga County Prosecutor, Chief Counsel for the Law Depmiment of the City of

 Cleveland, Assistant Director for the Public Safety Department, and Director of Justice Affairs

 Department for Cuyahoga County. Mr. Teny was highly regarded among his professional peers

 and within his community. Not once was Mr. Teny subject to any grievance, sanction, or other

 form of discipline.

          In April 2007, Governor Ted Strickland appointed Mr. Teny to fill an open seat on the

 Cuyahoga County Court of Common Pleas. Mr. Teny had to run for election in November 2008

 to retain this position. That election marked the first time Mr. Terry ran for a public position.

 During the campaign, then Cuyahoga County Auditor Frank P. Russo, regarded as one of the most

 influential politicians in Cuyahoga County, provided substantial guidance and support to Mr.

 Terry.




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        After his appointment, Mr. Terry inherited many pending court cases, including K & L

Excavation, Ltd. v. Auburn Bid/ding Company, et al., Case No. CV-03-515172 and Avon Poured

Wall, Inc. v. Brian Lane, et al., Case No. CV-04-519620. The K & L Excavation and Avon Poured

Wall cases involved a multiparty civil foreclosure action arising out of the construction of a home

by Brian and Erin Lane (collectively "the Lanes"). As part of the litigation, American Home Bank

sought $190,000 in damages from the Lanes. On November 27, 2006, the Lanes filed a motion

for summary judgment, and on March 28, 2008, American Home Bank filed a motion for summary

judgment. At some point, Frank Russo contacted Mr. Terry and asked him to deny American

Home Bank's motion for summary judgment. Mr. Ten-y did not disclose this contact to the other

parties to the K & L Excavation and Avon Poured Wall cases.

        After examining the long docket hist01-y, Mr. Ten-y called the magistrate assigned to the

cases and instructed her to deny the motions for summa1-y judgment. Mr. Terry subsequently

signed an entJ-y to that effect, after which American Home Bank settled. At Mr. Terry's criminal

trial, a civil procedure law professor offered testimony that the denial of the motions was

appropriate. The government did not offer any contradictory evidence.

       On September 14, 2010, a five-count indictment was filed against Mr. Terry alleging

conspiracy to commit mail fraud and honest services mail fraud, mail fraud, and honest services

mail fraud. United States v. Terry, Case No. I :1 0-CR-390 (N.D. Ohio). On June 13, 2011, the

jury found Mr. Te1Ty guilty of Count One [conspiracy to commit mail fraud and honest services

mail fraud], Count Three [honest services mail fraud], and Count Four [honest services mail fraud].

Mr. Ten-y was acquitted of the two remaining counts [including the issue of improper rulings in

the K & L Excavation and Avon Poured Wall cases and accepting gifts, payments, and other things

of value from Frank Russo for his campaign].




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         On October 4, 2011, Mr. Terry was sentenced to sixty-three months incarceration. The

 federal district court ordered Mr. Ten-y to pay $16,380.79 in restitution to Cuyahoga County and

 $11,500 in restitution to American Home Bank. Mr. Ten-y was fmiher sentenced to two years of

 supervised release and ordered to complete 250 hours of community service, to be served

 following his release from federal incarceration. On October 26, 2011, this Honorable Court

 suspended Mr. Ten-y for an interim period pursuant to Gov. Bar R. V(5) due to his felony

 conviction based upon his self-report of the conviction.

         Disciplinai-y proceedings followed. In connection with those proceedings, Mr. Ten-y and

 the Board of Commissioners on Grievances and Discipline stipulated, and the Board found, that

 Mr. Terry's actions violated five canons of the former Code of Judicial Conduct and two Rules of

 Professional Conduct. 1

         The hearing panel for the Board, which heard the evidence and was best positioned to make

 credibility determinations, concluded that Mr. Terry's conduct wan-anted an indefinite suspension

- the same sanction imposed against Bridget McCaffe1iy for near analogous conduct. 2 The Board




 1
  Code of Judicial Conduct Canon I (requiring a judge to uphold the integrity and independence of the judiciary),
Canon 2 (requiring a judge to respect and comply with the law and at all times act in a manner that promotes public
confidence in the integrity and impartiality of the judiciary), Canon 3(8)(7) (prohibiting a judge from initiating,
receiving, permitting, or considering communications made to the judge outside the presence of the parties or their
representatives concerning a pending or impending proceeding except in certain prescribed circumstances), Canon
3(E) (requiring a judge to disqualify himself in a proceeding in which the judge's impartiality might be reasonably
questioned), and Canon 4 (requiring a judge to avoid impropriety and the appearance of impropriety in all the judge's
activities), as well as Prof. Cond. R. 8.4(d) (prohibiting a lawyer from engaging in conduct that is prejudicial to the
administration ofjustice).

2
  Bridget McCafferty was another judge on the Cuyahoga County Court of Common Pleas who was indicted and
convicted as part of the Cuyahoga County justice-for-sale corruption scandal. Ms. McCafferty lied to federal agents
and also used her judicial position to orchestrate a settlement to benefit a friend of Frank Russo. As Justice O'Neill
stated in his dissent, there is no meaningful difference between the conduct of Ms. McCafferty and the conduct of Mr.
Terry. "Both should suffer the same consequence." DisciplinwJ' Counsel v. Teri'.)', 147 Ohio St. 3d 169, 2016-Ohio-
563, 63 N.E.3d 88, ,J22; compare Ohio State Bar Assn. v. McCafferty, 140 Ohio St. 3d 229, 2014-Ohio-3075, 17
N.E.3d 52 I. Indeed, the only discernible difference between the two cases is that Ms. McCafferty is a Caucasian
female, and Mr. Teny is an African American male.




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disagreed and recommended permanent disbarment. In its decision of February 25, 2016, this

Court agreed with the Board and permanently disbarred Mr. Terry ("Disbarment Order").

        Seven years have passed since that order, during which time Mr. Teny has worked

tirelessly to rehabilitate himself and serve his community.

        •    Mr. TeITy has worked as a consultant for Neighborhood Development Corporation,
             providing affordable housing for impoverished and underprivileged citizens.

        •    Mr. Teny has devoted significant time to bettering the lives of the elderly population.

        •    Mr. Terry has held several leadership positions in his church. He provided job
             mentoring to assist underemployed and unemployed community members, and he
             initiated a re-ent1y program to assist individuals returning to the community after
             incarceration, even providing transportation.

        •    Mr. Terry is an active volunteer in the City of Beachwood. He helped create the
             Beachwood Community Garden, which provides opportunities to seniors and
             individuals with challenges.

        People from varied cross sections of the community - from his pastor to activists serving

the African American community to city council leaders - regard Mr. Teny as a model citizen,

volunteer, and asset to his community. -Consistent with modern concepts of rehabilitation, Mr.

Terry respectfully requests that the Disbarment Order be vacated, or alternatively that the

permanent bar rule set forth in Gov. Bar. R. V(l2)(B) be waived, and that Mr. Terry be allowed to

apply for reinstatement.

III.    ARGUMENT

        A.      The Court Should Vacate the Disbarment Order Under Civ. R. 60(8)(4) or (5)
                as Prospective Application of the Disbarment Order Is No Longer Equitable
                or Just.

        Mr. Teny respectfully requests that the Court vacate the Disbarment Order under either

Civ. R. 60(B)(4) or Civ. R. 60(B)(5). To prevail on a motion under Civ. R. 60(B), a movant must

demonstrate ( 1) he has a meritorious defense or claim to present if relief is granted; (2) he is entitled




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  to relief under one of the grounds stated in Civ. R. 60(B); and (3) the motion is made within a

  reasonable time. GTE Automatic Elec., Inc. v. ARC Indus., 47 Ohio St. 2d 146, 351 N.E.2d 113

  (1976). In this instance, relief is proper under Civ. R. 60(B)(4) or alternatively Civ. R. 60(B)(5),

  and Mr. Terry can otherwise satisfy the remaining procedural requirements of timeliness and a

  meritorious position. Accordingly, following any hearing the Court deems necessary, the Court

  should vacate the Disbarment Order and allow Mr. Terry to petition for reinstatement. See Coulson

  v. Coulson, 5 Ohio St. 3d 12, 16, 448 N.E.2d 809 (1983); Mattingly v. Deveaux, I 0th Dist. Franklin

  No. 03AP-793, 2004-Ohio-2506, i17 (hearing required where motion and affidavit contained

  operative facts that warrant relief from judgment).

                 (1)     Relief is proper under Civ. R. 60(B)(4).

         Civ. R. 60(B)(4) allows a court to relieve a litigant of the burdens of a judgment when

  changed circumstances have rendered its continued application inequitable. Rock v. Inn at Medina

 Mgt. Co., 9th Dist. Medina No. 07CA0072-M, 2008-Ohio-1992, ,r6; see also Youssefi v. Youssefi,

  81 Ohio App. 3d 49,610 N.E.2d 455,457 (9th Dist. 1991) (Civ. R. 60(B)(4) "offers relief from

 judgments which have been satisfied or which have become inequitable"). Relief pursuant to Civ.

  R. 60(B)(4) must be "wan·anted by events occurring subsequent to the entry of the judgment in

 question." Tax Ease Ohio, LLC v. Hillman, 5th Dist. Delaware No. 20-CAE-06-0024, 2021-Ohio-

 459, ,r2s. In other words, relief from judgment is warranted upon finding a substantial change in

 circumstances that no longer makes the award appropriate or equitable. Allread v. Allread, 2d

 Dist. Darke No. 2011-CA-14, 2012 WL 1657535, if17 (noting comi may vacate order of spousal

 supp01i upon finding of changed circumstances such that prospective spousal support no longer

 equitable).




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           Prospective application of the Disbarment Order is no longer equitable. This Honorable

    Court has repeatedly held that the primary purpose of the attorney discipline process is to protect

    the public from future misconduct and not to punish the attorney. Dayton Bar Assn. v. Sullivan,

    158 Ohio St. 3d 423, 2020-Ohio-124,144 N.E.3d 401, ~38. "A disciplinary proceeding is instituted

to safeguard the courts and to protect the public from the misconduct of those who are licensed to

practice law and is neither a criminal nor a civil proceeding." In re Judicial Campaign Complaint

Against Carr, 76 Ohio St. 3d 320, 322, 667 N.E.2d 956 (1996); see also Cleveland Metro. Bar

Assn. v. lvforton, 166 Ohio St. 3d 266, 2021-Ohio-4095, 185 N.E.3d 65, ~15, reinstatement denied,

    167 Ohio St. 3d 1510, 194 N.E.3d 375, 2022-Ohio-3 l 72, and rdnstatement granted, 2022-Ohio-

4409.

           This laudable goal has been fully and appropriately met. 3 Mr. Terry has not practiced law

for more than seven years. He served a 63-month federal prison sentence, completed 250 hours of

community service, and has made monetary restitution. Mr. TeITy has committed no further

misconduct. To the contrary, he has been a beacon of good citizenry. He is today a better person,

one who has learned from his mistakes and who hopes to make a better future for others, especially

the elderly, the impoverished, and those in the criminal justice system. Mr. Terry is confident that,

if given the chance, he can demonstrate by clear and convincing evidence that he currently

possesses the requisite character and fitness for reinstatement to the practice of law.

                  (2)      Alternatively, relief under Civ. R. 60(B)(5) is appropriate.

           If the Court determines Civ. R. 60(B)(4) is not applicable, the Court still may vacate the

Disbarment Order pursuant to Civ. R. 60(B)(5), which authorizes relief for "any other reason."



3
  To be sure, in the McCaffer(v matter, where Ms. McCafferty received an indefinite suspension, the Court impliedly
recognized that the passing of two years (the mandatory "waif' time before seeking reinstatement) could be sufficient
to protect the public interest. More than seven years have elapsed since Mr. Terry was disbmTed.


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  The "catch-all" language of Civ. R. 60(B)(5) reflects "(t]he inherent power of a comi to relieve a

  person from the unjust operation of a judgment." State ex rel. Gyurcsik v. Angelotta, 50 Ohio St.

  2d 345, 346, 364 N.E.2d 284 (1977); Mullaji v. Mollagee, 9th Dist. Lorain No. 21CA011779,

  2023-Ohio-246, ifl3. "The language of the 'other reason' clause *** vests power in courts

  adequate to enable them to vacate judgment whenever such action is appropriate to accomplish

 justice'." Rusch v. Catawba Landing Marina, 2021-Ohio-1904, 173 N.E.3d 161, if21 (6th Dist.).

         Justice is accomplished by vacating the Disbarment Order. The Disbarment Order has

 served its purpose. It removed Mr. Teny from the practice of law for more than seven years,

 thereby preserving the integrity of the legal profession and restoring the public trust. This is not a

 situation where Mr. Terry has failed to learn from his mistakes. Mr. Teny has been an upstanding

 citizen since his conviction and disbarment. He has worked hard to regain the trust of his

 community and peers. He has not since engaged in any misconduct. He wants to use his legal

 skills to assist those who lack the financial resources needed to engage skilled legal counsel. Under

 these circumstances, justice is furthered by giving Mr. Teny the chance to make his case for

 reinstatement.

                  (3)    Mr. Terry has a meritorious position to present.

         To satisfy the "meritorious position" prong of the GTE analysis, the movant need not prove

 that he will ultimately prevail. Rather, a judgment may be vacated if the movant can present a

 meritorious position. Meyers v. McGuire, 80 Ohio App. 3d 644, 646, 610 N.E.2d 542 (9th Dist.

 1992). In this instance, Mr. Teny maintains that he can satisfy the Court's requirements regarding

 reinstatement; that is, Mr. Teny can demonstrate by clear and convincing evidence that he

 cun-ently possesses the requisite character and fitness to be reinstated to the practice of law.




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         Gov. Bar. R. V(25)(B) sets forth the requirements for reinstatement. In addition to certain

procedural requirements, the rule instructs that the attorney:

                 (5) [e]stablish by clear and convincing evidence that he or she possesses all
                 the mental, educational, and moral qualifications that were required of an
                 applicant for admission to the practice of law in Ohio at the time of his or
                 her original admission and that he or she is now a proper person to be
                 readmitted to the practice of law in Ohio, notwithstanding the previous
                 disciplinary action.

See also Disciplinary Counsel v. Ridenbaugh, 122 Ohio St. 3d 583, 2009-Ohio-4091, 913 N.E.2d

44 3, ,i 13, n.2 (discussing fonner version of rule). Worthy of note, the gravity of the misconduct

that led to the underlying discipline is not an enumerated factor for consideration. See Office of

Disciplinary Counsel v. Woods, 50 Ohio St. 3d 72, 552 N.E.2d 647, 650 (1990) (Douglas, J.,

concuITing) (noting that it was not proper under the Supreme Court Rules for the Government of

the Bar to consider the gravity of a petitioner's misconduct in evaluating reinstatement); Office of

Disciplina,y Counsel v. Bell, 39 Ohio St. 3d 276, 277-78, 530 N.E.2d 404 (1988) (Douglas, J.,

dissenting) ("According to our rule, the salient question in reinstatement cases is whether the

petitioner has undergone rehabilitation such that he is once again fit to practice law in this state.").

        For the reasons set forth above, Mr. Teny maintains that he can satisfy his evidentiary

burden for reinstatement. He stands before this Comi today a better man, equipped to be a better

attorney. Someone who is deeply remorseful for his misconduct, and desirous of using his legal

skills to help the impoverished, the elderly, the unemployed, and those integrating back into the

community after incarceration. Mr. Teny is "now a proper person to be readmitted to the practice

of law in Ohio."4



4
  Mr. Terry has included with this filing a sampling of letters attesting to his community service and moral
fitness and character (collectively, Exhibit 1). This proffer is not intended to represent the sum of Mr.
Terry's evidence. Mr. Terry will offer all necessary evidence, including his testimony on his rehabilitation
journey, in connection with the reinstatement process if given the opportunity.


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                 (4)     The motion is filed within a reasonable time.

          A motion to vacate under Civ. R. 60(B)(4) or Civ. R. 60(B)(5) must be brought within a

  reasonable time, which may be more or less than a year. See Ohio R. Civ. P. 60(B); Mount Olive

  Baptist Church v. Pipkins Paints and Home Improvement Center, Inc., 64 Ohio App. 2d 285, 288,

  413 N .E.2d 850 (8th Dist. 1979). What constitutes a "reasonable time" is for the court to decide.

  In re Watson, 13 Ohio App. 3d 344, 347, 469 N.E.2d 876 (9th Dist. 1983); Fallang v. Fallang,

  12th Dist. Butler No. CA97-03-043, 1997 WL 746059, *4 (Dec. 1, 1997) (a "reasonable time" for

  purposes of Civ. R. 60(B)(5) varies depending upon the circumstances of each case).

         Mr. Terry has presented this motion within a reasonable time given the unique

  circumstances of his case. Indeed, Mr. Terry respectfully submits it would have been improper

  and umeasonable for him to present this motion sooner. The Court entered the Disbarment Order

  in February 2016. Under the ABA model rules, which allow for reinstatement upon disbarment,

  Mr. Terry could not have sought reinstatement any earlier than February 2021. See ABA Model

  R. Lawyer Disciplinary Enft 25(A).      Fm1her, Mr. TeITy was incarcerated until mid-2016, and

  following release, he remained on probation for two additional years, until mid-2018. In addition

  to the physical restrictions that made reinstatement impractical, Mr. Terry had significant personal

  obstacles to overcome. It has taken substantial time and eff011 to rebuild and reestablish his

  integrity and reputation in the community.

         Mr. TeITy does not take his request for reinstatement lightly. He fully appreciates the

  damage his past acts have caused, and the extraordinary relief he is asking this Honorable Com1

  to grant. Rome was not built in a day. So too, Mr. Teny's effm1s to rehabilitate himself have

  taken time. For this reason, Mr. Teny submits that his current motion is timely.




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        B.      The Court Should Waive Gov. Bar. R. V(l2)(B) and/or Reevaluate Its Current
                Approach to Disbarment.

        Article IV, Section 2(B)(l)(g) of the Ohio Constitution grants the Court original

jurisdiction over the admission to the practice ofla,v, the discipline of persons so admitted, and all

other matters relating to the practice of law. Alorton, 166 Ohio St. 3d 266, 202 l-Ohio-4095, 185

N.E.2d 65, at 115. Under this jurisdiction, the Comi may promulgate rules for the government of

the bar, including rules that set forth the procedures governing attorney discipline proceedings. Id.

Equally true, under this jurisdiction, the Comt has the power to waive application of any rule as it,

in its discretion, deems appropriate. Thus, a court with the power to disbar an attorney has the

power to reinstate him. Ex parte Redmond, 120 Miss. 536, 82 So. 513 (Miss. 1919). "[T]he courts

have generally held that the court of original jurisdiction may reopen the case and restore to the

lav-.,yer his franchise or privilege, if in the opinion of the comi the interests of the comi and the

public will be best served by a reinstatement." Id. at 514. 82 So. at 513.

        Under Ohio's disciplinary rules, disbarment is permanent and marks the end of a person's

ability to practice law. Gov. Bar. R. V(12)(B) provides:

                Disbarment or Resignation. A person who is disbarred, who has resigned
                with discipline pending, or, who has retired from the practice of law on or
                after September 1, 2007 shall not be readmitted to the practice of law in
                Ohio.
        Ohio's "no-redemption" approach differs from most other jurisdictions.                    The

overwhelming majority of states and the District of Columbia allow disbarred attorneys to reapply

for reinstatement to the bar. These courts reason that irrevocable permanent disbarment does not

further public policy: "It is not the policy of the law, and is not considered to be in the interest of

justice, that an attorney who has been disbarred for misconduct shall never under any




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  circumstances be readmitted to practice." 5 In re Nisbet, 77 Cal. App. 260,261,246 P. 120 (Cal.

  App. 1926); Wettlin v. State Bar, 24 Cal. 2d. 862, 868, 151 P .2d 255, 259 (Cal. 1944) (courts

  should be "interested in the regeneration of erring attorneys"); see also In re Application of

  Dimenstein, 36 Conn. Supp. 41, 45, 410 A.2d 491, 493 (1979) ("It is a well settled principle that

  disbarment is not res adjudicata [sic] or necessarily pe1manent, and that a disbarred attorney may

  be reinstated for reasons satisfactory to the court."). Accordingly, because Ohio's approach is

  inconsistent with the principle of redemption and because it goes beyond the stated purpose of

  discipline - not to punish the offender but to protect the public - Mr. Terry respectfully requests

  that the Court waive application of the rule given the circumstances of his situation, and/or

  reevaluate the current approach to disbarment. There is no rational connection between an outright

  ban on reinstatement in all cases of permanent disbarment and the stated purpose of protecting the

  public and the integrity of the judicial system.

          Reevaluation of the no-reinstatement rule following disbarment is exactly the direction the

 New Jersey Supreme Court recently took in In the Matter of Wade, 250 N.J. 581, 275 A.3d 426

  (2022). There, an accomplished attorney, who overcame substantial hardship in her upbringing

 and became a pillar in her community, used client funds to pay her business expenses. In New

 Jersey, any misuse of client funds warrants permanent disbarment and marks the end of an

 attorney's ability to practice law. Recognizing the no-reinstatement rule could prove unnecessarily




 5
   Also, the majority rule, and the position Mr. Teny urges the Court to adopt in seeking waiver, is consistent with a
 recommendation of the American Bar Association. ABA Model Rule 25A states, "No lawyer may petition for
 readmission until five years after the effective date of disbarment." ABA Model R. Lawyer Disciplinary Enft 25(A).
 The model rule lists criteria for reinstatement and readmission (similar to the Court's requirements for reinstatement),
 which include compliance with all prior disciplinary orders, rehabi_litative treatment for physical or mental infirmity,
 recognition of the wrongfulness and seriousness of the prior misconduct, proof of the requisite honesty and integrity
 to practice law, competency to practice and character and fitness.




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harsh, the New Jersey Supreme Court decided it was time to reevaluate its approach to disbarment.

Disbannent should not be a "death sentence." Some attornevs deserve a second chance:

                 [W]e believe it is time to reevaluate the current approach to permanent
                 disbarment. To be clear, lawyers will still be disbarred in all matters in
                 which they knowingly misappropriate client or escrow funds, consistent
                 with decades of precedent. The question - and the cltalle11ge - is wltetlter
                 am/ how to create a rigorous system tltat can determine if a lmwer
                 disbarred for those reasons deserves a second chance vears later.

                 Many considerations would likely factor into that type of decision,
                 including the nature and seriousness of the misconduct, whether the person
                 honestly accepts that their prior behavior was wrong, the extent of any
                 rehabilitation, how much time has passed, whether the individual possesses
                 the necessary integrity to practice law, and whether readmission would
                 compromise public confidence in the bar, among other criteria.

                 Under any such system, it is unlikely that attorneys who stole from clients
                 and caused substantial harm could ever be trusted to practice law again. On
                 the other end of the spectrum, lmvyers who knowingly misappropriated
                 client funds while suffering from addiction, mental health issues, or great
                 personal challenges; who did not cause harm; and who have been
                 rehabilitated, might prove worthy of having their license restored at a later
                 date. In between those examples lie many other scenarios, to be sure.

id at 586,275 A.3d at 429 (emphasis added). Thus, the New Jersey Supreme Court established a

committee to analyze whether New Jersey should join the majority of jurisdictions that allow

reinstatement:

                 We will ask the committee to study whether disbarment should continue to
                 be pe1111anent in all Wilson cases and to recommend standards that might
                 apply if New Jersey were to adopt the majority approach. ***

Id at 608, 275 A.3d at 442. The committee recently issued its report recommending a path back

from disbarment for deserving and fully rehabilitated attorneys. The majority (21-5) reasoned that

no matter how significant the ethical breach, "human beings are capable of change and that

affording a second chance to lawyers who have acknowledged their fault and redeemed themselves

by their post-disbarment conduct is consonant with contemporary notions of redemption,




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  reconciliation, and restorative justice." Report of the Supreme Court Special Committee on the

  Duration of Disbarment for Knowing Misappropriation, May 19, 2023, at p. 46 (attached as

  Appendix A). 6

            For these same reasons, Mr. Terry respectfully requests that this Com1 reevaluate its

  permanent disbarment rule. People can and do learn from their mistakes. Attorneys who make

  mistakes should be given the opportunity for a second chance. Such a rule does not place the

  public or the integrity of the judicial system at lisk. The Board and this Honorable Court will

  always be the gatekeepers with the discretion to determine whether a disbruTed attorney is

  deserving of reinstatement to the bar of the State of Ohio. As the Supreme Com1 of Florida aptly

  stated:

                   To arbitrarily and immutably cut off the opportunity to seek reinstatement
                   to the Bar, regardless of a subsequent demonstrated record of rehabilitation,
                   good conduct and clean living, is too harsh and unremitting. It is out of
                   keeping with the Biblical philosophy that no one is altogether beyond
                   redemption.      It is also contrary to modern concepts concerning
                   rehabilitation of persons convicted of crime and state parole and pardon
                   policies.

  In re Rassner, 265 So. 2d 363, 363-64 (Fla. 1972).

  IV.       CONCLUSION

            It has been the proud boast of the common law that whenever there is a wrong there is

  always a remedy. Mr. Terry's situation should be no different. Mr. Terry fully appreciates the

  gravity of the mistakes he made. Even so, as the New Jersey Supreme Court recently recognized,

 permanent disbarment should not be a death sentence. Mr. Terry made a mistake. He has paid the




 6
   Notably, while the Wade matter involved disbannent resulting from misappropriation, the committee recommended
 that the New Jersey Supreme Court permit all disbarred lawyers to apply for readmission. Id. at 61.




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pnce. He should not have to suffer for life. Rather, the circumstances of this case are such that

Mr. Teny should be given the opportunity to receive a second chance.

       WHEREFORE, Steven James Teny respectfully requests that the Court vacate the

Disbarment Order, or alternatively, waive the permanent disbarment rule and/or reevaluate the

permanent disbarment rule, such that Mr. Teny be permitted to apply for reinstatement.

                                             Respectfi.1lly submitted,




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                                            ED~RD4~~)
                                            EDWARD L. GILBERT CO., L.P.A.
                                            3070 W. Market Street, Suite 100
                                            Akron, Ohio 44333
                                            (330) 376-8855
                                            (330) 376-8857 (facsimile)
                                            egilbert@edwardlgilbert.com
                                            Counsel.for Steven Jwnes Teny




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                                  CERTIFICATE OF SERVICE

         The undersigned hereby certifies that a true and accurate copy of the foregoing was served
                                                         ✓,,--?1

  via regular U.S. Mail, postage prepaid, on this   4 day of January, 2024, upon:
  Ohio Board of Disciplinary Counsel
  65 East State Street, Suite 1510
  Columbus, Ohio 43215-4215




                                               Counsel for Steven James Teny




                                                    16
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                                     EXHIBIT 1
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                                    Steven Terry

  Exhibit 1A                               Letter from Senior Pastor, Reverend Paul
                                           Hobson from Mount Zion Congregational
                                           Church.

  Exhibit 1B                               Letter from Mr. Primm Ill from G-PAC,
                                           Cleveland, OH.

  Exhibit 1C                              Letter from Ms. Taylor, Council Member
                                          from the City of Beachwood, OH.

  Exhibit 1D                              Letter from Mr. Peebles, Worshipful
                                          Master Ecclesiastes Lodge Number 120,
                                          Prince Hall Free and Accepted Masons.
  Exhibit 1E                              Letter from Dr. Queener, Minority
                                          Behavioral Health Group.

  Exhibit 1F                              Letter from Mr. Terry (Petitioner).

  Exhibit 1G                              Official Report from the Supreme Court
                                          Special Committee of New Jersey.
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                                              10723 Magnolia Drive
                                            Cleveland, OH 44106-1793
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   March 31, 2023


   Dear Sir or Madam:
   I am the Pastor of Mt. Zion Congregational Church U.C.C., and I am writing this letter on
   behalf of Mr. Steven Terry.
   Steven, who soon will be 65 years old, grew up in Mt. Zion Congregational Church. He
   started attending our church when his family joined Mt. Zion in 1964. Over the years,
   Steven and his mother have been faithful members of Mt. Zion.
   During Steven's professional career as Prosecutor, County Administrator, and Judge, he
   has been dedicated to his professions with hard work and humility.
  Steven has been very active in the oversight and governance of Mt. Zion through several
  prominent positions held and has worked on many church-affiliated programs. He has
  held the positions of Associate Moderator, Moderator, Board of Trustees member and ·
  Chairman of the Board of Trustees. In these church leadership positions, Steven provided
  valuable insight and assistance in the overall operation of the church and greatly assisted
  us in providing services to Mt. Zion members and residents of Cuyahoga County.
  Steven was actively involved as a volunteer in Jobs Opportunities Breakthrough Services,
  a job mentoring program at Mt. Zion that assists underemployed and unemployed
  individuals in Cuyahoga County. Twice a year, for approximately 3 months, Steven would
  assist and mentor individuals with job skills training, interviewing, hiring and work-related
  advice, to better equip them and enhance their job readiness and/or job-related skills.
  Steven also helped to start and volunteered with our REAL Re-entry program for
  individuals returning to the community after incarceration. This program provided
  assistance with various aspects of integrating individuals back into the community,
  through counseling, housing assistance, job readiness training, transportation and other
  needed skills and resources. This was, and still is, an area very important to Steven based
  on his own personal experience regarding incarceration.

   Office: 216.791.5760       Email: mtzioncleveland@gmail.com    Website: mtzioncleveland.com



                                                                                     Exhibit 1
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    Steven continues to be an active member of Mt. Zion, serving as a member of the Board
    of Trustees, attending worship regularly and generously giving financial support to the
    outreach ministries of Mt. Zion. Based on my personal knowledge and observation of
    Steven over the past 20 years as his Pastor, I believe he deserves a second chance at
    redemption and the ability to practice law once again.




   ~~~
     obsoni                  • Sr.
    Senior Pastor
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  May 5, 2023


  Greetings,
  G-PAC is a Political Action Committee which was fonned to address social, economic, civic,
  and political issues directly affecting The African American Community in The City of
  Cleveland, Cuyahoga County and The State of Ohio.
  G-PAC, from its start in 2018, has not hesitated to chatlenge long standing principles or the
  existing status quo. This is the basis for writing this letter on behalf of Steven Teny, and his
  desire to obtain his license to practice law again after pennanent disbannent by the Ohio
  Supreme Court.
  As a founder of G-PAC, membership is scrutinized to include those who have been active in the
  above mentioned issues directly affecting the African American community.
  Steven Teny has been an active member of G-PAC. He has been involved in addressing all
  aspects of social, economic, civic and political issues directly affecting the Aftican American
  community. This includes advocacy, planning, challenging and supporting the above mentioned
  issues. As a former criminal defense Attorney, City Prosecutor, Assistant Cuyahoga County
  Prosecutor, and Cuyahoga County Common Pleas Court Judge, Steven Terry has provided
  valuable insight, advice, and unique perspectives addressing and challenging issues affecting the
  African American community.
  I realize a decision was made by The Ohio Supreme Court to pennanently disbar Steven Terry
  from practicing law again. In a nation of providing second changes to individuals regardless of
  long-standing principles and/or the law, given what has occWTed in this Country at the highest
  levels in our national government over the past several years in our legal and justice system,
  Steven Terry deserves a second chance at redemption by regaining his license to practice law
  once again.
  If allowed to practice law again, Steven Teny will continue to serve the public good as he tried
  to do his entire 27 year legal car!=er before permanent disbarment occurred.




                                        6815 Euclld Avenue
                                       Cleveland, Ohio 44110
                                        440-941-5572 Phone
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    #1
    SUBURB
      2012
               CLE\"ELAND MAGAZINE'S BEST PLACE To LIV£                               JUSTIN BERNS, MAYOR




 April 20, 2023

 To Whom It May Concern:

 Personal Reference for: Mr. Steven J. Terry

 I have worked with and coordinated events very closely with Mr. Terry since being appointed as, and
 then elected a Councilperson, City of Beachwood in 2017. As a volunteer, Mr. Terry has served
 graciously and played a vital role in assisting to develop,· support and host community events which
 have helped our city achieve the number 1 ranking in Northeast Ohio. Mr. Terry helped me create and
 establish the Beachwood Community Garden where he assists seniors and individuals with challenges
 using our ADA height garden boxes which are the first of their kind in northern Ohio. Mr. Terry is
 accessible, patient and serves as a one-on-one resource for seniors who have plots in our garden, but
 often need assistance with planting, prunin"g, weeding and watering so that their harvest may be
 productive.

 Steven's positive energy is infectious to our residents and City of Beachwood staff and directors. At
 our city events and planning meetings, Steve is engaging and interacts with all ages, genders,
 ethnicities and demographic backgrounds. He assists and is available to help everyone.

 What is unique about Steven, is his ability to anticipate "how" to assist us by sharing and developing
 excellent topics, programming and services which continues to help our Council and staff anticipate the
 needs of our community, which is truly a rarity in citizens today.

 I rarely if ever write recommendations for individuals because I find it so hard to find people willing to
 volunteer their time, expertise and knowledge to help others. This recommendation is put forth
 because I am grateful for Steven sharing his knowledge, time and experiences to not just help me, but
 the citizens in the City of Beachwood. Steven is a model citizen, volunteer and contributor to the
 success of our city because he shares his intelligence, knowledge and his time selflessly.

 You are welcome to contact me if you have any questions about this outstanding man and resident.




                            25325 FAIRMOUNT BLVD, • BEACHWOOD, OHIO • 44122
                                         www.BEACHWOOD0HI0.C0M
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                                      Ecclesiastes Lodge No. 120
                                Prince Hall Free and Accepted Masons
                           Most Worshipful Prince Hall Grand Lodge of Ohio
                                                 st            rd
                           Communications the 1 Wednesday, 3 Thursday
                             14402 Kinsman Road Cleveland, OH 44120
  Eloy Vazquez, Sr.                                                                                Damion Moore
    Junior Warden                                Anthony C Peebles                                 Senior Warden
  5650 Elm Hill Drive                             Worshipful Master                               1055 Oxford Road
    Solon 044139                                19704 Fainnount Blvd                           Cleveland Hts Oh 44121
    216-410-7459                                Shaker Hts, OH,44118                                216-334-6690
                                                   216-374-4204



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April 27, 2023


To Whom It May Concern:

I write this letter on behalf of Mr. Steven Terry. Steven Terry, who is a member of Ecclesiastes Lodge No. 120 F.&
AM. Prince Hall Affiliation. Brother Terry has also attained the 33,. Degree, which is the highest degree in
Masonry. He exemplifies the fundamental principles of our Lodge which is "Building Community through
Commitment, Camaraderie & Collaboration."

Brother Terry is very active in Lodge activities. He chaired our effort to review and revise our Lodge By-Laws, which
have been in place for almost 23 years. Brother Terry's dedication to this process, and his support of other Lodge
functions is a testament to his willingness to assist in any capacity needed to further the principles of Masonry.

Brother Terry is also chairing of our St John The Baptist Program for the Prince Hall Lodges of Cleveland hosted at
Mt Zion Congregational Church, UCC, where we both worship together and where he has served as Church
Moderator and Trustee Board Chair.

I have had the honor of serving with Brother Steven Terry, both in the Lodge and in our Church and have found him
to be a capable servant leader willing to give his time for the betterment of the community.

I believe he deserves a second chance to practice law, based on his dedication to the community, and his
exemplification of the principles of Freemasonry in his daily life, and by his willingness to mentor others in the
organization and in the wider community.



Respectfully submitted1
'i~P~
Anthony C. Peebles
Worshipful Master
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               Minority 'Befiaviora{ Jfea{tfi (jrouy
                                      1293 Copley Road, Akron, OH 44320
                                          Pastor Jeffrey A. Dennis
                                        CHIEF EXECUTIVE OFFICER

 Phone: 330-374-1199                                                                Fax:330-374-0151


 December 28, 2023

 Attorney Edward Gibert
 3070 W Market St.
 Suite 100
 Akron, Ohio 44333

 Dear Attorney Gilbe1t:

 Thank you for your referral of Steven Terry. My understanding is that you wanted Mr. Terry to receive
 a psychological evaluation as part of the process for his law license to be reinstated. Therefore, on
 December 27, 2023, I conducted a virtual diagnostic assessment on the mental health of Mr. Terry.
 Below is the results of his mental health assessment.

                                   Summary of Diagnostic Assessment

 Identifying Information and Behavioral Observation
 Mr. Terry is a single, 65-year-old African American man. He currently lives with his mother and is
 presently employed. Mr. Terry attended the virtual session neatly dressed. He answered questions in
 an open and honest manner with no evidence of hallucinations or delusions.

 Relevant History
 Mr. Terry denies having any history of psychological or emotional distress except for on two occasions.
 First, he reported that received couples counseling with his ex-wife. He did not, however, receive a
 diagnosis and the counseling focused on resolving communication and relationship difficulties between
 he and his ex-wife when they were married. Second, Mr. Terry reported experiencing emotional distress
 during the court process and during his first year of being incarcerated. Mr. Terry reported experiencing
 a great sense of remorse for the crimes that he committed while a judge and that lead to episodes of of
 depressive feelings. During the first year of being imprisoned, he reported that he experienced sadness,
 loneliness, and difficulty adjusting to being in prison. He stated that this psychological and emotional
 distress to being in prison lasted for approximately one year before he stated that his psychological and
 emotional distress dissipated, as he adjusted to prison life.

 Current Psychological Functioning
 Mr. Terry's current psychological functioning was in part assessed using the Symptom Checklist, which
 assess clients for a range of DSM-5 related diagnoses and symptoms including depression, sleeping
 problems, eating problems, worrying, anxiety, concentration, attention problems, general stress,
 hallucinations, delusions, and other psychotic features. He denies currently experiencing any mild or
 severe psychological symptoms. Moreover, he denies any medical conditions that could affect his
 psychological and emotional state. He currently is recovering from a partially torn Achillies Tendon,


               Contract Agency of the County of Summit, Alcohol, Drug Addiction, and Mental Health Services Board
                                        Nationally Accredited by Council of Accreditation
                                       State Certified by Ohio Department of Mental Health
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but that rehabilitation is going well, and he expects a full recovery. In addition to the absence of
psychological or emotional issues, Mr. Terry reported that he possesses several attributes that allow him
to maintain healthy psychological functioning. These include patience, good communication skills,
listening skills, and good assertion skills. Furthermore, Mr. Terry identified a good support system
which includes his mother, sister, adult son, and several friends with whom he has a strong bond with
law school.

Conclusion
The purpose of this psychological evaluation was to assess the mental health functioning of Mr. Terry.
After completing a diagnostic assessment, it is my professional opinion that Mr. Terry is psychologically
and emotionally healthy. Moreover, he participates in physical activities and has a good support system
which serves as protective factors for his psychological and emotional health. If you have any other
questions concerning this matter, please feel free to contact me.


Sincerely,




John E. Queener, PhD
Licensed Psychologist# 5209
Minority Behavioral Health Group
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July 24, 2023



To whom it may concern:


I write this letter in support ofmy request to once again practice law following permanent disbannent
by the Ohio Supreme Court in 2016.

First and foremost, I want to express how truly sony I am for my actions. I have engaged in
considerable hours of counseling and self-reflection since my conviction and disbarment This, in
conjunction with the experience oflosing my :freedoms during my period ofincarceration, have redefined
the person I am today and have served to reset my moral compass. I recognize the gravity of my acti9ns
and their adverse reflection on the integrity of the judicial system as a whole. I am a better and stronger
person today, one who is better equipped to act with the utmost integrity no matter what the pressure or
temptation confronted. I know if granted the opportunity, I would make a difference in the lives of a
great many in need of accessible legal services.

For two decades prior to taking the bench,, I held a myriad of positions in public service, including
those in the City Prosecutor Offices in Akron, Cleveland, and Warrensville Heights, Ohio. I also
served as an Assistant Cuyahoga County Prosec~tor in the Criminal Division and was a Director of
a Cuyahoga County Department with 10 divisions and approximately 130 employees. In these
various positions I was able to have a meaningful impact on the lives of many members of several
communities. It is this ability to assist those who lack the practical ability to help themselves that I
have missed the most.

I have refocused my energies since returning home from aFederaIPrison Camp in December 2015
upon serving the public good. I was immediately employed as the Director of Human Resources
for a commercial sales trucking company. I handled all aspects of personnel from recruitment to
FMLA for five different dealership locations in Ohio and Michigan.

Upon leaving the commercial trucking industry, I served as a consultant for a Neighborhood
Development Corporation building affordable housing in Ak:ro~ Ohio for impoverished and
underprivileged citizens.. I was responsible for organizing documentation associated with the
agreements to build and purchase affordable housing. While consulting, an offer of employment
was made to me for the purpose of assisting senior citizens living in five counties in Northeast, Ohio
working for The Western Reserve Area Agency on Aging. In 2020, I started in the Resource Center
which provides assistance to the elderly regarding home health services based ori their specific need
for care. I found this work to be particularly rewarding because each day on the job I provided
assistance to someone in need.
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  In 2021, I took an opportunity to work in Provider Operations at WRAAA. Currently, I assess
  home health agencies, assisted living agencies, independent home health providers, and several
  other home health related agencies for compliance with The Ohio Department of Aging and Ohio
  Department of Health Regulations.

 I have been fortunate to have the trust, support, ~d encouragement of so many in my efforts to
 make a difference since returning home. I have obtained letters of support from individuals who
 have known me and know my character as a person to help demonstrate to you that I am
 rehabilitated and eager to give back to the community as a whole, and also to. the legal community.
 If reinstated and given a second chance to practice law, I will do whatever is necessary to
 demonstrate to you that I am and remain competent, qualified, and exhibit the appropriate moral
 fitness to practice law. There are so many in need of legal services, and I respectfully request a
 chance, once again, to serve them.
 Sincerely,

 lf-WUtJ~J
 StevenJ. Teny     .   -
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   REPORT OF THE SUPREME COURT SPECIAL COMMITTEE
     ON THE DURATION OF DISBARMENT FOR KNOWING
                  MISAPPROPRIATION




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                                          i •




                                  MAY 19, 2023




                                                                       APPENDIX A
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          I.     INTRODUCTION

       A lawyer, as a member of a learned profession, not only represents clients

but is an officer of the court and a public citizen with special responsibility for

the delivery and quality of justice. See MODEL RULES OF PROF'L CONDUCT

Preamble and Scope (AM. BARAss'N 1983).

       Indeed, our Court has established certain qualities an attorney privileged

to practice law in the State of New Jersey must possess. For example, to be

admitted to practice law in this State, the regulations of the Committee on

Character, established under R. 1:25, require individuals to "demonstrate their

fitness to practice law" and to possess "the requisite traits of honesty, integrity,

financial responsibility, and trustworthiness." Comm. Char. Reg. 202: 1; see also

R. l:27-l(a)(2). The Court has stated that "good moral character" is "[a]rnong

the most basic conditions precedent to bar admission." In re Matthews, 94 NJ.

59, 75 (1983); see also In re Pennica, 36 N.J. 401,434 (1962) (finding that "good

moral character, a capacity for fidelity to the interests of clients, and for fairness

and candor in dealing with the courts ... are not only prerequisite for admission

to the bar, they are equally essential afterward") (emphasis added).

      "Lawyering is a profession of' great traditions and high standards.'" In re

Jackman, 165 N.J. 580, 584 (2000) (quoting Speech by Chief Justice Robert N.

Wilentz, Commencement Address-Rutgers University School of Law, Newark,


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  New Jersey (June 2, 1991), 49 Rutgers L. Rev. 1061, 1062 (1997)). Attorneys are

  expected to hold themselves in the highest regard and must "possess a certain

  set of traits -- honesty and truthfulness, trustworthiness and reliability, and a

  professional commitment to the judicial process and the administration of

 justice." In re Matthews, 94 N.J. at 77.

        The Court has explained, when considering the character of a Bar

  applicant, that:

               [t]hese personal characteristics are required to ensure
              that lawyers will serve both their clients and the
              administration of justice honorably and responsibly.
              We also believe that applicants must demonstrate
              through the possession of such qualities of character the
              ability to adhere to the Disciplinary Rules governing
              the conduct of attorneys. These Rules embody basic
              ethical and professional precepts; they are fundamental
              norms that control the professional and personal
              behavior of those who as attorneys undertake to be
              officers of the court. These Rules reflect decades of
              tradition,   experience     and    continuous    careful
              consideration of the essential and indispensable
              ingredients    that     constitute   the    professional
              responsibility of attorneys. Adherence to these Rules is
              absolutely demanded of all members of the Bar.

              [In re Matthews, 94 N.J. at 77-78.]

        In a si1nilar vein, although the lawyer-client relationship originates out of

 contract, it is more than that. It is a relationship of trust and confidence pursuant

 to which clients place their earnings in the hands of their lawyers who, in turn,



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agree to safeguard them. See RPC l.15(a). As our Court stated in the seminal

knowing misappropriation case, In re Wilson, 81 N.J. 451 (1979):

             It is a trust built on centuries of honesty and
             faithfulness. Sometimes it is reinforced by personal
             knowledge of a particular lawyer's integrity or a firm's
             reputation. The underlying faith, however, is in the
             legal profession, the bar as an institution. No other
             explanation can account for clients' customary
             willingness to entrust their funds to relative strangers
             simply because they are lawyers.

             [Id. at 455.]

That trust is violated when a lawyer knowingly misappropriates a client's funds.

      Knowing misappropriation is defined as:

             any unauthorized use by the lawyer of clients' funds
             entrusted to him, including not only stealing, but also
             any unauthorized temporary use for the lawyer's own
             purpose, whether or not he derives any personal gain or
             benefit therefrom.

             [Id. at 455 n.l .]

That broad definition sweeps in a wide array of conduct, including that of the

lawyer who "steals" a client's money to gamble, travel and buy luxury goods,

with no intent to return it, along with that of the lawyer who "borrows" a client's

money on a Monday to pay a child's medical bills and returns it on Friday.

      Due to such distinct scenarios, from 1948 to 1979, the New Jersey

Supreme Court's treatment of knowing misappropriation was "in a word,

unpredictable."     James R. Zazzali, The Whys and Hows of Permanent

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  Disbarment: New Jersey's Wilson Rule, 21 Geo. J. Legal Ethics 311, 313

  (Spring 2008); 46 NJ. Practice, New Jersey Attorney Discipline§ 6.1, at 333-334.

  (Robert Ramsey) (2022-2023 ed.) Such inconsistent treatment of knowing

  misappropriation was not unique to New Jersey. Inconsistent sanctions ranging

  from censure to disbarment were regularly imposed by our sister jurisdictions

  as well. See Annotated Standards for Imposing Lawyer Sanctions, Standard

  9.32, preface XII (Ellyn S. Rosen, 2d ed. 2019).

        Each matter was determined on a case-by-case basis, taking into account

  many factors, including restitution, mitigation, candor and remorse. Wilson, 81

 N.J. at 455-56. What resulted was an olio of idiosyncratic outcomes. Lawyers

 received what appeared to be disparate treatment for similar offenses, a result

 Chief Justice Zazzali denominated as "always troublesome." Zazzali, 21 Geo. J.

 Legal Ethics at 316 (quoting In re Ritger, 80 N.J. 1, 4 (1979)).

        However, in 1979, the Court decided Wilson, a case involving eight

 complaints of misconduct against an unrepentant lawyer. In that matter, Chief

 Justice Robert N. Wilentz declared unequivocally, on behalf of a unanimous

 Court, that any lawyer who knowingly misappropriates client funds, under any

 circumstances, will be disbarred. Wilson was a line in the sand which, if crossed,

 permitted no return.     Wilson essentially eliminated any consideration of

 mitigation in a knowing misappropriation case. If the proofs established that the


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lawyer knowingly misappropriated client funds, the reasons and causes are

irrelevant and disbarment inevitably follows.

      In so ruling, the Court in Wilson acknowledged the harshness of what it

had done:

            The considerations that must deeply trouble any court
            \Vhich decrees disbarment are the pressures on the
            attorney that forced him to steal, and the very real
            possibility of reformation, which would result in the
            creation of a new person of true integrity, an
            outstanding member of the bar. ... There can be no
            satisfactory answer to this problem. An attorney, beset
            by financial problems, may steal to save his family, his
            children, his \;vife or his home. After the fact. he may
            conduct so exemplary a life as to prove beyond doubt
            that he is as \Vell equipped to serve the public as any
            judge sitting in any court. To disbar despite the
            circumstances that led to the misappropriation, and
            despite the possibility that such reformation may
            occur is so terribly harsh as to require the most
            compelling reasons to justify it. As far as we are
            concerned, the onlv reason that disbarment might be
                                ~                             ~



            necessary is that any other result risks something even
            more important, the continued confidence of the public
            in the integrity of the bar and the judiciary.

            [Wilson, 81 N.J. at 460 (citations omitted).]

Six years subsequent to the pronouncement of Wilson, the Court clarified:

            The   misappropriation that will trigger automatic
            disbarment under In re Wilson, 81 N.J. 451 (1979),
            disbarment that is 'almost invariable' . . . consists
            simply of a lawyer taking a client's money entrusted to
            him, knowing that it is the client's money and knowing
            that the client has not authorized the taking. It makes
            no difference whether the money is used for a good

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                 purpose or a bad purpose, for the benefit of the lawyer
                 or for the benefit of others, or whether the lawyer
                 intended to return the money when he took it, or
                 whether in fact he ultimately did reimburse the client;
                 nor does it matter that the pressures on the lawyer to
                 take the money were great or minimal. The essence of
                 Wilson is that the relative moral quality of the act,
                 measured by these many circumstances that may
                 surround both it and the attorney's state of mind, is
                 irrelevant: it is the mere act of taking your client's
                 money knowing that you have no authority to do so that
                 requires disbarment. . . .The presence of 'good
                 character and fitness,' the absence of 'dishonesty,
                 venality or immorality' - all are irrelevant.

                 [In re Noonan, 102 N.J. 157, 159-60 (1986).]

 See also In re Mininsohn, 162 N.J. 62, 72 (1999) (intent to steal funds from a

 client is not an element of knowing misappropriation); In re Johnson, 105 N .J.

 249,     260    (1987)    (willful   blindness       is   not    a   defense    to   knowing

 misappropriation); In re Warhaftig, 106 N.J. 529, 535 (1987) (severe personal

 and financial hardships are not a defense to knowing misappropriation).

         In the more than forty years since Wilson, the Court has declined to relax

 or     modify    its   bright-line   rule    compelling         disbarment     for   knowing

 misappropriation, despite criticism from inside and outside its walls. See e.g.,

 In re Konopka, 126 N.J. 225 (1991) (Stein, J., concurring, joined by Justices

 O'Hern and Garibaldi, commenting negatively on the inflexibility of the Wilson

 rule); Zazzali, 21 Geo J. Legal Ethics at 329-31 (detailing criticism of the rule).

 Indeed, the Court itself, in In re Skevin, acknowledged "the human suffering

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occasioned by the almost inflexible invocation of the Wilson standard." 104 N.J.

476, 489 (1986). Nevertheless, over time, the Court expanded the scope of the

Wilson rule to both the misappropriation of escrow funds (In re Hollendonner,

102 N.J. 21, 28 (1985)), and to law firm funds (In re Siegel, 133 N.J. 162, 170

(1993)).

      In 2022, the Court decided the matter ofin re Wade, 250 N.J. 581 (2022), and

reaffirmed the Wilson rule. Ms. Wade knowingly misappropriated client funds (a

charge which she readily admitted). She had no prior disciplinary history; none of

her clients lost money; she took prompt remedial measures after an audit uncovered

the misappropriation; and was contrite and cooperated fully with the ethics

investigation. Importantly, her personal stmy was compelling and her record of

service to her community unparalleled.         Despite that, the Court ordered her

disbarment, reaffirming its allegiance to Wilson (i.e., mandatory disbannent) as the

only appropriate response to knowing misappropriation of a client's funds. In re

Wade, 250 N.J. at 585.

      Although the Court made clear in Wade that attorneys who knowingly

misappropriate client funds will be disbarred, the Court also prompted an inquiry

into whether disbarment under those circumstances should continue to be

permanent. In its opinion, the Court noted that forty-one states and the District

of Columbia permit a disbarred attorney to apply for readmission. The Court,


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  therefore, questioned, not whether a Wilson violator should be disbarred, but

  whether that disbarment should always be permanent or whether "the

  disciplinary system should offer disbarred attorneys like [Wade] an opportunity

  for a second chance at a later point in time." In re Wade, 250 N.J. 604. If an

  opportunity for readmission is to be created, the Court asked what that path back

  to the practice of law should look like.

        To help answer that question, the Court convened a twenty-eight-member

  Committee 1nade up of lawyers, judges, and a cross-section of the public

  (Appendix A). The lawyers on the Committee represent many different spheres

  of practice, while the public members include religious leaders, educators, and

  community activists. In addition to the questions presented in Wade, the Court

  invited the Committee to comment on whether attorneys who have been

  disbarred on grounds other than Wilson should be included in the group entitled

  to apply for readmission.

        The Committee met numerous times. To assure that all members were

  viewing the issue through the same lens and because the ethics system in New

  Jersey is complex, some meetings were devoted solely to education, bringing

  Committee members -- including those within the profession and those without

  legal experience -- to a common understanding regarding the operations of the

  attorney disciplinary system.


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      In addition, the Committee studied a wealth of background materials,

including the applicable readmission rules of other jurisdictions ( criteria and

conditions); the American Bar Association's (ABA) MODEL RULES FOR LAWYER

DISCIPLINARY ENFORCEMENT r. 25 (AM. BAR Ass'N 2002) (also cited herein as the

"ABA's Model Rule 25"); relevant case law and legal commentaries regarding

Wilson; New Jersey's present scheme for Reinstatement after Final Discipline

(Suspension); letters from individual attorneys, pro and con; and a briefing by

the New Jersey State Bar Association, the voice of the organized bar that urged

a second chance for lawyers disbarred under Wilson.

      From the beginning, although there was unanimity over the wrongness of

knowing misappropriation, there were fault lines on the basic question: should

a Wilson disbarment be permanent? Those deliberations will be set forth more

fully in Section VIII, below. Some members were adamant that knowing

misappropriation of clients' funds is so deep an affront to the trust that clients

place in lawyers that a path back would undermine the integrity of the bar and

public confidence in the profession. The Committee understood that position,

but the majority - by a vote of twenty-one to five, with two abstentions -

ultimately believed otherwise - that human beings are capable of change; that

offering Wilson violators a second chance is consistent with contemporary

notions of redemption, reconciliation, and restorative justice; and that, with


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  proper vetting of the lawyers seeking readmission, both the public and the

  reputation of the bar can be protected and perhaps even better served.

        Those opposing views are really a matter of philosophy on which it is

  notoriously difficult to reach unanimity. At bottom, though, the Committee's

  task in assessing the question of readmission was practical:           is there an

  alternative to the current state of prohibition that would both protect the public

  and assure the reputation of the bar? Informed by the contributions of all

  Committee members and upon review of the readmission processes that protect

  the public in forty-one other jurisdictions, a majority of Committee members

  concluded that a robust readmission process could meet both requirements.

        In deciding the details, the Committee determined to adhere to the

  reinstatement process presently in effect for suspended lawyers, proposing some

  modifications of its own to existing Court Rules, including R. 1:20-15, R. 1:20-

  18, R. 1:20-20, and R. 1:20-21. Importantly, although several Committee

  members continued to express their personal objections to the categorical

  disbarment mandated by Wilson, the Committee was not charged with

  consideration of the Wilson rule itself and, thus, it did not do so.

        What follows is the Committee's report, which outlines a Wilson

  readmission process for the Court's consideration and further recommends to




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the   Court   that   lawyers   disbarred   on   grounds   other   than   knowing

misappropriation be given the same opportunity for readmission.




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            II.      NEW JERSEY ATTORNEY REGULATION AND
                     DISCIPLINE

        In every jurisdiction, attorney disciplinary systems have, as their primary

 purpose, the protection of the public from lawyers who have not discharged or

 are unlikely to discharge their professional duties. See In re Principato, 139 N.J.

 456, 460 (I 995). In addition, the systems are intended to uphold the integrity

 and reputation of the legal system. Although articulated in different ways, those

 principles are the common bonds that link all state disciplinary systems.

 Annotated Standards for Imposing Lawyer Sanctions, § I.I (Ellyn S. Rosen, 2nd

 ed. 2019). The Committee undertook its work mindful of the robust attorney

 regulatory system that already exists in our state.


       A.         The Attorney Regulatory and Disciplinary Process

       Pursuant to the New Jersey Constitution, our Court has exclusive

 "jurisdiction over the admission to the practice of law and the discipline of

 persons admitted." N.J. Const. art. VI,§ 2, 13. Out of that broad constitutional

 mandate, the Court has constructed a comprehensive attorney admissions and

 regulatory system that guides New Jersey attorneys throughout the duration of

 their careers.

       The Court created gatekeeping entities designed to screen individuals

 seeking to enter the practice of law. The Board of Bar Examiners administers


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two annual substantive examinations; an individual must pass the bar exam in

order to earn admission to the bar. R. I :23. The Committee on Character further

screens individuals proposing to enter the profession and certifies to their fitness

prior to their admission. R. 1:25. In certain limited circumstances, an attorney

may be admitted subject to conditions imposed as an additional support.

      Once admitted, and throughout their careers, attorneys must complete

Continuing Legal Education (CLE) credits in ethics and professionalism,

including CLE credits focused on diversity, inclusion, and elimination of bias.

BCLE Reg. 201:1.

      In addition to education, the Court has established additional aids to guide

attorneys in fulfilling their professional ethics obligations.      In addition to

advisory bodies, such as the Advisory Committee on Professional Ethics

(ACPE), R. 1: 19, and the less formal Ethics Hotline, R. 1: 19-9, the Court also

created the Random Audit Program (RAP), administered by the Office of

Attorney Ethics (the OAE), under which attorneys must open their books for a

compliance analysis upon request of the program. The RAP program has a

largely educational purpose and the vast majority of random audits end with

either a satisfactory audit or the attorney completely and effectively addressing

any deficiencies. Less than 1.5% of RAP audits end in final discipline.




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        Unfortunately, the Court's regulatory, preventive, and suppmiive

  measures cannot entirely prevent violations of the Rules of Professional

  Conduct. To ascertain the truth of allegations of misconduct by New Jersey

  attorneys, the Court created a comprehensive system for attorney discipline that

  employs the talents of professional staff, attorney volunteers, and non-lawyer

  public members. The two primary purposes of the attorney disciplinary system

  are "to protect the public and preserve public confidence in the bar." In re

  Wigenton, 210 N.J. 95, 102 (2012).

        Attorney disciplinary cases begin in a variety of ways. Most cases begin

 with an "ethics grievance," which is a written statement by a person that alleges

 that an attorney committed a violation of the RPCs. Some cases begin when trust

 funds appear to be in danger. Under the Trust Account Overdraft Notification

 Program, banks authorized to hold New Jersey attorneys' trust accounts must

 notify the OAE if a trust account is overdrawn. Other cases come to the attention

 of the disciplinary system through newspaper articles or referrals from judges,

 attorneys, or government agencies.

       New Jersey's current method of handling grievances was directly

 influenced by the 1982 report of the American Bar Association. That report

 concluded that professional disciplinary agencies are essential to the fulfillment

 of a Court's constitutional duty to police the practice of law. In 1983, the Court


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founded the OAE and first articulated the methodology of the 18 local District

Ethics Committees (DECs). Those bodies serve the same disciplinary mission

in complementary ways.

      Complex investigations are conducted by the professional staff of the

OAE. R. 1 :20-2. Professional staff also keep a record of attorney trustee

appointments, move to transfer attorneys to disability inactive status when

appropriate, and seek temporary suspensions when necessary to protect the

public. Non-complex matters are routed to the eighteen local DECs for local

investigation.

      At the end of any confidential investigation, the OAE Director or DEC

Chair will evaluate the investigator's rep01i. If misconduct occurred but would

only result in "minor" discipline of less than an admonition, the affected district

invites the Director to consider an agreement in lieu of discipline.         If no

disqualifiers apply and the matter is clearly minor within the definition of that

Rule, the Director diverts the matter out of the disciplinary system. R. 1:20-

3(i)(2). Where the investigation establishes clear and convincing proof that an

attorney has violated one or more RPCs, and the misconduct merits greater than

minor discipline, the Director or DEC Chair will authorize the filing of a formal

disciplinary complaint.




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        Just as in other areas of the law, disciplinary complaints may be resolved

  by consent documents or litigated via a hearing. Such hearings generally occur

  before panels of three DEC members, two of whom are attorneys and one of

  whom is a non-attorney public member. For complex cases, the Court may

  authorize the appointment of a special ethics master - a retired judge or an ethics

  practitioner who is compensated to hear voluminous or legally complex

  evidence which cannot fairly and timely be resolved through the volunteer

  system.

        The trier of fact, whether a DEC panel or a special ethics master, will fully

  consider all evidence presented by the presenter and the respondent at a hearing.

  After digesting the parties' presentations, the finder of fact will issue a report

  which decides two separate issues. First, the finder of fact will determine

  whether any RPC was violated. Second, in the event that misconduct occurred,

  the finder of fact will recommend an appropriate quantum of discipline based

  on applicable New Jersey disciplinary precedent. The finder of fact does not

  have the authority to impose discipline.

        Rather, all recommendations for discipline by the initial finder of fact are

  automatically reviewed by a second objective disciplinary entity, the

 Disciplinary Review Board (the DRB or the Board). R. 1:20-15. The DRB sits

 as the intermediate appellate tribunal within the attorney disciplinary system. It


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determines whether individual ethics cases were correctly adjudicated and is the

only body that considers appeals from dismissals of ethics cases. As with all

entities within the attorney regulatory system, the DRB is two-thirds attorney

members, with the remaining third composed of non-attorney public members.

Since 1984, the DRB has been supported by full-time staff in the Office of Board

Counsel.

      The DRB also reviews all recommendations from discipline made by the

eighteen local DECs and special ethics masters. It exercises its independent

judgment to determine anew whether any RPC was violated, and whether the

recommended discipline is appropriate. The DRB has the authority to impose

admonitions by way of letter. In other matters, the Board's decisions become

effective upon entry of a corresponding Order of the Court. The Board may only

recommend disbarment, upon which the Court alone is empowered to act.

      Finally, the Board reviews petitions for reinstatement, filed by attorneys

who have completed a term of disciplinary suspension imposed by the Court and

have complied with R. 1:20-20, governing suspended attorneys. R. 1:20-21.

Typically, the Board considers these petitions without the necessity of oral

argument and issues a recommendation to the Court regarding whether the

attorney should be permitted to return to the practice of law. New Jersey does

not presently allow readmission from disbarment.


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        Our Court is the third and final level of the disciplinary system. The Court

  is the only body empowered to disbar an attorney, and it enters an order to show

  cause in all disbarment cases. In all other matters, the recommendation of the

  DRB becomes final on the entry of a disciplinary Order by the Court. R. 1:20-

  16(b). The Court may also grant a petition for review or issue an order to show

  cause on its own motion.



        B.    Attorney Misconduct Warranting Discipline

        All violations of the Rules of Professional Conduct constitute misconduct

  for which New Jersey attorneys may be subject to discipline.          For "minor

  unethical conduct," an attorney may be eligible for an agreement in lieu of

  discipline, a non-disciplinary resolution. R. 1:20-3(i)(2). For all other

  misconduct, an attorney will receive formal and public discipline between an

  admonition and disbarment.



        c.    Purposes of Attorney Discipline

        The two primary purposes of attorney discipline are protection of the

 public and the reputation of the bar. In re Goldstein, 97 NJ. 545,548 (1984). The

 Court has also expressly considered, in Wilson and elsewhere, the deterrent value of




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attorney discipline. Wilson, 81 N.J. at 460 n.6; In re Greenberg, 155 NJ. 138, 164

(1998) (describing deteITence as "a primary objective of the Wilson rule").

      Unlike the criminal justice system, which is based, at least in part, on

retribution, punishment is not a primary goal of the attorney disciplinary system.

Notwithstanding that distinction, as a practical matter, attorney discipline does

punish offending lawyers with sanctions that may result in loss oflivelihood and

reputation. See Leslie C. Levin, The Emperor's Clothes and other Tales about

the Standards for Imposing Lawyer Discipline, 48 Am. L. Rev. 1 ( 1998).



      D.    Levels of Attorney Discipline

      Rule 1:20-15A(a) enunciates the present categories of final discipline in

New Jersey in order, from most to least serious:

            The imposition of final discipline may include any of
            the following sanctions, all of which shall be public:

            ( 1) Disbarment. An attorney who is disbarred shall have
            his or her name permanently stricken from the roll of
            attorneys.

            (2) Indeterminate Suspension. Unless the Court's Order
            provides otherwise, an indeterminate suspension shall
            prohibit the attorney from seeking reinstatement for a
            minimum of five years.

            (3) Term of Suspension. Absent special circumstances,
            a suspension for a term shall be for a period that is no
            less than three months and no more than three years.


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              ( 4) Censure.

              ( 5) Reprimand.

              ( 6) Admonition.

  The Court imposes a quantum of discipline in "accord with the seriousness of

  the misconduct in light of all relevant circumstances." In re Stanley, 102 N.J.

  244, 253-54 (1986) (citing In re Nigohosian, 88 N.J. 308,315 (1982)).

        Disbarment is typically reserved for the most severe forms of misconduct,

  including knowing misappropriation. Disbarment cases are per se "complex"

  investigations. Accordingly, those investigations are performed by the career

  staff of the OAE. Knowing misappropriation cases may be resolved through a

  consent to disbarment, which is filed directly with the Court. R. 1:20-1 0(a). If

  litigated rather than resolved by consent, a knowing misappropriation case will

  be presented to a compensated special ethics master, R. 1:20-6(b), who is better

  positioned than volunteer panelists to commit the time necessary to hear and

 deliberate upon a complex financial case.

        Consistent with the plain language of the current Rule, disbarment in New

 Jersey is permanent. In re Wilson, 81 N.J. at 456 n.5; R. 1:20-15A(a). As a

 result, a final Order of disbarment results in the dismissal of all other grievances

 pending at every level of the disciplinary system. No further action is possible

 because the attorney's license has been terminated and cannot be restored.


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       E.    Types of Misappropriation

      There is an important difference between negligent and knowing

misappropriation. That distinction is memorialized here for the benefit of the

public who may read this report.

      RPC 1.15(a) is entitled "Safekeeping Property" and governs all attorneys'

duty to guard against the invasion of others' funds that they may come to hold

in the course of representing a client. The Rule provides:

             A lawyer shall hold property of clients or third persons
            that is in a lawyer's possession in connection with a
            representation separate from the lawyer's own property.
            Funds shall be kept in a separate account maintained in
            a financial institution in New Jersey. Funds of the
            lawyer that are reasonably sufficient to pay bank
            charges may, however, be deposited therein. Other
            property shall be identified as such and appropriately
            safeguarded. Complete records of such account funds
            and other property shall be kept by the lawyer and shall
            be preserved for a period of seven years after the event
            that they record.

Typical trust and escrow funds include real estate deposits, personal injury

settlements, and estate funds. In New Jersey, an attorney will be subject to

discipline for any invasion of entrusted funds which is the product of that

attorney's own action. 1


1
  An attorney may have disciplinary liability for the actions of subordinates who
steal or otherwise invade entrusted funds, but such cases are typically charged as
failure to supervise the subordinate. Such cases result in discipline between an

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        Where an invasion of client trust funds has resulted from an accident or

  the attorney's negligence, that misconduct typically will be met with a

  reprimand. See In re Gleason, 206 N.J. 139 (2011) (holding that poor records

  mismanagement generating excess disbursements from trust account constituted

  negligent misappropriation); In re Weinberg, 198 N .J. 3 80 (2009) (holding that

  failure to reconcile a trust account, resulting in an overdraft that invaded other

  clients' funds, constituted negligent misappropriation).

        However, where an attorney has knowingly invaded client trust funds,

  Wilson requires disbarment. The definition of "knowing" invasion of client

  funds is likewise longstanding in our jurisprudence:

              In re Eisenberg, supra, 75 N.J. 454, 383 A.2d 426
              (1978). It is the knowledge that the money belongs to
              the parties to the escrow agreement and that they have
              not authorized the taking by the attorney, either by
              stealing or by borrowing it, that is the essence of the
              disbarment rule of In re Wilson, 81 N.J. 451, 409 A.2d
              1153 (1979), and In re Hollendonner, supra, 102 N.J.
              21, 504 A.2d 1174 (1985). In re Noonan, 102 N.J. 157,
              506 A.2d 722 (1986).

              [In re Gifis, 156 N.J. 323, 355 (1998).]




  admonition and a censure, with the magnitude of the haim treated as an aggravating
  factor. See e.g., In the Matter of Seymour Wasserstraum, DRB 18-411 (July 29,
  2019) (cataloging cases), 192 N.J. 397 (2007). An attorney generally has no
  disciplinary liability for a bank en-or that impacts client funds, which would
  ordinarily be detected and rectified through required monthly three-way
  reconciliations.
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Only where the OAE has proven those elements of knowledge to the clear and

convincing evidence standard will an attorney have disciplinary liability for

knowing      misappropriation.   Both    before    and   after   Wade,   knowing

misappropriation of entrusted funds requires disbarment.



          III.   IN RE WILSON

      In 1979, the Court addressed the matter of Wendell R. Wilson, an attorney

whom the DRB had recommended be disbarred.                Included in the eight

complaints that were filed against Wilson were two alleging his knowing

misappropriation of client funds. Specifically, Wilson had failed to turn over the

proceeds of the sale of a house to one client, for over two years, and had forged

another client's signature on an incoming check. Ultimately, he made good on

the former but not the latter. The DRB found that, in addition to his

misappropriations, Wilson had lied to clients; "wantonly" disregarded their

interests; advised them to commit fraud; and was uncooperative in the ethics

proceedings - in short, a wholly unsympathetic character. That said, the Court

addressed only the misappropriations because, as it put it, "disbarment is

mandated by that alone." Wilson, 81 N.J. at 454.

      The Court began by defining knowing misappropriation as "any

unauthorized use by the lawyer of clients' funds entrusted to him, including not


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  only stealing, but also unauthorized temporary use for the lawyer's own purpose,

  whether or not he derives any personal gain or benefit therefrom." Id.,

         In Wilson, the Court explained why clients' funds are held by lawyers in

  the first instance: such possession is often expedient, customary and essential,

  and, more importantly, because of the clients' underlying faith in the legal

  profession as an institution. The Court went on to characterize the breach of that

  trust as "particularly reprehensible," citing a number of decisions recognizing

  the nature and gravity of the offense and the ineluctable conclusion that

  disbarment was required. Id. at 455.

        The Court recognized that disbarment had not always followed m

  misappropriation cases:

              results in misappropriation cases have varied because
              of circumstances which the Comi has regarded as
              mitigating: the economic and emotional pressures on
              the attorney which caused and explained his misdeed;
              his subsequent compliance with client trust account
              requirements; his candor and cooperation with the
              ethics committee; his contrition; and, most of all,
              restitution. The presence of a combination of these has
              occasionally resulted in suspension, ranging from six
              months to three years, rather than disbarment.

               [Id. at 455-56.]

        In Wilson, the Court rejected any outcome short of disbarment,

  reaffirming as paramount the protection of the public and preservation of

  confidence in the integrity and trustworthiness of the bar. In so ruling, the Court

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gave no consideration to mitigating factors such as restitution, good reputation,

or inexperience. As to restitution, it noted that compensation of victims is not a

function of our disciplinary process and bears the potential to favor those with

the ability to pay. Id. at 458. Regarding the latter considerations, the Court

observed that misappropriation is so grievous an offense against com1non

honesty that its nature should be clear not only to the youngest but also to the

most distinguished practitioners. Id. at 459-60.

      Although the Court was troubled by the sympathetic case of a lawyer who

misappropriates to save a family member or the family home and, after the fact,

lives an exemplary life, it concluded that, on balance, the risk to continued

public confidence in the integrity of the profession is the greater weight. Thus,

the Court determined that the rule that calls for disbarment in knowing

misappropriation cases will be almost invariable. Id. at 460.

      Six years later, the Court extended the Wilson rule to lawyers who

knowingly misappropriate escrow funds. In re Hollendonner, 102 N.J. 21

(1985). Anton J. Hollendonner used funds held in escrow for a real estate

transaction as a down payment on the purchase of a car. Id. at 26. He obtained

the approval of one party to the escrow arrangement but not the other.

Hollendonner made full restitution, but the Court found his conduct to constitute

knowing misappropriation. Id. at 28. However, it did not disbar him but, rather,


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  made the Wilson rule applicable prospectively to the knowing misappropriation

  of escrow funds. Id. at 28-29.

         In 1993, the Wilson rule agam was extended in scope, this time in

  connection with the knowing misappropriation of law firm funds.              In In re

  Siegel, 133 NJ. 162, a partner at a large law firm was charged with fabricating

  disbursements, misappropriating law firm funds, and submitting false expenses

  against a client account over three years to pay his own personal expenses. The

  Court declared:

               We see no ethical distinction between a lawyer who for
               personal gain willfully defrauds a client and one who
               for the same untoward purpose defrauds his or her
               partners. In the absence of compelling mitigating
               factors justifying a lesser sanction, which will occur
               quite rarely, misappropriation of firm funds will
               warrant disbarment. 2

               [Siegel, 133 N.J. at 167-68.]

        In 2002, the Court created an indeterminate suspens10n.               R. 1:20-

  15A(a)(2). It has been characterized as a remedy for those on the "cusp" of

  disbarment. 46 N.J. Practice, New Jersey Attorney Discipline § 4: 16, at 233.

  Between 2002 and 2023, only five indeterminate suspensions were meted out,

  and none in connection with a Wilson case.



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   In In re Sigman, 220 NJ 141 (2014 ), the Court clarified that a Siegel violation will
  not invariably result in disbannent.

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       In the years since the announcement of the Wilson rule, the Court has

disbarred I 00% of the attorneys found to have knowingly misappropriated

client's funds. 46 N.J. Practice, New Jersey Attorney Discipline§ 6: I, at 335.



          IV.   IN RE WADE

      In 2022, in In re Wade, 250 N.J. 581, the Court analyzed and reaffirmed

the principles set forth in Wilson. In that case, the attorney was charged with

knowingly misappropriating the entrusted funds of three clients. She readily

admitted to the OAE what she had done, cooperated fully with disciplinary

authorities, and reimbursed the funds she improperly had taken. The Special

Master characterized her as "a remarkable person who has overcome tremendous

personal obstacles, through diligence and perseverance, to become a pillar of

her church and local community." Id. at 593. Born to an addicted, sixteen-year-

old mother, Wade's childhood was chaotic. Yet, she became a student leader,

mentor, and volunteer. As a lawyer, she had an impressive array of pro bono

service. She presented workshops on domestic violence, bankruptcy, real estate,

and wills to underserved clients and, through her church, assisted with

transitional housing, summer camp, school programs and food drives. She was

honored by Northeast New Jersey Legal Services numerous times for her pro

bono dedication. The Court noted that she had presented multiple character


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  witnesses who offered "compelling evidence of her personal and professional

  achievements," and that the Special Master had found that "her service to the

  community and good reputation are particularly exemplary." Id. at 602. Yet,

  as has previously been discussed, none of those factors provides a defense to a

  Wilson    violation.   Consequently,     the    Court   reaffirmed   that   knowing

  misappropriation will result in disbarment in all cases, including that of Wade,

  but posed these questions: "[s]hould disbarment be permanent in all Wilson cases?

  Or should the disciplinary system offer disbarred attorneys like [Wade] an

  opportunity for a second chance at a later point in time?" Id. at 604.

        The Court pointed out that many considerations bear on the answers to

  those questions, including the fact that forty-one states and the District of

  Columbia now permit attorneys to apply to be readmitted after they have been

  disbarred. Id. at 585. Most of those jurisdictions allow such application for

  readmission five years after the effective date of the disbarment.

        The Court also noted that the ABA' s model rule permits an application

  for readmission five years after disbarment if the applicant satisfies certain

  criteria, including compliance with all prior disciplinary orders; rehabilitative

  treatment for physical or mental infirmity; programs for alcohol or drug abuse;

  recognition of the wrongfulness and seriousness of the prior misconduct; proof

  of the requisite honesty; and proof of integrity to practice law and competency


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to practice.     Id. at 606-7 ( citing MODEL RULES FOR LA WYER DISCIPLINARY

ENFORCEMENT r. 25(E) (AM. BARASS'N 2002).

       The Court also detailed the readmission regulations of several

jurisdictions. By way of example, it noted South Dakota, which considers ten

comprehensive factors, as discussed in greater detail later in this report.

Moreover, the Court noted that eleven jurisdictions require the attorney

applicant to retake the bar exam, whereas other jurisdictions impose that

requirement on a discretionary basis. Wade, 250 N.J. at 607-8.

      The Court went on to convene this Committee, comprised of attorneys and

members of the public with the following objectives:

               We will ask the committee to study whether disbarment
               should continue to be permanent in all Wilson cases and
               to recommend standards that might apply if New Jersey
               were to adopt the majority approach. Among other
               issues to consider are the following: After what period
               of time might attorneys be readmitted? What factors
               and standard of proof should apply to that judgment?
               Should disbarred attorneys be required to retake the bar
               examination or other courses on ethics, recordkeeping,
               and related subjects? What process might be adopted
               for readmission? And what rule changes might be
               warranted?

            To be clear, we ask the committee to recommend
            whether to modify the rule of permanent disbarment for
            matters in which disbarment has been mandatory - that
            is, for knowing misappropriation of client funds under
            Wilson and escrow funds under Hollendonner. The
            Court made clear in Sigman that disbarment was not
            required for knowing misappropriation of law firm

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                funds. 220 N.J. at 158, 104 A.3d. 230. We ask the
                committee to consider whether any rule change should
                apply to orders of disbarment entered before Sigman.

                There are yet other serious matters in which the Court
                exercised its discretion and permanently disbarred an
                attorney. We invite the committee's comments on that
                issue as well. The committee's report will be made
                available to the public for comment before the Court
                determines how to proceed. See N.J. Const. art. VI, § 2,
                ,I 3 ("The Supreme Court shall have jurisdiction over
                the admission to the practice of law and the discipline
                of persons admitted."). We welcome input from
                attorneys and the public to promote the key interests at
                the heart of the Wilson rule: how best to protect the
                public and maintain confidence in the legal profession.

                [Id. at 608-9.]

        This report follows.



           V.      STANDARDS    FOR            READMISSION          IN     OTHER
                   JURISDICTIONS

        As recognized by the Court in Wade, every jurisdiction disbars attorneys

  for serious ethics violations, but treats the permanency of the disbarment or

  readmission from disbarment differently. In re Wade, 250 N.J. at 607. Most

  states (forty-one) and the District of Columbia permit disbarred attorneys to

  apply for readmission. New Jersey, along with Indiana, Kentucky, Nevada, New

  Mexico, Ohio, Oregon, and Tennessee, impose permanent disbarment. See R.

  1:20-15A(a)(l), -16(i); Ind. R. Admission Bar & Discipline Att'ys 23 § 3(a); Ky.

  Sup. Ct. R. 3.380; Nev. Sup. Ct. R. 102(1); N.M. State Ct. R. 17-214(A); Ohio
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Sup. Ct. R. Gov't Bar V, § 12(B); Ore. State Bar R. P. 6. l(d); Tenn. Sup. Ct. R.

9, § 30.2 (making disbarment permanent on or after July 1, 2020); La. Sup. Ct.

R. Law. Disciplinary Enf't 19, § l0(A)(l).

      For jurisdictions that allow readmission after disbarment, all but eleven

provide that attorneys may seek readmission after five years. See Ala. R.

Disciplinary P. 28(b); Alaska Bar R. 29(b)(5); Ariz. R. Sup. Ct. 64(d); Ark. R.

Pro. Conduct 24(B)(l); Cal. State Bar R. 5.442(B); Del. Law. R. of Disciplinary

Proc. 22(c); D.C. Bar R. XI, §16(a); Ga. R. Gov'g Admission Prac. L. pt. A,

§l0(a); Idaho Bar Comm'n R. 506(a); Ill. Sup. Ct. R. 767(a); Iowa Ct. R.

34.25(7); Me. Bar R. 29(a); Mich. Ct. R. 9.123(B)(2); Mo. Sup. Ct. R. 5.28(f)(2);

Mont. R. Law. Disciplinary Enf't 29(C)(3); Neb. Ct. R. 3-3 I0(T); N.C. R. State

Bar ch. 1, subch. B, § .0129(a)(2); N.D. R. Law. Discipline 4.5(D); Okla. R.

Gov' g Disciplinary Proc. 11.1 (e ); Pa. R. Disciplinary Enf't 218(b ); R.I. Sup. Ct.

R. art. III, R. 16(b); S.C. App. Ct. R. 413, R. Laws.' Disciplinary Enf't 33(a);

S.D.C.L. § 16-19-83; Tex. R. Disciplinary P. 11.01; Utah Code Jud. Admin. R.

14-707(c); Vt. Admin. Ord. 9, R. 26(A); Va. R. Sup. Ct. pt. VI, § IV, 1 13-

25(F)(l); Wash. Admission Prac. R. 25.l(b); W. Va. R. Law. Disciplinary P.

3 .33(b ); Wis. Sup. Ct. R. 22.29(2); Wyo. R. Disciplinary P. 22(b )(1 ). This is

consistent with the ABA's recommendation that "[n]o lawyer may petition for




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  readmission until five years after the effective date of disbarment." MODEL

  RULES FOR LA WYER DISCIPLINARY ENFORCEMENT r. 25(A) (AM. BAR Ass'N 2002).

        The remaining jurisdictions either have a variation of the five-year time

  requirement (four states), or another unique timeframe (seven states). See Colo.

  R. Civ. P. 242.39(a)(I) (eight-year timeframe); Conn. R. Super. Ct.§§ 2-53(b),

  2-47 A (five years except for cases of knowing misappropriation, which is twelve

  years); R. Regulating Fla. Bar 3-7.l0(n)(l) (five years unless more time is

  specified in the order of disbarment); Haw. R. Disciplinary Bd. 30(a) (I-year

  timeframe); Kan. Sup. Ct. R. 232(a)(3), (e)(l) (five years unless more time is

  ordered by the court); Md. R. 19-752( c )(2)(B) (time set in each order); Mass. R.

  Sup. Jud. Ct. 4.01, § 18(2)(a) (eight years); Minn. 34 R. Laws. Pro. Resp. 18 (no

  set minimum, but factor considered for readmission); R. Discipline Miss. State

  Bar 12( e), 12.1 (five years except, in certain felony criminal offenses,

  disbarment is permanent); N.H. Sup. Ct. R. 37(14)(c)(l)(A) (seven years); N.Y.

  Ct. R. 1240.16(c)(l) (seven years).

        If readmission from disbarment is denied, some states impose a time

  limitation for reapplication. Ala. R. Disciplinary P. 28(i) (one year); Del. Laws.'

  R. Disciplinary P. 22(d) (one year); Ill. Sup. Ct. R. 767(a) (two years); Mass. R.

  Sup. Jud. Ct. 4.01, § 18(8) (one year); Md. R. 19-752(i) (one year); Mich. Ct. R.

  9.123 (D)(4) (one year); N.C. R. State Bar ch. 1, subch. B, § .0129(a)(10) (one


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year); Okla. R. Gov' g Disciplinary Proc. I I. I (e) ( one year); S.C. App. Ct. R. 413,

R. Laws.' Disciplinary Enf't 33(h) (two years); S.D.C.L. § 16-19-83 (one year);

Tex. R. Disciplinary P. 11.08 (three years); Wash. Admission Prac. R. 25.l(b)

(two years); Wyo. R. Disciplinary P. 22(7) (two years).

       Jurisdictions that pennit readmission have set criteria to be considered when

evaluating an attorney's application. Many jurisdictions' criteria are similar to the

ABA Model Rule 25, which requires "compliance with all prior disciplinary orders;

rehabilitative treatment for physical or mental infirmity, including alcohol or drug

abuse; recognition of the wrongfulness and seriousness of the prior misconduct;

proof of 'the requisite honesty and integrity to practice law;' competency to practice;

and passage of the bar examination and character and fitness examination." Wade,

250 N.J. at 606-607 (citing MODEL RULES FOR LAWYER DISCIPLINARY

ENFORCEMENT r. 25 (Am. Bar Ass'n 2002)).

      As outlined in Wade, a comprehensive example comes from South

Dakota, where its Supreme Court considers ten factors:

             1.     present moral fitness;

             2.     acceptance of wrongdoing with sincerity and honesty;

             3.     extent of rehabilitation;

             4.    nature and seriousness of the original misconduct and the
                   disrepute it brought on the legal profession;

             5.    conduct following the discipline, including whether there has
                   been any unauthorized practice of law;

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               6.    time elapsed since the original discipline;

              7.     character, maturity and experience at the time of discipline and
                     now;

              8.     current competency and qualifications to practice law;

              9.     restitution; and

               10.   proof that resumption of the practice of law within the state will
                     not be detrimental to the integrity and standing of the bar or the
                     administration of justice, or subversive of the public interest.

              [Id. at 607 (quoting In re Pier, 561 N.W.2d 297, 301 S.D. 1997)).]

        Most jurisdictions adopt some or all of the above criteria, but only sixteen

  require applicants to complete examinations. Of those, eleven states require an

  attorney seeking readmission to pass the bar examination. Ariz. R. Sup. Ct.

  64(c); Cal. State Bar R. 5.44l(B)(4)(a); Ga. R. Gov'g Admission Prac. L. pt. A,

  § 1O(f); Okla. R. Gov'g Disciplinary Proc. 11.5( c ); Colo. R. Civ. P. 242.39(a)(l)

  (also requires the Multistate Professional Responsibility Examination (MPRE));

  R. Regulating Fla. Bar 3-7.10(f)(4)(B) (same); R. Discipline Miss. State Bar

  12.5 (same); Mo. Sup. Ct. R. 5.28(b)(4), (d) (same); N.H. Sup. Ct. R.

  37(14)(c)(2)(C), (D) (same); S.C. App. Ct. R. 413, R. Laws.' Disciplinary Enft

  33(f)(8) (same); Minn. R. Laws. Pro. Resp. 18(e) (requires completion of all

  written exams required for initial admission). See also N.C. R. State Bar ch. 1,

  subch. B, § .0129(a)(5) (required after seven years). Five states require

  applicants to retake the MPRE. Conn. R. Super. Ct. § 2-53(d)(3); R.I. Sup. Ct.


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art. III, R. 16(d); Va. R. Sup. Ct. pt. 6, § IV, 'if 13-25(F)(4); N.Y. Ct. R.

1240.16(b)      (MPRE   mandatory;     may      also   require   completion of bar

examination); N.C. R. State Bar ch. 1, subch. B, § .0129(a)(5) (required after

seven years).

        One of the most common criteria required for readmission is restitution.

Many jurisdictions require some form of restitution, or provide that restitution

is a factor to be considered. See Ala. R. Disciplinary P. 28 (readmission may be

conditioned on complete or partial restitution); Cal. State Bar R. 5.442(B)(2),(3)

(pay all discipline costs and reimburse Client Security Fund); Colo. R. Civ. P.

242.39 (must show completion of any required restitution); Conn. R. Super. Ct.

§ 2-53(c) (if disbarred for misappropriation, must show full restitution); D. C.

Bar R. XI 16 (may require restitution if readmission granted); R. Regulating Fla.

Bar 3-7.1 0(n) (must make all restitution); Ill. Sup. Ct. R 767(f) (restitution a

factor); Iowa Ct. R. 34.25 (l)(f) (repayment or payment plan for Clients'

Security Trust Fund); Md. R. 19-752(h)(2)(i) (required completion of financial

obligations); Mich. Ct. R. 9.123 (b)(9) (reimbursement or payment plan for

client security fund); Mo. Sup. Ct. R. 5.28(b )(2) (restitution a factor); N.C. R .

State     Bar    ch.    1,   subch.     B,      §      .0129(a)(3)(L-P)   (requiring

reimbursement/restitution to all including Client Security Fund); Okla. R. Gov'g

Disciplinary Proc. 11.4 (restitution a factor); S.D.C.L. § 16-19-87 (may


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  condition readmission on restitution); Utah Code Jud. Admin. R. 14-

  717(b )(l)(D)(ii) (requiring full restitution); Va. R. Sup. Ct. pt. VI,§ IV, ,r 13-

  25(G)(6)(b) (restitution a factor); Wash. Admission Prac. R. 25.l(d) (must pay

  any restitution ordered prior to application); Wis. Sup. Ct. R. 22.29( 4)(m)

  (restitution, including to the Wisconsin lawyers' fund for client protection or

  explanation of the failure or inability to do so); Wyo. R. Disciplinary P.

  22(b)(3)(C) (requiring restitution to any person and the Client Protection Fund).

        Additional requirements can include CLE credits and references. See Ala.

  R. Disciplinary P. 28(g) (readmission may be conditioned on additional CLEs);

  Me. Bar R. 29(e)(7) (CLE requirements for disbarment period - up to twenty-

  four credits); Minn. R. Laws. Pro. Resp. 18 (all required CLE for change from

  restricted to active status); Va. R. Sup. Ct. pt. VI,§ IV, ,r 13-25(F)(3) (sixty CLE

  hours within five years of applications, ten hours in ethics); Alaska Bar R.

  29(b)(4) (three character witnesses required); Iowa Ct. R. 34.25 (9)(c) (regional

  references); N.C. R. State Bar ch. 1, subch. B, § .0129(4)(B)(v) (competency

  can be proven by "certification by three lawyers who are familiar with the

  petitioner's present knowledge of the law that the petitioner is competent to

  engage in the practice of law").

        Many states prohibit readmission, or have presumptive disqualification, if

  the attorney commits certain crimes or additional professional misconduct,


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including the unauthorized practice of law. Ariz. R. Sup. Ct. 64(b) (rebuttable

presumption disqualifying attorneys who have been convicted of a misdemeanor

involving a serious crime or felony); Ark. R. Regulating Pro. Conduct 24(B)(2),

(3) ( excluding convictions for certain serious crimes or if disbarment reflected

adversely on lawyers' honesty or trustworthiness); Cal. State Bar R. 5.442(B),

5.445 (no readmission after second disbarment); Iowa Ct. R. 34.25 (9)(e)

(requiring that the Client Security Trust Fund has been repaid in full or that an

approved payment plan in place); Kan. Sup. Ct. R. 232(e)(4)(G) (no unauthorized

practice of law); Me. Bar R. 29 (no unauthorized practice of law); Md. R. 19-

752(h) (no unauthorized practice of law or further professional misconduct);

Mich. Ct. R. 9.123(B)(3) (no unauthorized practice of law); R. Discipline Miss.

State Bar 12(d) (permanent disbarment for felony crimes); Mo. Sup. Ct. R.

5.28(j)(6) (other instances of dishonesty including unauthorized practice of law

a factor); Mont. R. Law. Disciplinary Enf't 29(D)(2) (no unauthorized practice

of law); N.C. R. State Bar ch. 1, subch. B, § .0129(a)(3)(I) (no unauthorized

practice of law); N.D. R. Law. Discipline 4.5(F)(3) (no unauthorized practice of

law or further professional misconduct); Okla. R. Gov'g Disciplinary Proc.

11.l(a) (no unauthorized practice of law); S.C. App. Ct. R. 413, R. Laws.'

Disciplinary Enft 33(f), (h) (no unauthorized practice of law or further

professional misconduct; court can deny solely based on seriousness of prior


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  misconduct); Wis. Sup. Ct. R. 22.29(4)(b) (no unauthorized practice of law);

  Wyo. R. Disciplinary P. 22(b)(4) (no unauthorized practice of law).



              VI.   CONDITIONS AFTER             READMISSION           IN    OTHER
                    JURISDICTIONS

        Every jurisdiction that permits an attorney to seek to practice after

  disbarment reserves the right to impose conditions upon readmission. Those

  conditions provide assurance to the public of the continued trustworthiness of

  the readmitted attorney and of the overall integrity of the profession. In addition,

  the conditions serve to protect the public by monitoring the conduct of returning

  attorneys to ensure that they have not committed new violations of each

  jurisdictions' ethics rules. The ABA's model rule governing reinstatement

  provides:

                The court may impose any conditions that are
                reasonably related to the grounds for the lawyer's
                original suspension or disbarment, or to evidence
                presented at the hearing regarding the lawyer's failure
                to meet the criteria for reinstatement or readmission.
                Passing the bar examination and the character and
                fitness examination shall be conditions to readmission
                following debarment. The conditions may also include
                any of the following; limitation upon practice (to one
                area of law or through association with an experienced
                supervising lawyer); participation in continuing legal
                education courses; monitoring of the lawyer's practice
                (for compliance with trust account rules, accounting
                procedures, qr office management procedures);
                abstention from the use of drugs or alcohol; active

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             participation in Alcoholics Anonymous or other alcohol
             or drug rehabilitation program; monitoring of the
             lawyer's compliance with any other orders (such as
             abstinence from alcohol or drugs, or participation in
             alcohol or drug rehabilitation programs).       If the
             monitoring lawyer determines that the reinstated or
             readmitted lawyer's compliance with any condition of
             reinstatement or readmission is unsatisfactory and that
             there exists a potential for harm to the public, the
             monitoring lawyer shall notify the court and, where
             necessary to protect the public, the lawyer may be
             suspended from practice under Rule 20(B).

             [MODEL   RULES       FOR   LA WYER     DISCIPLINARY
             ENFORCEMENT r. 25(1) (AM. BAR Ass'N 2002).)

      Other jurisdictions have adopted similar approaches to those in the ABA's

Model Rule 25. Maine, for example, states:

            The Court may impose conditions on a [petitioner's]
            reinstatement. The conditions shall be imposed in cases
            where the petitioner has met the burden of proof
            justifying reinstatement, but the Court reasonably
            believes that further precautions should be taken to
            protect the public.      The Court may impose any
            conditions that are reasonably related to the grounds for
            the [petitioner's] original suspension or disbarment, or
            to evidence presented at the hearing regarding the
            [petitioner's] failure to meet the criteria for
            reinstatement. Passing the bar examination and the
            character and fitness examination shall be conditions to
            reinstatement following disbarment. The conditions
            may include, but are not limited to any of the following:
            (I) limitation upon practice to one area of law or
            through association with an experienced supervising
            lawyer; (2) participation in continuing legal education
            courses; (3) monitoring of the [petitioner's] practice for
            compliance with trust account rules, account
            procedures, or office management procedures; (4)

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              abstention from the use of drugs or alcohol; (5) active
              participation in an alcohol or drug rehabilitation
              program; (6) active participation in mental health
              treatment; or (7) monitoring of the [petitioner's]
              compliance with these conditions and any other orders.
              Should a monitor determine that the reinstated
              [lawyer's] compliance with any condition of the
              reinstatement is unsatisfactory and that there exists a
              potential for harm to the public, the reinstated lawyer
              may be suspended from practice under Rule 21 (b ).

              [Rule 29(i) Maine Board of Overseers. See also Md. R.
              19-7520); S.C. App. Ct. R. 413, R. Laws.' Disciplinary
              Enft 33(i).]




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             VII. CURRENT   NEW   JERSEY   STANDARDS                           FOR
                  REINSTATEMENT FROM SUSPENSION

         The requirements for reinstatement following suspension in New Jersey

are enumerated in R. 1:20-21. 3 That Rule sets forth the requirements for the

application process in detail, including where the filing takes place (with the

ORB); service and publication requirements; and disciplinary costs. Subsection

(f) of the Rule requires that the petition "set forth all material facts on which the

petitioner relies to establish fitness to resume the practice of law" including the

following:

               Name of petitioner and current photograph;

               Date on which suspension was imposed and citation to
               any reported opinion;

               Age, current address, and telephone number, as well as
               the address and correlating dated for any residences
               during the suspension;

               Nature of petitioner's occupation during suspens10n,
               including name and address of employer, dates
               employed,       positions      occupies/titles  held,
               name/address/phone number of the immediate
               supervisor, and the reason for leaving employment;

               Information     regarding      any     civil,  criminal,
               administrative or disciplinary action pending during the
               suspension period to which petition was a party or
               claimed an interest;




3
    Rule 1:20-21 is reproduced in full in the Appendix at E.
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              Written consent for Board to obtain copies of records
              relating to any criminal investigation or action
              involving petitioner;

              Statement of monthly earnings and income and sources;

              Statement of assets and financial obligations at the
              effective date of the suspension and presently;

              Information regarding any accounts, safety deposit
              boxes, deposits, or loans;

              Copies of federal and state income tax returns;

              Statement of restitution to clients and the Fund;

              Information as to the receipt of service relating to
              mental or emotional health or addiction if those
              services relate to the disciplinary offenses or are
              determined to be relevant to the petitioner's present
              ability to practice;

              Whether petitioner applied for admission in any other
              jurisdiction;

              Information regarding any other business licenses or
              certificates and related disciplinary actions;

              Information about any applications requiring proof of
              good character made during the term of suspension;

              Whether petitioner engaged in the practice of law
              during the term of suspension;

              Any disciplinary proceedings during the term of
              suspension relating to petitioner's membership in any
              other profession or organization;

              Written representation of petitioner's intentions
              concerning the practice of law if reinstated;

              Annual Attorney Registration Statement; and


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             Copy of the Rule 1:20-20 affidavit and any other
             information required by the Board or Court (R. 1:20-
             21 (f)(l) - ((21).

That Rule also authorizes referral of specific issues by the Board to a trier of

fact; establishes the standard of proof ( clear and convincing); and states that the

burden of proof falls to the petitioner.

      R. 1:20-20, in turn, enumerates the requirements that previously must

have been satisfied by an attorney, contemporaneous with their suspension. The

required R. 1:20-20 affidavit mandates that the lawyer seeking reinstatement

certify, under penalty of perjury, that he or she has satisfied each and every one

of the prescriptions in the Rule.

      R. 1:20-1 SA(b) provides authority for the imposition of conditions on a

lawyer reinstated after suspension:

            Conditions. The Supreme Court's Order may provide
            for one or more of the following, either as a part of a
            sanction imposed pursuant to paragraph (a) or as a
            condition to reinstatement:

            ( 1) Financial controls including, but not limited to, a
            designated co-signatory for all attorney trust and
            business account checks;

            (2) Restrictions on the ability to practice including,
            but not limited to, the use of a supervising attorney
            approved by the Office of Attorney Ethics as a
            prerequisite to engaging in the private practice of law;

            (3) Substance abuse control including, but not
            limited to, requiring abstinence, testing, and an
            identifiable commitment to appropriate support groups;

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              ( 4) Mental health treatment and counseling, together
              with a finding of fitness to practice by a mental health
              professional approved by the Office of Attorney Ethics;

              (5) Taking and passing the New Jersey bar
              examination, as well as meeting all other qualifications
              for admission including, but not limited to, a
              certification of the attorney's good character by the
              Supreme Court after review by the Committee on
              Character; and

              (6) Such other conditions as may be deemed
              appropriate in the light of the circumstances presented
              including, but not limited to, probation or a suspended
              suspension.

        R. 1:20-15A(b)(5) also cross-references the standards of the Committee

  on Character.        Of particular interest is the burden of proof for character

  proceedings:

              Burden of Proof. The candidate shall have the burden
              to establish by clear and convincing evidence his or her
              good character and current fitness to be admitted to the
              practice of law in this State. Among the factors the
              Committee shall take into consideration are the:

                  a.    Severity of the conduct;

                  b. Cumulative nature of the conduct;

                  c.    Age of the candidate at the time of the alleged
                        misconduct; and

                  d. Any rehabilitation evidence presented by the
                        candidate.

              [Comm. Char. Reg. 303:6.]




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That burden is consistent with the burden applicable to original disciplinary

proceedings. See R. 1:20-6(c)(2)(B); R. l:20-6(c)(2)(C).

      Relevant as well is the Committee on Character's enumeration of types of

rehabilitation evidence that an initial applicant is permitted to provide:

             Rehabilitation Evidence. The candidate may present
             rehabilitation evidence including, but not limited to:

                a. Positive social conduct and community service;

                b. Absence of recent misconduct;

                c. Reputation testimony; and

                d. Demonstration of the candidate's understanding
                   of responsibility to the administration of justice
                   and the practice of law.

             Substance abuse or mental illness may not be
             considered a defense or justification for misconduct,
             but evidence of treatment and recovery may be offered
             to support a claim of rehabilitation.

             [Comm. Char. Reg. 303:7.]

The full Character and Fitness questionnaire can be reviewed at Appendix I.

      Likewise, R. 1:20-18 provides that "an order of reinstatement entered by

the Supreme Court may require the respondent to practice law under supervision

by a practicing attorney," and prescribes the details of the monitoring process

including weekly conferences; monthly reports; timecards; and separate

quarterly reports by the supervisor.



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             VIII. RECOMMENDATIONS


        As reviewed in detail below, a majority of the Committee conceptually

  approved a path back from disbarment for deserving and fully rehabilitated

  attorneys. The Committee went on to propose boundaries for the privilege of

  readmission, and to sketch additional protective supports for attorneys who are

  admitted to practice a second time.


        A.     A Majority of the Committee Conceptually Approved a Path
               Back from Disbarment.

        Although the Committee was of one mind regarding the unethical nature

  of knowing misappropriation, it was, from the outset, divided over the question

  of whether     lawyers   who   are    disbarred   under   Wilson   for   knowing

  misappropriation of funds should ever be given a second chance to practice law.

  The members vigorously debated this issue.

        Those opposed to readmission argued that lawyers who take money from

  their clients without permission breach the compact of trust they have with the

  client and violate their obligations as officers of the court. They believe a

  second chance would not only fail to protect our fellow citizens but would

  destroy all confidence in the profession. For them, the absolute bar of Wilson

  is the only option.




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      The majority of members, who favored readmission, expressed the view

that, regardless of its duration, a Wilson disbarment, in and of itself, is an

equivalent and devastating response to a breach of trust.      They believe that

human beings are capable of change and that affording a second chance to

lawyers who have acknowledged their fault and redeemed themselves by their

post-disbarment conduct is consonant with contemporary notions of redemption,

reconciliation,   and restorative justice.     They cited initiatives toward

rapprochement between offenders and victims, as well as re-entry programs, as

evidence of the public's present attitudes. According to the majority, the public

would not be offended by providing an opportunity for a disbarred lawyer to ask

for a second chance rather than consigning a fully-rehabilitated person to a life

outside of the legal profession. They argue that such an opportunity will not

jeopardize the image of the profession or the interests of the public, so long as

a rigorous readmission scheme is in place.

      Those competing views are similar to the views expressed by the few

scholars who have weighed in on the question of permanency and whose

writings the Committee reviewed.        See Anne Ben Ami, Disbarment and

Reinstatement in the District of Columbia and New Jersey: Misappropriation

and the Merits of Permanent Disbarment, 27 Geo. J. Legal Ethics 356 (2014).

Ben Ami synthesizes the arguments in favor of permanency: a path back would


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  not protect our fellow citizens and would destroy confidence in the bar;

  permanency has a deterrent effect and provides uniformity, predictability, and

  efficiency; and that the clear and convincing burden at front end is heavy enough

  to assure that the right people are being singled out for permanent obloquy. See

  also Barry Brown, The Reinstatement Dilemma: The Legacy of the Hiss Case in

  Massachusetts, 2 J. Legal Prof. 77 (1977) (arguing permanency contributes to

  consistency).

        The scholarly opponents to permanent disbarment view the Ben Ami

  approach as out of synchronicity with contemporary values and argue that any

  notion of due process requires that a rehabilitated lawyer should not be

  consigned to a life outside the profession. They also contend that, although

  uniformity is a value, it is not one that should trump fairness; that there is no

  evidence that longer punishment improves the reputation of the profession; that

  disbarment for any amount of time is a sufficient deterrent (both general and

 specific) to bad conduct; and that proper vetting will protect the public. See

 William J. Hamilton, Current Developments 2018-2019: Treating all Attorneys

 Fairly; Changing the Rules for Disbarment, Regardless of Conduct, 32 Geo. J.

 Legal Ethics 659 (Fall 2019). See also Zazzali, 21 Geo. J. Legal Ethics 311

 ( approving disbarred attorneys being given a chance to seek readmission in some

 circumstances).


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         The initial debate in the Committee over the basic issue of whether there

should be a path back was a difficult one, with strong views expressed on both

sides. Ultimately, those who favored a second chance carried the day. However,

because the Committee was tasked with creating a readmission process

regardless of the outcome of this initial vote, it was agreed that the original vote

would be treated as a straw poll and that, after the Committee settled on a

procedure, a final vote would be taken. As it turned out, the ultimate vote, like

the earlier straw poll, was in favor of allowing Wilson violators to reapply for

admission to the bar.



      B.      Defining a Path Back From Disbarment

      The threshold issue of whether to offer a path back from disbarment having

been resolved, the Committee proceeded to consider the contours of which persons

would be eligible for application, and what standards those attorneys should be

required to satisfy prior to readmission. Those questions of scope are addressed

below.


   1. Committee Rejects Categorical Exclusion of Certain Categories of
      Knowing Misappropriation

      The formulation of the path back was the next issue. Initially the

Committee considered isolating specific types of knowing misappropriation and

barring those who committed them from access to a second chance. However,
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  1n light of the vast array of factual scenarios presented in knowing

  misappropriation cases, along with the difficulty of creating parsimonious

  categories, that approach was quickly discarded as unworkable.

        Several members suggested a blunter instrument- distinguishing between

  cases based solely on the notion of stealing - was it the lawyer's intent to deprive

  the clients of their property permanently? If so, that would be the dividing line

  between those permitted to apply and those not. But focusing only on the intent

  of the lawyer, like focusing only on the amount of the loss or even the extent of

  the rehabilitation, seemed to the Committee as too narrow an approach. It was

  agreed that, if there was to be a second chance, it needed to take into account

  the entire constellation of the factors involved in every case.

        As a practical matter, some members of the Committee expressed the fear

  that the number of persons who might apply for readmission could overwhelm

  the disciplinary system. Others countered that it was likely, after the passage of

  years, that many disbarred attorneys will have neither the desire nor the

  wherewithal to satisfy a rigorous readmission process. Those competing views

  were further informed by the most recent report of the American Bar Association

  Center for Professional Responsibility (2019) which reported that, among the

  forty-two jurisdictions permitting readmission after disbarment, only eight

  hundred and twenty-three lawyers sought reinstatement from suspension or


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readmission from disbarment (an average of twenty per jurisdiction) and only

forty lawyers were readmitted after disbarment - fewer than one per jurisdiction.

See ABA Survey on Lawyer Discipline Systems 2019. Statistics for other years

were similar (see Appendix K). Thus, the idea that a path back would result in a

swarm of applications that would overwhelm the disciplinary system did not

appear to be realistic to the Committee.

      Ultimately, the Committee concluded that the most practical approach was

that the path back should be available to all Wilson violators, with a rigorous

vetting process and a determination on a case-by-case basis. That was

recognized as the most labor-intensive but fairest approach.



   2. Duration of Disbarment

      The next issue to be resolved was how long a lawyer disbarred under

Wilson should have to wait to reapply. Vigorous debate ensued. The Committee

was advised that most jurisdictions and the ABA's model rule impose a five-

year period before a disbarred attorney can apply for readmission, although

several have longer or shorter periods, ranging from no wait to twelve years. It

also was noted that indeterminate suspension in New Jersey set five years as the

minimum duration prior to application for reinstatement. R. I :20-15A(a)(2).




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        Some members expressed concern that five years is too long, suggesting

  instead that applicants be required to commence CLE after two years and be

  permitted to reapply after three. Those members noted that three years without

  practicing is significant. Recognizing that some suspensions are three years,

  they suggested that suspension terms also may need to be revised.

        Other members countered that five years would be too short, considering

  that an indefinite suspension already is a minimum of five years. Additionally,

  those members were concerned that any form shorter than five years for such

  egregious conduct as knowing misappropriation would be poorly received. One

  member noted that, in his experience, disbarred attorneys are not ready to be

  readmitted in fewer than five years and often are coping with other issues, such

  as jail time and rehabilitation efforts, and need time to demonstrate reform; the

  member opined that such issues often cannot be resolved in two or three years.

 After a debate that drilled down on three, five, or seven years, the majority of

 the Committee settled on five years, the rule in most other jurisdictions.



    3. Application of Enhanced Reinstatement Rule to Readmission Following
       Disbarment

        The Committee then turned to process, again reviewing the rules of other

 jurisdictions, learned treatises, and the ABA model. After analyzing the scheme

 presently in effect in New Jersey for reinstatement following suspension, the

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Committee concluded that, if a path back is to be authorized, there is no need to

reinvent the proverbial wheel. Thus, it voted to adopt the substance of the Rules

set forth in Part VII above (see Appendix E), which parallel the rules in effect

in other jurisdictions.

       With that as the framework for the readmission standards, the Committee

debated what additions to or deletions from the R. I :20-21 might be wananted.

One of the first issues to arise was the standard of proof. Under the present

Rules, the applicant bears the burden of proving fitness to return to practice by

clear and convincing evidence. One member suggested adding a presumption

against readmission. After discussion, it was agreed that that would actually add

nothing to the Rule insofar as the presumption would have to be overcome by

clear and convincing evidence. Thus, the Committee voted to apply the present

burden and standard of proof set forth in R. 1:20-21.



   4. Testing Requirements for Readmission

      The Committee next addressed competency and whether applicants should

be required to retake the bar exam. The majority of jurisdictions that allow

disbarred attorneys a second chance make the bar exam a matter of discretion.

After a presentation on the subject, the Committee concluded that the bar exam

should be required only if the facts warrant it (for example, for a lawyer who


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  has been out of practice for many years or one whose disbarment was related to

  performance), but that it should not be mandatory in every case. In the

  Committee's view, many cases would not implicate the need for retesting.

        The Committee reached a different determination regarding the MPRE, a

  two-hour, sixty-question test developed to measure candidates' understanding

  of generally accepted ethical standards related to professional conduct. The

  Committee believed that, unlike the bar exam, the MPRE would be relevant

  regardless of why a disbarment occurred or how long ago.



     5. Educational Requirements for Readmission

        The Committee also debated what, if any, of the CLE requirements that

  accrued during the period of disbarment should be satisfied. No numerical

  consensus was reached. The Committee members noted that, during a five-year

  disbarment, sixty credits would be amassed. It was agreed that the Court should

  consider imposing at least some makeup CLE credits for readmission, and that

  attorneys who are disbarred should be notified in the disbarment process that, if

  they hope for future readmission, they should consider keeping up with CLE in

  the interim.




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   6. Required Notice       to   Aggrieved Persons       Affected by     Knowing
      Misappropriation

      Notice was an additional matter that was the subject of discussion. ABA

Model Rule 25 and R. 1:20-21 ( e) are similar, except that the model rule imposes

the additional requirement of actual notice to "the complainant( s) in disciplinary

proceedings that led to the lawyer's suspension or disbarment" who may "raise

objections to or support the lawyer's petition." New Jersey's R. 1:20-21, which

currently governs only suspensions from the practice of law, provides for public

notice in all official newspapers designated by the Court and in a newspaper of

general circulation in each county in which the respondent last maintained a law

office and in the county in which respondent resided at the time of the imposition

of discipline. The Committee members considered the public notice provision

inadequate for readmission from disbarment.

      There was also discussion of whether to provide notice to grievants in

unresolved matters that were pending at the time of the disbarment, with the

concern primarily relating to the fact that those matters were left unadjudicated.

One member queried whether the attorney should be required to reimburse those

grievants as well. Noting that this could create a number of fairness issues,

another member suggested that notice be given to any grievant involved in the

matter leading to the disbarment, as well as anyone who obtained a judgment



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  against the disbarred attorney and anyone who received reimbursement from the

  New Jersey Lawyers' Fund for Client Protection (the Fund). 4

        Ultimately, members settled on notice to the grievant whose complaint

  resulted in the disbarment, as well as any grievants with docketed complaints

  that were dismissed as a result of the disbarment and those who were reimbursed

  by the Fund. Regarding other general methods of notice, members believed that

  newspapers are largely inadequate today and suggested publication on the

  Judiciary's website and Notice to the Bar.



     7. Requirement to Make Aggrieved Persons Financially Whole

        Another change to the present Rules that was debated was whether the

 applicant should have to reimburse the Fund in full prior to readmission. The

 present Rule permits the Fund to enter into a repayment agreement with the

 applicant. R. 1 :20-21 (D). Some members argued that full reimbursement would

 be inequitable and favor the wealthy over the impecunious. Nevertheless, the

 Committee recommended that the repayment plan option be eliminated in




 4
   The Fund exists to compensate clients who were wronged by unethical attorneys.
 Particularly, it compensates clients whose money was stolen by their New Jersey
 attorney, if that attorney has been suspended or disbarred, placed in disability
 inactive status, or is deceased.
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Wilson cases, although it understood that, as a consequence, some lawyers might

be precluded from readmission.



   8. Singular Second Chance Following Disbarment

      Regarding the unlikely circumstance of multiple disbarments, one

member suggested that the Court prohibit previously disbarred attorneys from

being readmitted following a second disbarment. Other members expressed the

view that imposition of additional restrictions hamstrings the Court and limits

its options in unusual circumstances. The Committee nevertheless voted to

prohibit reapplication following a second disbarment.



   9. Successive Petitions for Readmission from Disbarment

      R. 1:20-21 (j) provides that a petitioner for reinstatement after suspension

must wait six months after an adverse decision to file a renewed petition for

reinstatement. The Committee considered, but declined to adopt, a longer

prohibition (specifically two years) for successive petitions for readmission

from disbarment.




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        C.     Conditions for Readmission

        Finally, the Committee addressed what conditions the Court might impose

  upon readmission. In doing so, it reviewed the conditions in place in other

  jurisdictions and those already available under our Rules, as outlined in Point

  VII. The Committee ultimately determined not to set any additional conditions

  in stone but to abide by the present Rules and make available to the Court a

  panoply of options from which it may choose in tailoring appropriate conditions

  for specific cases.

        Those options include:

               1.       Annual audits by the OAE or its designee for a period
                        determined by the Court.

              2.        Disclosure in writing to prospective clients of the attorney's
                        earlier disbarment for knowing misappropriation.

              3.        The attorney may not maintain an attorney trust account.

              4.        The attorney must obtain and maintain professional liability
                        insurance in an amount set by the Court.

              5.        The attorney must obtain and maintain a blanket fidelity bond
                        or dishonest insurance policy in an amount set by the Court.

              6.        The attorney must complete some number of CLE hours in
                        attorney   bookkeeping,      including requirements for
                        maintaining an attorney trust account.

              7.        If the disbarred attorney has a history of alcohol or drug
                        abuse, the attorney must actively participate in alcohol or
                        drug rehabilitation programs.

              8.        If the attorney has a history of mental health conditions, the
                        attorney must actively participate in mental health treatment.

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              9.    If the attorney has a history of gambling or other addiction
                    issues, the attorney must actively participate in gambling or
                    other addiction treatment programs.

              10.   Practice with supervision by either a Court-appointed monitor
                    or a monitor selected by the attorney but approved by the
                    Comi per the provisions of R. 1:20-18.

              11.   Any other conditions reasonably related to the grounds for the
                    attorney's original disbarment.


       D.     Concern for Equal Justice

       During the course of the discussions, some Committee members

questioned whether the Judiciary had a mechanism for assessing whether bias,

either implicit or explicit, might affect either disbarment or the readmission

process. They encouraged a review of the disciplinary processes and outcomes 5

to ensure that the system overall is free from any form of bias. That issue was

viewed by the Committee as not only important in itself, but also as bearing on

the second chance proposal that is at the heart of this report. The Committee

understands that statistical data is not available historically and, thus,

recommends that the Judiciary explore the creation of a mechanism for

evaluating disciplinary and readmission outcomes going forward. Depending


5
  Several other states are investigating that question. See State Bar of California,
"State Bar Conducts First of its Kind Study on Racial Disparities in Attorney
Discipline" (November 13, 2019) (viewable at:
https://www.calbar.ca.gov/Portals/O/documents/factSheets/Racial-Disparities-in-
Attorney-Discipline-Fact-Sheet.pdf) (visited April 8, 2023).
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  on the results, that the Court might consider convening a new committee to study

  the issue.



        E.     Recommendation to Allow Readmission Application by Persons
               Disbarred for Misconduct Other Than Knowing
               Misappropriation of Entrusted Funds

        Near the end of the Wade opinion, the Court invited the Committee to

  comment on non-Wilson cases in which the Court exercised its discretion based

  on the facts and permanently disbarred an attorney. That issue bothered some

  members of the Committee to such an extent that at least one member who

  supported a Wilson path back declined to vote in favor of it unless non-Wilson

  disbarments were included. The Court's invitation actually required two votes:

  did the Committee want to comment at all and, if so, what did it want to say? A

  significant majority of the Committee voted to comment.

        The Committee discussed how to treat non-Wilson cases at two separate

  meetings. Some members argued that the differential treatment of Wilson and

  non-Wilson cases could give rise to constitutional challenges. Others countered

 that there are important distinctions between the classes justifying differential

 treatment. In particular, Wilson is categorical - once the fact of intentional

 misappropriation is established, everything else falls away and disbarment

 ensues. In all other cases, the Court exercises its discretion based on all the facts


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and circumstances presented, including the nature of the offense; mitigating

factors; candor; cooperation; and restitution before determining that disbarment

is the right result. Those are quite distinct models.

      One other difference is the universe of cases. Although they vary in facts,

Wilson cases all involve a single through-line: knowing misappropriation. Non-

Wilson cases cover a wide range of misconduct types, from recurrent lack of

diligence with consistent failure to reform to state and federal crimes. Those

distinctions are noted because they were debated at the Committee's meetings

as a basis for distinguishing the classes.

      The Committee members also considered the notion that knowing

misappropriation is actually "worse" than all other forms of misconduct, thus

rendering a path back only for Wilson cases particularly anomalous. The

Committee concluded that both Wilson and non-Wilson cases exist on a

spectrum of culpability and are, therefore, broadly analogous. Thus, the

Committee determined to recommend that the Court permit lawyers disbarred

for reasons other than knowing misappropriation to apply for readmission.

      In   terms   of process,     the   Committee      debated   many   different

recommendations. Some Committee members recommended living with the

Wilson path back for five years before making any recommendation for non-

Wilson cases. Others suggested an entirely new committee to develop a process


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  for non-Wilson applications. Ultimately, the Committee rejected those

  approaches. Important to its conclusion were several considerations, including

  that not one of the forty-one jurisdictions that permit disbarred attorneys to apply

  for readmission distinguishes between the causes of disbarment in terms of

  procedure. Further, a new committee would have to plow the exact same ground

  that was plowed here. Finally, the Committee could not conceive of a different

  procedure emerging, given the fine details in the Wilson path back. Ultimately,

  a substantial majority of the Committee recommended that, in the event that the

  Court affords a path back for attorneys who had knowingly misappropriated

  client funds, it should also afford that path back for attorneys disbarred on other

  bases. The Committee saw no reason why that path back should diverge from

  the one it had outlined for Wilson.




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          IX.   CONCLUSION

       After thorough deliberation, a majority of the Committee recommends

that New Jersey join the forty-one jurisdictions that have successfully

implemented a path for readmission from disbarment. The Committee finds that

a robust process for assessing readmission will permit deserving, rehabilitated

attorneys to rejoin the profession and provide legal services, while also

protecting the public and upholding the professionalism of the practice of law.

The Court has, within its authority for the supervision of the practice of law, a

range of options and procedural mechanisms to safeguard the public, both

overall and on a case-by-case basis. Pursuant to its charge, the Committee makes

its proposal as to those disbarments entered pursuant to Wilson and recommends

that the Court also consider extending the readmission process to the other

serious matters in which the Court exercised its discretion and permanently

disbarred an attorney.




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              X.    CONCURRING AND MINORITY VIEWS



           A. Dawn K. Miller, Esq., President, Legal Services of New Jersey-
              Concurrence6

           We are grateful for the opportunity to express our position on both the

  majority and minority views in this well-written and comprehensive

  report. Both views raise compelling arguments as to whether disbarred

  attorneys should, or should not, eventually be able to find a pathway back to

  the practice of law. The majority of the committee members, and therefore the

  resulting report, seemingly view this matter largely from the perspective of the

  professional bar and the impact that permanent disbarment may have on the

  individual attorney.


          As the statewide provider of civil legal services to people of low-income

  in the state, it is through this lens which we view this issue, and when casting a

  vote during deliberations voted with the minority view that disbarment due to

  the knowing misappropriation of client funds should be permanent. We took

  this position with the firm belief that attorneys are entrusted with the duty to

  preserve and protect the trust of individual clients and society as a whole. We

  view this as one of the most important aspects and privileges of being a



  6
      One member who voted with the majority joins in Member Miller's concurrence.
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 lawyer. The disproportionate impact a misappropriation of funds may have on

 low-income people and other vulnerable populations who are less able to

 rebound from an economic loss can be long-lasting and devastating. Such

 individuals may be less knowledgeable about their rights to file grievances and

 engage in other formal processes and, therefore, less able to seek and obtain

 recovery for their losses as a result of lawyer misappropriation.


       While we are sympathetic to the harms to clients through

 misappropriation and are concerned generally with maintaining and preserving

 the integrity of the bar, we also recognize that providing opportunities for

 reinstatement, under certain circumstances, may benefit the general public, and

 ultimately those who need legal assistance. In our view, a rehabilitated,

 reinstated lawyer can potentially deliver exceptional services to clients, be an

 important and model member of the bar, benefit society and even advance our

profession, through renewed diligence and dedication.


       Accordingly, LSNJ would join the majority position which would allow

reinstatement of once-disbarred attorneys, but only if reinstated attorneys: 1)

provide full transparency and disclosure in the most accessible manner for

clients to receive, including an affirmative statement to prospective clients of

the past conduct and disbarment; 2) are subject to oversight through an


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   independent annual audit conducted at the reinstated attorney's expense (many

   non-profits and contractors receiving government funds are required to do this

   every year); 3) meet all necessary insurance and bonding requirements

  pursuant to the Rules, as a safeguard for client protection; 4) make full

  restitution to all aggrieved clients, i.e. pay back all funds taken, with

  reasonable interest which can be done through a re-payment plan; and 5) meet

  any other conditions imposed by the Court which are reasonably related to the

  disbarment.


         We observe that the above requirements and conditions on readmitted

  attorneys are exacting. Rightfully so, our clients - and the general public -

  deserve no less.


  Respectfully,

  Dawn K. Miller, Esq.

  President, Legal Services of New Jersey




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            B. Hon. Maurice J. Gallipoli, A.J.S.C. (ret.) - Minority View 7

         This Committee 8 was formed subsequent to and in accordance with the

 Court's June 7, 2022 opinion issued in In re Wade, 250 N.J. 581 (2022). The

 Committee was charged with (1) studying whether disbarment should continue

 to be permanent in all cases implicating the Court's Wilson 9 rule, and (2) if not,

 recommending standards that might apply if applications for readmission to the

 bar by disbarred attorneys were to be permitted. The Committee was further

charged with consideration of whether any Rule change should apply to orders

of disbarment for knowing misappropriation of law firm funds issued prior to

the Court's opinion in Sigman 10 and, further, was asked to consider commenting

on other serious matters in which the Court, in the past, has exercised its

discretion and permanently disbarred an attorney for misconduct unrelated to

knowing misappropriation.




7
 One member who voted with the minority joins in Member Judge Gallipoli's
minority view.
8
  Committee on the Duration of Disbarment for Knowing Misappropriation
("CDDKM")

9
    In re Wilson, 81 NJ. 451 (1979).

10
     In re Sigman, 220 NJ. 141 (2014).

                                         page 67
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           The majority of the Committee has decided to recommend to the Comi

   that, going forward, disbarment for a Wilson violation 11 should not be

   permanent, and that an attorney so disbarred should be permitted, in accord with

   the Rules ultimately adopted by the Court, to apply for readmission. The

   Committee also has recommended that such relief should retroactively be

   available to attorneys disbarred pursuant to the principles of Wilson.

           From the Committee's majority recommendation that disbarment for a

   Wilson violation should not be permanent, and for the reasons which follow, I

  respectfully disagree.

           In Wilson, the Court acknowledged that, prior to its opinion:

                 results in misappropriation cases have varied because
                 of circumstances which the Court has regarded as
                 1nitigating: the economic and emotional pressures on
                 the attorney which caused and explained his misdeed;
                 his subsequent compliance with client trust account
                 requirements; his candor and cooperation with the
                 ethics committee; his contrition; and, most of all,
                 restitution. The presence of a combination of these has
                 occasionally resulted in suspension, ranging from six
                 months to three years, rather than disbarment.

                 [Wilson, 81 N.J. at 455-56.]

           No doubt, because of the above-referenced "varied results" and, most

  importantly, because of the Comi's concern with preserving the confidence of




  11
       To be clear, a Wilson violation is a "knowing misappropriation," nothing less.
                                          page 68
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the public in the integrity and trustworthiness of lawyers in general, in 1979, the

bright line of Wilson was drawn. What is the "bright line" of Wilson? And is it

really that hard to understand?

       To be clear, and just so there is no misunderstanding, a truly negligent

misappropriation of client funds is not a Wilson violation. To be equally clear,

however, a "misappropriation of client funds means any unauthorized use by the

lawyer of clients' funds entrusted to him, including not only stealing, but also

unauthorized temporary use for the lawyer's own purpose, whether or not he

derives any personal gain or benefit therefrom." Wilson, 81 N.J. at 455 n.l.

       Thus, simply stated, Wilson and its progeny 12 made clear to current and

future members of the bar that, henceforth, because of the Court's overriding

concern for the continued confidence of the public in the integrity of the bar and

the judiciary, a knowing misappropriation of client funds would result in

permanent disbarment. As the Wilson Court explained:

             The public is entitled, not as a matter of satisfying
             unjustifiable expectations, but as a simple matter of
             maintainin2: confidence. to know that never a2:ain will
                       ._,-          '                      ~




             that person be a lmvyer. That the moral quality of other
             forms of misbehavior by lawyers may be no less
             reprehensible than misappropriation is beside the point.


12
  For example, In re Hollendonner, 102 NJ. 21 (1985); In re Noonan, 102 N.J.
157 (1986); In re Skevin, 104 N.J. 476 (1986); In re Konopka, 126 N.J. 225
(1991); In re Siegel, 133 N.J. 162 (1993); In re Pomerantz, 155 N.J. 122 (1998);
and In re Mininsohn, 162 N.J. 62 (1999).
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               Those often occur in a complex factual setting \Vhere
               the applicability or meaning of ethical standards is
               uncertain to the bench and bar: and especially to the
               public, which may not even recognize the ,vrong. There
               is nothing clearer to the public, however, than stealing
               a client's money and nothing \Vorse. Nor is there
               anything that affects public confidence more -- much
               more than the offense itself -- than this Court's
               treatment of such offenses. Arguments for lenient
               discipline overlook this effect as well as the overriding
               importance of maintaining that confidence.

               [Wilson, 81 N.J. at 456-457.]



               Restitution may compensate an individual complainant
               for the financial loss suffered; conceivably, it may
               partially restore the shattered faith of a particular client.
               It does not, hO\vever, significantly retard the subtle but
               progressive erosion of public confidence in the
               integritv
                   '--'. of the bench and bar.
               \\Then restitution is used to support the contention that
               the lmvver
                       . intended to "borrov/' rather than steal., it
               simply cloaks the mistaken premise that the
               unauthorized use of clients' funds is excusable v,;hen
               accompanied by an intent to return them.

               [Wilson, 81 N.J. at 458.]



              The inexperience or. conversely, the prior outstanding
              career. of the lav,,;ver, often considered a mitigating
                          '        ..   •                           "-    t,,.,.,.




              factor in disciplinary matters, seems less important to
              us \Vhere misappropriation is involved. This offense
              against common honesty should be clear even to the
              youngest; and to distinguished practitioners, its
              grievousness should be even clearer.

              [Wilson, 81 N.J. at 459-460.]

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             The considerations that must deeply trouble any court
              v,;hich decrees disbarment are the pressures on the
             attornev . that forced him to steaL. and the verv real
                                                               ~




             possibility of reformation, \vhich v-1ould result in the
             creation of a nevv person of true integrity, an
             outstanding member of the bar .... There can be no
             satisfactory ansvver to this problem. An attorney~ beset
             by financial problems, may steal to save his family: his
             children, his \vife or his home. After the fact, he may
             conduct so exemplary a life as to prove beyond doubt
             that he is as well equipped to serve the public as any
             judge sitting in any court. To disbar despite the
             circumstances that led to the misappropriation, and
             despite the possibility that such reformation may
             occur is so terribly harsh as to require the most
             compelling reasons to justify it. As far as we are
             concerned, the only reason that disbarment might be
             necessary is that any other result risks something
             even more important, the continued confidence of
             the public in the integrity of the bar and the
             judiciary. (citations omitted) (emphasis added)

             [Wilson, 81 N.J. at 460.]

       I do not believe that anyone would disagree that the use of someone else's

money, without that person's explicit permission to do so, is morally wrong. Nor

do I believe that anyone would disagree that a person who has attained the usual

age for admission to the bar, and who is so qualified for admission by education,

character, and the requisite standards promulgated by the Court would not know

that to be true. Unfortunately, such apparently was not the case, given the pre-

Wilson incidents of misappropriation with which the Court was confronted. So,

to make it abundantly clear that misappropriation by members of the bar would
                                     page 71
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   no longer be tolerated, and would be dealt with harshly, the bright-line Wilson

   rule was established, in 1979. Its lesson then and now is simple: do not use client

   funds that have been entrusted to you without the explicit permission of the

   client. You, as a lawyer, are more than a fiduciary, you are a representative of a

   profession and an officer of the Court. If you violate this simple mandate, you

   will suffer the penalty of being permanently disbarred.

         If I understand the position of the organized bar, it is that disbarment,

   permanent or otherwise, should be reserved as a sanction only for those

   attorneys who "steal" their client's money; it should not, for example, be

   imposed as a sanction upon those attorneys who "borrow" their client's money

  with the intention of paying the money back. If I misunderstand the bar's

  position, then I apologize and stand to be corrected. However, to address my

  understanding as indicated above, I could not respond in better fashion than the

  Court did in Wilson: "Lawyers who 'borrow' may, it is true, be less culpable

  than those who had no intent to repay, but the difference is negligible in this

  connection. Banks do not rehire tellers who 'borrow' depositors' funds. Our

  professional standards, if anything, should be higher." Wilson, 81 N.J. at 458.

         When the Chief Justice addressed the full Committee, during its first

  plenary session, he commented that the sanction for knowing misappropriation

  would remain disbarment, emphasizing that the Court was seeking only a


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recommendation from the Committee whether such disbarment should remain

permanent or whether there should be a path back to readmission. As part of its

recommendations, the majority of the Committee has recommended that there

should be a path back for those previously disbarred for a Wilson violation and

has further recommended a five-year waiting period before an application for

readmission may be made. Respectfully, if the five-year waiting period

recommendation is adopted by the Court, as opposed to a longer waiting period,

that will, from a practical point of view, make non-permanent disbarment the

equivalent of or less of a discipline than the present sanction of an

"indeterminate suspension," given that one against whom an indeterminate

suspension is imposed must wait a "minimum of five years" before making

application to be reinstated to practice, whereas one not permanently disbarred

for a Wilson violation could make that application immediately at the expiration

of five years after the date of disbarment. See R. 1:20-15A(a)(2).

       Admittedly, and as is plain to see, I have significantly borrowed from the

language of Wilson. I close with a question: "Is the continued confidence of the

public in the integrity of the bar and the judiciary any less important today than

it was when the decision in Wilson was issued?" I hardly think so. I respectfully

suggest that today, probably more than at any time in the past, based on what

appears in all forms of media and on the internet, the public's confidence in the


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   bar and the judiciary is at an all-time low. Now, more than ever, the bar and the

   judiciary should do all that can be done to maintain and foster the continued

   confidence of the public in the integrity of those institutions. Now, more than

   ever, we need the bright-line rule of Wilson to be reaffirmed, we need to make

   sure the bar is aware of its mandate, and we need the Court to uniformly impose

   its admittedly harsh penalty of permanent disbarment upon those who,

   regardless of that clear mandate, nonetheless transgress.

         Respectfully, it seems to me that the Court, by virtue of many of its recent

   Orders in matters implicating Wilson and its progeny - Orders entered without

   accompanying opinions or guidance - has once again reached, as it did pre-

  Wilson, varied and somewhat confusing results, potentially because of

   circumstances which the Court regarded as mitigating. For me, again

  respectfully, these varied and confusing results can be easily avoided. The Court

  could, if it was so inclined, simply abandon the Wilson rule, or, as I would

  advocate, it could choose to put the bar on notice, once again, that the bright-

  line rule of Wilson will be strictly adhered to, and its harsh penalty of permanent

  disbarment uniformly enforced.

        For all the reasons set forth above, I respectfully disagree with the

  majority's recommendation(s).

                                        Maurice J. Gallipoli, A.J.S.C. (ret.)


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       C. William Trimmer, Trustee/Treasurer, New Jersey Lawyers' Fund
          for Client Protection - Minority View 13

       I respectfully dissent from the majority's decision to grant a path forward

for attorneys who have been disbarred for knowingly misappropriating client

funds. While I understand and appreciate the need for rehabilitation and

second chances, in this particular case, I must strongly disagree.

      As a member of the CPF for five years, I have seen firsthand how this

small group of disbarred attorneys has caused widespread mistrust with the

general public. Their actions have not only hurt their clients, but they have

also damaged the reputation of the legal profession as a whole. We cannot

underestimate the impact that even one unethical lawyer can have on the

public's perception of the entire profession.

      The majority suggests that allowing these attorneys a path back will help

to restore faith in the legal system. However, I believe that disallowing such a

path sends a strong message that the legal community will not tolerate the kind

of behavior that leads to disbarment. It shows that the bar has a zero-tolerance

policy for those who engage in misconduct and abuse the trust that their clients

have placed in them.




13
  Two members who voted with the minority join in Member Trimmer's minority
view.
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         I understand that my position may be seen as harsh and possibly jaded

   due to my serving on the CPF but I do not feel it is unwarranted. Trust is the

   cornerstone of the attorney-client relationship, and when that trust is violated,

   it can have serious consequences for the client, the attorney, and the legal

   system as a whole. Allowing these disbarred attorneys a path back sends

   the wrong message and undermines the integrity of the legal profession.

         In summary, while I respect the majority's decision, I firmly believe that

   disbarred attorneys who have engaged in serious misconduct and betrayed their

   clients' trust should not be granted a path back to the practice of law. By

  maintaining strong ethical standards, we can preserve the integrity of the legal

  profession and show the public that we are committed to upholding the

  highest standards of professional conduct.


  William Trimmer
  Trustee/Treasurer
  NJ Lawyers' Fund For Client Protection




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          XI.    LIST OF APPENDICES


 A) Committee Members

 B) In Re Wilson, 81 N.J. 451 (1979)

 C) In Re Wade, 250 N.J. 581 (2022)

D) R. 1:20-20

E) R. 1:20-21

F) R. 1:20-18

G) R. 1:20-15A

H) Regulations Governing the Committee on Character

I) Character & Fitness Questionnaire (New Jersey Board of Bar Examiners)

J) ABA Model Rule 25

K) ABA Chart-Reinstatements

L) Reinstatement Criteria by Jurisdiction (7/20/22) (Prepared by the NJSBA)




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   Supreme Court Special Committee on the Duration of Disbarment for
                      Knowing Misappropriation


Chair: Justice Virginia A. Long (retired)

Vice-Chair: Dr. Lovell Pugh-Bassett, President, Camden County College

Aymen A. Aboushi, Esq., New Jersey Muslim Lawyers Association

Ronald Allen, Pastor, Pilgrim Baptist Church

Heather Joy Baker, Esq., Clerk, Supreme Court of New Jersey

Jesse Burns, Executive Director, League of Women Voters of New Jersey

Joel Clymer, Esq., Garden State Bar Association

Corinne Burzichelli DeBerry, Esq., Fox Rothschild

April DiPietro, LSW, Camden County Care Management Organization

Tim Ellis, Esq., Acting Chief Counsel, Disciplinary Review Board

Hon. Maurice J. Gallipoli, A.J.S.C. (Ret.), Hudson Vicinage

Johanna Barba Jones, Esq., Director, Office of Attorney Ethics

Karen Kessler, President & CEO, Kessler PR Group

David Kott, Esq., McCarter & English

Ralph Lamparello, Esq., Chasan Lamparello Mallon & Cappuzzo, PC

Jeannine LaRue, Founder, The LaRuelist Report

Jeralyn Lawrence, Esq., President, New Jersey State Bar Association

Jeanne LoCicero, Esq., Legal Director, American Civil Liberties Union - New
Jersey
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  Robert Ramsey, Esq., Law Office of Robert Ramsey

  Kim Ringler, Esq., The Ringler Law Firm

  Andrew Rothman, Esq., Professor, Rutgers University School of Law &
  Managing Attorney, Rutgers Law Associates

  Marjorie Stevens, Principal (retired), Manchester Township Public Schools

  John R. Taylor, Pastor, Friendship Baptist Church

  William R. Trimmer, Trustee/Treasurer of the New Jersey Lawyers' Fund for
  Client Protection

  Albertina Webb, Esq., Hispanic Bar Association


  Staff: Heather Lynn Baker, Esq.
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                      APPENDIXB
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                                               Supreme Court of New Jersey
                               September 11, 1979, Argued ; December 19, 1979, Decided

                                                             D-5

 Reporter
 81 N.J. 451 *; 409 A.2d 1153 **; 1979 N.J. LEXIS 1281 ***

 IN THE MATTER OF WENDELL R. WILSON, AN ATTORNEY AT LAW

 Prior History: [***1] On an order to show cause why respondent should not be disbarred or otherwise disciplined.

 Counsel: Ms. Colette A. Coolbaugh, Secretary, argued the cause for the Disciplinary Review Board.
 No appearance was made on behalf of respondent.

Judges: For disbarment -- Chief Justice Wilentz and Justices Sullivan, Pashman, Clifford, Schreiber, Handler and
Pollock. Opposed -- None. The opinion of the court was delivered by Wilentz, C.J.

Opinion by: WILENTZ




 [*453] [**1154] In this case, respondent knowingly used his clients' money as if it were his own. We hold that
disbarment is the only appropriate discipline. We also use this occasion to state that generally all such cases shall
result in disbarment. We foresee no significant exceptions to this rule and expect the result to be almost invariable.

Of the eight complaints filed against respondent with District Ethics Committee VIII (Middlesex County), two
involved misappropriation. In one, respondent failed for almost two years to turn over$ 23,000 -- the proceeds from
the sale of a house -- to the client. After the ethics complaint was filed, respondent paid the client but never
accounted for the location or use [***2] of the funds in the interim. In the other, respondent obtained money for a
client in the form of a $ 4,300 check to the client's order. Respondent then forged the client's endorsement,
deposited the proceeds in his own trust account, and has yet to turn the funds over to the client.

 [*454) Respondent's professional misconduct extends beyond these instances of misappropriation. In the other
complaints, the Disciplinary Review Board found that respondent lied to clients, wantonly disregarded their
interests, and advised them to commit fraud. Moreover, he was inexcusably uncooperative in the ethics
proceedings. The Disciplinary Review Board recommended disbarment.

It is clear from all of this that respondent is unfit to be a lawyer. We do not, however, discuss any charges other
than misappropriation since disbarment is mandated by that alone.
I.

MISAPPROPRIATION

Misappropriation of clients' funds is both a crime (                  · ·:.,~ (superseding _ _ _ _ _        . , which was
repealed by L. 1978, c. 95, 2C:98-2)) and a direct violation of Disciplinary Rule 9-102 of the Code of Professional
Responsibility. Included in the specific commands of this rule [***3] is the requirement that "a lawyer shall * * *
[p]romptly pay or deliver to the client the funds, securities, or other properties in the possession of the lawyer which
the client is entitled to receive." DR 9-102(8)(4). Our former Canon of Professional Ethics told the lawyer not only
what he must do, but what he must not do:
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     Money of the client or collected for the client or other trust property coming into the possession of the lawyer
     should be reported and accounted for promptly, and should not under any circumstances be commingled with
     his own or be used by him. [Canon 11].

Like many rules governing the behavior of lawyers, this one has its roots in the confidence and trust which clients
place in their attorneys. Having sought his advice and relying on his expertise, the client entrusts the lawyer with
the transaction -- including the handling of the client's funds. Whether it be a real estate closing, the establishment
of a trust, the purchase of [*455] a business, the investment of funds, the receipt of proceeds of litigation, or any
one of a multitude of other situations, it is commonplace that the work of lawyers involves possession of their
clients' [***4] funds. That possession is sometimes expedient, occasionally simply customary, but usually
essential. Whatever the need may be for the lawyer's handling of clients' money, the client permits it because he
trusts the lawyer.

It is a trust built on centuries of honesty and faithfulness. Sometimes it is reinforced by personal knowledge of a
particular lawyer's integrity or a firm's reputation. The underlying faith, however, is in the legal profession, the bar
as an institution. No other explanation can account for clients' customary willingness to entrust [**1155] their
funds to relative strangers simply because they are lawyers.

Abuse of this trust has always been recognized as particularly reprehensible:

     [T)here are few more egregious acts of professional misconduct of which an attorney can be guilty than
     misappropriation of a client's funds held in trust. L... · _5._~ - - - - ~ - - - ~ - - ~




                                                     Recognition of the nature and gravity of the [***5] offense
suggests only one result -- disbarment. "Such conduct is of so reprehensible a nature as to permit of only one form
of discipline." _·        ,, ·  1
                                               _ _ __




Despite this strong condemnation, results in misappropriation 1 cases have varied because of circumstances which
the [*456] Court has regarded as mitigating: the economic and emotional pressures on the attorney which caused
and explained his misdeed; his subsequent compliance with client trust account requirements; his candor and
cooperation with the ethics committee; his contrition; and, most of all, restitution. The presence of a combination of
these has occasionally resulted in suspension, ranging from six months to three years, rather than disbarment.

 [***6] It is therefore important that we reemphasize that the principal reason for discipline is to preserve the
confidence of the public in the integrity and trustworthiness of lawyers in general. This reason for discipline is
mentioned in some misappropriation cases and not in others. While it may only rarely have been stressed in the
past, we are now inclined to view it as controlling in these cases.

We have no doubt that the bar is as anxious as we are to preserve that trust. Its preservation is essential to public
acceptance of reforms that may be proposed by the bench and bar together. Mistrust may provoke destructive
change. Public confidence is the only foundation that will support constructive reform in the public interest while
preserving the finest traditions of the profession.

From that point of view, anything less than strict discipline in cases like this would be a disservice to the bar, the
judiciary and the public.




1 Unless the context indicates otherwise, "misappropriation" as used in this opinion means any unauthorized use by the lawyer of

clients' funds entrusted to him, including not only stealing, but also unauthorized temporary use for the lawyer's own purpose,
whether or not he derives any personal gain or benefit therefrom.
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                          81 N.J. 451, *456; 409 A.2d 1153, **1155; 1979 N.J. LEXIS 1281, ***6

What are the merits in these cases? The attorney has stolen his clients' money. No clearer wrong suffered by a
client at the hands of one he had every reason to trust can be imagined. The public is entitled, not as a matter of
satisfying unjustifiable [***7] expectations, but as a simple matter of maintaining confidence, to know that never
again will that person be a lawyer. That the moral quality of other forms of misbehavior by lawyers may be no less
reprehensible than misappropriation is beside the point. Those often occur in a complex factual setting where the
applicability or meaning of ethical standards is uncertain to the [*457) bench and bar, and especially to the public,
which may not even recognize the wrong. There is nothing clearer to the public, however, than stealing a client's
money and nothing worse. Nor is there anything that affects public confidence more - much more than the offense
itself -- than this Court's treatment of such offenses. Arguments for lenient discipline overlook this effect as well as
the overriding importance of maintaining that confidence.
II.

MITIGATING CIRCUMSTANCES

No one need argue whether the moral reprehensibility of this kind of behavior justifies disbarment: all admit it. The
only question is whether mitigating circumstances [**1156] might call for lesser discipline in particular cases. We
discuss restitution first since it is relied upon most often.

In the context [***8] of professional discipline, restitution suggests an "honesty of compulsion," proving mostly that
the lawyer is anxious to become a lawyer again and that he is able somehow to raise the money. Practically every
lawyer facing such charges wants to remain a lawyer, but not every lawyer is able to raise the money. As early as
1915, the Supreme Court sitting en bane noted the irrelevance of this factor:




      "We do not attach very much importance, as a rule, to the matter of restitution, because that may depend more
      upon financial ability or other favoring circumstances than repentance or reformation. A thoroughly bad man
      may make restitution, if he is able, in order to rehabilitate himself and regain his position in the community; and
      a thoroughly good man may be unable to make any restitution at all." [ ··                ·-,c,;, ·-.~ : · -
                                                                                                 0
                                                                                                                   :. -~ : •
                               Without underestimating the importance of restitution, a moment's reflection must
      convince one that of all the factors that enter into the question of moral fitness, the mere circumstance of
      restitution is the one most likely to be fortuitous and to depend upon conditions and circumstances that afford
      no reliable [***9] test of moral qualities. The money may have come from wealthy relatives, or from a lucky
      speculation, or from engaging in some alien business venture, or it may have been borrowed, in which case the
      old liability is apparently extinguished by [*458] the creation of a new one. Taken in connection with other
      circumstances, restitution may be of the utmost significance, but this, oftener than not, is due to such other
      circumstances rather than to the mere fact of non-restitution; as, for instance, if the former attorney became
      possessed of sufficient money with which to make restitution but refused so to apply it. [ ·                ..· . .... ..
       _________ (en bane)].


Restitution may compensate an individual complainant for the financial loss suffered; conceivably, it may partially
restore the shattered faith of a particular client. It does not, however, significantly retard the subtle but progressive
erosion of public confidence in the integrity of the bench and bar.

When restitution is used to support the contention that the lawyer intended to "borrow" rather than steal, it simply
cloaks the mistaken premise that the unauthorized use of clients' [***1 OJ funds is excusable when accompanied by
an intent to return them. The act is no less a crime. W LaFave & A. Scott, Criminal Law,§ 89 at 653-54 (1972);
                                                                           2
see also---·--····--··-·-····------·---·····--··-·-·----··----------··         Lawyers who "borrow" may, it is true, be less



2 Criminality is not determinative here, however, although it strongly supports our conclusion; nor is our conclusion affected by

the consideration accorded restitution in sentencing. Policies underlying criminal law may not necessarily coincide with those
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culpable than those who had no intent to repay, but the difference is negligible in this connection. Banks do not
rehire tellers who "borrow" depositors' funds. Our professional standards, if anything, should be higher. Lawyers
are more than fiduciaries: they are representatives of a profession and officers of this Court.

 [***11] The overwhelming majority of misappropriation cases involves lawyers who undoubtedly intended to return
the funds. They misappropriate initially with precisely such intent. Anticipated [*459] money for repayment fails to
materialize. Other clients' trust funds are then used for "restitution," and the initial embezzlement spawns many
more. Wholesale exemption from strict discipline for misappropriation would result if such "borrowing" were
excused.

Judicial consideration of restitution as a mitigating factor in disciplinary proceedings creates the impression that
sanctions are proportioned in accordance with (**1157] ability to pay, rather than gauged against the seriousness
of the misconduct. Furthermore, according significance to restitution leads to an obvious and substantial possibility
of unjust discrimination.

At worst, refusal to consider restitution in this class of cases removes an incentive for compensation of injured
parties. Encouraging restitution in individual cases is a worthy purpose, but the lenient discipline needed to achieve
it conflicts with the paramount goal of preserving public confidence in the entire bar. From this point of view,
compensation [***12] of injured parties should not be deemed an appropriate function of our disciplinary process. 3

We find it similarly unpersuasive that the attorney in such a case has finally put together reliable records and
brought his trust account into balance. It is the least that one would expect. Its only significance is that it would be
doubly unthinkable to permit resumption of practice by an offending attorney who remained unwilling or unable to
set up proper books and records.

The inexperience or, conversely, the prior outstanding career, of the lawyer, often considered a mitigating factor in
 [*460] disciplinary matters, seems less important to us where misappropriation is involved. This offense against
common honesty should be clear even to the youngest; [***13] and to distinguished practitioners, its grievousness
should be even clearer. 4

The considerations that must deeply trouble any court which decrees disbarment are the pressures on the attorney
that forced him to steal, and the very real possibility of reformation, which would result in the creation of a new
person of true integrity, an outstanding member of the bar. See, e.g., ......cf____L ___ c__ ·     .....:::.. ~'-~~,:_L. There

can be no satisfactory answer to this problem. An attorney, beset by financial problems, may steal to save his
family, [***14] his children, his wife or his home. After the fact, he may conduct so exemplary a life as to prove
beyond doubt that he is as well equipped to serve the public as any judge sitting in any court. To disbar despite the
circumstances that led to the misappropriation, and despite the possibility that such reformation may occur 5 is so
terribly harsh as to require the most compelling reasons to justify it. As far as we are concerned, the only reason




governing disciplinary matters. The policy described in this opinion, leading to disbarment in these cases, would be ill served if
"borrowing" regularly resulted in lesser discipline.
3 If the argument ever had any weight, the existence and effectiveness of the Clients' Security Fund has greatly weakened it.    In
this case, for instance, claims for the misappropriations have been filed with the Fund and payment will presumably follow.
4 We  deem the unlikelihood of subsequent misappropriation irrelevant in these cases. In practically all of them, even where
there are no mitigating factors, recurrence of the misbehavior is highly unlikely. No one suggests that, alone, it is sufficient to
warrant lesser discipline. To state that we might nevertheless consider it "but only in conjunction with other factors" falsely
attributes importance to a factor almost universally present in these matters.

5 Almost without practical remedy, for our research reveals only three orders of reinstatement following disbarment over the past

hundred years. In re Mink, 60 N.J. 609 (1973);
_ ... ___ . __ :"_ .. _. __ ;see ..... ·__ : · ··-·-···-··
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that disbarment might be necessary is that any other result risks something even more important, the continued
confidence of the public in the integrity of the bar and the judiciary. 6

 [***15] [*461] In summary: maintenance of public confidence in this Court and in the bar as a whole requires the
strictest discipline in [**1158] misappropriation cases. That confidence is so important that mitigating factors will
rarely override the requirement of disbarment. If public confidence is destroyed, the bench and bar will be crippled
institutions. Functioning properly, however, in the best traditions of each and with full public confidence, they are
the very institutions most likely to develop required reform in the public interest.

For the reasons stated, we conclude that disbarment is mandated. Respondent's name will be stricken from the
rolls.

ORDER

It is ORDERED that WENDELL R. WILSON of Carteret be disbarred and that his name be stricken from the roll of
attorneys of this State, effective immediately; and it is further

ORDERED that WENDELL R. WILSON be and hereby is permanently restrained and enjoined from practicing law;
and it is further

ORDERED that respondent comply with all the regulations of the Disciplinary Review Board governing suspended,
disbarred or resigned attorneys.




6 The potential misery that might be inflicted on the client seems to receive little consideration in the cases perhaps because

those which impose discipline less than disbarment seem invariably to involve complete restitution. Obviously the weakened
deterrent effect caused by this lesser discipline may result in inflicting that misery on other clients for whom there will be no
restitution. Looked at differently, the sympathy engendered by the impossible plight of the attorney which caused him to steal is
offset by the fact that he did so, most often, without regard for the possibility that he might be inflicting the same misery, or
worse, on his innocent client. See, e.g.,
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                                                Supreme Court of New Jersey
                                   September 27, 2021, Argued; June 7, 2022, Decided
                                            D-132 September Term 2020, 085931

Reporter
250 N.J. 581 *; 275 A.3d 426 **; 2022 N.J. LEXIS 507 ***; 2022 WL 2036105

IN THE MATTER OF DIONNE LARREL WADE, AN ATTORNEY AT LAW.

Prior History: [***1] On an Order to Show Cause why respondent should not be disbarred or otherwise disciplined.




This syllabus is not part of the Court's opinion. It has been prepared by the Office of the Clerk for the convenience
of the reader. It has been neither reviewed nor approved by the Court and may not summarize all portions of the
opinion.

In the Matter of Dionne Larrel Wade (D-132-20) (085931) Argued September 27, 2021 -- Decided June 7, 2022

RABNER, C.J., writing for a unanimous Court.

In this disciplinary matter, the Court is asked to revisit the rule imposed in In re Wilson, which calls for automatic
disbarment of attorneys who knowingly misappropriate client funds. L_~:..:_.. :: ~- ·   .c: · :- > .: : ~ · · ~ _: -~__;:_:~: ._ .
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Respondent Dionne Larrel Wade has been a solo practitioner since she was admitted to the New Jersey bar in
2002. Her remarkable personal and professional accomplishments are clear from the record. She overcame
obstacles early in life and persevered with her studies. Throughout her legal career, she volunteered her time and
skill and provided pro bono legal services to underserved clients. She also conducted free legal clinics at her
church. She has no prior disciplinary history.

In June 2017, the Office of Attorney Ethics (OAE) conducted [***2] a random audit of her financial records. The
audit identified multiple problems, including commingling and extensive shortages in client trust funds. Ultimately,
the allegations against Respondent involved three clients. She conceded she used client funds without permission
to pay various expenses but claimed she did not know it was wrong to borrow the money until the OAE investigator
told her so.

In one matter, Respondent repeatedly transferred client funds from her attorney trust account to her business
account, which created a shortfall of more than $11,000. Respondent later deposited $12,000 borrowed from a
friend to cover the shortfall. In the second matter, Respondent admitted borrowing $5,000 without permission but
stated that she withdrew $3,000 to hire a detective for the case and returned that money when she decided not to
proceed, while $2,000 was for her fee. In the third matter, Respondent made a number of withdrawals from $4,000
she held in escrow for a client, and the balance dropped to $3,750 at one point. Respondent asserted the shortfalls
resulted from failure to pay attention to the books. She replenished the money in time for the closing. In the end,
none of Respondent's [***3] clients lost money.

Respondent explained that she was aware of the danger in borrowing from clients, noting she had not touched
another $123,000 in client funds because she knew she could not "pay that back." Respondent drew the line at
$12,000 -- a self-imposed limit. Respondent admitted that she considered client funds as a "line of credit" she could
use, without permission, as long as she made the client whole. She further admitted to using funds from one client
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to pay for another client's needs but claimed she did not know that was improper. At various times, Respondent
explained that she never intended to steal from clients and intended to pay the money back at all times.

The OAE charged Respondent with multiple instances of knowingly misappropriating client and escrow funds, with
violating several Rules of Professional Conduct (RPCs), and with various recordkeeping violations. After a hearing,
a Special Ethics Master found that "sloppy bookkeeping did not cause [Respondent] to unknowingly borrow client
funds. She knowingly did so, and she paid back what she borrowed." Because he found clear and convincing
evidence that Respondent knowingly misappropriated funds entrusted to her, [***4] the Special Master
recommended that Respondent be disbarred under Wilson and_             - ' '.::.- After a de novo review of the record,
the Disciplinary Review Board (ORB) unanimously upheld the Special Master's findings and recommendation in a
comprehensive decision. The Court entered an order to show cause.

HELD: *In the four decades since Wilson, the Court has consistently disbarred attorneys who knowingly
misappropriated client funds regardless of their motives or other mitigating factors. The rule has remained inviolate
because of the critical aims it seeks to serve: to protect the public and maintain confidence in the legal profession
and the Judiciary. ____ ,__ . ____ : - ___ .: _______ : •- - · :' .. If a lawyer knowingly misappropriates client funds, both the
attorney and the public should know that the person will be disbarred.

*Because the record in this case -- including Respondent's admissions -- clearly and convincingly demonstrates
that she knowingly misappropriated client and escrow funds, the Court will enter an order of disbarment. Under New
Jersey's longstanding disciplinary rules, disbarment is permanent and marks the end of a person's ability to practice
law. In that respect, New Jersey's approach differs from most jurisdictions. [***5]

*Although it declines to revisit the Wilson rule, the Court finds it is time to reevaluate the current approach to
permanent disbarment. The question -- and the challenge -- is whether and how to create a rigorous system that
can determine if a lawyer disbarred for those reasons deserves a second chance years later. The Court will
establish a broad-based committee to analyze whether disbarment for knowing misappropriation should continue to
be permanent, or whether New Jersey should join the majority of jurisdictions that allow for reinstatement. If the
Court revises the current approach to permanent disbarment, Respondent and others would be able to reapply for
admission in accordance with a new court rule.

 1. Prior to 1979, the Court condemned the taking of client funds but did not disbar lawyers in all cases. The Court's
pronouncement in Wilson in 1979 outlined a clearer path: "that disbarment is the only appropriate discipline" when
an attorney "knowingly use[s] his clients' money as if it were his own." L \ . ~ -' :·: , •·; • . · -___ }L As the Court
                                                                                                                    0
                                                                                                                        •



explained, most "misappropriation cases involve[] lawyers who undoubtedly intended to return the funds." ____ , _
-----~-               ~ :: . The Court nonetheless observed that "[t]he policy described [***6) in this opinion, leading to
disbarment in these cases, would be ill served if 'borrowing' regularly resulted in lesser discipline." --                     _____ _
______ - - .•. In essence, although the Court sharply criticized "stealing a client's money," '--_---'--'--------'-"--'-----'---'"---
-- - -•: , it did not require proof that an attorney intended to steal or defraud a client to establish knowing
misappropriation. The Court went on to consider -- and reject -- mitigating circumstances that had previously led to
discipline short of disbarment, including restitution and recordkeeping. -                                             The Court
noted that "the pressures on the attorney that forced him to steal, and the very real possibility of reformation" are
deeply troubling in ordering disbarment, but it found those factors to be outweighed by the "most compelling
reasons" -- "the continued confidence of the public in the integrity of the bar and the judiciary."                      · -- · -
_...:_;~. As a result, the Court announced a bright-line rule that "all ... cases" of knowing misappropriation of client
funds "generally ... shall result in disbarment. We foresee no exceptions to this rule and expect the result to be
                                         >_ :__: -___·_-~-:.
almost invariable." __ - _____ , ___ , ____                        "[M)itigating factors will rarely override the requirement of
disbarment." ____ ,_,__________________............ •. That rule has been described [***7] in even stronger language in decisions
since Wilson. (pp. 17-22)

2. After Wilson, the Court extended the disbarment rule to lawyers who knowingly misuse escrow funds. -----
                                                       Knowing misappropriation of law firm funds can lead to
disbarment, but disbarment has not been an absolute requirement in those instances. In re Sigman, 220 N.J. 141,
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158, 104 A.3d 230 (2014). In all of those areas, the Court imposes disbarment only if the OAE can satisfy a high
standard and demonstrate clear and convincing proof of knowing misappropriation. Attorneys who negligently
misappropriate client funds are not subject to Wilson's automatic disbarment rule. - :- . :: ·         · --  ___ _
________________ Here, cases involving negligent misappropriation are not relevant because Respondent,
by her own admissions, deliberately used client and escrow funds without permission. {pp. 22-23)

3. In the decades since Wilson, despite occasional criticism, the Court has declined to relax or modify the bright-line
rule that knowing misappropriation will result in disbarment. Case law also reveals that the Court has continued to
reject various defenses to the Wilson rule. On multiple occasions, for example, the Court has stated that intent to
steal funds from a client is not an element of knowing misappropriation. Instead, [***8] the Court has held that
knowing misappropriation consists simply of a lawyer taking a client's money entrusted to him, knowing that it is the
client's money and knowing that the client has not authorized the taking. An attorney's motive for taking client funds
- good or bad -- is not relevant. Just the same, an intent to return a client's money is irrelevant. Nor is willful
blindness a defense to a charge of knowing misappropriation. Ignoring mail that contains financial records cannot
provide attorneys a safe haven, and it is no defense for lawyers to design an accounting system that prevents them
from knowing whether they are using clients' trust funds. Lawyers have a duty to assure that their accounting
practices are sufficient to prevent misappropriation of trust funds. Similarly, ignorance of ethics rules and case law
does not excuse ethical misconduct. Personal and financial hardship also cannot excuse a lawyer who takes a
client's funds. (pp. 23-26)

4. Respondent advanced a number of such defenses, but none of them can overcome Wilson's bright-line rule. The
Court makes clear once again that knowing misappropriation will lead to disbarment. When clients place money in
an attorney's [***9] hands, they have the right to expect the funds will not be used intentionally for an unauthorized
purpose. If they are, clients can confidently expect that disbarment will follow. Because there is clear and
convincing evidence in the record, including Respondent's own admissions, that she knowingly took client and
escrow funds without permission on multiple occasions, an order of disbarment will be entered. (pp. 26-27)

5. At the hearing before the Special Master, Respondent presented multiple character witnesses who offered
compelling evidence of her personal and professional achievements. Based on that testimony, the Special Master
found that "[h]er service to the community and good reputation are particularly exemplary." The ORB similarly
observed that "Respondent is a remarkable person who has overcome tremendous personal obstacles . . . to
become a pillar of her church and local community and what appeared to be an excellent member of the New
Jersey bar." The Court agrees with those conclusions and recounts some of the testimony underlying them,
including by one of the clients whose funds were invaded. As the Special Master and the ORB recognized,
Respondent has no prior disciplinary [***1 O] history. None of her clients lost money, and she promptly took
remedial measures after the random audit. She cooperated with the OAE, readily admitted she borrowed clients'
money without permission, and was contrite about her failure to maintain financial records properly. Although
Respondent's personal and professional history does not provide a defense to a Wilson violation, her
accomplishments raise important questions about New Jersey's longstanding system of attorney discipline. In
particular, should disbarment be permanent in all Wilson cases? Or should the disciplinary system offer disbarred
attorneys like Respondent an opportunity for a second chance at a later point in time? (pp. 27-31)

6. All 50 states and the District of Columbia disbar attorneys who commit serious ethical violations. In a large
majority of jurisdictions, however, disbarment is not permanent. Altogether, 41 states plus the District of Columbia
allow attorneys to apply to be reinstated after they have been disbarred, and 31 of those jurisdictions permit
attorneys to apply for readmission 5 years after disbarment. The majority rule is consistent with a recommendation
by the American Bar Association, which also [***11] proposes criteria for reinstatement, including compliance with
all prior disciplinary orders; rehabilitative treatment for physical or mental infirmity, including alcohol or drug abuse;
recognition of the wrongfulness and seriousness of the prior misconduct; proof of the requisite honesty and integrity
to practice law; competency to practice; and passage of the bar examination and character and fitness examination.
Many states outline similar factors to assess whether a disbarred attorney should be reinstated. Sixteen states
require petitioners to complete examination requirements as part of the reinstatement process, and several reserve
the option to do so on a case-by-case basis. (pp. 31-37)
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7. To assess those and other factors, the Court will convene a committee comprised of attorneys as well as
members of the public who are not lawyers. The committee will study whether disbarment should continue to be
permanent in all Wilson cases and will recommend standards that might apply if New Jersey were to adopt the
majority approach. Among other issues to consider are the following: After what period of time might attorneys be
readmitted? What factors and standard of proof should apply [***12] to that judgment? Should disbarred attorneys
be required to retake the bar examination or other courses on ethics, recordkeeping, and related subjects? What
process might be adopted for readmission? And what rule changes might be warranted? The Court provides
guidance as to the scope of the committee's work and notes that the committee's report will be made available to
the public for comment before the Court determines how to proceed. The Court welcomes input from attorneys and
the public to promote the key interests at the heart of the Wilson rule: how best to protect the public and maintain
confidence in the legal profession. (pp. 37-38)

An order of disbarment is entered.

Counsel: HoeChin Kim, Deputy Ethics Counsel, argued the cause on behalf of the Office of Attorney Ethics (Ryan
J. Moriarty, Deputy Ethics Counsel, on the brief).
Donald M. Lomurro argued the cause for respondent (Lomurro, Munson, Comer, Brown & Schottland, attorneys;
Donald M. Lomurro and Christina Vassiliou Harvey, of counsel and on the brief).
Robert B. Hille argued the cause for amicus curiae New Jersey State Bar Association (New Jersey State Bar
Association, attorneys; Domenick Carmagnola, President, of counsel, and Robert B. Hille and Abdus-Sami M.
Jameel, on the brief).

Judges: CHIEF JUSTICE RABNER delivered the opinion of the Court. JUSTICES ALBIN, PATTERSON, [***13]
SOLOMON, and PIERRE-LOUIS join in CHIEF JUSTICE RABNER's opinion. JUDGE FUENTES (temporarily
assigned) did not participate.

Opinion by: RABNER

Opinion
.',•.~;:-•.::.• -~,~,.-,.·.•-·- .,•. ,   ,···~··-,>;· •:.




  [*584] [**428) CHIEF JUSTICE RABNER delivered the opinion of the Court.

This attorney disciplinary matter involves a clear case of knowing misappropriation of client and escrow funds. From
2002 to 2017, Respondent Dionne Larrel Wade knowingly and repeatedly borrowed money from clients, without
their knowledge or approval, to cover the needs of other clients and for her personal use. During a random audit
conducted by the Office of Attorney Ethics (OAE), Respondent admitted she transferred funds from her trust
account because she needed the money to cover personal and business expenses. She represented that she
never intended to steal the funds and had returned all the money. No clients were harmed.

Ms. Wade's remarkable personal and professional accomplishments are also clear from the record. She overcame
obstacles early in life and persevered with her studies. Throughout her legal career, she volunteered her time and
skill and provided pro bona [*585] legal services to underserved clients. She also conducted free legal clinics at
her church. She has no prior disciplinary history. [***14)

Respondent and the State Bar Association ask the Court to revisit the rule imposed in In re Wilson, which calls for
automatic disbarment of attorneys who knowingly misappropriate client funds. ___ ' ______ ' .. " · ·
             Respondent suggests that mitigating factors be considered when no client is harmed. The State Bar
submits that proof of intent to steal or defraud should be required to establish that an attorney knowingly
misappropriated client or escrow funds.
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This Court has long recognized that "[t}here are few more egregious acts of professional misconduct of which an
attorney can be guilty than misappropriation of [**429} a client's funds held in trust." .··        :':: .c:.-             · ::·.
(quoting       ::c.                 ..: ., .,_,.:<:       . -;.. > ·,:: ). In the four decades since Wilson, the Court
has consistently disbarred attorneys who knowingly misappropriated client funds regardless of their motives or
other mitigating factors. The rule has remained inviolate because of the critical aims it seeks to serve: to protect the
public and maintain confidence in the legal profession and the Judiciary. See                           ·· · ·' · . If a lawyer
knowingly misappropriates client funds, both the attorney and the public should know that the person will be
disbarred.

Because the record in this case -- including Respondent's admissions [***15} -- clearly and convincingly
demonstrates that she knowingly misappropriated client and escrow funds, the Court will enter an order of
disbarment.

Under New Jersey's longstanding disciplinary rules, disbarment is permanent and marks the end of a person's
ability to practice law. In that respect, our approach differs from most jurisdictions. Forty-one states and the District
of Columbia allow disbarred attorneys to apply to be reinstated to the bar -- most of them after 5 years.

 [*586} Although we decline to revisit the Wilson rule, we believe it is time to reevaluate the current approach to
permanent disbarment. To be clear, lawyers will still be disbarred in all matters in which they knowingly
misappropriate client or escrow funds, consistent with decades of precedent. The question -- and the challenge -- is
whether and how to create a rigorous system that can determine if a lawyer disbarred for those reasons deserves a
second chance years later.

Many considerations would likely factor into that type of decision, including the nature and seriousness of the
misconduct, whether the person honestly accepts that their prior behavior was wrong, the extent of any
rehabilitation, how much time has [***16} passed, whether the individual possesses the necessary integrity to
practice law, and whether readmission would compromise public confidence in the bar, among other criteria.

Under any such system, it is unlikely that attorneys who stole from clients and caused substantial harm could ever
be trusted to practice law again. On the other end of the spectrum, lawyers who knowingly misappropriated client
funds while suffering from addiction, mental health issues, or great personal challenges; who did not cause harm;
and who have been rehabilitated, might prove worthy of having their license restored at a later date. In between
those examples lie many other scenarios, to be sure.

The Court will establish a broad-based committee to analyze whether disbarment for knowing misappropriation
should continue to be permanent, or whether New Jersey should join the majority of jurisdictions that allow for
reinstatement. We will ask lawyers and members of the public who are not attorneys to serve on the committee and
present recommendations on an expedited basis. The committee's report will be made available for public comment
before the Court decides whether and how to act.

Foremost in our mind is the [***17} need to protect the public, to retain its confidence in the legal profession, and to
promote the integrity of the bar. If the Court revises the current approach to permanent [*587} disbarment, Ms.
Wade and others would be able to reapply for admission in accordance with a new court rule.
I.

To summarize the facts, we draw from the record before the Special Ethics Master, [**430} his detailed report, and
the comprehensive decision of the Disciplinary Review Board (ORB).
A.

Respondent has been a solo practitioner since she was admitted to the New Jersey bar in 2002. On June 15, 2017,
the OAE conducted a random audit of her financial records. The day before, Respondent deposited $12,000 she
borrowed from a friend into her attorney trust account.
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The audit covered two years, from mid-2015 to mid-2017, and it identified multiple problems. They included
commingling and extensive shortages in client trust funds totaling more than $11,000. In response to the audit,
Respondent admitted that she borrowed client and escrow funds in two matters, without permission from her
clients, because she needed money and had no one else to turn to for a loan. She explained what happened in a
letter she wrote and sent the OAE [***18] dated August 14, 2017:
     Regarding my trust account being out-of-trust please be advised of the following:
     Without the knowledge or permission of two (2) of my clients, Rev. Milena Eason and the Estate of Felix
     Anderson, I borrowed money, resulting in the two (2) accounts being out of trust for a time.
     As your office is aware, Rev. Milena Eason entrusted twenty-one thousand dollars [$21,000] in my care. Upon
     doing so, I placed the funds in my trust account. Though I did not immediately begin to borrow the funds, as
     money became low in my business, I transferred funds from my trust account to my attorney general/business
     account. At no time did I ever intend to keep or steal Rev. Eason's money. Not only did I intend to return the
     funds; but, the funds were actually returned to the account. I had no idea that my actions would spark
     disciplinary proceedings.
     In addition, I borrowed money from my client, the Estate of Felix Anderson. In August 2016, I borrowed
     approximately five thousand dollars [$5,000] from the Estate account ....

     [*588] As stated previously, I had no idea my actions were wrong or that they would spark disciplinary
     proceedings. I never intended to steal or keep these funds. Not [***19] only did I intend to return the funds; but,
     here too the funds were actually returned to the account

     I work earnestly to run what I believe is a law firm of integrity based on my Christian values. I strive to give my
     clients good value for their dollar and the best service. This comes at a cost because my clients are sometimes
     slow to pay. Unfortunately, there was no-one I could turn to for a loan .... My point is ... there was no one
     else to turn to, so I borrowed the funds. I had no idea that I could be disciplined for my actions or that what I
     was doing was wrong.
     Once the auditor told me the effect of my actions, I had to deal with the guilt, embarrassment and shame. I
     spent many sleepless nights crying and praying. I told my family, friends, colleagues and my pastor....
     I also had to bear the embarrassment and shame of telling my clients . . . about my actions. They were
     understanding, compassionate and unexpectedly supportive. One colleague requested I have her represent
     me....

    I am now aware that I broke faith with my clients, family, the bar and most importantly with God. My prayer is
    that at some point, I can work to restore that faith. There is no excuse for [***20) my actions. I was placed in a
    position of trust and I violated said trust I have learned [**431] from my mistakes. Chiefly, I am not alone and I
    don't have to borrow from client funds .... In the end, I am held accountable and required to answer for my
    mistakes....
    I request this Office take the aforementioned into consideration in taking any possible disciplinary action at the
    completion of this random audit.
The OAE continued with the audit and later extended the scope of its review to seven years.
B.

The allegations against Respondent involved three clients: Reverend Eason and the Grace of God Church in
Paterson; the estate of Felix Anderson; and Vivian Clayton. To provide relevant background, we briefly summarize
the allegations contained in the OAE's complaint, along with defenses Respondent later asserted.

In December 2016, Reverend Eason gave Respondent a $21,000 personal check payable to her trust account. The
funds were to be held in escrow to pay down the church's property tax liability. A receipt Respondent gave Eason
stated, "[m]oney held in escrow for the City of Paterson ... sum held: $21,000."

In the following months, Respondent repeatedly transferred funds from her [***21] attorney trust account to her
business account, [*589] which created a shortfall of $11,636.53. Respondent later claimed she negligently used
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the funds, without a basic understanding of accounting principles, and thought they were earned fees. As noted
earlier, she deposited $12,000 the day before the random audit began to cover the shortfall.

In the Anderson matter, Respondent held money in escrow for an estate. She admitted borrowing a total of $5,000
without permission. About two years later, she returned $3,100. On a ledger card Respondent prepared after the
random audit, she noted that she borrowed the $5,000. She later stated that the notation was inaccurate; that she
withdrew $3,000 to hire a detective to locate a lost heir and returned $3,100 when she decided not to do so; and
that she took $2,000 for her fee. Respondent also claimed she overpaid two beneficiaries about $1,000 each.

In the third matter, Respondent represented Vivian Clayton, the seller, in a real estate transaction. Respondent
accepted $4,000 from the buyers in June 2014 and was obligated to hold the funds in escrow until the closing the
next month. Without permission, she made a number of withdrawals, transfers, and [***22] deposits in the
intervening time, and the escrow balance dropped to $3,750 at one point. Respondent later asserted that the
shortfalls resulted from her failure to pay attention to the books. She replenished the money -- to exactly $4,000 -- in
time for the closing.
C.

During the course of the continuing audit, Respondent made additional admissions to the OAE.

At an interview on September 17, 2017, when asked whether she had ever borrowed escrow funds from a client,
she responded, "Yes. That's why we're here, aren't we?" In connection with the Anderson estate, she again
admitted that she borrowed escrow funds to pay bills because she was "broke." She conceded she used client
funds without permission to pay various expenses but [*590) claimed she did not know it was wrong to borrow the
money until the OAE investigator told her so.

At the same interview, Respondent also admitted she took more than $11,000 from her trust account in connection
with the Eason matter. At first, she claimed she [**432] replenished the funds with $12,000 from a fee she had
earned. She then acknowledged, to "be open and honest," that she made up the shortfall with funds she borrowed
from a friend.

Respondent added that she was [***23] aware of the danger in borrowing from clients. She noted, for example, that
she had not touched another $123,000 in client funds because she knew she could not "pay that back."
Respondent drew the line at $12,000 -- a self-imposed limit.

In an interview on April 11, 2018, with counsel present, Respondent admitted that she considered client funds as a
"line of credit" she could use, without permission, as long as she made the client whole. Based on what she knew at
the time of the interview, she conceded that her use of client funds was "absolutely" wrong but stemmed from
"ignorance."

During a follow-up interview on May 16, 2018, with counsel present, Respondent admitted using funds from one
client to pay for another client's needs -- known as "lapping," see                                      · '
        -- but claimed she did not know that was improper.

At various times, Respondent explained that she never intended to steal from clients and intended to pay the
money back at all times.
D.
The OAE filed a two-count complaint on December 18, 2018. Count One charged Respondent with multiple
instances of knowingly misappropriating client and escrow funds in violation of --"---C-------·····-··~----~~--
----------~--------------------------------------_-_--.,__
                                                        - _-_,_'_ and ::.: . _____ :':_.The instances are [*591] outlined above.
The first count also asserted [***24] that Respondent violated other rules of professional conduct. Count Two
charged Respondent with various recordkeeping violations, contrary to .-:. :: : - L.:._.
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                                                                                        16
                       250 N.J. 581, *591; 275 A.3d 426, **432; 2022 N.J. LEXIS 507, ***24

In Respondent's answer to the complaint, she moved away from some of her earlier admissions. She admitted that
she "did not maintain the appropriate recordkeeping procedures" but denied having "commit[ted] a knowing
misappropriation." Respondent stated that she "did not intentionally take client funds." Although she conceded she
had made certain admissions, she "denied that what was stated is actually what occurred." She also asserted that
her prior statements to the OAE "were made due to [her] embarrassment over not having maintained proper
records in [her] practice." Respondent's answer also summarized her personal history, pro bona work, and other
involvement in the community.

A Special Ethics Master conducted a hearing on October 29 and 30, and November 6, 2019. The OAE auditor and
Respondent testified and presented information that is summarized above. An expert witness and multiple
character witnesses also testified on Respondent's behalf. The witnesses presented compelling evidence of
Respondent's personal character, which we recount later. [***25] One witness also described the "disarray" in
Respondent's law office; she saw "a hundred plus unopened envelopes" that contained financial records and tried
to help Respondent organize them. Respondent herself admitted that she let bank statements pile up without
opening them.

In a post-hearing submission, Respondent again distanced herself from her earlier admissions. She claimed that
any misappropriations were negligent, not knowing; that her bookkeeping practices were deficient and accounted
for various errors and shortfalls; that she believed she transferred earned legal fees and not Reverend Eason's
money; that the notation [**433] she had "borrowed" funds in the Anderson matter was inaccurate; and that she
was ignorant of "checking accounting principles" and recordkeeping [*592] rules. The OAE countered
Respondent's arguments and recommended that she be disbarred for knowing misappropriation of trust and escrow
funds.

The Special Master issued a thorough report in February 2020 that recommended disbarment. He observed that
Respondent lacked "any experience in basic financial management" and "was unaware of her professional
obligations with regard to financial record keeping." He found that Respondent [***26] "regularly and intentionally
commingled her personal and trust funds," k~pt fees in her attorney trust account, and "withdrew them to meet
personal and business expenses."

The Special Master noted that Respondent's "improper practice caused [her] to be repeatedly out of trust which she
thought [was] excusable so long as she made up the shortage when needed." Moreover, her conduct made "it clear
that she knew she made use of client funds, as opposed to her own money." The Special Master found Respondent
"repeatedly paid back what she 'borrowed'" and appeared to limit her misappropriations to not more than $12,000 at
any one time.

He discounted expert testimony that Respondent's poor recordkeeping and commingling of funds meant "she could
not have known she was using client funds." To the contrary, the Special Master found that her "repeated and
consistent repayment of all amounts borrowed" belied the testimony. The Special Master made note of
Respondent's "conscious return of borrowed funds in time to cover any shortfalls." In his words, "sloppy
bookkeeping did not cause [Respondent] to unknowingly borrow client funds. She knowingly did so, and she paid
back what she borrowed."

The Special [***27] Master made specific findings of knowing misappropriation in the Eason, Anderson, and
Clayton matters. He also canvassed relevant case law related to the Wilson rule and made findings on the
remaining RPG violations. Because he found clear and convincing evidence that Respondent knowingly
misappropriated client and escrow funds entrusted to her in all three client [*593] matters, he recommended that
Respondent be disbarred under Wilson and · : : ____ . __ .

E.

In June 2021, after a de novo review of the record, the ORB unanimously upheld the Special Master's findings and
recommendation in a comprehensive, sixty-one-page decision.
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Like the Special Master, the DRB acknowledged Respondent was "a remarkable person who ha[d] overcome
tremendous personal obstacles, through diligence and perseverance, to become a pillar of her church and local
community." The Board also reviewed the testimony of Respondent's character witnesses in detail.

Despite evidence of her "stellar personal reputation," however, the DRB found the record was "replete with
overwhelming evidence that she repeatedly and knowingly misappropriated client and escrow funds, from 2002
through 2017." The DRB also pointed to Respondent's multiple admissions [***28] that she "borrowed client and
escrow funds, for the entirety of her career, and specifically in the Eason and Anderson Estate matters, 'without the
knowledge or permission' of her clients." According to the DRB, "Respondent's behavior constituted textbook
'lapping,"' - "'robbing Peter to pay Paul,' but always making certain that 'Peter's funds' were replenished when it
was time to repay" him.

 [**434] The DRB recited Respondent's admissions in detail, noted her attempt "to distance herself from" them, and
"view[ed] that sea change with skepticism." The Board also addressed and rejected defenses that she raised. It
found that neither an intent to replace client funds nor ignorance of the ethics rules was a defense to a Wilson
violation. The Board equated Respondent's lack of an accounting system for fifteen years with willful blindness. In
the end, the DRB concluded that "disbarment is the only appropriate sanction, pursuant to the principles of Wilson
and -- •·-      :2_." The Board therefore did not address the appropriate discipline for other ethical violations it
found.


 [*594] F.

We entered an order to show cause. The OAE, Respondent, and the New Jersey State Bar Association, as amicus
curiae, appeared at oral [***29] argument.
11.

Respondent and the OAE renew arguments they presented to the Special Master and the DRB. Respondent
contends she did not intentionally misappropriate client funds, that the record reflects instances of negligent
misappropriation, and that, even if knowing misappropriation is found, she should not be disbarred. She argues the
Wilson rule should be reevaluated when "no client is harmed and the mitigating factors clearly outweigh imposition
of disbarment." The OAE counters that Respondent knowingly misappropriated client and escrow funds and offered
no persuasive defenses, and that neither her conduct nor her background justify revising the Wilson rule.

The State Bar Association asks the Court to clarify the Wilson rule and find that the knowledge element of
misappropriation "is tantamount to an intent to steal or defraud the person from whom ... funds are taken." In other
words, the Bar submits that under Wilson and its progeny, knowing misappropriation of client or escrow funds
should require proof that an attorney intended to steal or defraud.
111.

We begin our analysis with an overview of the Court's seminal ruling in In re Wilson as well as relevant caselaw
before and [***30] after the decision.
A

 Prior to 1979, the Court condemned the taking of client funds but did not disbar lawyers in all cases._-=~·-'-~--·_··_··_ __
--"---'--'---C-'--.:.-c_-~---'-·  :=-'--~. Most attorneys either were disbarred or resigned [*595] with prejudice. David E.
Johnson, Lawyer, Thou Shall Not Steal, 36 Rutgers L. Rev. 454, 460-74 (1984). But the Court's consideration of
mitigating factors -- restitution, economic and emotional pressures, candor and cooperation, remorse, later
compliance with trust account requirements, and other circumstances -- led to varied outcomes. See .•. ·, _ __ :: _
..:,...;....__;,_: .: ::"J: . ...   · -· ::: ; James R. Zazzali, The Whys and Hows of Permanent Disbarment: New Jersey's
Wilson Rule, ,~ ·                         · - ··            ·· · _: · · > ; see also Annotated Standards for Imposing Lawyer
Sanctions, Standard 9.32 (Ellyn S. Rosen ed., ABA 2d ed. 2019) {compiling mitigating factors).
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In the years leading up to the Wilson decision, discipline for knowing misappropriation ranged from a suspension to
disbarment. See, e.g., ._ ..L..:.L_. 0.:_:___ ::__.'          •  __  .• ......                      : • .::...... (six-month suspension); .....L~ ...:..:..'.


··--~-"-·······-······-···---''-·~·-------'--·-"·-·'-· (two-year suspension); --..~:....::...,::..:...c..•••~.L.. :,_~~...........,.,~-~...................~........
                                                                                                                        (indefinite suspension); ·-···'

(disbarment); ··             .,..........,............ ..............·--··---··········-··········· · · · (disbarment); see also '"·=;~L--""''--~-~L--""-··':::,~:L:
::-__. _ ... ___ . ·.· :' (discussing cases). In short, New Jersey's prior approach to disciplining attorneys who
misappropriated client funds was "unpredictable" and "uneven." .... ,·.··•·.·•• ... - · .: .. . . -.··. : :' ._·_ __

The Court's pronouncement in Wilson in [***31] 1979 outlined a clearer path: "that disbarment is the only
appropriate discipline" when an attorney "knowingly use[s] his clients' money as if it were his own." _ .. .. . ..
          ·-
----·-····-·-------4•------·

Wendell Wilson was the subject of eight disciplinary complaints; two involved misappropriation. In one matter,
Wilson failed to turn over to a client, for nearly two years, more than $23,000 from the sale of a house. Ibid. In the
second, Wilson forged his client's endorsement on a $4,300 check payable to the client and deposited [*596] the
check in his trust account. Ibid. Wilson did not turn over the funds.

The Court noted that misappropriation of client funds is a crime as well as a violation of the ethics rules .
                                : ...:,,.· Yet the principle announced in Wilson plainly extended beyond theft and criminality. The Court
......,....... ..:.C..'--·-·•.....

defined "misappropriation" as "any unauthorized use by the lawyer of clients' funds entrusted to him, including not
only stealing, but also unauthorized temporary use for the lawyer's own purpose, whether or not he derives any
personal gain or benefit therefrom."~~-~~~-~-----                                         The Court also expressly stated that "[c]riminality
is not determinative." ····--·····---..:.·____.:: ________._.. _....

As the Court explained, most "misappropriation cases involve[] lawyers who undoubtedly [***32] intended to return
the funds." ~· , • ' .          , · ..... · · " ·.. The Court nonetheless observed that "[t]he policy described in this opinion,
leading to disbarment in these cases, would be ill served if 'borrowing' regularly resulted in lesser discipline." ..;.._;_.
··-··--··--·-··--·--··----·--- In essence, although the Court sharply criticized "stealing a client's money,"~·-------~
  ___._::, it did not require proof that an attorney intended to steal or defraud a client to establish knowing
misappropriation.

The Court went on to consider -- and reject -- mitigating circumstances that had previously led to discipline short of
disbarment. Restitution, the defense raised most frequently, often depended on a person's ability to pay and not
"moral fitness." :         ______________ ·:·:(quoting------·------·---·-----
(en bane)). As the Court noted, "[a] thoroughly bad man may make restitution, if he is able, ... and a thoroughly
good man may be unable to make any restitution at all."                           ' (quoting .--. , , __ :  -~-~


The Court found that improved recordkeeping was a "similarly unpersuasive" factor because lawyers are expected
"to set up proper books and records" and keep their trust accounts in balance. ---~·-•
"[l]nexperience" or an "outstanding [*597] career" also "seem[] less important" when "misappropriation is involved."
--~~•-~~-·--'··--··---'··--·· The Court explained that the [***33] "offense against common honesty should be
clear even to the youngest; and to distinguished practitioners, its grievousness should be even clearer."


The Court recognized that two factors "must deeply trouble any court" that orders [**436] disbarment: "the
pressures on the attorney that forced him to steal, and the very real possibility of reformation." Ibid. Disbarment
under those circumstances, the Court noted, "is so terribly harsh as to require the most compelling reasons to
justify it." Ibid.
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 The Court articulated the compelling reasons in plain terms: "the continued confidence of the public in the integrity
 of the bar and the judiciary." Ibid. If that "confidence is destroyed," the Court stated, "the bench and the bar will be
 crippled institutions."            , . • --- :- ..- · :' : .

 As a result, the Court announced a bright-line rule that "all ... cases" of knowing misappropriation of client funds
 "generally ... shall result in disbarment. We foresee no exceptions to this rule and expect the result to be almost
 invariable."    , : •':. .'.:: ::.c.;_~---~~'.:~- "[M]itigating factors will rarely override the requirement of disbarment.",._;__ __;:_:


 More recently, the Court has used even stronger language to describe the rule. See, e.g., -------'--··'"----"-'...--'-'---___;_--'-'--
                                             {"Disbarment is mandated [***34) for the knowing misappropriation of clients' funds .
 -'--------"--'-'---"----=-'------'--"-----::..c...c.'_

                                               ,, c ~ .. : . : ; ,, ;: ·..: ..-. · : : · {"[W]e have not retreated one bit from the principle
 that knowing misappropriation, when shown by clear and convincing evidence, will warrant the Wilson sanction of
 disbarment.");                               · :, ~ '                                 •-· .:. : · ,:-.: :' ("[S]ince Wilson, the Court has consistently
 and unwaveringly disbarred attorneys who knowingly took their clients' funds."); _'. ·::                                                 - . ___ ·- ....
 __ : - . -_ ·: _: · .: ...• . · : . ("[A]n attorney who knowingly misappropriates funds from a [*598] client is subject to
 disbarment without any practical prospect of consideration of mitigating factors .... " (citations omitted)).

After Wilson, the Court extended the disbarment rule to lawyers who knowingly misuse escrow funds.
-'-'-"--'-'---"---'---'-·-~-~___;_.c_·=:t :· .: -' .~ .: .: · · - 0.• Knowing misappropriation of law firm funds can lead to disbarment
under                                                      :' .. --c -'· :~.: • ":' : ; =' , and ·                                  but
disbarment has not been an absolute requirement in those instances. In re Sigman, 220 N.J. 141, 158, 104 A.3d
230 (2014).

In all of those areas, we impose disbarment only if the OAE can satisfy a high standard and demonstrate clear and
convincing proof of knowing misappropriation4 .:. ;':" ~ :' :· · ~--~· ~: .. .:.:·:· -~- .:. _-··; see a/so           · : , - :: .::
•. ·          · · · ~·; ': ("Proof of misappropriation, by itself, is insufficient to trigger the harsh penalty of disbarment.
Rather, the evidence must clearly and convincingly prove that respondent misappropriated client funds
knowingly."). [***35]

That standard cannot be met if an attorney presents "competent medical proofs that [the person] suffered a loss of
competency, comprehension, or will of a magnitude that could excuse egregious misconduct that was clearly
knowing, volitional, and purposeful." -~--~i-:... ~ ;: :;.:,< ~<:· '·                   ~       < . To avoid disbarment in
                                                                                                          1 •.               -·   ~-   -   _:._ :. -~   ,.   :   ._~·   .:_   :-   --   ;:~



such a case, a respondent must establish a "causal connection" between the alleged medical condition and the act
of misappropriation. Ibid.; see also_;;.:....:.~; •·           . . .. .. .. . . · ... (discussing case law and noting "the
importance of establishing ... an excusing causal connection"). 1

 [*599] [**437] The Wilson rule, of course, applies to cases of knowing, not negligent, misappropriation. Attorneys
who negligently misappropriate client funds are not subject to Wilson's automatic disbarment rule.       ~ , . . .0 ··
____.. · (<-·::· :':·_:_ ·' .~:- -:..: ·:_:_;···We do not review cases of negligent misappropriation here because
they are not relevant. Respondent, by her own admissions, deliberately used client and escrow funds without
permission.
B.

In the decades since Wilson, despite occasional criticism, the Court has declined to relax or modify the bright-line
rule that knowing misappropriation will result in disbarment. See, e.g., ~~~~~--'---"-'-~--~~-~-~


1
  Respondents have the burden of proving medical defenses by clear and convincing evidence. -=·--:-~ ••.                                                                                             0:.; .. cf. .~-·· .,...:~:
            (noting respondents have "[t]he burden of going foiward regarding [other] defenses or demonstrating mitigating
factors"). General proof of addiction to alcohol, drugs, or gambling, or of mental illness, which falls short of the .. .··: .. · standard, is
insufficient to avoid disbarment for knowing misappropriation. See, e.g., ---·-.. --·•····-·-·--·......- .......-...-..---.--...............
(alcoholism); ............ ,.. --~~---~·····---··--~-~-··~-•-~----------·-..c----•-...--..............                    (drug dependency); ..:.....:.L_,... :.~:::..:~ _____ ,L..:...,_... _~: .. L.:~
                                                                                             .................. __ ..................------· .. ····-· .............. _... _.....----·..······..---- (mental illness).
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(Stein, J., concurring, joined by O'Hern and Garibaldi, JJ.) ("[A]lthough [***36] the Wilson rule is the right rule for
the vast majority of knowing-misappropriation cases, the inflexibility with which it can be applied runs the risk of
creating within our attorney-discipline system an almost reflexive approach to such cases, obscuring and ignoring
the individual circumstances to an intolerable degree."); -•-··-~.._., _______ ......................    .. ' (Stein, J.,
dissenting, joined by O'Hern, J.) ("The Court should exercise caution and restraint in considering the extent to which
it should apply rigid, bright-line rules in attorney disciplinary proceedings. Disbarment is the most unforgiving
discipline, and it condemns every lawyer on whom it is imposed to a life sentence of professional disgrace."); see
also ·                                                     (reviewing criticism of the Wilson rule and recommending
the use of indeterminate suspension in exceptional cases).

The Court has also continued to reject various defenses to the Wilson rule. On multiple occasions, for example, the
Court has stated that "[i}ntent to steal funds from a client is not an element of knowing misappropriation." ........ ··••
 --·-···-----··-.. ·-··---------···--···-----'"·---·-----·--·--·-·----------·----··----.. --------"- · · accord '-: ·. _.. ·............ ; _______ .. . . ·: . In
.... • ..•.. , the Court set forth the requirements for knowing misappropriation as follows: it "consists simply of a lawyer
taking a client's money entrusted to him, [***37] knowing that it is the client's money and knowing that the client has
 not authorized the taking." ·                                                                · ·. An attorney's motive for taking client funds -- good or bad
-- is not relevant. Ibid. Just the same, an intent to return a client's money is irrelevant. Ibid.; __ :_ ·: ______ -•-· __
                       ,.      ~
__..,,,_,.___ -·- ····-----~----·   ..
                                  ........ _. ---··-····-· .-..,- ---·--·--- ------------·----. ·-·




Nor is willful blindness a defense to a charge of knowing misappropriation. As the Court observed in In re Johnson,
"[t}he intentional and purposeful avoidance of knowing what is going on in one's trust account will not be deemed a
shield against proof of what would otherwise be a 'knowing misappropriation."' _ _ __
.....· :: · ; see also___________ ___                              . . (defining willful blindness). Ignoring mail that
contains financial records cannot provide attorneys a safe haven.

 [**438] Attorneys have also asserted poor accounting or shoddy bookkeeping as a defense. But "[i]t is no defense
for lawyers to design an accounting system that prevents them from knowing whether they are using clients' trust
funds. Lawyers have a duty to assure that their accounting practices are sufficient to prevent misappropriation of
trust funds."                            -·-- ··

Although shoddy bookkeeping alone does not establish knowing misappropriation, it is not a defense to a Wilson
violation when the record otherwise demonstrates [***38] knowing misappropriation.               , .. •·. _ ___ . _., _ . ____ ·.·
 _ ...... __ •.. _ .. . . • :c : - ; see also ·                                (disbarring attorney who commingled
personal and client funds in his trust account and did not maintain adequate records but knew, based on
"unavoidable inference," that his withdrawals "endanger[ed] other clients' funds").

 [*601] Similarly, ignorance of ethics rules and case law does not excuse ethical misconduct.--·----·-··----·-·---·-·--
                                                                                                      _________________
                                                                                                        •··
                                                                                                                                                          __
                                                                                                                          -._·_,:_______ .. :·.____ .. ·(_·   -


Personal and financial hardship also cannot excuse a lawyer who takes a client's funds. The Court succinctly
explained why in In re Hughes: "We do not condemn the individual who faces exigent circumstances. We do protect
the public." ·                                   · see also··-··•·--"-··-·-------·-·--·--··------ -·
(noting the Court has "repeatedly rejected opportunities 'to create exceptions to the Wilson rule, even where the
misappropriation was the product of severe personal and financial hardship"' (quoting --·· ··'-- . ___ ... : · . _' ___ : .· ·>
-----------· . :···-- )).
C.

Respondent advanced a number of the defenses discussed above, but none of them can overcome Wilson's bright-
line rule. Today, we make clear once again that knowing misappropriation will lead to disbarment. An attorney who
knowingly takes a client's funds without permission will be disbarred.

That approach is not meant to punish lawyers. Like the overall system of attorney discipline, it is designed [***39] to
protect the public and maintain confidence in the bar and the Judiciary. __ >____ . _________ .... __ ··--·- -·--·--·"·· ..... ...
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When clients place money in an attorney's hands, they have the right to expect the funds will not be used
intentionally for an unauthorized purpose. If they are, clients can confidently expect that disbarment will follow.

Because there is clear and convincing evidence in the record, including Respondent's own admissions, that she
knowingly took client and escrow funds without permission on multiple occasions, an order of disbarment will be
entered. We therefore do not discuss other ethical violations Respondent committed.


 [*602) IV.
A.

At the hearing before the Special Master, Respondent presented multiple character witnesses who offered
compelling evidence of her personal and professional achievements. Based on that testimony, the Special Master
found that "[h]er service to the community and good reputation are particularly exemplary." As noted earlier, the
ORB similarly observed that "Respondent is a remarkable person who has overcome tremendous personal
obstacles ... to become a pillar of her church and local community and what appeared to be [**439] an excellent
member of the New Jersey bar." We agree with those conclusions [***40] and recount some of the testimony
underlying them.

Several relatives testified about Respondent's upbringing and devotion to family. Respondent was born to a
sixteen-year-old mother who struggled with substance abuse. Her father was not part of her life from the time she
was three years old. Respondent's mother testified that by the time Respondent graduated from high school, the
family had moved more than eleven times between Passaic and Newark. While her mother was in rehabilitation,
Respondent lived with a cousin.

Respondent's brother testified about how she was a stable figure in his life. He admired her work ethic and focus
while in school. Later in life, she helped take care of his children when he was imprisoned for drug distribution.
Respondent represented him in the criminal case. Today, her brother owns a trucking company, and the two remain
close. He confirmed that neither of them had any understanding of financial matters from their upbringing.

Respondent's uncle added that he helped raise her as a child when her mother fell on hard times. Years later, when
he became very ill, Respondent offered to donate a kidney for a transplant.

Other witnesses testified about Respondent's [***41] extensive involvement with her church. A fellow congregant
and real estate broker testified that Respondent conducted free legal seminars at the [*603] church. He also
referred real estate matters to her and noted that she willingly and professionally helped clients even if the fee was
not lucrative. A former instructor at a community college echoed that she was heavily involved with her church,
family, and the community. He described her as a student leader who had the respect of her peers and was active
in student government. A cousin who described Respondent as a mentor testified about other activities, including
Respondent's volunteer work at an aviation school to teach inner-city youth about aviation.

Yet other witnesses spoke of her work as a lawyer. A trustee of Northeast New Jersey Legal Services testified
Respondent was an active participant who provided pro bono services to clients and offered workshops and
seminars on bankruptcy and real estate. In 2017, Legal Services bestowed an award on Respondent for her pro
bono contributions. Respondent's uncle similarly recounted that he had referred many people who needed legal
assistance but could not afford to pay Respondent, and she never [***42] refused to help them.

A law school classmate and practicing attorney described Respondent as very kind, giving, always willing to help
others, honest, diligent, devout, and dedicated to the law and the community. Another fellow solo practitioner and
friend, who worked with Respondent on a number of legal projects over the years, praised Respondent as a hard-
working, diligent, good-natured professional, with a really good heart and a strong commitment to her faith.

Vivian Clayton, a client whose funds were invaded, also testified as a character witness. She met Respondent at St.
Luke Baptist Church in Paterson in around 2001. Ms. Clayton relayed that Respondent gave free legal clinics at the
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 church and assisted with a transitional home for women, a summer camp program, and a school program.
 Notwithstanding the allegations in this disciplinary matter, Ms. Clayton described Respondent as kind, intelligent,
 truthful, and a hard worker with a "servant's heart."

Respondent testified as well. She explained that, while growing up in the midst [**440] of chaos, she grounded
herself in two ways: [*604] through religion and in pursuit of her goal to become an attorney. After law school, she
worked for the juvenile [***43] section of the Passaic County Probation Department. When she passed the bar, she
opened a solo practice and focused on representing the underserved population of Paterson. She also immediately
got involved with Northeast New Jersey Legal Services to do pro bono work. Legal Services honored her several
times and gave her the Empowerment Award at its 50th anniversary banquet.

Respondent also described her volunteer efforts at the church where she co-founded the St. Luke's Legal
Assistance Ministry; conducts various free legal seminars on domestic violence, bankruptcy, real estate, and wills
and trusts; and serves as vice president of the community development board. In that position, she helps organize
food drives for the needy and educational programs for children, among other community work.
B.

As the Special Master and the ORB recognized, Respondent has no prior disciplinary history. None of her clients
lost money, and she promptly took remedial measures after the random audit. She cooperated with the OAE,
readily admitted she borrowed clients' money without permission, and was contrite about her failure to maintain
financial records properly.
C.

For the reasons discussed earlier, Respondent's (***44] personal and professional history does not provide a
defense to a Wilson violation. But her accomplishments raise important questions about New Jersey's longstanding
system of attorney discipline. In particular, should disbarment be permanent in all Wilson cases? Or should the
disciplinary system offer disbarred attorneys like Respondent an opportunity for a second chance at a later point in
time?

 [*605] Many considerations bear on those questions, and we briefly examine a few of them.
V.
A

All 50 states and the District of Columbia disbar attorneys who commit serious ethical violations. In a large majority
of jurisdictions, however, disbarment is not permanent. Altogether, 41 states plus the District of Columbia allow
attorneys to apply to be reinstated after they have been disbarred.

Most jurisdictions permit attorneys to apply for readmission 5 years after disbarment. See : '··-·-· .< .... ·.... =
                  - - - - - - · - · · - · · - · ....: ·-·--·· .. .                                   ; Ark. R. Pro. Conduct 24(8)(1); Ca/. State Bar R. 5.442(8);
~---"''-"--'---..CC...-'-'--"-'--"-----'·,.::...,_,                                                         · Ga. R. Gov'g Admission Prac. L. pt. A, §10(a); . "--~

~ - - ·..... ·: _ .... ' , ...... ·                                                 , ..,                       · ; Me. Bar R. 29(a); Mich. Ct. R. 9.123(8)(2); Mo.
Sup. Ct. R. 5.28(()(2); Mont. R. Law. Disciplinary Enf't 29(C)(3); Neb. Ct. R. 3-310(T); N.C. R. State Bar ch. 1,
subch. B, § .0129(a)(2); .._.,: ___ .:: .... ~....... :.,L;::: ......-'--·:·"-":...; Okla. R. Gov'g Disciplinary Proc. 11.1(e); :~L.....~~·-·
·- .~ :_ .·• .. · ·-···: -~"- ::_:___~ .___ ,, :________· ·---------·· ···-··~~~---:_ ___.___.,_____     · ; S. C. App. Ct. R. 413, R. Laws.' Disciplinary Enft 33;
       ~~-~~-~-; .. •.- ·---· ... · .·.·                                                     . ·; Utah Code Jud. Admin. R. 14-707(c);                        _ .. ·_,
 Va. R. Sup. Ct. pt. VI, § IV, 1i 13-25(F)(1); _ _ _ _ _ _ •- •·- ___:: ___ :_:_· · • ; W Va. R. Law. Disciplinary P.
3.33(b); < c_ : _____ . ____ ... ; _.: __ ; --"------=--'-~·-····-~-~--·····

[**441] In addition to those 31 jurisdictions, 4 others impose variations on a 5 - year time limit. See Conn. R.
Super. Ct. §§ 2-53(b), 2-47A (5 years generally; 12 years for knowing misappropriation); R. Regulating Fla. Bar 3-
7.10(n)(1) (5 years unless the order states disbarment is for a longer period or is [***45] permanent);.
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 -~--;";_~--L-'-, _:c__'._ (5 years unless the court determines more time is needed); :. __ _-    --------'--.;.__=--'·----- =,·-··--· .. _
                                                                                                                                          _-., . ,
 ---=--__:- (5 years [*606] except disbarment is permanent for attorneys convicted of certain felony criminal offenses).

 Disbarred attorneys can apply for readmission or reinstatement after 1 year in Hawaii, ·- . -· .: --"--•'--'-.--=---
      . after 7 years in New Hampshire, ·    - ··                      .:_,, and New York, N. Y. Ct. R. 1240.16(c)(1);
 and after 8 years in Colorado,       ·~     --   .~: :._~-~-~-- and Massachusetts Mass. R. Sup. Jud. Ct. 4.01, §
                                                                                         1                  1


 18(2)(a).

Maryland specifies the time to apply for reinstatement in each order of disbarment.                             - ·, ·           ·-
Minnesota's court rule does not set a minimum waiting period to apply for readmission after disbarment, see __ ...
--.=-c.-----"----··---~----:..C..C.--"--: but length of time since disbarment is a factor to be considered for reinstatement, ----~
                                                            - ,..-. -:


Disbarment is permanent in only 8 states including New Jersey . ....::~_.:.__ --_ ··                                        - · ·· ··
    ·       - ~ . : .; ...::..::.. .: . - --~"---' , . _.                                 _· ... , . _:_ ; N.M. State Ct. R. 17-214(A); Ohio
Sup. Ct. R. Gov't Bar V, §12(8); -~--··-L:L.!..L_;~c:..: __::____::__._·__ ; --·------····                ..- - - - - - · (making disbarment
permanent on or after July 1, 2020).

In one state, Louisiana, the Supreme Court retains discretion to permanently disbar a lawyer and prohibit the
person from being readmitted .. _•_: ::· _,-.- -             ·- · · · _____

The majority rule is consistent with a recommendation of the American Bar Association. ABA Model Rule 25A
states that "[n]o lawyer may petition for readmission until five years after the effective date of disbarment." ABA
Model R. Law. Disciplinary Enf't 25(A) (Am. Bar Ass'n 2002). The model rule also lists criteria for
reinstatement [***46] and readmission. They include compliance with all prior disciplinary orders; rehabilitative
treatment for physical or mental infirmity, including alcohol or drug abuse; recognition of the wrongfulness and
seriousness of the prior misconduct; proof of "the requisite honesty and integrity to practice law"; competency
 [*607] to practice; and passage of the bar examination and character and fitness examination. Id. R. 25E.

Many states outline similar factors to assess whether a disbarred attorney should be reinstated. The Supreme Court
of South Dakota, for example, considers the following ten factors:
    1. present moral fitness;
    2. acceptance of wrongdoing with sincerity and honesty;
    3. extent of rehabilitation;
    4. nature and seriousness of the original misconduct and the disrepute it brought on the legal profession;
    5. conduct following the discipline, including whether there has been any unauthorized practice of law;
    6. time elapsed since the original discipline;
    7. character, maturity and experience at the time of discipline and now;
    8. current competency and qualifications to practice law;
    9. restitution; and

       [**442] 10. proof that resumption of the practice of law within the state will not be detrimental to [***47] the
      integrity and standing of the bar or the administration of justice, or subversive of the public interest.

      [_· _· i.·· < . . ·. '·-   :_.._. __:· ·: ... ' .·.' ... ·'_---___   ..       ..
                                                                                -: :::   .]

 Sixteen states require petitioners to complete examination requirements as part of the reinstatement process.
Arizona, California, Colorado, Florida, Georgia, Minnesota, Mississippi, Missouri, New Hampshire, Oklahoma, and
South Carolina require disbarred lawyers to retake the bar examination. .. , 7 :: .                                            . : ; Ca/. State Bar R.

5.441 (B)(4)(a); Ga. R. Gov'g Admission Prac. L. pt. A, § 10(f); Okla. R. Gov'g Disciplinary Proc. 11.S(c); Colo. R.
Civ. P. 242.39(a)(1) (also requires the Multistate Professional Responsibility Examination (MPRE)); R. Regulating
Fla. Bar 3-7.10(f)(4)(B) (same); :: ·- --                                                        - ,- (same); Mo. Sup. Ct. R. 5.28(b)(4}, (d) (same);
                                                                      (same); S.C. App. Ct. R. 413, R. Laws.' Disciplinary Enrt 33(f)(8) (same);
,.;__-'-·--·· ..·•·.."""---'--'--'----'----''-"-'-'--'--"--'-- (requires completion of all written exams required for initial admission).
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Connecticut, Rhode Island, and Virginia require passage of the MPRE. Conn. R. Super. Ct. § 2-53(d)(3); ···-···--·'•·'•·-•··
   __ . ···----~ ... --· __ ; Va. R. Sup. Ct. pt. 6, § IV, ,r 13-25(F)(4). New York requires [*608] passage of the MPRE and
may require applicants to retake the bar examination. N. Y. Ct. R. 1240.16(b). North Carolina requires passage of
the bar examination and the MPRE when a petition is filed 7 or more years after disbarment. N. C. R. State Bar ch.
1, subch. B, § .0129(a)(5).

Several jurisdictions decide whether to require passage of the bar examination or the professional responsibility
exam on a case-by-case basis. See_-~_:_"_. ___ -_____ -:- ___ -,,-.. -________ .:-·-·-··-.:· _____ .. __:____ .___ . _______ , ~-·-·················--······-···.. -~------·~--. __ ; .~--~.. -------·-···---~-------;· _____ •
B.

Those and other considerations are relevant to any thoughtful evaluation of whether disbarment for knowing
misappropriation should [***48] be permanent. To assess those and other factors, the Court will convene a
committee comprised of attorneys as well as members of the public who are not lawyers.

We will ask the committee to study whether disbarment should continue to be permanent in all Wilson cases and to
recommend standards that might apply if New Jersey were to adopt the majority approach. Among other issues to
consider are the following: After what period of time might attorneys be readmitted? What factors and standard of
proof should apply to that judgment? Should disbarred attorneys be required to retake the bar examination or other
courses on ethics, recordkeeping, and related subjects? What process might be adopted for readmission? And
what rule changes might be warranted?

To be clear, we ask the committee to recommend whether to modify the rule of permanent disbarment for matters in
which disbarment has been mandatory -- that is, for knowing misappropriation of client funds under Wilson and of
escrow funds under --~-----'··· The Court made clear in Sigman that disbarment was not required for knowing
misappropriation of law firm funds. 220 N.J. at 158, 104 A.3d 230. We ask the committee to consider whether any
rule change should apply to orders of disbarment [***49] entered before Sigman.

There are yet other serious matters in [*609] which the Court exercised its discretion and permanently disbarred
an attorney. We invite the committee's comments on that issue as well. [**443] The committee's report will be
made available to the public for comment before the Court determines how to proceed. See N.J. Const. art. VI, § 2,
,r 3 ("The Supreme Court shall have jurisdiction over the admission to the practice of law and the discipline of
persons admitted."). We welcome input from attorneys and the public to promote the key interests at the heart of
the Wilson rule: how best to protect the public and maintain confidence in the legal profession.
VI.

For those reasons, we enter an order of disbarment for Respondent and ask the Director of the Administrative
Office of the Courts to help assemble a committee to study whether disbarment should continue to be permanent in
all cases of knowing misappropriation.

JUSTICES ALBIN, PATTERSON, SOLOMON, and PIERRE-LOUIS join in CHIEF JUSTICE RABNER's opinion.
JUDGE FUENTES (temporarily assigned) did not participate.
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                       APPENDIXD
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                         Current with all changes received through September 23, 2022

NJ - New Jersey State & Federal Court Rules > Rules Governing the Courts of the State of New
Jersey > PART I. Rules of General Application > CHAPTER II. Conduct of Lawyers, Judges and
Court Personnel



Rule 1 :20-20. Future Activities of Attorney Who Has Been Disciplined or
Transferred to Disabifit.¥:lnactive Status.

      (a) Prohibited Association. No attorney or other entity authorized to practice law in the State of New Jersey
      shall, in connection with the practice of law, employ, permit or authorize to perform services for the attorney
      or other entity, or share or use office space with, another who has been disbarred, resigned with prejudice,
      transferred to disability- inactive status, or is under suspension from the practice of law in this or any other
      jurisdiction.

      (b) Notice to Clients, Adverse Parties and Others. An attorney who is suspended, transferred to disability-
      inactive status, disbarred, or disbarred by consent or equivalent sanction:
          (1) shall not practice law in any form either as principal, agent, servant, clerk or employee of another,
          and shall not appear as an attorney before any court, justice, judge, board, commission, division or
          other public authority or agency;
          (2) shall not occupy, share or use office space in which an attorney practices law;
          (3) shall not furnish legal services, give an opinion concerning the law or its application or any advice
          with.relation thereto, or suggest in any way to the public an entitlement to practice law, or draw any
          legal instrument;
          (4) shall not use any stationery, sign or advertisement suggesting that the attorney, either alone or with
          any other person, has, owns, conducts, or maintains a law office or office of any kind for the practice of
          law, or that the attorney is entitled to practice law;

         (5) shall, except for the purposes of disbursing trust monies for the 30-day period stated in this
         subparagraph, cease to use any bank accounts or checks on which the attorney's name appears as a
         lawyer or attorney-at-law or in connection with the words "law office". If the suspension is for a period
         greater than six months, or involves a temporary suspension that lasts for more than six months, or
         involves transfer to disability-inactive status, disbarment, disbarment by consent or their equivalent
         sanction, the attorney shall, within the 30 day period prescribed in subparagraph (15), disburse all
         attorney trust account monies that are appropriate to be disbursed and shall arrange to transfer the
         balance of any trust monies to an attorney admitted to practice law in this state and in good standing for
         appropriate disbursement, on notice to all interested parties, or dispose of the balance of funds in
         accordance with R. 1:21-6(j), "Unidentifiable and Unclaimed Trust Fund Accumulations and Trust
         Funds Held for Missing Owners"; however, it shall not be a violation of this subparagraph for an
         attorney to take appropriate action to comply after the stated 30-day period;
         (6) shall, from the date of the order imposing discipline (regardless of the effective date thereof), not
         solicit or procure any legal business or retainers for the disciplined attorney or for any other attorney;

         (7) shall promptly request the telephone company to remove any listing in the telephone directory
         indicating that the attorney is a lawyer, or holds a similar title;
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                                          N.J. Court Rules, R. 1:20-20

        (8) shall promptly request the publishers of Martindale-Hubbell Law Directory, the New Jersey Lawyers
        Diary and Manual, and any other law list in which the attorney's name appears, including all websites
        on which the attorney's name appears, to remove any listing indicating that that attorney is a member
        of the New Jersey Bar in good standing;

        (9) shall notify the admitting authority in any jurisdiction to whose bar the attorney has been admitted of
        the disciplinary action taken in the State of New Jersey;
        (10) shall, except as otherwise provided by paragraph {d) of this rule, promptly notify all clients in
        pending matters, other than litigation or administrative proceedings, of the attorney's suspension,
        transfer to disability-inactive status, disbarment, or disbarment by consent, and of the attorney's
        consequent inability to act as an attorney due to disbarment, suspension, or disability-inactive status,
        and shall advise said clients to seek legal advice elsewhere and to obtain another attorney to complete
        their pending matters. Even if requested by a client, the attorney may not recommend another attorney
        to complete a matter. When a new attorney is selected by a client, the disciplined or former attorney
        shall promptly deliver the file and any other paper or property of the client to the new attorney or to the
        client if no new attorney is selected, without waiving any right to compensation earned as provided in
        paragraph {13) below;

         (11) shall, except as otherwise provided by paragraph {d) of this rule, as to litigated or administrative
        proceedings pending in any court or administrative agency, promptly give notice of the suspension,
        transfer to disability-inactive status, disbarment, or disbarment by consent and of the consequent
        inability to act as an attorney due to disbarment, suspension, or disability-inactive status, to: {1) each
        client; (2) the attorney for each adverse party in any matter involving any clients; and (3) the
        Assignment Judge with respect to any action pending in any court in that vicinage, or the clerk of the
        appropriate appellate court or administrative agency in which a matter is pending. The notice to clients
        shall advise them to obtain another attorney and promptly to substitute that attorney for the disciplined
        or former attorney. Even if requested by a client, the disciplined or former attorney may not recommend
        an attorney to continue the action. The notices to opposing attorneys and the Assignment Judge or
        Court Clerk shall clearly indicate the caption and docket number of the case or cases and name and
        place of residence of each client involved. In the event a client involved in litigation or a pending
        proceeding does not obtain a substitute attorney within 20 days of the mailing of said notice, the
        disciplined or former attorney shall move pro se in the court or administrative tribunal in which the
        action or proceeding is pending for leave to withdraw therefrom. When a client selects a new attorney,
        the disciplined or former attorney shall promptly deliver the file and any other paper or property of the
        client to the new attorney or to the client if no attorney is selected, without waiving any right to
        compensation earned, as provided in paragraph {13), below;

       (12) shall, in all cases in which the attorney is then acting, or who thereafter attempts to obtain letters
       of appointment from a Surrogate to act, in any specified fiduciary capacity, including, but not limited to,
       executor, administrator, guardian, receiver or conservator, promptly notify in writing all (1) co-
       fiduciaries, (2) beneficiaries, (3) Assignment Judges and Surrogates of any vicinage and county out of
       which the matter arose, of the attorney's suspension, transfer to disability-inactive status, disbarment,
       or disbarment by consent. Such notice shall clearly state the name of the matter, any caption and
       docket number, and, if applicable, the name and date of death or current residence of the decedent,
       settler, individual or entity with respect to whose assets the attorney is acting as a fiduciary;

       (13) shall not share in any fee for legal services performed by any other attorney following the
       disciplined or former attorney's prohibition from practice, but may be compensated for the reasonable
       value of services rendered and disbursements incurred prior to the effective date of the prohibition,
       provided the attorney has fully complied with the provisions of this rule and has filed the required
       affidavit of compliance under subparagraph (b )( 15). The reasonable value of services for the disciplined
       or former attorney and the substituted attorney shall not exceed the amount the client would have had
       to pay had no substitution been required. If an attorney-trustee has been appointed under _-:c________________ •
       all fees for legal services and other compensation due the attorney shall be paid solely to the attorney-
       trustee for disbursement as directed by the court in accordance with the provisions of that rule.
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       Compensation shall include any monies or other thing of value paid for legal services due or that is
       related to any agreement, sale, assignment or transfer of any aspect of the attorney's share of a law
       firm;
       (14) shall maintain:

            (A) files, documents, and other records relating to any matter that was the subject of a disciplinary
            investigation or proceeding;
            (B) files, documents, and other records relating to all terminated matters in which the disciplined or
            former attorney represented a client prior to the imposition of discipline;
            (C) files, documents, and other records of pending matters in which the disciplined or former
            attorney had responsibility on the date of, or represented a client during the year prior to, the
            imposition of discipline or resignation;
            (D) all financial records related to the disciplined or former attorney's practice of law during the
            seven years preceding the imposition of discipline, including but not limited to bank statements,
            time and billing records, checks, check stubs, journals, ledgers, audits, financial statements, tax
            returns, and tax reports; and
            (E) all records relating to compliance with this rule.
       (15) shall within 30 days after the date of the order of suspension (regardless of the effective date
       thereof) file with the Director the original of a detailed affidavit specifying by correlatively numbered
       paragraphs how the disciplined attorney has complied with each of the provisions of this rule and the
       Supreme Court's order. Signed copies of that affidavit shall be provided at the same time to the Clerk of
       the Supreme Court and to the Disciplinary Review Board. The affidavit shall be accompanied by a copy
       of all correspondence sent pursuant to this rule and shall also set forth the current residence or other
       address and telephone number of the disciplined or former attorney to which communications may be
       directed. The disciplined or former attorney shall thereafter inform the Director of any change in such
       residence, address, or telephone number. The affidavit shall also set forth whether the attorney
       maintained malpractice insurance coverage for the past five years and, for each policy maintained, the
       name of the carrier, the carrier's address, the policy number, and the dates of coverage. The affidavit
       shall also attach an alphabetical list of the names, addresses, telephone numbers, and file numbers of
       all clients whom the attorney represented on the date of discipline or transfer to disability-inactive
       status.
  (c) Failure to Comply. Failure to comply fully and timely with the obligations of this rule and file the affidavit
  of compliance required by paragraph (b)( 15) within the 30-day period, unless extended by the Director for
  good cause, shall, in the case of a suspension, preclude the Board from considering any petition for
  reinstatement until the expiration of six months from the date of filing proof of compliance in accordance
  with ·    : . •;:_~·--'.2._. Such failure shall also constitute a violation of.:.:=_, __:;·--'"'~- (failure to cooperate with
  ethics authorities) and :: ·· '. : "'·     (conduct prejudicial to the administration of justice). The Director also
  may file and prosecute an action for contempt pursuant to :: _____ ···•·.
  (d) Definite Suspension of Six Months or Less. A lawyer who has been suspended for a definite period of
  six months or less is exempt from the requirements of paragraph (b)(7) and (b)(8).
  (e) Responsibility of Partners and Shareholders. An attorney who is affiliated with the disciplined or former
  attorney as a partner, shareholder, or member shall take reasonable actions to ensure that the attorney
  complies with this rule. In lieu of compliance by the attorney with the requirement of paragraph (b )( 10) and
  (b )( 11 ), the firm, corporation, or limited liability entity may promptly notify all clients represented by the
  disciplined or former attorney of the attorney's inability to act due to disbarment, suspension, or disability-
  inactive status and that the firm will continue to represent the client unless the client requests in writing that
  the firm withdraw from the matter and substitute a new attorney.
      If the disciplined or former attorney fails to comply with this rule within 30 days of the date of
      suspension, transfer, or disbarment, the law firm shall do so. Proof of compliance shall be by verified
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            affidavit of a member of the firm, shareholder, or member filed with the Director within 30 days of the
            date of suspension, transfer, or disbarment. The affidavit shall be accompanied by a copy of all notices
            sent to clients pursuant to this paragraph.




Adopted February 23, 1978, to be effective April 1, 1978; amended January 31, 1984 to be effective February 15,
1984; amended July 13, 1994 to be effective September 1, 1994; paragraph (a) was former ::' · ~ • , new
paragraphs (b), (c) and (d) adopted January 31, 1995 to be effective March 1, 1995; paragraph (d); amended July
10, 1998 to be effective September 1, 1998; paragraphs (a), (b)(10), (b)(11) and (d); amended, paragraphs (b)(12),
(b)(13), and (b)(14); amended and redesignated as paragraphs (b)(13), (b) (14), and (b)(15), and new paragraph
(b)(12) adopted July 5, 2000 to be effective September 5, 2000; caption of rule; amended, paragraphs (a) and (b);
amended, former paragraph (c) redesignated as (d), former paragraph (d) redesignated as (e) and; amended, and
new paragraph (c) adopted July 28, 2004 to be effective September 1, 2004; subparagraphs (b)(5), (b)(7), and
(b)(8); amended July 9, 2008 to be effective September 1, 2008.

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Supreme Court of Ohio Clerk of Court - Filed January 19, 2024 - Case No. 2014-2157




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                          Current with all changes received through September 23, 2022

NJ - New Jersey State & Federal Court Rules > Rules Governing the Courts of the State of New
Jersey > PART I. Rules of General Application > CHAPTER II. Conduct of Lawyers, Judges and
Court Personnel




      (a) Definite Suspension of More Than Six Months and Indefinite Suspensions. After the expiration of a
      definite suspension of more than six months or at any time after an indefinite suspension has been ordered,
      an attorney may file a verified petition for reinstatement with the Disciplinary Review Board pursuant to this
      rule.
      (b) Definite Suspension of Six Months or Less. A lawyer who has been suspended for a definite period of
      six months or less may file a petition for reinstatement and publish notice of reinstatement forty days prior
      to the expiration of the period of suspension. All other procedures specified by this rule shall apply, except
      that the petition need not contain responses to paragraphs (f){6), and (f)(B) to (f)(10), inclusive.
      (c) Filing and Service of Petition. The petitioner shall file an original and 12 copies of the verified petition
      with the Board and shall serve two copies on the Director.
      (d) Costs. Petitions for reinstatement shall be accompanied by a non-refundable check payable to the
      Disciplinary Oversight Committee in the amount of $750 to cover the reasonable administrative costs of
      processing the petition. Either the Board or the Court may also direct the petitioner to pay such additional
      sum during the processing of a petition as it deems appropriate to meet the cost of actual out-of-pocket
      expenses, including, but not limited to, medical or psychiatric examinations, transcripts and other
      investigatory and review expenses deemed necessary to a proper evaluation of the reinstatement petition.

      (e) Publication of Notice. Contemporaneously with the filing of the petition for reinstatement, or within
      twenty-one days prior thereto, the petitioner shall publish a notice of application for reinstatement in bold-
      faced type in all official newspapers designated by the Supreme Court and in a newspaper of general
      circulation in each county in which the respondent last maintained a law office and in the county in which
      respondent resided at the time of the imposition of discipline. Publication of a notice shall be sufficient if in
      the following language: NOTICE TO THE PUBLIC. John Doe, who was admitted to the bar of the State of
      New Jersey on ...................... , 20 .... and who was thereafter suspended from the practice of law by the
      Supreme Court, is applying to be reinstated to the practice. Objections or relevant information concerning
      this application for reinstatement should be forwarded immediately to Chief Counsel, Disciplinary Review
      Board, P.O. Box 962, Trenton, New Jersey 08625-0962.
      (f) Contents of Petition. The petitioner shall provide a certified petition for reinstatement setting forth all
      material facts on which the petitioner relies to establish fitness to resume the practice of law. The petition
      shall in the discretion of the Board considering the nature of the disciplinary offense contain, in correlatively
      numbered paragraphs, the following information:

          (1) the name of the petitioner and a copy of a current photograph of petitioner, not smaller than three
          inches by three inches showing front and side views;
          (2) the date on which the suspension was imposed and the citation of the reported opinion, if any;
          (3) the age, current residence address and telephone number of the petitioner, the address of all
          residences maintained during the suspension period and the date of each residence;
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      (4) the nature of petitioner's occupation during the suspension, including the name and address of
      each employer, the dates of each employment, the positions occupied and titles held, the name,
      address and telephone of the immediate supervisor, and the reason for leaving the employment;
      (5) the case caption, general nature, dates and disposition of every civil, criminal, administrative or
      disciplinary action which was pending during the period of suspension to which petitioner was either a
      party or claimed an interest;
      (6) petitioner's written consent to the Board and to the Director to examine and secure copies of any
      records relating to any criminal investigation of or action against petitioner;
      (7) a statement of the monthly earnings and other income of the petitioner and the sources from which
      all earnings and income were derived during the period of suspension;
      (8) a statement of assets and financial obligations of the petitioner as of the date of the original
      suspension and at the time of the reinstatement application, the dates when acquired or incurred, and
      the names and addresses of all creditors;
      (9) the names and addresses of all financial institutions at which petitioner had, or was signatory to,
      accounts, safety deposit boxes, deposits or loans during the period of suspension, the number of each
      account, box, deposit or loan; the date each account, box, deposit or loan was opened, approved or
      made; and the date each account, box, deposit or loan was closed, discharged or paid;
      (10) copies of petitioner's federal and state income tax returns and any business tax returns for each of
      the three years immediately preceding the date the petition is filed and for each year, or part of a year,
      during the period of suspension and, in an appropriate form, petitioner's written consent to the Board
      and the Director to secure copies of the original returns;
      (11) a statement of restitution made for any and all obligations to all former clients and the Lawyers'
      Fund for Client Protection and the source and amount of funds used for this purpose;
      (12) whether the petitioner, during the period of suspension, sought or obtained assistance,
      consultation or treatment, whether as an in- or out-patient, for a mental or emotional disorder or for
      addiction to drugs or alcohol, if such services relate to the disciplinary offenses or the Board determines
      that such information is relevant to the petitioner's present ability to practice law. The name, address
      and telephone of each provider of these services, the services rendered, their duration and purpose
      and a copy of all medical records shall be provided to the Board;
      (13) whether the petitioner, during the period of suspension, applied for admission or reinstatement to
      practice as an attorney in this state or any other state and the caption and details of the application;
      (14) whether the petitioner has ever applied for or been granted a license or certificate relating to any
      business or occupation and whether that license or certificate has ever been the subject of any
      disciplinary action and the details thereof;
      (15) a statement as to whether or not any applications were made during the period of suspension for
      a license requiring proof of good character, the dates, name, address and telephone of the authority to
      whom such applications were addressed and the disposition thereof;
     (16) whether petitioner, during the period of suspension, engaged in the practice of law in any
     jurisdiction and all material facts relating thereto;
     (17) a statement of any procedure or inquiry during the period of suspension, relating to petitioner's
     standing as a member of any other profession or organization, or holder of any license or office, which
     involved the censure, removal, suspension, revocation of license, or discipline of petitioner, and, as to
     each, the dates, facts, and the disposition thereof and the name, address and telephone of the
     authority in possession of the record thereof;
     (18) a written representation of petitioner's intentions concerning the practice of law, if reinstated;
     (19) a newly completed Annual Attorney Registration Statement;
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                                               N.J. Court Rules, R. 1:20-21

             (20) a copy of the detailed affidavit required to be filed in accordance with =--· ·• :__ , ·;
             (21) such other information as the Director, the Board or the Supreme Court may from time to time
             require.

        (g) Objections by Director; Recommendation by the Board. Within 21 days following receipt of the petition
        or 14 days if the period of suspension was six months or less, the Director shall file an original and 12
        copies of a response with the Board either objecting or not objecting to the petition. The Director shall serve
        the respondent with a copy of the response. If the Director consents or fails to file objections, the Board
        may submit its findings and recommendations to the Supreme Court. If the Director files objections, the
        Board may set the matter down for oral argument on notice to the parties or may, after considering the
        objections, submit its findings and recommendations as to the attorney's fitness to practice law to the
        Supreme Court without argument. The Board may recommend and the Court may impose conditions on the
        attorney's reinstatement deemed necessary to protect the lawyer, clients or the public.

        (h) Referral to Trier of Fact. In an appropriate case, the Board may refer specific issues regarding
        reinstatement to a trier of fact, which shall then hold a hearing and furnish the Board with a report of
        findings and recommendations.

        (i) Consideration of Petition for Reinstatement. No petition for reinstatement shall be considered by the
        Board unless:

            (A) the respondent first affirmatively demonstrates full and timely compliance with ··           · .. If
            compliance has not occurred, and if the required affidavit of compliance has not been timely filed, the
            Board shall not consider the petition until the expiration of six months from the date of filing of that proof
            of compliance.

            (B) all disciplinary costs assessed have been paid, unless an extraordinary financial hardship claim
            has been timely requested and granted and unless respondent is current in the schedule of payments
            thereunder;

            (C) all orders for restitution have been paid;
            (D) the respondent has reimbursed or has reached agreement in writing with the Lawyers' Fund for
            Client Protection to reimburse it in full for all sums paid or authorized to be paid as a result of the
            respondent's conduct;

            (E) all annual registration fees and charges for ethics and the Lawyers' Fund for Client Protection have
            been paid.

        (j) Successive Petitions. Except as otherwise ordered by the Supreme Court, a petitioner may not file a
        subsequent petition for reinstatement until six months after the Supreme Court has adversely decided the
        prior petition.

        (k) Public Proceedings and Records. All reinstatement records and proceedings shall be considered public
        in accordance with R. 1:20-9.

        (I) Standard of Proof. The standard of proof in reinstatement proceedings shall be by clear and convincing
        evidence.

        (m) Burden of Proof; Burden of Going Forward. The burden of proof in proceedings seeking reinstatement
        shall be on the petitioner.




Adopted January 31, 1995 to be effective March 1, 1995; paragraph (e); amended July 12, 2002 to be effective
September 3, 2002; paragraphs (c), (d), (e), (f), (g), (h), and (i); amended and new paragraphs (I) and (m) adopted
July 28, 2004 to be effective September 1, 2004.
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                        APPENDIXF
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LexisNexis New Jersey Court Rules Annotated > PART I RULES OF GENERAL APPL/CATION >
CHAPTER II CONDUCT OF LAWYERS, JUDGES AND COURT PERSONNEL > RULE 1:20
DISCIPLINE OF MEMBERS OF THE BAR > 1:20-18 Supervision of disciplined attorney



1 :20-18

      (a) Generally. An order of discipline or reinstatement entered by the Supreme Court may require the
           respondent to practice law under supervision by a practicing attorney. Such order shall include
           the general conditions prescribed by this rule and such specific additional conditions as the
           Director may require with the approval of the Supreme Court.
     (b) Violation of Supervision or RPC's.The supervisor and the respondent shall report promptly to
          the Director any facts that appear to constitute a violation by the respondent of the Rules of
          Professional Conduct or the conditions of supervision.
     (c) Mental or Physical Disability.The supervisor and the respondent shall report promptly to the
          Director any facts that appear to demonstrate alcohol or substance abuse by the respondent, or
          that indicate that the respondent may be incapacitated from practicing law by reason of mental
          or physical infirmity or illness.
     (d) Weekly Conferences. The supervisor shall confer in person with the respondent at least weekly
         to review the status of all matters being handled.
     (e) Time Re.cords. The respondent shall maintain contemporaneous time records on all legal
          matters, which shall be retained for a minimum of one year after termination of the supervisory
          period.
     (f) New Cases. The respondent shall not accept any cases without the prior approval of the
          supervisor.
     (g) Respondent's Monthly Reports.The respondent shall provide monthly Case Listing Reports to
          the supervisor by the fifth business day of each month, listing for each case assigned to the
          respondent: (1) the case caption, (2) the full name and address of the client(s), (3) a brief
          description of the nature of the case, (4) a brief narrative of its current status, (5) the name of all
          opposing attorneys, and (6) in all litigated matters, the name of the court and docket number, as
          well as the names of all judges before whom the attorney appeared during that month. The
          respondent shall certify all monthly reports in accordance with '-=-'-'---'--'-.......C....:;;..:.• Reports shall be
         submitted in a form acceptable to the Director.
     (h) Supervisor's Quarterly Reports.The supervisor shall provide to the Director the supervisor's
          Quarterly Reports in a form acceptable to the Director beginning on the tenth business day of
          the third month following respondent's order of discipline or of reinstatement by the Supreme
          Court of New Jersey imposing Conditions of Supervision. Reports shall be made quarterly
          thereafter on the tenth business day of the month. The quarterly report shall be certified in
          accordance with               · and shall have appended to it a copy of each monthly Case
          Listing Report submitted by the respondent during the quarter. The quarterly report shall set
          forth the supervisor's overall analysis of the handling of all legal matters entrusted to the
          respondent and shall indicate specifically whether, in the supervisor's judgment, the
          respondent's handling of any matter is unsatisfactory. The supervisor shall support his or her
          conclusions by a brief statement of facts and reasons.
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         (i) Financial Record Keeping Instructions.During the term of this supervision, the supervisor shall
               instruct the respondent as to the proper maintenance of trust and business accounts and
               records in accordance with      ·• ' and Rule 1:21-6.
         (j) Selection of Supervisor. The respondent shall submit the name of a proposed supervisor to the
              Director for approval.
         (k) Termination of Supervision.After the expiration of time set forth in the order of discipline or
              reinstatement imposing the Conditions of Supervision, the respondent shall apply to the
              Supreme Court for termination of the conditions on notice to the Director, who shall file a report
              and recommendation with the Court.
         (I) Failure to Comply. If during the term of the supervision, the Director becomes aware of facts that
              should be brought to the Court's attention, such as a respondent's failure to comply with the
              conditions of supervision or a supervisor's failure to comply therewith or a request to be
              relieved, the Director shall petition the Court for an appropriate order on notice to the
              supervisor and the respondent.
         Adopted January 31, 1995 to be effective March 1, 1995; paragraphs (a), (b), (c), (f), (g), (h), (i), U), (k), and
         (I) amended July 28, 2004 to be effective September 1, 2004.
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LexisNexis New Jersey Court Rules Annotated > PART I RULES OF GENERAL APPLICATION >
CHAPTER II CONDUCT OF LAWYERS, JUDGES AND COURT PERSONNEL > RULE 1:20
DISCIPLINE OF MEMBERS OF THE BAR > 1:20-1 SA Final disciplinary determinations; sanctions



1:20-15A

          (a) Categories of Discipline. The imposition of final discipline may include any of the following
               sanctions, all of which shall be public:
              (1) Disbarment. An attorney who is disbarred shall have his or her name permanently stricken
                   from the roll of attorneys.
              (2) Indeterminate Suspension. Unless the Court's Order provides otherwise, an indeterminate
                   suspension shall prohibit the attorney from seeking reinstatement for a minimum of five
                   years.
              (3) Term of Suspension. Absent special circumstances, a suspension for a term shall be for a
                   period that is no less than three months and no more than three years.
              (4) Censure.
              (5) Reprimand.
              (6) Admonition.
         (b) Conditions. The Supreme Court's Order may provide for one or more of the following, either as a
              part of a sanction imposed pursuant to paragraph (a) or as a condition to reinstatement:
              (1) Financial controls including, but not limited to, a designated co-signatory for all attorney
                   trust and business account checks;
              (2) Restrictions on the ability to practice including, but not limited to, the use of a supervising
                   attorney approved by the Office of Attorney Ethics as a prerequisite to engaging in the
                   private practice of law;
              (3) Substance abuse control including, but not limited to, requiring abstinence, testing, and an
                   identifiable commitment to appropriate support groups;
              (4) Mental health treatment and counseling, together with a finding of fitness to practice by a
                   mental health professional approved by the Office of Attorney Ethics;
              (5) Taking and passing the New Jersey bar examination, as well as meeting all other
                   qualifications for admission including, but not limited to, a certification of the attorney's
                   good character by the Supreme Court after review by the Committee on Character; and
              (6) Such other conditions as may be deemed appropriate in the light of the circumstances
                   presented including, but not limited to, probation or a suspended suspension.
         Adopted July 30, 2002, to be effective September 3, 2002.
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                                   COMMITTEE ON CHARACTER
                                Appointed by the Supreme Court ofNew Jersey




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       REGULATIONS GOVERNING THE COMMITTEE ON CHARACTER

              (Approved, as amended, by the Supreme Court, effective May 1, 2022)


                               PART I - GENERAL REGULATIONS



  REGULATION 101. Applicability and Citation of Regulations


  101:1 Adoption and Approval. These regulations have been adopted by the Committee on
  Character and approved by the Supreme Comi pursuant to Rule 1:25.


  101:2 Citation. These regulations shall be referred to as "Regulations Governing the Committee
  on Character" of the New Jersey Supreme Court and may be cited as, for example, "RG. 102".



   REGULATION 102. Membership and Structure


  102:1 Appointments. The Supreme Court shall appoint the Committee on Character
  (hereinafter known as "the Committee"), which shall consist of such members of the bar as the
  Court may determine. Members shall serve for terms of three (3) years and may be reappointed
  at the discretion of the Supreme Comi. A vacancy shall be filled by the Court for the unexpired
  portion of the member's term. A member participating in a matter when his or her term expires
  may continue to pariicipate until certification is granted or withheld.
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 102:2 Statewide Chair. The Court shall annually designate a member of the Committee to serve
as Statewide Chair. The Statewide Chair shall be the administrative head of the Committee and
the Statewide Panel and shall perfon11 such other duties as are set forth in these Regulations. In
the absence of the Statewide Chair or the Statewide Chair's inability to serve, the functions of
that position shall be performed by the Part Chair who is senior in service and able to serve.


102:3 Parts and Membership. The Committee shall be divided into such number of Parts as
the Supreme Court may detem1ine with one member of each Part designated as its Chair. Each
Part shall be assigned a specified area. The Statewide Chair may assign members of one Part
temporarily to a different Part or assign files from one Pait to another Part.

102:4 Statewide Panel. The Statewide Chair together with the individual Part Chairs shall
comprise the Statewide Panel, which shall be the policy boai·d of the Committee and shall
perform such other duties as are set forth in these Regulations.

a. Quornm. Four (4) members of the Statewide Panel shall constitute a quorum and all
administrative determinations shall be made by a majority of the quorum.
b. Operations. The Statewide Panel shall, consistent with these Regulations, establish
procedures, publish forms, and maintain records as required for the conduct of the Committee's
operations.

102:5 Secretary. The Secretary of the Board of Bai· Exan1iners shall serve as the Secretary to
the Committee. The Secretary shall maintain the files of the Committee and shall be authorized
to receive the Certified Statement, alternatively known as the Character and Fitness
Questionnaire, of each candidate for admission to the bar, together with any other materials the
Committee shall deem relevant. The Secretary shall be responsible for the transmission of the
record to a Committee member for eve1y candidate for admission to the bar· in this State.



REGULATION 103. Committee Purpose and Authority

103:1 Purpose. It shall be the purpose and duty of the Committee on Character to determine
the fitness to practice law of each candidate for admission to the Bar of the State of New
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   Jersey and thereby to promote the public interest and to protect the integrity of the legal
   profession. The Committee shall review the record established pursuant to these Regulations
   and shall certify each candidate's fitness to the Supreme Court or shall recommend the
   withholding of such certification or admission subject to conditions.


   103:2 Authorization. One member may exercise the full jurisdiction and authority of the
   Committee as to certification pursuant to RG. 302. The withholding of certification and
   admission with conditions shall be in accordance with RG. 303 and RG. 304. Review of the
   decisions by RG. 303 hearing panels shall be in accordance with RG. 303 and 304.


   103:3 Discretion of Committee. Except as provided by these Regulations, the Committee shall
  have complete discretion over its procedures.


  PART II -REQUIREMENTS OF CANDIDATES

  REGULATION 201. Submissions

  201:1 Statement of Candidate. Each candidate shall file a Certified Statement with the
  Secretary to the Committee on or before a date set by the Committee. The Certified Statement
  shall be in the form prescribed by the Committee.


  201:2 References. The Secretary or any member of the Committee before whom an
  application is pending may request that the references listed by the candidate in the Certified
  Statement supply information on forms prescribed by the Committee. The responses of any
  named references are confidential and will not be released to the candidate, except when they
  are to be used as evidence pursuant to RG. 303 or RG. 304 of these Regulations.


  201:3 Additional Investigation. The Secretary or any member of the Committee may
  request information or documentation from candidates and appropriate sources including,
  but not limited to, named references, current or fonner employers, Federal and State
  regulators or agencies, other bar jurisdictions or licensing and regulating agencies, law
  enforcement agencies, educational institutions, financial institutions, or medical personnel.


  201:4 Waivers. Candidates shall submit such written waivers, releases, or consents as the
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Committee may require to enable it to have access to all records involving conduct, past and
present. The candidate's file will be deemed abandoned if the candidate withdraws or modifies
his or her written waivers, releases, or consents.

201:5 Certification by Candidate. The candidate's signature on any document, letter or other
communication to the Committee shall constitute a certification that the candidate has read the
documents and has certified to the truthfulness of the contents. The signature is equivalent to and
has the same meaning and effect as the certification language contained in RG. 202:4. If the
candidate is submitting documents as part of an electronic or on-line bar application and
Certified Statement, typing the candidate's name and/or initials will have the same force and
effect as a signature.

REGULATION 202. Duties of Candidates

202:1 General Duty of Candidate. It shall be the duty of each candidate for admission to the
Bar of the State of New Jersey to disclose all available information requested by the Committee.
Candidates shall be required to demonstrate their fitness to practice law in this State and their
possession of the requisite traits of honesty, integrity, financial responsibility, and
trustworthiness.

202:2 Time Limitation on Candidate Response to the Committee. Each candidate must
diligently pursue his or her certification by the Committee. Candidates must respond in writing
to inquiries and forward requested documentation to the reviewing member or appropriate staff
for the Committee or upload the information to their on-line bar account within thirty (30) days
of the inquiry, unless an extension of time for good cause is requested in writing prior to the
expiration of the thirty (30) days. A grant of an extension shall be for a date certain.

202:3 Failure to Respond in a Timely Manner. In the absence of good cause shown to the
contrary, failure to respond to inquiries by the Committee or to make a timely request for an
extension of time to respond shall result in a declaration that the application for admission of
the candidate has been abandoned. The Secretary of the Board of Bar Examiners shall notify
the candidate in writing at the candidate's last known address. In no event shall the candidate's
eligibility terminate sooner than ninety (90) days after the release of the examination results.
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   202:4 Continuing duty to disclose. A candidate shall have a continuing duty to disclose
   changes that occur with respect to any information given in response to questions in the Certified
   Statement until the attorney oath has been administered and admission confirmed by the Board
   of Bar Examiners or Committee. All additional information shall be promptly communicated by
   the candidate to the Secretary in an amendment to the Ce1tified Statement. The candidate must
  provide the following certification language with each update, "I certify that the foregoing
   statements by me are true. I am aware that if any of the foregoing statements made by me are
  willfully false, I am subject to punishment." (R. 1:4-4(b). )


  202:5 Failure to cooperate. A candidate's failure or refusal to supply infom1ation deemed
  relevant by the Committee or otherwise to cooperate with the Committee may be grounds for the
  withholding of certification. A candidate's file will be deemed abandoned if the candidate
  withdraws or modifies his or her written waivers, releases, or consents.


  202:6 Child support obligations. Each candidate must certify as part of the Certified Statement
  that he or she is not the obligor of a child support order, or that the candidate is the obligor of a
  child support order but does not owe past-due support and has complied with all health insurance
  provisions related to the child, and that the candidate is not the subject of a child-support related
  warrant. If the candidate cam10t or does not so certify, the candidate shall be ineligible for
  consideration for admission to the bar unless the candidate can provide satisfactory proof of an
  inability to pay and proof of a history of good faith efforts to pay the support and arrears when
  the candidate is able to do so. Upon receiving notification that the candidate cannot be certified
  for this reason, the candidate may not seek to reinstate his or her application for one ( 1) year
  from the date of the notification of ineligibility. If the reinstatement request is filed more than
  three (3) years after the candidate sat for the bar examination, retaking, and passing the bar
  examination shall be a prerequisite for consideration of the application. The Supreme Court may,
  for good cause shown, waive the retaking of the examination pursuant to RG. 402 :3.


  202:7 Student loan obligations. As a part of the Certified Statement, each candidate must
  certify the loan number, lender, and the amount of each student loan and that he or she is not in
  default of any state, federal, or governmentally guaranteed student loan. If a candidate does not
  so certify, or if the candidate does not provide satisfactory proof of inability to pay and that the
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candidate has made good faith efforts to cure the default after having been requested to do so by
the Committee, the candidate shall receive notification that the candidate is ineligible for
consideration for admission. Upon receiving notification that the candidate cannot be certified
for this reason, the candidate may not seek to reinstate his or her application for one (1) year
from the date of the notification of ineligibility. If the reinstatement request is filed more than
three (3) years after the candidate sat for the bar examination, retaking and passing the bar
examination shall be a prerequisite for consideration of the application. The Supreme Court may,
for good cause shown, waive the retaking of the examination pursuant to RG. 402:3.

202:8 Ineligibility due to criminal conduct. A candidate who has yet to complete a custodial
sentence in connection with a criminal offense shall be deemed ineligible for consideration by
the Committee. If the relevant conduct occurred in New Jersey, the Committee shall apply the
laws ofNew Jersey to determine ifit constitutes a criminal offense for the purposes of this
regulation. If the relevant conduct occurred in another state, the Committee may apply either the
laws of that jurisdiction or the laws of New jersey to determine if it constitutes a criminal offense
for the purposes of this regulation.

202:9 Severe misconduct during another state's bar examination. A candidate who is alleged
to have engaged in severe misconduct on a bar examination in another state shall not be eligible
for consideration in this state until the state in which the severe misconduct occurred has
completed its investigation.

202: 10 Petition based on exceptional circumstances. A candidate who is ineligible for
consideration for certification due to child suppmi obligations (RG. 202:6), student loan
obligations (RG. 202:7), criminal conduct (RG. 202:8), or severe misconduct during another
state's bar examination (RG. 202:9), shall have the right to petition the Statewide Panel for a
waiver of the ineligibility provision based on the demonstration of exceptional circumstances. If
the Statewide Panel grants the petition, the Committee shall conduct a hearing before a RG. 303
Panel to consider the candidate's current character and fitness to be admitted to practice.
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  PART III CERTIFICATION PROCEDURES

  REGULATION 301. Investigations


  301:1 Investigation assistance. A member of the Committee may request a detailed
  investigation of facts and circumstances bearing on a candidate's fitness to practice law. Staff
  of the Committee shall, to the extent practicable, provide investigative assistance as needed. The
  Secretary may arrange for additional investigation or other assistance from the Administrative
  Office of the Courts, or such other agency as may be appropriate.


  301:2 Special Master. When, in the discretion of the Statewide Panel, the issues involving the
  fitness of a candidate for admission to the bar require extensive interviews or additional
  resources, the Panel may apply to the Supreme Court for the appointment of a Special Master to
  make findings of fact and recommended conclusions. The report will be submitted to the
  Statewide Panel for decision before being forwarded to the Supreme Court. A Special Master
  shall conduct the hearings in accordance with the provisions ofRG. 303:5. Retired judges may
  serve pro bono or, if they are on recall, may be paid at the rate in effect for judges on recall
  service. A Special Master may serve pro bono or may be paid the per diem rate in effect for
  single arbitrators under Rule 4:21A-5.


  302:1 Conduct Requiring Investigation. The appropriate Part of the Committee, or such
  member or members thereof so assigned, or the staff of the Committee shall review the
  candidate's Certified Statement-and related documents. If, on such review, fmiher infonnation is
  deemed desirable, a request therefore may be made of the candidate or any other appropriate
  source. The request may be made in person or by telephone, e-mail, mail, or through the online
  system. Conduct requiring additional action may include, but is not limited, to the following:


  a. Nondisclosure of information;
  b. Academic dishonesty or misconduct;
  c. Unlawful conduct, including arrests, whether resulting in conviction, dismissal, or
  expungement;
  d. Failure to file required federal, state, or local tax returns or to pay tax obligations;
  e. Financial misrepresentation, mismanagement, irresponsibility, or neglect;
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 f. Default or arrearages in the payment of student loans;
g. Allegations of fraud, perjury, or false swearing;
h. Misconduct in employment;
i. Evidence of moral turpitude;
j. Having been disciplined as a member of a profession, trade or occupation, including but not
limited to the practice of law;
k. Failure to comply with Court orders, such as support and alimony orders;
I. Domestic violence;
m. Abuse oflegal process or history of vexatious law suits;
n. Current substance abuse; or
o. Evidence of psychiatric disorders that may affect the candidate's ability to practice law in a
competent, ethical, or professional manner;
p. Misconduct during a bar examination;
q. Investigation or determination of unauthorized practice of law;
r. The making of false statements or omitting material information in connection with an
application to sit for a bar examination;
s. Denial of admission to the bar in another jurisdiction;
t. Acts which demonstrate disregard for the rights or welfare of others; and
u. Any other conduct or condition which reflects adversely on moral character or fitness of the
candidate to practice law.


302:2 Interview Procedures.

a. A candidate and any other persons with knowledge relevant to the candidate's character and
fitness to practice law may be asked to appear for an informal interview before the member or
members. The interview shall be conducted in private unless the candidate requests othenvise.
The candidate has the right to be represented by counsel. Testimony may be given under oath,
and a verbatim record may be taken at the request of either the Committee or the candidate. Any
member of the Committee is authorized to administer the oath to the candidate and such
witnesses as may appear before the Committee. The Committee shall not be bound by the strict
rules of evidence. Whenever a transcript of the record is ordered, a copy shall be furnished to the
candidate.
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   b. Subsequent to the interview, the interviewing Committee member or members, with the
   approval of their Part Chair or of the Statewide Chair, may offer the candidate the opportunity to
   consent to admission subject to specific conditions. In such cases, the candidate shall be
   provided with a stipulation of conditions by consent. All stipulations of conditions by consent
   shall include the following: a recommendation that the candidate consider the matter carefully
   and that he or she consult with an attorney; and the candidate's assertion that consent is freely
   and voluntarily given, that he or she has not been subjected to coercion or duress, and that he or
   she is not under any impairment that would prevent his or her knowing and voluntary consent.
   The candidate shall be given thirty (30) days to sign the stipulation. All stipulations of
   conditions by consent must be reviewed by the Statewide Panel in accordance with RG. 304: 1.


  302:3 Determination of Certification. If the Committee determines that a candidate is fit to
  practice law, the member or members of the Committee shall so certify the candidate to the
   Supreme Court.


  302:4 Consequences of failure to certify. If a candidate has not been certified by the
  Committee at the time the Board of Bar Examiners reports the results of the bar exan1ination,
  such results shall not be withheld pending final Committee action. The attorney oath, however,
  shall not be administered to any candidate nor shall admission to the bar be given effect prior to
  a certification of fitness by the Committee. If a candidate attempts to be sworn in prior to
  Committee ce1iification for fitness but completes an oath card and is registered, the matter may
  be referred to the Office of Attorney Ethics for review, if appropriate.


  302:5 Revocation of Certification. Certification of a candidate may be revoked by the
  C01mnittee at any time prior to the administration of the oath and/or entry of the inforn1ation
  into the Roll of Attorneys on the receipt of information warranting further review. The
  Committee may take further action as it deems appropriate.



  REGULATION 303. Part Hearing


  303: 1 When Held. If a single member of the Committee determines not to certify a candidate
  as fit to practice law or desires to have a determination made by a Panel, a hearing shall be
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conducted by three (3) members of the Committee. In the discretion of the assigned member,
the candidate may waive entitlement to a three-member Panel and proceed with a hearing before
the assigned member of the Committee.


303:2 Reasons for a hearing. Reasons for a hearing may include, but are not limited to,
evidence of the conduct specified in RG. 302:1.


        If a factual question arises in respect of the candidate's certification pursuant to RG.
202:6 or RG. 202:7, a hearing shall be held. The Panel shall make findings of fact on whether
the candidate is in violation of one or more of the conditions contained in the Regulations. If the
Panel determines that the candidate has failed to meet or comply with one or more of the
conditions of the Regulations, the Panel shall report same for final decision on the candidate's
eligibility for admission pursuant to RG. RG. 304: 1.


       A determination that the candidate is not cmTently in violation of the requirements of
RG. 202:6 in respect of child support obligations shall not prohibit the Committee from
inquiring into the impact of past violations of child support orders on the cun-ent fitness and
character of the candidate.


303:3 Presumption from Nondisclosure. There shall be a rebuttable presumption that
nondisclosure of a material fact in the Ce11ified Statement is prima facie evidence of the lack of
good character.


a. The presumption shall be the same whether the nondisclosure is discovered prior or
subsequent to the applicant's admission to the bar.
b. The presumption may be rebutted by clear and convincing evidence of mistake or of
rehabilitation and current good character.


303:4 Notice. The hearing shall be conducted on at least seven days' written notice to the
candidate. The notice shall state the reasons for the hearing. Once notice has been given of
hearing, the candidate and/or candidate's counsel shall communicate only through designated
Committee staff and not directly with the hearing panel or the Statewide Panel.
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   303:5 Procedures. A candidate has the right to be represented by counsel, to present witnesses,
   and to cross-examine witnesses. The hearing shall be conducted in private. The Panel shall
   have the sole discretion to determine who may be present in the hearing room and whether to
   sequester witnesses. All testimony shall be given under oath. Any member of the Committee is
   authorized to administer oaths to the candidate and such witnesses as may appear before the
   Committee. Testimony and written documentation need not be presented in strict accordance
   with the rules of evidence. A verbatim record may be made at the request of either the
   candidate or the Committee. Whenever a transcript of the record is ordered by the Committee, a
   copy shall be furnished to the candidate. The Committee may issue subpoenas in the same
   manner as provided by Rule 1:20-7(i).


  303:6 Burden of Proof. The candidate shaII have the burden to establish by clear and
  convincing evidence his or her good character and current fitness to be admitted to the practice
  of law in this State. Among the factors the Committee shall take into consideration are the:


  a. Severity of the conduct;
  b. Cumulative nature of the conduct;
  c. Candidate's candor and honesty before the Panel;
  d. Age of the candidate at the time of the alleged misconduct; and
  e. Any rehabilitation evidence presented by the candidate.


  303:7 Rehabilitation Evidence. The candidate may present rehabilitation evidence including,
  but not limited to:


  a. Positive social conduct and community service;
  b. Absence of recent misconduct;
  c. Reputation testimony;
  d. Demonstration of the candidate's understanding of responsibility to the administration of
  justice and the practice of law.


  Substance abuse or mental illness may not be considered a defense or justification for
  misconduct, but evidence of treatment and recovery may be offered to support a claim of
  rehabilitation.
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303:8 Determination; Report and Recommendations.

On the conclusion of the hearing, if the evidence adduced clearly and convincingly
demonstrates that the matter could have been resolved appropriately through the informal
interview process set forth in RG. 302, the Panel may certify the candidate pursuant to RG.
302:3. The vote of each member shall be expressly noted. Any Panel member who does not
join in the repo1t may prepare a separate report.


         a. If the Panel determines that the candidate can be admitted subject to specific
conditions, the panel may offer the candidate the opportunity to consent to admission subject to
those conditions. In such cases, the Panel shall not issue a report. The candidate shall be
provided with a stipulation of conditions by consent. All stipulations of conditions by consent
shall include the following: a recommendation that the candidate consider the matter carefully
and that he or she consult with an attorney; and the candidate's assertion that his or her consent
is freely and voluntarily given, that he or she has not been subjected to coercion or duress, and
that he or she is not under any impairment that would prevent his or her knowing and voluntary
consent. The candidate shall be given thirty (30) days to sign the stipulation. All stipulations
of conditions by consent must be reviewed by the Statewide Panel in accordance with RG.
304:1.


         b. If the Panel determines to certify the candidate, it shall file a report with the Secretary
and the Statewide Panel. A copy shall be sent forthwith to the candidate.


         c. If the Panel determines to recommend that certification be withheld, it shall file a
report with the Secretary and the Statewide Panel. A copy shall be sent forthwith to the
candidate. Reasons for withholding certifications may include, but need not be limited to, the
criteria listed in RG. 302: 1.


         d. In cases in which the Panel detennines that inappropriate conduct has resulted from
substance abuse, mental illness, psychological disorder, or such other grounds as the Committee,
with good cause, may detennine, or when the candidate has been treated for substance abuse or
bipolar disorder, schizophrenia, paranoia, or other psychotic disease substance abuse, bipolar
disorder, schizophrenia, paranoia, or other psychotic disease within the twelve months preceding
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   the submission of the Statement, the Panel may recommend certification subject to conditions. If
   the Panel determines to ce11ify with conditions, it shall file a report with the Secretary and the
   Statewide Panel. A copy shall be sent forthwith to the candidate.


   REGULATION 304. Review of RG 303 Hearing Reports and Recommendations and
   Stipulations of Conditions by Consent.


  304:1 Review by Statewide Panel.


          The Statewide Panel shall review every report and reconunendation made by a Hearing
  Panel pursuant to RG. 303. The Statewide Panel also shall review all stipulations of conditions
  by consent. The Statewide Panel shall have plenary powers to:


  a. Approve the reconunendations of the RG. 303 Hearing Panel;
  b. Modify the recommendation, including recommending, rejecting, or modifying proposed
  conditions;
  c. Reconunend the withholding of certification;
  d. Approve a stipulation of conditions by consent, after which the candidate may be certified for
  admission with conditions without further review by the Supreme Court;
  e. Reject a stipulation of conditions by consent, after which the matter will be refe1Ted for further
  proceedings in accordance with the directions of the Chair of the Statewide Panel;
  f. Modify the conditions in any stipulation of conditions by consent and offer the candidate the
  opportunity to consent to the conditions as modified. The candidate shall be given thirty (30)
  days to sign the stipulation. If the candidate does not consent to the conditions as modified, the
  matter will be referred for further proceedings in accordance with the directions of the Chair of
  the Statewide Panel; or
  g. Remand the matter to the Hearing Panel for further proceedings.


          The Statewide Panel shall take final action on a stipulation of conditions by consent in
  accordance with d., e. or f. above within thirty {30} days of the date the candidate signs the
  stipulation. With the exception of actions taken regarding stipulations of conditions by consent,
  the Statewide Panel shall file its report and recommendation with the Secretary who shall refer
  the rep011 to the Supreme Court for final approval pursuant to RG. 304:2. A copy shall be sent
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forthwith to the candidate. If the Statewide Panel's recommendation is to withhold certification,
or to certify with conditions, the candidate shall have fifteen ( 15) days from the filing date of the
report within which to submit an original plus eight (8) copies of written exceptions to the
Supreme Court on the papers submitted unless the Court directs additional filings or oral
argument. The decision of the Supreme Court shall be transmitted by the Clerk of the Supreme
Court to the candidate and to the Committee.

304:2 Determination by Supreme Court. The Supreme Court shall make the final
determination on the papers submitted unless the Court directs additional filings or oral
argument.

304:3 Request to Reopen. Following a final decision to withhold certification, which is a
denial of admission, a candidate may reapply for admission when the candidate can
demonstrate clear and convincing evidence of rehabilitation and current fitness to practice
law, but no earlier than one ( 1) year from the date of the final decision or as othe1wise
provided in the order of the Supreme Court. The Supreme Court may require a candidate
seeking to reopen his or her application to retake the bar examination if the examination on
which admission would otherwise be based occurred more than three (3) years prior to the
date the candidate is eligible to reapply for admission.

a. The candidate shall submit an original verified petition and eight (8) copies with appropriate
supporting documentation attesting to the candidate's rehabilitation and current fitness to
practice law as the request to reopen. If the petition is granted, the candidate must submit
another four (4) copies of the petition with appropriate supporting documentation for use by the
hearing panel convened for this purpose.
b. The State Chair or, in the event of the Chair's unavailability, the most senior Part Chair shall
appoint a panel of three (3) members to review the petition and make a recommendation on the
petition to the Supreme Court.

        1. The panel may appoint a member of the Committee to investigate and report on the
candidate's petition.

       2. The record before the panel shall consist of the candidate's existing file, the verified
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   petition and supporting documentation together with such additional evidence as may be
   considered by the panel in its discretion.


          3. The panel may, in its discretion, take testimony or hear oral argument on the petition.


          4. The panel shall prepare and forward a rep01t and reconm1endation to the Supreme
   Court for appropriate action.


          A candidate who has been deemed ineligible for consideration for admission because of
   his or her failure to meet the conditions set forth in RG. 202:6 (Child Support Obligations) may
   apply to reopen in accordance with these Regulations and on the submission of satisfactory proof
   of his or her compliance with all child support orders.


          A candidate who has been deemed ineligible for consideration for admission because of
  his or her failure to meet the conditions set forth in RG. 202:7 (Student Loan Obligations) may
   apply to reopen in accordance these Regulations and on submission of satisfactory proof that
  the candidate has made satisfactory arrangements for the repayment of each defaulted loan.


  304:4 Withdrawal of Application; Reinstatement.


  a. A candidate may withdraw his or her application at any time prior to the submission to the
  Statewide Panel of the RG 303 report and recommendation or an executed Stipulation of
  Conditions by Consent. Failure to give the Committee written notice of the withdrawal in a
  timely manner will result in the matter proceeding to disposition before the Supreme Court
  pursuant to RG. 304:2.
  b. A candidate who withdraws may not seek to reinstate his or her application for one (1) year
  from the date of withdrawal. If the reinstatement request is filed more than three (3) years after
  the candidate sat for the bar examination, retaking and passing the examination shall be a
  prerequisite for consideration of the application. The Supreme Court may, for good cause shown,
  waive the retaking of the examination.
  c. A candidate who successfully reinstates his or her application must submit a current Ce1tified
  Statement and updated attachments and be fingerprinted again. The record before the reviewing
  RG. 303 Panel will consist of the original file, including but not limited to all transcripts,
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 exhibits, briefs, and reports, supplemented as may be appropriate by testimony and exhibits
 presented to the Panel. To the extent feasible, the Statewide Chair will appoint the original Panel
 members to consider the renewed application.

304:5 Petitions for Termination from Conditions.

          a. If the Court grants conditional admission to a candidate, the conditionally admitted
attorney must comply with the terms of the Order and file quarterly certifications as directed by
the Committee.

          b. A list of conditionally admiued lawyers shail be transmitted each momh to lhe Office
of Attorney Ethics. In the evem a complaim of une1hical conduct is filed against 1he
conditionaily admitted iawy er or there is a \·iolmion of the Order of conditional admission. the
Committee·s file may be transmined to the Office or /·\tlOrney Ethics upon the reques1 ofthm
Office.


          c. The terms or the conclitionai admission shall remain in place until subsequem Order nf
the Coun modii\ing or terminating the conditional admission.


          d. Any candidate S(:~eking to terminate the conditions of his or her conditional admission
at 1he end of rhe period set forth in 1he Order shall cause 10 be filed an originai and eigh1 (8)

copies or a pe1i1ion that shall be reviewed by the Statewide Panel.


          l. A.fter reYiev, of the petirion. the Stmewide Panti shall recommend action 10 terminate.
mod if\. or t'Xtend conditions of admission and the Court shall re\·iew same and issue an Order:


          2. i !'the Stmewide Panel deems it necessary to take testimony from the conditionally
admitted attorney. the Chair oflhe Stmewide Panel may appoint a panel consisting or three (3 l
members of the Stmewide Panel 10 conduct such hearing and issue a report that shail be' re\iewed
by the Court.


          3. The State\\ ide Panel or any subpanel may require the conditionally ad mined auorney
lo obtain an eYaluation or pn1Yide further information befrwe making its cietermination. Failure w
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   cornpiy with the requests of the Committee may cause the file to be transmincd 10 the Office of
   /\ttorne,· Ethics for re,·iew.


   REGULATION 305. Revocation of Certification


   305: 1 Revocation of prior certification. When the Committee receives information that is
   unfavorable or otherwise requires the attention of the Committee in respect of a previously
   certified candidate whose name has not been entered on the Roll of Attorneys, the original
   certification shall be revoked and, whenever possible, the candidate's file shall be forwarded for
   review to the member who previously granted certification. If the member is no longer on the
   Committee, the Part Chair or his or her designee will review the matter. This section shall apply
   whether the infonnation is obtained from the candidate as required by RG. 202 or from a third
   party. If the information is received after the attorney's name has been entered on the Roll of
   Attorneys and the Committee deems the information significant, the matter will be referred to the
   Office of Attorney Ethics for review.


   PART IV - COMMITTEE RECORDS


   REGULATION 401. Confidentiality; Retention


   401:1 Confidentiality. All Certified Statements, reference letters, records, files, proceedings
   and reports of the Committee shall be confidential and shall not be disclosed or attended by
   anyone except as authorized by these rules or as provided by the Supreme Court and as follows:


   a. At the request of or with the consent of the candidate in which event the Certified Statement
   may be released; or
   b. At the request of the New Jersey Office of Attorney Ethics, the Disciplinary Review Board, or
   the Committee on the Unauthorized Practice of Law in connection with the consideration and
   determination of the appropriate sanctions that should be imposed on an attorney who has
   engaged in unethical conduct; or
   c. At the request of a jurisdiction to which the candidate has applied for admission to the bar; or
   d. By order of the Supreme Court, on notice to the candidate unless the Court otherwise orders.
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401:2 Retention. Ce1iified Statements, letters from candidate's references, and other relevant
documents shall be retained as established by the Records Retention Schedule of the Supreme
Court Clerk's Office. All Committee records may be electronically stored after one (1) year
and the originals thereupon destroyed.


REGULATION 402. Miscellaneous Procedures

402:1 Committee on Character and Stafflmmunity. Members of the Committee and their
staff, Committee staff, and lawfully appointed designees shall be absolutely immune from
liability, whether legal or equitable in nature, for any action or omission in the performances of
their official duties.


402:2 Third-Party Immunity. Persons disclosing information in good faith to the Committee
and persons supplying inforn1ation to the Committee pursuant to an authorization and release
executed by the candidate shall be absolutely immune from liability, whether legal or equitable
in nature.

402:3 Validity of bar examination results. The results of a New Jersey bar examination shall
be valid for tlu·ee (3) years from the date the exan1 was administered. Uniform Bar Examination
results also are valid for three (3) years from the date the applicant sat for the examination for
which the qualifying score was attained. The Supreme Court may, for good cause shown, waive
the retaking of the examination after review of a petition filed by the candidate.



REGULATION 501. Time Goals

501: 1 Effect of Goals. The time goals articulated in this rule shall guide the processing of
matters pending with the Committee on Character. The time periods herein prescribed are not
binding on the Committee, nor shall they serve as a bar or defense in any character proceeding.


501:2 Initial Review. The Conunittee on Character shall make the candidate's file available to
the reviewing attorney expeditiously, and the reviewing attorney shall endeavor to complete ilie
initial review of each assigned candidate file within thi1iy days of the date on which the file is
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   made available.


   501 :3 Priority of Completed Applications; Communicating Deficiencies of Incomplete
   Applications. The reviewing attorney shall endeavor to review all completed applications and
   certify all candidates with completed applications who demonstrate character and fitness in
  accordance with Rule I :25 and Rule l:27-l(a)(2) within sixty days of the date on which the
   Committee made the file available. Within sixty days of the date on which the Committee made
  the file available, the reviewing attorney shall endeavor to communicate to any candidate with an
  incomplete application the deficiencies of the application. Any communication noting an
  incomplete application shall provide a deadline (generally thirty days) by which the candidate
  must cure the deficiencies.


  501:4 Abandonment of File. If the candidate does not timely respond to a reviewing attorney's
  request to cure deficiencies, and fails to respond to limited follow-up inquiries providing
  additional opportunities to cure, the Committee shall proceed to have the application deemed
  abandoned, consistent with RG 202:3. A candidate whose file has been abandoned for failure to
  respond to inquiries may not have the file reinstated or seek admission for one year from the date
  that the Committee declares the application abandoned. If a candidate is unable to timely cure
  deficiencies, the candidate may avoid abandonment by documenting the effort made to comply
  with the request and provide the status of the outstanding submissions.


  501:5 Timing of Evaluations. If the Committee refers a candidate for a substance abuse/mental
  health evaluation, the candidate shall endeavor to schedule and participate in such an evaluation
  within forty-five days of being notified of the need for such an evaluation. The evaluator shall
  endeavor to furnish a completed evaluation to the reviewing attorney as expeditiously as
  possible.


  501 :6 Hearings. Whenever possible, the Committee shall endeavor to schedule a hearing
  pursuant to RG 303 within sixty days of the reviewing attorney's determination that a hearing is
  required and the file is sufficiently complete to proceed.
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501:7 Reports. The RG 303 panel shall endeavor to complete the RG 303 report within ninety
days following the RG 303 hearing, or, if additional documents are requested at the hearing or
post-hearing, within ninety days of the panel's receipt of those documents from the candidate.
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                        APPENDIX I
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~haracter & Fitness Questionnaire
iECTION 1 - IDENTIFICATION

l - General Information

     This Questionnaire must be submitted on-line, according to the fee schedule and deadlines. Do NOT send a paper copy to
     the Board of Bar Examiners.

     All supporting documentation required by each section of the Character and Fitness Questionnaire must be uploaded to your
     User Home Page. Note: Prior to uploading all supplemental document(s), YOU must redact your Social Security
     number from the document(s). It is YOUR responsibility to ensure this information is not included. Pay
     attention to the time limits in each section, as the time periods may vary for certain kinds of records. Older documents may
     be required based on the nature and severity of the underlying matter in the discretion of the Committee. If no time limit is
     specified, all documents must be provided. The upload feature will become available AFTER this questionnaire is submitted
     and will be located on the lower right hand side of your User Home Page. Detailed upload instructions are listed below. If you
     are not in possession of any documentation required by the Character and Fitness Questionnaire, you must make a diligent
     effort to obtain these documents by submitting written requests to the relevant agencies, and uploading these requests
     through your User Home Page. If the required documents are unavailable, you must obtain and upload written
     correspondence from the agency, on agency letterhead, indicating that the records are unavailable or do not exist.

     To avoid delays in the Character and Fitness Questionnaire review process, supplemental documents must be uploaded by
     January 15 for a February exam, June 15 for a July exam, or within 30 days for In-House Counsel applicants, or within 60
     days for UBE or Motion applicants.

     You should continue to upload documents as you receive them, and timely amend your Questionnaire as changes occur.


     Certification Requirements

     If additional space is required to answer any of the questions in the Questionnaire, upload a separate document clearly
     identifying the Section Number and the question for which additional information is being provided. One document may
     contain additional information for multiple sections/questions. Please make sure to date the document, and include
     certification language before your signature: "I certify that the foregoing statements made by me are true. I am aware that if
     any of the foregoing statements made by me are false, I am subject to punishment [R. 1:4-4(b)]."


     To upload supplemental documentation or narratives

     1. YOU ARE NOT ABLE TO UPLOAD ANY ITEMS UNTIL YOU HAVE COMPLETED AND SUBMITTED THE CHARACTER AND
     FITNESS QUESTIONNAIRE (THIS DOCUMENT).
     2. Once you have completed and submitted the Character and Fitness Questionnaire, an "upload" feature will activate on
     your User Home Page. Note: Prior to uploading all supplemental document(s), YOU must redact your Social
     Security number from the document(s). It is YOUR responsibility to ensure this information is not included.
     3. Prepare any documentation that you plan to upload. Only PDF documents will be accepted for uploads, all other file types
     will be discarded. Be sure that the files have been scanned without any encryption or password protection.
     4. To access the upload feature, log into your user account on our website, www.njbarexams.org.
     5. Click the red "Upload New Document" button on the right side of your User Home Page, under the "Uploaded Documents"
     header.
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      6. Enter the Title and Description of your document.
      7. Click "Choose File" and navigate to document and select "Open" and then "Upload Document".
      8. You will receive an on screen confirmation that your document has successfully uploaded to the server.
      9. After upload, all documents that you have submitted are viewable from your User Home Page. To access, click the red
      "user home" link. Scroll to the "Uploaded Documents" section. Click the file name that you entered while uploading the
      document. The date to the right of the file name is the date the document was uploaded.
      10. Retain the original documents in your records. You must be able to supply them upon request.



      To amend/correct your Character and Fitness Questionnaire

      1. Visit your User Home Page by logging into your account on our website, www.njbarexams.org.
      2. At the top of the Current Application column, click the red "amend a1;mlication" button, then confirm that you wish to
      amend.
      3. Scroll down to Forms and Progress, and click "Amend" next to Character and Fitness Questionnaire.
      4. Navigate to the appropriate sections, and complete/correct your response.
      5. Be sure to return to your User Home Page and click the green "submit amendments" button. Your amendment will NOT be
      viewable to office staff and is NOT considered submitted until v.ou click this button to submit.

i - Personal Information

      Please enter your personal information.

      All processing will be done on the basis of your full legal name; therefore, all records will be maintained and certification(s)
      issued in your full legal name. Please include your middle name if you have one.

      Full LEGAL name [First, Middle, Last, Suffix (Jr, III)]                                                                John Smith

      By what name are you usually called?

      Date of birth                                                                                                   January 10, 1961

      Birth City

      Birth State

      Birth Country

      Have you EVER been known by another name other than a nickname (e.g. maiden name)?

      List each name used, or by which you have at any time been known, and the dates that name was used.

     Note: If your name was changed by court order, give the name and location of the court issuing the order and the date of
     the order. You must upload a copy of the court order to your User Home Page after submitting the Character and Fitness
     Questionnaire on-line. Detailed instructions for uploading documents are available in Section lA of this Questionnaire.

     Other Name Used

      From Mo/Yr

     To Mo/Yr

     Reason name was used




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: - Citizenship

           Are you a citizen of the United States?

           Please state the country of which you are a citizen

           If you are not a citizen of the United States, have you applied for naturalization? Upload a copy of your US
           Citizenship and Immigration Services (USCIS) issued documents as well as your current passport through your User
           Home Page after submitting the Character and Fitness Questionnaire on-line. Detailed instructions for uploading
           documents are available in Section lA of this Questionnaire.

           When do you expect to become a naturalized citizen?

           Describe your immigration status



           Do you have an alien registration number?

           Provide your alien registration number

           Upload a copy of your resident alien card through your User Home Page, after you have submitted this Character and Fitness
           Questionnaire on-line. Detailed instructions to upload documents are available in Section lA of this Questionnaire.

           Upload a copy of your U.S. Citizenship and Immigration Services (USCIS) issued documents through your User Home Page,
           after you have submitted this Character and Fitness Questionnaire online. Detailed instructions for uploading documents are
           available in Section lA of this Questionnaire.

iECTION 2 - ADDRESSES

1-    Current Addresses

           Address 1                                                                                                                           3855 Lake Clearwater Place

           Address 2                                                                                                                                            Apt. 222

           City                                                                                                                                                 California

           State                                                                                                                                                  Florida

           Zip                                                                                                                                                     90210

           County                                                                                                                                                 Marion

           Province

           Country                                                                                                                               United States of America

           NOTE: If you have a New Jersey State address and the County field is blank, click on Edit Personal Info in the upper right
           hand corner of your User Home Page. Be sure to hit the "Update" button on the bottom of the page when making any
           changes to your User Home Page.

, - Address History




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          List each address at which you have resided in the past 10 years in chronological order, beginning with your current
          address. List all addresses, including college, law school, summer, and any other temporary residence. If you resided in
          school dormitory housing, you do not have to designate the specific dormitory, but need to provide the other required
          information.

          Address 1

          Address 2

          City

          State

          Zip

          Country

          From

          To

iECTION 3 - EDUCATION

l -   High School / Secondary School

          Include all education starting with high school, including study abroad and non-degree education, but not CLE.

          School Name

          City

          State

          Zip

          From

          To

: - College or University

          School Name

          City

          State

          Zip

          From

          To

          Degree (e.g .. BS, BA, etc.)

          Date Awarded

          School or Program of Study




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: - Law School

         Did you (or do you expect to) receive a Juris Doctor from an ASA approved law school before the examination for
         which you are applying? This requirement must be met if you wish to sit for the New Jersey bar examination. If you
         do not meet this requirement and still apply for the examination, you will not receive a refund. Bar examination
         applicants are required to submit a Law School Certificate from EVERY law school ever attended.

         Name of Law School

         Non-ASA Law School

         City

         State

         Zip

         From

         To

         Attended

         Degree

         Date Awarded

         Have you attended any other law schools from which you did not receive a Juris Doctor?

         Name of Law School

         City

         State

         Zip

         From

        To

         Attended

         Degree

         Date Awarded

1-   Probation, Discipline or Leaves of Absence (after high school graduation)

        After high school graduation, have you been placed on academic probation, suspended, expelled, taken a leave of
        absence or had an interruption in your education for academic or personal reasons, been asked to leave school, or
        asked to resign or permitted to withdraw?

        If you answered "yes" to this question, you are required to request that your school send your academic and disciplinary
        records and an official transcript DIRECTLY to the Board of Bar Examiners. You must ALSO upload any and all documentation
        regarding the incident. Detailed instructions for uploading documents are available in Section lA of this Questionnaire. If the
        school no longer has any documentation, obtain a letter from the school stating such.
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      Details of incident



      Which school does this pertain to?

      Name of School

     Date of incident or leave

     After high school graduation, have you been disciplined, reprimanded, suspended, placed on probation, expelled,
     asked to resign, or permitted to withdraw from any educational institution for other than academic reasons including
     but not limited to housing violations, warnings, any step in progressive discipline, student code of conduct or honor
     code violations?

     If you answered "yes" to this question, you are required to request that your school send your academic and disciplinary
     records and an official transcript DIRECTLY to the Board of Bar Examiners. You must ALSO upload any and all documentation
     regarding the incident. Detailed instructions to upload documents are available in Section 1A of this Questionnaire. If the
     school no longer has any documentation, obtain a letter from the school stating such.

     Provide details of each incident. If additional space is required, upload a certification to supplement your response. Detailed
     instructions are available in Section 1A of this Questionnaire.


     Which school does this pertain to?

     Name of School

     Date of Incident

     Since high school graduation, have you been the subject of a formal or informal disciplinary procedure, honor code
     charge, and/or student conduct code charge that was not disclosed above, regardless of the disposition of the
     charges? NOTE: The acceptance of a lower grade or F to resolve the matter, the imposition of community service or
     other requirements or sanctions IS considered Informal DisciP-line. Accepting resolution in lieu of a
     hearing IS considered Informal DisciP-line.

     If you answered "yes" to this question, you are required to request that your school send your academic and disciplinary
     records and an official transcript DIRECTLY to the Board of Bar Examiners. You must ALSO upload any and all documentation
     regarding the incident. Detailed instructions to upload documents are available in Section 1A of this Questionnaire. If the
     school no longer has any documentation, obtain a letter from the school stating such.

     Provide details of each incident. If additional space is required, upload a certification to supplement your response. Detailed
     instructions are available in Section 1A of this Questionnaire.


     Which school does this pertain to?

     Name of school

     Date of incident

    Since entering college, have you ever been approached or confronted, in person or in writing, including e-mail, by a
    professor, instructor, teacher, dean, or other member of the academic community concerning excessive absences,
    fluctuations in grades, or failure to complete assignments or any behavior or misconduct not disclosed above?




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         If you answered "yes" to this question, you are required to request that your school send your academic and disciplinary
         records and an official transcript DIRECTLY to the Board of Bar Examiners. You must ALSO upload any and all documentation
         regarding the incident. Detailed instructions to upload documents are available in Section 1A of this Questionnaire. If the
         school no longer has any documentation, obtain a letter from the school stating such.

         Provide details of each incident. If additional space is required, upload a certification to supplement your response. Detailed
         instructions are available in Section 1A of this Questionnaire.



         What school does this pertain to?

         Name of School

         Date of Incident

         If you answered "yes" to any of the questions above, you are required to request that your school send your academic and
         disciplinary records and an official transcript DIRECTLY to the Board of Bar Examiners. You must ALSO upload any and all
         documentation through your User Home Page after you have submitted this Character and Fitness Questionnaire on-line.
         Detailed instructions for uploading documents are available in Section 1A of this Questionnaire.

iECTION 4 - EMPLOYMENT AND BUSINESS VENTURES

1-   Employment History

         Please list your employment status for the Rast ten v.ears (or since your 18th birthday if you are under 28 years of age) in
         chronological order, beginning with your most recent employment or unemployment status. If you were unemployed,
         including during periods of schooling, enter "UnemRlov.ed" as the employer and enter the reason you were unemployed (for
         example - attending law school) under "Reason Employment Ended". You must address all gaps in employment. You
         must timely update the questionnaire when current employment ends.

         NOTE:YOU MUST INCLUDE ALL TEMPORARY AND/OR PART-TIME WORK, INCLUDING CLINICS, INTERNSHIPS
         or EXTERNSHIPS WHETHER PAID OR UNPAID.

        Indicate and describe any self-employment in detail.

        If you are unable to recall or obtain a supervisor's name or a company address after having made reasonable effort to do so,
        write "Unable to recall." You may be contacted for additional information and to take further action.

        Please rememberi it is :v.our continuing dutv. to UP-date this guestionnaire as :v.our emP-lov.ment status changes
        in anv. wav. after submission.

        Company or Firm

        Address 1

        Address 2

        City

        State

        Zip

        Phone Number




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     Position Held

     Supervisor's Name

     Supervisor's Prefix

     Supervisor's Job Title

     Supervisor/Employer E-mail (enter N/A if unavailable)

     Full time, part time or N/A

     Employment Start Date

     Are you still employed with this employer?
     .(If CURRENTLY em11lov.ed,_Qlease select Yes for this answer).

     Employment End Date

     Reason Employment Ended


I - Discharge / Charges

     Have you EVER been discharged from any employment or requested or permitted to resign in lieu of disciplinary
     action or in lieu of criminal charges being filed against you?

     For each instance, provide details and a full factual narrative describing the date and the entire circumstances in the space
     provided. If additional space is required, upload a certification to supplement your response. Detailed instructions are
     available in Section lA of this Questionnaire. If the employer was not an individual, state the name and title of your
     supervisor. In addition, you are required to upload all documentation regarding the discharge.

     Date of discharge or resignation

     Provide an explanation of circumstances of discharge or resignation


     Name of Employer

     Name and Title of Supervisor

    Supervisor/Employer E-mail

     Address 1

    Address 2

    City

    State

    ZIP Code

    In connection with your employment, have you EVER been subject to any formal or informal charges of improper
    behavior that had any part in your quitting, being permitted to resign, being discharged or resulting in a suspension,
    demotion or loss of pay?
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     For each instance, provide details and a full factual narrative describing the incident, including the date and circumstances, in
     the space provided. If additional space is required, upload a certification to supplement your response. Detailed instructions
     are available in Section lA of this Questionnaire. In addition, you are also required to upload all documentation regarding the
     charges.

     Date of charge

     Circumstances of charge



     Name of Employer

     Name and Title of Supervisor

     Supervisor/Employer E-mail

     Address 1

     Address 2

     City

     State

     ZIP Code

     Have you EVER been approached or confronted by an employer, supervisor, or colleague concerning excessive
     absences or lateness, lack of diligence, failure to maintain confidential material, or employment-related misconduct
     or deficiency?

     For each instance, provide details and a full factual narrative describing the incident, including the date and circumstances, in
     the space provided. If additional space is required, upload a certification to supplement your response. Detailed instructions
     are available in Section lA of this Questionnaire. In addition, you are required to upload all documentation regarding the
     issues.

     Date of misconduct or deficiency

     Circumstances of misconduct or deficiency



     Name of Employer

     Name and Title of Supervisor

     Supervisor/Employer E-mail

    Address 1

    Address 2

    City

    State

    ZIP Code




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      Have you EVER applied for a position that required proof of good character and had that application denied for
      reasons involving your background or character, or in which you withdrew that application after questions about your
      character arose?

      For each instance, provide details and a full factual narrative describing the incident, including the date and circumstances, in
      the space provided. If additional space is required, upload a certification to supplement your response. Detailed instructions
      are available in Section 1A of this Questionnaire. You are also required to upload all documentation regarding the denial or
      withdrawal.

      Date of denial or withdrawal

      Circumstances of denial or withdrawal


      Name of Employer

      Employer Contact Person

     Address 1

     Address 2

     City

     State

     ZIP Code

     Have you EVER applied for a position that required a pre-employment drug test and had that application denied
     because you failed the test?

     For each instance, provide details as well as a full factual narrative describing the incident, including the date and
     circumstances, in the space provided. You are also required to upload all documentation regarding the test.

     Date of application denial

     Circumstances of application denial


     Name of Employer

     Employer Contact Person

     Supervisor/Employer E-mail

     Address 1

     Address 2

     City

     State

     ZIP Code

- BUSINESS VENTURES




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     Have you EVER been involved in a business venture, including but not limited to corporations, partnerships, limited
     liability companies, general associations or trusts, in which you have been an officer, director, manager, trustee, or
     had any financial interest in the business venture?

     If you answered "yes" to the question name each business entity and your exact involvement with the entity and the current
     status of the business entity.



     In the space provided, you are required to provide details, and a description of your interest in the business. In addition, you
     are required to upload documentation regarding the formation of this business venture and proof that the business is in good
     standing with its requirements. If the venture is no longer active, you are required to upload a copy of the dissolution
     paperwork. These documents must be uploaded through your User Home Page, after you have submitted this Character and
     Fitness Questionnaire on-line. Detailed instructions for uploading documents are available in Section lA of this Questionnaire.

     Name of Business Venture

     Business E-mail

     Phone

     Address 1

     Address 2

     City

     State

     ZIP Code

     Country

     Your position/involvement

     Start date of your involvement

     Are you still involved with the business venture?

     Date involvement ended

     Reason involvement ended



ECTION 5 - ARMED FORCES SERVICES

. - Armed Forces

     Have you EVER served in any of the armed forces of the United States?

     If you answered "yes" to this question, you are required to state the branch of service, dates of each period of active service,
     rank, serial number and your last commanding officer.

     Branch of Service

     Start Date
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      End Date

      Highest Rank Achieved

      Serial Number or EDIPI (Electronic Data Interchange Personal Identifier)

      Your Last Commanding Officer

      Are separated from the Service?

      If you answered "yes" to this question, you are required to upload a copy of discharge or separation papers (DD form 214)
      through your User Home Page after you have submitted this Character and Fitness Questionnaire on-line. Detailed
      instructions for uploading documents are available in Section 1A of this Questionnaire.

      Nature of Separation

      Type of Discharge

      Were any courts martial, Article 15 proceedings, or administrative discharge proceedings lodged against you during
      your period of service?

      If you answered "yes" to this question, you are required to provide details of the charge, nature of proceedings and
      disposition. Upload all relevant documents, including the disposition, and any explanations that do not fit in the space
      provided, through your User Home Page, after you have submitted this Character and Fitness Questionnaire on-line. Detailed
      instructions for uploading documents are available in Section 1A of this Questionnaire. In addition, you must request that a
      copy of your entire military and disciplinary file be sent DIRECTLY to the New Jersey Board of Bar Examiners.

      Charge

      Nature of Proceedings

      Disposition

:ECTION 6 - LICENSES

, - Other Professional / Occupational Licenses

     Have you EVER held, or do you currently hold, any professional, occupational, or business license in any jurisdiction,
     other than as an attorney at law? Sample licenses which require a "yes" answer to this question include, but are not
     limited to: Teaching, Nursing, Insurance and Banking and FINRA licenses, Notary Public, US Patent Agent, Realtor
     and EMS.

     If you answered "yes" to this question, you are required to upload proof of the current status of your license, and if you still
     hold the license, provide a Certificate of Good Standing through your User Home Page, after you have submitted this
     Character and Fitness Questionnaire on-line. Detailed instructions for uploading documents are available in Section 1A of this
     Questionnaire.

     If you have additional information to supply for this question, upload the explanation and/or documents through your User
     Home Page after submitting the Character and Fitness Questionnaire on-line. Detailed instructions for uploading documents
     are available in Section 1A of this Questionnaire.

     Date of Application

     License Applied For:

     Name of Authority
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      Authority Information

      Address 1

      Address 2

      City

      State

      Zip

      License Number

      Did you take the exam?

      Date of Examination, If Any

      Exam Result

      Have you ever voluntarily surrendered or been asked to surrender such a license?

      Reason for surrender



      Have you allowed the license to lapse?

      Explain when and why



i - Discipline

      Have you EVER been disciplined as a member of any licensed profession or occupation ( except law), including, but
      not limited to, being suspended from practice, reprimanded, censured, disqualified, revoked, permitted to resign,
      admonished, sanctioned or removed, or have any complaints or charges, formal or informal, ever been made or filed
      or proceedings instituted against you in such capacity?

     If you answered "yes" to this question, you are required to provide all details, including a factual narrative with a detailed
     explanation of the circumstances surrounding the discipline and request that a copy of your entire disciplinary file be sent
     DIRECTLY to the New Jersey Board of Bar Examiners. You must ALSO upload any and all documentation regarding the
     discipline. All documents must be uploaded through your User Home Page, after you have submitted this Character and
     Fitness Questionnaire on-line. Detailed instructions for uploading documents are available in Section 1A of this Questionnaire.

     NOTE: This section does not pertain to conduct in the legal profession - see Section 15.

     Date of incident

     Explanation



     Exact Charges



     Disposition of the matter




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    Name and complete address of the authority in possession of the records thereof

    Name of authority

    Address 1

    Address 2

    City

    State

    Zip

    Have you EVER held a professional or occupational license ( except law), that was administratively suspended or
    revoked (e.g., for failure to pay required fees or failure to complete required courses)?

   If you answered "yes" to this question, you are required to provide all details, including a factual narrative with a detailed
   explanation of the circumstances surrounding the suspension or revocation and upload documentation, including petitions for
   relief and reinstatement, if applicable. All documents must be uploaded through your User Home Page, after you have
   submitted this Character and Fitness Questionnaire on-line. Detailed instructions for uploading documents are available in
   Section lA of this Questionnaire.

   This section does not pertain to conduct in the legal profession - see Section 15.

   Date of incident

   Explanation



   Disposition of the matter



   Name and complete address of the authority in possession of the records thereof

   Name of authority

   Address 1

   Address 2

   City

   State

   Zip

   Have you EVER filed an application for a professional, occupational, or business license or certificate that was
   denied, that was withdrawn by you after questions about your character or qualifications arose, or that otherwise
   was unfavorably acted on by the licensing authority?
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                 If you answered "yes" to this question, you are required to provide all details, including a factual narrative with a detailed
                 explanation of the circumstances and upload all documentation regarding this denial, withdrawal or otherwise unfavorable
                 decision. Documents must be uploaded through your User Home Page, alter you have submitted this Character and Fitness
                 Questionnaire on-line. Detailed instructions for uploading documents are available in Section lA of this Questionnaire.

                 Nature of Application



                 Date denied, withdrawn, or otherwise unfavorably acted on

                 Name and complete address of the relevant authority

                 Name of authority

                Address 1

                Address 2

                City

                State

                Zip

;ECTION 7 - OFFICIAL POSITIONS AND PUBLIC OFFICES

l -   Official Positions

                Have you EVER been appointed or elected to a federal, state, county, or municipal office or position?

                Law clerk positions should be listed under Section 4 - Employment and applicants holding a notary license should list this
                under Section 6 - Licenses.

                State the following for each office or position held.

                Position or office

                Dates From

                Date to

               Name of authority

               Address 1

               Address 2

               City

               State

               Zip

 - Discipline




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       Have you EVER been dismissed, discharged, reprimanded, censured, requested or permitted to resign in lieu of
       disciplinary action or potential disciplinary action, removed from office or otherwise disciplined as a holder of an
       official position or public office?

       If you answered "yes" to this question, you're required to provide the details of the discipline, including the dates, the facts,
       the exact charges, the disposition of the matter and the name and address of the party in possession of the record and to
       upload any additional information or documentation through your User Home Page, after you have submitted this Character
       and Fitness Questionnaire on-line. Detailed instructions for uploading documents are available in Section lA of this
       Questionnaire.

       Date of filing

       Explanation


       Charges

       Disposition of the matter


       Provide the name and address of the party in possession of the record.

       Name

       Address 1

       Address 2

       City

       State.

       Zip

:ECTION 8 - LEGAL PROCEEDINGS

nstructions




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      You are required to disclose ALL proceedings in which you have EVER been a party and provide full details of the nature of
      the proceeding on a separate attachment, including narrative of facts, dates, charges, case numbers, name and location of
      court, if any, references to court records, facts and disposition.

      For each civil or administrative proceeding resolved within the last ten (10) years, provide a copy of the complaint, petition,
      answer; and settlement document or final judgment, decision or Order.

      For each criminal proceeding resolved within the last ten (10) years, provide narrative police reports, charging documents,
     judgment of conviction or certificate of disposition, and a pre-sentence report, if any.

     It is YOUR responsibility to obtain and submit the appropriate records. If the appropriate records are not available or are no
     longer in existence (after having made a reasonable effort to obtain them), provide a letter on the agency's letterhead,
     stating that the records are not available or are no longer in existence.

     All documents must be provided for each incident/proceeding resolved within the last ten (10) years, even if
     the incident occurred/proceeding began more than 10 years ago. You must submit a full and detailed
     narrative in addition to the records provided. Submission of documents is NOT a substitute for providing a full,
     factual and chronological narrative explanation. Failure to provide a full narrative will be considered as failure
     to provide all required information.

     Note that you may be required to disclose something in this section, even though you will not be required to provide
     documentation with your submission, as many questions ask "have you ever... "

, - Civil, Administrative, Governmental, Arbitration or Disciplinary Proceedings

     Have you EVER been a named party (e.g., plaintiff/defendant) in any civil proceeding, regardless of the age of the
     matter or whether the final disposition was a dismissal or a settlement? This includes, but is not limited to,
     malpractice, negligence actions, intentional torts, landlord/tenant matters, contract matters, or domestic relations
     matters, including divorce, custody, visitation, support, petitions for protection from abuse, restraining orders and/or
     peace orders and expungement proceedings. Have you ever been a party, complainant or participant in or to an
     administrative, governmental, investigative, judicial, arbitration or disciplinary proceeding, including but not limited
     to workers' compensation, unemployment, pension, disability, licensing boards, welfare, child protection, Title IX
     proceedings, conservatorship, fee arbitration or attorney disciplinary/grievance proceedings? NOTE: Simple receipt of
     benefits does NOT trigger an affirmative response if no proceedings were held.

     If you were the child in question in a custody proceeding, you were not considered a named party.

     If you answered "yes" to this question, you are required to provide full details and a chronological explanation
     of the legal proceeding and provide information concerning the parties, when filed, where the proceeding was
     venued, docket or case number and status of the proceeding. For each proceeding resolved within the last ten
     (10) years, you must also provide the documents listed below.

     Date of incident

     Provide a detailed description of the matter that includes the outcome. Explain if you had any monetary obligations pursuant
    to the final judgment or resolution and, if so, whether you have met or are meeting your obligations.




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      If the proceedings were resolved within the last ten (10) years, you must upload a copy of the complaint, petition, answer
      and settlement documentation or final judgment, decision or Order from your User Home Page after submitting the Character
      Questionnaire on-line. If the records are not available or are no longer in existence, you are required to provide a letter from
      the agency on their letterhead stating that the documents are not available and you must document your diligent efforts to
      obtain the documentation. All documents must be uploaded through your User Home Page, after you have submitted this
      Character and Fitness Questionnaire on-line. Detailed instructions for uploading documents are available in Section lA of this
      Questionnaire.

l - Violation of Law

      Have you EVER been cited for, charged with, taken into custody for, arrested for, indicted, tried for, pied guilty to, or
      convicted of, the violation of any law (other than a minor traffic violation) or been the subject of a juvenile
      delinquent or youthful offender proceeding or received a conditional discharge, adjournment in contemplation of
      dismissal, or pretrial diversionary program? (NOTE: driving while intoxicated or impaired, driving without insurance,
      reckless driving, leaving the scene of an accident, and driving while suspended are not considered minor traffic
      offenses for the purposes of this section).

      The entry of an expungement or sealing order does not relieve you of the duty to disclose the matter on this statement. You
      must upload a copy of the expungement petition and Order to your account AND disclose the proceeding in Section SA.
      Detailed instructions for uploading documents are available in Section lA of this Questionnaire.

      You must submit a full and detailed narrative in addition to the records provided. The narrative must recount
      the facts of the actual event in addition to a procedural recitation. If the violation of the law also led to an
      Order of Protection or restraining order, please disclose as well.

      Date of incident

      Location of incident (city/state)

      Name, complete mailing address, and telephone number of law enforcement agency involved:

      Law Enforcement Agency

      Address

      City

      State/Province

      Zip/Postal Code

      Country

     Telephone

     Charge(s) at time of arrest/ citation. Include the names(s) of the charges as well as the corresponding
     statute/regulation/code/violation. Example: Harassment, NJSA 2C:33-4.


     Citation Number

     Detailed description of incident




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     Upload additional information (documents, explanations that do not fit in the space provided, etc.) through your User Home
     Page after submitting the Character and Fitness Questionnaire on-line. Detailed instructions for uploading documents are
     available in Section 1A of this Questionnaire.

     If the proceedings were resolved within the last ten (10) years, you are required to upload a copy of the arresting
     agency's file (including a copy of the complaint/summons/ticket/investigative report) and the Court disposition
     records obtained from the Court that decided the matter (in person or by mail). Do you have all of the records in
     your possession to upload, as required?

     Explain your diligent efforts to obtain a copy of the police or arresting agency's report, including specifically to whom your
     requests have been directed and when made. Provide proof of these written requests as well as any responses you received
     from the police or arresting agency through your User Home Page, after you have submitted this Character and Fitness
     Questionnaire on-line. Detailed instructions for uploading documents are available in Section 1A of this Questionnaire. Please
     provide the names and addresses of any attorneys appearing on this matter for you. You must attempt to obtain records
     otherwise unattainable from your attorney and document your efforts and diligent inquiry to obtain documents.



     Was this matter decided in court or through plea by mail or electronically? (Provide details)

     Provide the mailing address, and telephone number of court involved:

     Court

     Address

     City

     State/Province

     Zip/Postal Code

     Country

     Telephone

     caption of case (e.g., State v. Smith)

     case or court file number

     All Charges prior to final disposition

     Date of final disposition

     Final disposition

- Legal Charges

     Have you EVER been charged with fraud, larceny, embezzlement, misappropriation of funds, misrepresentation,
    perjury, false swearing, conspiracy to conceal, or a similar offense in any legal proceeding, civil or criminal, or in
    bankruptcy, regardless of the age or the disposition of the charges?

    The entry of an expungement or sealing order does not relieve you of the duty to disclose the matter on this
    confidential statement. You may indicate the existence of such an order in your explanation. You must upload
    a copy of the expungement petition and Order, and disclose this proceeding in Section SA as well.
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       You must submit a full and detailed narrative in addition to the records provided. The narrative must recount
       the facts of the actual event in addition to a procedural recitation.

       Date of incident

       Location of incident (city/state)

       Name, complete mailing address, and telephone number of law enforcement agency involved:

       Law Enforcement Agency/Police Department

       Address

       City

       State/Province

       Zip/Postal Code

       Country

      Telephone

       Charge(s) at time of arrest/ citation. Include the names(s) of the charges as well as the corresponding
       statute/regulation/code/violation. Example: Harassment, NJSA 2C:33-4.

      Citation Number

       Detailed description of incident


      Upload additional information (documents, explanations that do not fit in the space provided, etc.) from your User Home
      Page after submitting the Character and Fitness Questionnaire on-line. Detailed instructions for uploading documents are
      available in Section 1A of this Questionnaire.

      If the proceedings were resolved within the last ten (10) years, you are required to upload a copy of the police or
      arresting agency's file (including a copy of the complaint/summons/ticket/ investigative report) and the Court
      disposition records obtained from the Court that decided the matter (in person or by mail). Do you have all of the
      records in your possession to upload as required?

      Explain your diligent efforts to obtain a copy of the police or arresting agency's report, including specifically to whom your
      requests have been directed and when made. Provide proof of these written requests, as well as any responses you received
      from the police or arresting agency, through your User Home Page, after you have submitted this Character and Fitness
      Questionnaire on-line. Detailed instructions for uploading documents are available in Section 1A of this Questionnaire. Provide
      the names and addresses of any attorneys appearing on this matter for you. You must attempt to obtain the records
      otherwise unattainable from your attorney and document your efforts and diligent inquiry to obtain documents.


      Did you, or an attorney on your behalf, appear in court in connection with this charge or arrest or was the ticket paid
      by mail or electronically?

      Provide the mailing address, and telephone number of court involved:

     Court




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     Address

     City

     State/Province

     Zip/Postal Code

     Country

     Telephone

     caption of case

     case or court file number

     Charges at time of final disposition. Include the names(s) of the charges as well as the corresponding
     statute/regulation/code/violation. Example: Harassment, NJSA 2C:33-4.

     Date of final disposition

     Final disposition

• - Deportation/Removal/Exclusion

     Have you EVER been a party to Deportation, Removal or Exclusion Proceedings, or otherwise denied entry to or
     removed from any country?

    You must submit a full and detailed narrative of this incident and must supply the applicable records. The
    narrative must recount the facts of the actual event in addition to a procedural recitation.

    If yes, please supply a detailed explanation and upload all documentation related to the proceedings through your User
    Home Page after submitting the Character and Fitness Questionnaire on-line. Detailed instructions for uploading documents
    are available in Section 1A of this Questionnaire.



- Restricted Access, Denied Access or Ban

    Have you EVER been denied access, had your access restricted for any period of time or been banned from any of the
    following, whether or not criminal charges were ever filed:

    (a) from this country or any other country;

    Detailed explanation



    (b) from any educational, religious or charitable institution or governmental or judicial facility;

    Detailed explanation



    ( c) from a casino or gambling establishment;

    Detailed explanation
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      (d) from a bar, restaurant or any public facility;

      Detailed explanation


      (e) from any form of transportation including, but not limited to, public transportation, including buses, trains,
      subways, airplanes, taxicabs, or private transportation including travel for fee (e.g. Uber or Lyft, etc.)?

      Detailed explanation


      You must submit a full and detailed narrative in addition to the records provided. The narrative must recount
      the facts of the actual event in addition to a procedural recitation.

      If yes, please supply a detailed explanation and upload all documentation through your User Home Page after submitting the
      Character and Fitness Questionnaire on-line. Detailed instructions for uploading documents are available in Section 1A of this
      Questionnaire.

: - Immunity /Investigation

      Are you currently under investigation or have you EVER been offered or granted immunity to testify in any grand
      jury proceeding, criminal action or criminal proceeding?

      You must submit a full and detailed narrative in addition to the records provided. The narrative must recount
      the facts of the actual event in addition to a procedural recitation.

      State the place, the date, the name of each defendant, the nature of the action or the proceeding, the Prosecutor's Office,
      the Court and the circumstances. If necessary, upload additional information (documents, explanations that do not fit in the
      space provided, etc.) after submitting the Character and Fitness Questionnaire on-line. Detailed instructions for uploading
      documents are available in Section 1A of this Questionnaire.

      Place

      Date

      Name of each defendant


      Nature of the action or the proceeding


      Name of court

     Circumstances


     Upload additional information (documents, explanations that do not fit in the space provided, etc.) from your User Home
     Page after submitting the Character and Fitness Questionnaire on-line. Detailed instructions for uploading documents are
     available in Section 1A of this Questionnaire.

i.1 - Business Practices
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    Has any business in which you had a financial interest, managed or in which you actively participated in the control
    or management of EVER been charged with fraud, larceny, embezzlement, misappropriation of funds,
    misrepresentation, conspiracy to conceal, or a similar offense in any legal proceeding, civil or criminal, or in
    bankruptcy?

    You must submit a full and detailed narrative of the incident in addition to the records provided. The narrative
    must recount the facts of the actual event in addition to a procedural recitation. Documents must be supplied
    no matter the age of the proceeding. All documents must be uploaded through your User Home Page, after you have
    submitted this Character and Fitness Questionnaire on-line. Detailed instructions for uploading documents are available in
    Section lA of this Questionnaire.

    Date of incident

    Location of incident (city/state)

    Name, complete mailing address, and telephone number of law enforcement agency involved:

    Law Enforcement Agency

    Address

    City

    State/Province

    Zip/Postal Code

    Country

   Telephone

   Charge(s) at time of arrest/ citation. Include the names(s) of the charges as well as the corresponding
   statute/regulation/code/violation. Example: Harassment, NJSA 2C:33-4.

   Citation Number

   Detailed description of incident.



   Upload additional information (documents, explanations that do not fit in the space provided, etc.) from your User Home
   Page after submitting the Character and Fitness Questionnaire on-line. Detailed instructions for uploading documents are
   available in Section lA of this Questionnaire.

   You are required to upload a copy of the police or arresting agency's file (including a copy of the
   complaint/summons/ticket/ investigative report) and the Court disposition records obtained from the Court that
   decided the matter (in person or by mail). Do you have all of the records in your possession to upload as required?

   Explain your diligent efforts to obtain a copy of the police or arresting agency's report, including specifically to whom your
   requests have been directed and when made. Provide proof of these written requests as well as any responses you received
   from the police or arresting agency, through your User Home Page after you have submitted the Character and Fitness
   Questionnaire on-line. Detailed instructions for uploading documents are available in Section lA of this Questionnaire. Please
   provide the names and addresses of any attorneys appearing on this matter for you. You must attempt to obtain records
   otherwise unattainable from your attorney and document your efforts and diligent inquiry to obtain documents.
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        Did you, or an attorney on your behalf, appear in court in connection with this charge or arrest?

        Provide the mailing address, and telephone number of court involved:

        Court

        Address

        City

        State/Province

        Zip/Postal Code

        Country

       Telephone

        caption of case

        case or court file number

       Charges at time of final disposition. Include the names(s) of the charges as well as the corresponding
       statute/regulation/code/violation. Example: Harassment, NJSA 2C:33-4.

       Date of final disposition

       Final disposition

i.2 - Business Practices

       To your knowledge, have you or any business that you had a financial interest in, managed, or actively participated
       in the control of EVER been the subject of any investigation or inquiry by any Federal, State, Local, or administrative
       agency relating to the alleged violation of law, rule, regulation, or other legal standard?

       You must submit a full and detailed narrative in addition to the records provided. The narrative must recount
       the facts of the actual event in addition to a procedural recitation.

       Date of incident

       Location of incident (city/state)

       Name, complete mailing address, and telephone number of law enforcement agency involved:

       Law Enforcement Agency

       Address

       City

       State/Province

       Zip/Postal Code

      Country

      Telephone




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      Charge(s) at time of arrest/ citation. Include the names(s) of the charges as well as the corresponding
      statute/regulation/code/violation. Example: Harassment, NJSA 2C:33-4.

      Citation Number

      Detailed description of incident. If additional space is required, upload a certification supplementing your response. Additional
      instructions are provided in Section lA of this Questionnaire.



      Upload additional information (documents, explanations that do not fit in the space provided, etc.) through your User Home
      Page after you have submitted the Character and Fitness Questionnaire on-line. Detailed instructions for uploading
      documents are available in Section lA of this Questionnaire.

      You are required to upload a copy of the arresting agency's file (including a copy of the complaint/summons/ticket/
      investigative report) and the Court disposition records obtained from the Court that decided the matter (in person or
      by mail). Do you have all of the records in your possession to upload as required?

      Explain your diligent efforts to obtain a copy of the police or arresting agency's report, including specifically to whom your
      requests have been directed and when made. Provide proof of these written requests as well as any responses you received
      from the police/arresting agency, through your User Home Page, after you have submitted this Character and Fitness
      Questionnaire on-line. Detailed instructions for uploading documents are available in Section lA of this Questionnaire. Please
      provide the names and addresses of any attorneys appearing on this matter for you. You must attempt to obtain records
      otherwise unattainable from your attorney and document your efforts and diligent inquiry to obtain documents.



      Did you, or an attorney on your behalf, appear in court in connection with this charge or arrest?

      Provide the mailing address, and telephone number of court involved:

      Court

      Address

      City

      State/Province

      Zip/Postal Code

      Country

     Telephone

     caption of case

     case or court file number

     Charges at time of final disposition. Include the names(s) of the charges as well as the corresponding
     statute/regulation/code/violation. Example: Harassment, NJSA 2C:33-4.

     Date of final disposition

     Final disposition

I - Probation or parole
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         Are you presently on probation or parole?

         You must submit a full and detailed narrative in addition to the records provided. The narrative must recount
         the facts of the actual event in addition to a procedural recitation. If you need additional space, you may
         upload a certification to supplement your answers. See Section lA of this Questionnaire for additional
         instructions.

         Name of the court


         Name of probation or parole offices

        Address of probation or parole officer

        Address 1

        Address 2

        City

        State

        Zip

        Terms of sentence


iECTION 9 - FINANCIAL

1-   Debts Overdue

        In the past twelve (12) months, have you had any debts more than ninety (90) days overdue?

        Provide details of the debt, and an explanation for the debt. If additional space is required, upload a certification
        supplementing your response. Additional instructions are provided in Section lA of this Questionnaire. Upload a statement
        from the holder of the debt showing the present balance and documentation concerning any payment plan entered into, with
        proof of payment attached. All documents must be uploaded through your User Home Page, after you have submitted this
        Character and Fitness Questionnaire on-line. Detailed instructions for uploading documents are available in Section 1A of this
        Questionnaire.

        Holders of the debt

        Amounts overdue

        Loan or Credit numbers

        Provide an explanation for this debt and detail the action taken to remedy the situation. Upload proof of final payment or
        copy of payment plan and proof of compliance with the plan. If a payment plan is not approved in writing, upload proof of
        your last six (6) payments, as well as documentation evidencing the amount of the debt and outlining your obligation.
        Detailed instructions for uploading documents are available in Section 1A of this Questionnaire.


, - Child Support or Alimony
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              Are you now, or have you EVER been, the subject of any court-ordered obligation to provide child support or
              alimony? Upload a copy of the court order through your User Home Page after submitting the Character and Fitness
              Questionnaire on-line. Detailed instructions for uploading documents are available in Section lA of this
              Questionnaire.

              Are you in arrears in child support in an amount equal to or exceeding the amount of child support payable for six
              (6) months?

              Have you failed to comply with the health insurance provisions relating to an order for child support?

             Are you the subject of a child-support related warrant?

              NOTE: If you are in violation of child-support obligations, as set forth in RG 202:6 of the Regulations of the Committee on
             Character, you are ineligible to receive a license to practice law in this State.

             Court Order



             Case number



             Date of arrearages

             Amount of arrearages

             Current Status



             Upload a certified narrative outlining the actions you have taken to remedy the arrearages. Upload proof of the present
             balance of child support from your User Home Page after you have submitted this Character and Fitness Questionnaire on-
             line. Detailed instructions for uploading documents are available in Section 1A of this Questionnaire. A child support probation
            account transcript is acceptable, if dated within the last month.



: - Other Obligations

            Are you now, or have you EVER been, in arrears on any court-ordered obligation including child-support or alimony
            not covered by Section B, supra? If you answer "yes," you are required to upload a copy of the court order through
            your User Home Page after submitting the Character and Fitness Questionnaire on-line. Detailed instructions for
            uploading documents are available in Section lA of this Questionnaire.

            Court Order



            Case number

            Date of arrearages

           Amount of arrearages

           Current status




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     Upload a narrative outlining the actions you have taken to remedy the arrearages. Upload proof of the present balance
     through your User Home Page after you have submitted your Character and Fitness Questionnaire on-line. Detailed
     instructions for uploading documents are available in Section lA of this Questionnaire.


> - Judgment

     Has a judgment EVER been entered against you?

     Provide the names and addresses of the holders and the details of the judgment. Upload certified copies of such judgments
     through your User Home Page after submitting the Character and Fitness Questionnaire on-line. Detailed instructions for
     uploading documents are available in Section lA of this Questionnaire. Please make sure that you have disclosed the
     original lawsuit under Section SA.

     Name of holder

     Address 1

     Address 2

     City
     State

     Zip

     Details of the judgment


     Has this judgment been satisfied?

    If you answered "yes" to this question, you are required to upload a copy of the warrant of satisfaction, and the pleadings in
    this matter. All documents must be uploaded through your User Home Page, after you have submitted this Character and
    Fitness Questionnaire on-line. Detailed instructions for uploading documents are available in Section lA of this Questionnaire.

    Please explain the action taken to remedy the situation.


    If a payment plan has been established, upload proof of the amount of the obligation and the terms of the plan, through
    your User Home Page, after you have submitted this Character and Fitness Questionnaire on-line. Detailed instructions for
    uploading documents are available in Section lA of this Questionnaire. If the plan was not approved in writing, provide proof
    of your last six (6) payments and your explanation of the payment plan.

- Lien

    Have any liens EVER been placed against your property? Do not include real estate mortgage liens, but include any
    tax liens.

    Provide a detailed explanation.


    You are required to upload all documentation regarding the initial lien and a statement from the lien holder showing the
    current balance through your User Home Page after you have submitted the Character and Fitness Questionnaire on-line.
    Detailed instructions for uploading documents are available in Section lA of this Questionnaire.
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         Was this lien satisfied?

         You are required to upload a copy of the lien satisfaction through your User Home Page, after you have submitted this
         Character and Fitness Questionnaire on-line. Detailed instructions for uploading documents are available in Section 1A of this
         Questionnaire.

         You are required to upload all documentation regarding the initial lien and a statement from the lien holder showing the
         current balance through your User Home Page, after you have submitted this Character and Fitness Questionnaire on-line.
         Detailed instructions for uploading documents are available in Section 1A of this Questionnaire.

: - Personal Bankruptcy

         Have you EVER filed a petition in bankruptcy or for establishment of a wage earner plan, or has one been
         involuntarily filed against you?

         For each filing, list the final dispositions of the matters, the court in which the dispositions were filed, the dates of the filings,
         and an explanation of the reasons for the bankruptcy. Upload a copy of the petition, all schedules, and the final order of the
         court or discharge or dismissal through your User Home Page after you have submitted your Character and Fitness
         Questionnaire on-line. Detailed instructions for uploading documents are available in Section 1A of this Questionnaire.

         Final disposition


         Name of court

         Date of filing of initial petition

        Date of final disposition, dismissal or discharge

        Provide a detailed explanation of the reason(s) for the bankruptcy or circumstances leading to bankruptcy. If additional space
        is required, upload a certification supplementing your response. Additional instructions are provided in Section 1A of this
        Questionnaire.


i - Business Bankruptcy

        Has any business in which you had a financial interest EVER filed for bankruptcy?

        For each filing list the final disposition of the matter, the court in which such disposition was filed, the date(s) of filing(s) and
        an explanation of the reason(s) for the bankruptcy. Upload a copy of the petition, all schedules, and the final order of the
        court of discharge or dismissal through your User Home Page after you have submitted your Character and Fitness
        Questionnaire on-line. Detailed instructions for uploading documents are available in Section 1A of this Questionnaire.

        Final disposition



        Name of court

        Date of filing of initial petition

       Provide a detailed explanation of the reason(s) for the bankruptcy or the circumstances leading up to the bankruptcy. If
       additional space is required, upload a certification supplementing your response. Additional instructions are provided in
       Section 1A of this Questionnaire.




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i - Student Loans

     Do you currently have any student loans?

     Have you EVER been in arrears or defaulted on any student loan?

     If you answered "yes," provide factual details and give name and address of creditor, the loan account number, the amount
     owed and what steps have been taken to bring the account up to date.

     Details


     Name of creditor

     Address 1

     Address 2

     City

     State

     Zip

     Loan account number

     Amount owed

    Is the account now current?

     Provide proof that the account is now current.

    If a payment plan has been established, upload proof of the terms of the plan, through your User Home Page after
    submitting the Character and Fitness Questionnaire on-line. Detailed instructions for uploading documents are available in
    Section 1A of this Questionnaire. If the plan was not approved in writing, provide proof of your last six (6) payments and
    your explanation of the payment plan. If the loan has now been placed in deferment, explain the terms of the deferment.

    Provide a detailed explanation of any action taken to remedy the situation.


- Custodians, Guardians, Conservators, Trustees, Receivers and Special Fiscal Agents

    Subsequent to your 18th birthday, have you or your property EVER been placed under the control of a guardian,
    conservator, trustee, receiver, special fiscal agent or any other custodian?

    Provide details and upload related documentation through your User Home Page after submitting the Character and Fitness
    Questionnaire on-line. Detailed instructions for uploading documents are available in Section 1A of this Questionnaire.


- Money Laundering Control

    To your knowledge, has a Currency Transaction Report (CTR) or Suspicious Activity Report (SAR) EVER been filed
    for your activities?
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      Provide details and upload related documentation through your User Home Page after submitting the Character and Fitness
      Questionnaire on-line. Detailed instructions for uploading documents are available in Section 1A of this Questionnaire.



iECTION 10 -TAX RETURN INFORMATION

l - Personal Tax Return/Filing and Payment

      NOTE: A filing pursuant to a proper extension is considered timely for this purpose. A payment plan is NOT considered timely
      payment.

      Have you EVER failed to file a federal, state, or local income tax return when due and without a lawful extension or
      have you EVER failed to pay federal, state, or local income taxes when due?

      If you answered "yes," you are required to provide a narrative explaining the reason for your failure to file or pay, when the
      matter occurred, and when you resolved the issue. Explain the steps that have been taken to remedy the defect. Upload
      proof that the tax return was subsequently filed, proof of payment, and current status of any owed taxes, fines or penalties
      and upload an account transcript (available from the IRS or other tax authority. IRS transcripts are free. Additional
      information can be found at http://www.irs.gov/Individuals/Get-Transcript). All documents must be uploaded through your
      User Home Page, after you have submitted this Character and Fitness Questionnaire on-line. Detailed instructions for
      uploading documents are available in Section 1A of this Questionnaire.



; - Corporate Tax Return/Filing and Payment

      Have you or any business, corporation or other entity in which you held an equity interest EVER failed to pay
      employer's withholding taxes or ever failed to remit sales, excise, or other taxes to the appropriate taxing authority?

      If you answered "yes" to this question, you are required to provide a detailed narrative explaining the reason for your failure
      to file or pay, when the matter occurred, and when the issue was resolved. A payment plan for past due obligations must be
      detailed in your response. In addition, you are required to upload all documentation regarding such occurrences and provide
      proof that the situation(s) has been remedied. All documents must be uploaded through your User Home Page, after you
      have submitted this Character and Fitness Questionnaire on-line. Detailed instructions for uploading documents are available
      in Section 1A of this Questionnaire.



: - Judgment Against You

      Has the Internal Revenue Service or any other taxing authority ever obtained a judgment or made a levy against you
     for unpaid taxes, assessments or penalties?

     Provide a narrative explanation of the circumstances surrounding the judgment or levy and provide information about your
     attempts to resolve the judgment or lien.



     Has the judgment/levy been satisfied?

     Upload a copy of the judgment/levy and a copy of the warrant of satisfaction through your User Home Page, after you have
     submitted this Character and Fitness Questionnaire on-line. Detailed instructions for uploading documents are available in
     Section 1A of this Questionnaire.
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      Provide a narrative explanation of the action(s) taken to remedy this situation. If additional space is required, upload a
      certification supplementing your response. Detailed instructions for uploading documents are available in Section lA of this
      Questionnaire.


      If a payment plan has been established, upload proof of the terms of the plan through your User Home Page after submitting
      the Character and Fitness Questionnaire on-line. Detailed instructions for uploading documents are available in Section lA of
      this Questionnaire. If the plan was not approved in writing, provide proof of your last six (6) payments.

iECTION 11 - DRIVER'S INFORMATION

~ - Driver's Licenses

      List each state or foreign jurisdiction in which you have EVER been issued a driver's license, including operator permits. You
      must also provide an abstract for any license that has been active in the past seven (7) years*. Review your driver's
      history to answer this section.

      Three (3) year (abbreviated} abstracts are not accepted. Abstracts obtained on-line are permitted provided
      that they are obtained from the motor vehicle agency of the respective state or jurisdiction (no third party
      abstracts will be accepted}.

      Have you applied for or been issued a driver's license or operator's permit in any state or jurisdiction (including
      foreign countries)?

      Jurisdiction

      Country

      Month/Year Issued
      (original date - do NOT include renewal dates)

      License or permit number

      Is this license currently active?

      You are required to upload a driver's abstract for this license through your User Home Page after submitting
      the Character and Fitness Questionnaire on-line. Detailed instructions for uploading documents are available
      in Section 1A of this Questionnaire. Please read instructions below regarding ordering driver's abstracts.

      Has this license been active during the last seven (7) years?

     You are required to upload a driver's abstract for this license through your User Home Page after submitting
     the Character and Fitness Questionnaire on-line. Detailed instructions for uploading documents are available
     in Section 1A of this Questionnaire. Please read instructions below regarding ordering driver's abstracts.

     An abstract is not required for this license.

     Date license surrendered (month/year)

     Reason license surrendered
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       *Driver's Abstract Instructions

       Driver's Abstracts must be obtained for each license or permit that has been active during the prior seven (7) years. Driver's
       abstracts are available from the Division of Motor Vehicles in the state or jurisdiction (including foreign jurisdictions) that
       issued the license or permit. No third party abstracts will be accepted. Three year (abbreviated) abstracts are NOT accepted.
       Once received from the appropriate Motor Vehicle agency, upload the abstract through your User Home Page after submitting
       the Character and Fitness Questionnaire on-line. Detailed instructions for uploading documents are available in Section 1A of
       this Questionnaire. Keep the original in your files. Review your abstract before completing this section. If you are not
       supplying your abstract at this time, you may need to update this section once you obtain the document.

l - Suspended License

       Has your driver's license EVER been suspended or revoked in any state or jurisdiction, including foreign jurisdictions
       (including for excessive or unpaid parking tickets)?

       Name of Agency

      Address 1

      Address 2

      City

      State

      Other State or Jurisdiction

      ZIP Code

      Country

      Date of Suspension

      Length of Suspension

      Reason for Suspension


      Provide a detailed explanation.


: - Denied License

      Have you EVER been refused a driver's license by any state or jurisdiction, including foreign jurisdictions?

      State or jurisdiction

      Date denied

      Provide a detailed explanation. Upload documentation regarding this denied license through your User Home Page after you
      have submitted your Character and Fitness Questionnaire on-line. Detailed instructions for uploading documents are available
      in Section 1A of this Questionnaire.


, - Late/failure to answer ticket, citation or summons



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      Have you EVER been late to timely answer or failed to answer a ticket or summons for any legal proceeding
      (including parking tickets)?

      If you answered "yes," you must provide a narrative detailing the facts of each failure to timely answer a ticket or summons.
      regardless of how long ago, to the best of your ability. Upload documentation regarding the initial ticket(s) or summons(es)
      and indicate if a warrant was issued at any time for these tickets/summonses through your User Home Page after you have
      submitted your Character and Fitness Questionnaire on-line. Detailed instructions for uploading documents are available in
      Section 1A of this Questionnaire.

     Upload documentation regarding the initial ticket(s) or summons(es) through your User Home Page, after you have
     submitted this Character and Fitness Questionnaire on-line, and indicate if a warrant was issued at any time for these
     tickets/summonses. Detailed instructions for uploading documents are available in Section 1A of this Questionnaire.

      Date

     Nature of Violation


     Court Designation

     Address 1

     Address 2

     City

     State

     ZIP Code

     Disposition


: - DUI (Please be sure to include this incident under Section 88 Legal Proceedings as well)

     Have you EVER been charged with driving under the influence of drugs or alcohol or refusing to provide a breath
     sample?

     Date you were charged

     The Blood Alcohol Content (B.A.C.) reading(s) (enter "Refused" if you refused the test):

     Charging Agency (Police Department)

     Address 1

     Address 2

     City

     State

     ZIP Code

     Were you convicted of this offense?
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      If you answered "yes" to any part of this section, you are required to upload copies of all court documents and arresting
      agency/police documents through your User Home Page after you have submitted your Character and Fitness Questionnaire
      on-line. Detailed instructions for uploading documents are available in Section 1A of this Questionnaire.

      Were you convicted of a lesser charge?

     If you were charged with DUI but convicted of a lesser offense, state the offense for which you were convicted, the name
     and address of the convicting court and the sentence imposed.

     Offense for which you were convicted

     Date Convicted

     Name of Court in which you were convicted

     Address 1

     Address 2

     City

     State

     ZIP Code

     What was the sentence imposed? (including conditions precedent to dismissal. e.g., community service, alcohol education,
     etc.)


     Disposition


     If your sentence provided for probation or suspension, indicate whether supervised or unsupervised.

     Date Convicted

     Name of Court in which you were convicted

     Address 1

     Address 2

     City

     State

     ZIP Code

     What sentence was imposed?



     Disposition


    If your sentence provided for probation or suspension, indicate whether supervised or unsupervised.




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       Upload documentation of your sentence (through your User Home Page after you have submitted your Character and Fitness
       Questionnaire on-line; instructions are provided in Section 1A of this Questionnaire) including the arresting officer's report,
       any citations and court documents for each charge. (These documents are obtained from two different places).

       Provide a narrative describing the facts and circumstances surrounding each offense, including reason for refusing a
       breathalyzer test if applicable, including any requirements for drug or alcohol evaluations or community service.


      Have you completed all the requirements of the sentence? If you have answered "yes," upload proof that you have
      completed the requirements. Detailed instructions for uploading documents are available in Section 1A of this
      Questionnaire.

      If you have not, explain what you have not completed and why.

      Explain what you have not completed and why.


iECTION 12 - HEALTH

1reamble



      Section 12 addresses recent mental health, chemical, alcohol, and/or psychological dependency matters. The Committee on
      Character ("Committee") asks these questions because of its responsibility to protect the public by determining the current
      fitness of an applicant to practice law, and the purpose of these questions is to determine the current fitness of an applicant
      to practice law. Each applicant is considered on an individual basis. The mere fact of treatment for mental health problems or
      chemical, alcohol, or psychological dependency is not, in and of itself, a basis on which an applicant is ordinarily denied
      admission to the New Jersey bar. The Committee regularly recommends licensing of individuals who have demonstrated
      personal responsibility and maturity in dealing with mental health and chemical, alcohol, or psychological dependency issues.
      The Committee encourages applicants who may benefit from treatment to seek it and the Committee views such treatment
      as a positive factor in evaluating an application. As indicated in the Regulations Governing the Committee, all information is
      treated confidentially by the Committee and the Committee's Offices and all proceedings are confidential.

      On occasion, a license may be denied when an applicant's ability to function is impaired in a manner that indicates that the
      applicant is currently unfit to practice law at the time the licensing decision is made, or when an applicant demonstrates lack
      of candor and/or credibility by his or her responses. Each applicant is responsible for demonstrating that he or she possesses
      the qualifications necessary to practice law. Your responses may include information as to why, in your opinion or that of your
      treatment provider, your condition will not affect your ability to practice law in a competent and professional manner.

      The Committee does not, by its questions, seek information that is characterized as situational counseling, such as stress
      counseling, domestic counseling, and grief counseling. Generally, the Committee does not view these types of counseling as
      germane to the issue of whether an applicant is qualified to practice law.

, - Addiction to Alcohol or Drugs

      Have you, within the last five (5) years, exhibited any conduct or behavior that could call into question your
      ability to practice law in a competent, ethical and professional manner?

     If you answered "yes" to this question, furnish a thorough explanation in the space provided, and upload related
     documentation through your User Home Page after submitting the Character and Fitness Questionnaire on-line. Detailed
     instructions for uploading documents are available in Section 1A of this Questionnaire.




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S - Other Disorders

      Do you CURRENTLY have any condition or impairment (including but not limited to substance abuse, alcohol
      abuse, or a mental, emotional or nervous disorder or condition) that in any way affects your ability to practice law in
      a competent, ethical and professional manner and in compliance with the Rules of Professional Conduct, the Rules of
      Court, and applicable case law?

      If yes, please describe any ongoing treatment programs you receive to reduce or ameliorate the condition or impairment.



iECTION 13 - BAR APPLICATIONS

, - Bar Examination or License to Practice Law

      Other than the application you are currently completing for admission to the New Jersey Bar, have you EVER sat for
      a bar examination in any jurisdiction (excluding foreign jurisdictions) or are you CURRENTLY applying to sit for a
      bar examination in any jurisdiction (excluding foreign jurisdictions); have you EVER applied for bar admission or a
      law license in any jurisdiction (excluding foreign jurisdictions) or are you CURRENTLY applying for bar admission or
      a law license in any jurisdiction (excluding foreign jurisdictions). This includes but is not limited to:

           • Applications for jurisdictions where you were granted or denied admission;
           • Applications for previous administrations of the New Jersey Exam;
           • Applications to another jurisdiction for this administration (even if you have not yet begun the application
             process) or previous administrations of an exam;
           • Applications for admission to jurisdictions in which there was no exam involved (In-House
             Counsel/reciprocity/admission on motion, UBE Score Transfer, etc.);
           • Exams that you applied for but did not sit or withdrew;
           • Exams that you sat for but did not pass.


     NOTE: If you are CURRENTLY a UBE Score Transfer applicant, an Admission on Motion applicant or an In-
     house Counsel applicant in New Jersey, or if you have EVER passed, failed or withdrawn from a bar
     examination in ANY jurisdiction (including New Jersey), including any prior UBE attempts in any jurisdiction,
     you MUST answer "Yes" to this Section

     Date of Application

     Jurisdiction

     Name of Authority

     Date of Examination or motion filed

     Date of Admission (answer this only if actuallY. admitted, not pending)

     Status (Pass/ Fail/ Waiting for Results/ Withdrew)

     You are required to update your bar status in each jurisdiction if changes occur after submitting the Character
     and Fitness Questionnaire (e.g., passing the bar exam, interview, hearing, decision, etc.).

, - Interview /Hearing
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          Did any other jurisdiction in which you EVER applied request an interview or hearing or conduct an investigation to
          evaluate your character or fitness or regarding improprieties on a bar examination? (This includes "routine"
          interviews for admission.)

         Jurisdiction

          Date of Interview/Hearing

         You are required to upload a copy of the transcript of any character proceeding through your User Home Page after you have
         submitted your Character and Fitness Questionnaire on-line. Detailed instructions for uploading documents are available in
         Section lA of this Questionnaire. In addition, you must request that a copy of your entire file be sent directly to the New
         Jersey Board of Bar Examiners.

         Provide details in the space provided. If additional space is required, upload a certification supplementing your response.
         Additional instructions are provided in Section lA of this Questionnaire.


: - Denied Application

         Has your application to sit for a bar examination or to be admitted to practice by examination, UBE score transfer or
         motion EVER been denied or withheld? Upload a copy of the transcript of any proceeding through your User Home
         Page after submitting the Character and Fitness Questionnaire on-line. Detailed instructions for uploading documents
         are available in Section lA of this Questionnaire. You must request that a copy of your entire file be sent DIRECTLY
         to the New Jersey Board of Bar Examiners.

         Name of jurisdiction

         Date of decision

         Reason for denial or withholding certification


         You must request that a copy of your entire file be sent DIRECTLY to the New Jersey Board of Bar Examiners.

• - Bar Exam Improprieties

         Have you ever been accused of OR ever been the subject of an inquiry for any alleged improprieties on the bar
         examination? Upload a copy of the transcript of any proceeding through your User Home Page after submitting the
         Character and Fitness Questionnaire on-line. Detailed instructions for uploading documents are available in Section
         lA of this Questionnaire. You must request that a copy of your entire file be sent DIRECTLY to the New Jersey
         Board of Bar Examiners.

         Name of jurisdiction

         Date of Exam

         Detailed Explanation


        You must request that a copy of your entire file be sent DIRECTLY to the New Jersey Board of Bar Examiners.

- Evaluation




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      Has any other jurisdiction in which you applied EVER requested that you submit to an alcohol, drug, mental health
      or other evaluation in connection with your application?

      You are required to upload a copy of the evaluation for each instance through your User Home Page, after you
      have submitted your Character and Fitness Questionnaire on-line. Detailed instructions for uploading
      documents are available in Section 1A of this Questionnaire.

      Name of jurisdiction

      Explanation


: - Other Certifications

      In the State of New Jersey, have you EVER applied for any of the following certifications, limited licenses,
      registrations and/or admissions: In-House Counsel, or Foreign In-House Counsel, Foreign Legal Consultant, Pro Hae
      Vice, or Multi-Jurisdictional Practitioner?

      Type of certification

      Date of application

      Provide the case name and briefly describe the nature of the case.


      Was the application for certification denied or withheld?

      You are required to provide a narrative giving the reason for denial or being withheld. In addition, you are required to upload
      all documentation regarding this denial or withholding through your User Home Page after you have submitted your
      Character and Fitness Questionnaire on-line. Detailed instructions for uploading documents are available in Section lA of this
      Questionnaire.


      Date certification was granted

;ECTION 14 - PROFESSIONAL QUALIFICATIONS

, - Late Disclosures to Law Schools and Bar Jurisdictions, Alterations or Falsifications

     Have you EVER made a late disclosure, been accused of or been the subject of an inquiry for alteration, falsification,
     omission and/or misrepresentation of any document or copy thereof referring to your professional qualification to be
     a lawyer before or after law school, including but not limited to, online or late disclosures on your law school
     applications or applications to other bar jurisdictions, bar examination results letter, recommendation letter, report,
     etc. Have you ever been accused of OR been the subject of an inquiry for any alleged improprieties on a
     standardized test, including, but not limited to, SAT, LSAT, MPRE, MCAT, GRE, etc. Have you ever been accused of
     OR ever been the subject of an inquiry for any alleged improprieties on the bar examination? If yes, provide the
     following for EACH incident.

     Date of late disclosure/accusation

     Agency/Organization/School
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         Provide an explanation and disposition of the matter. If additional space is required, upload a certification supplementing your
         response. Additional instructions are provided in Section 1A of this Questionnaire.


         If you answered "yes" to this question, you are required to upload all documentation from the agency/organization/school
         through your User Home Page, after you have submitted your Character and Fitness Questionnaire on-line. Detailed
         instructions for uploading documents are available in Section lA of this Questionnaire. In addition, you must request that
         your law school send your academic and disciplinary records and an official transcript DIRECTLY to the Board of Bar
         Examiners. If another bar jurisdiction is involved, you must sign a release for their entire file to be forwarded DIRECTLY to
         the New Jersey Board of Bar Examiners.


, - Other Testing Improprieties

         Have you ever been accused of OR been the subject of an inquiry for any alleged improprieties on a standardized
         test, including, but not limited to, SAT, LSAT, MPRE, MCAT, GRE, etc?
         If yes, provide the following for EACH incident.

         Date of accusation/inquiry

         Agency/Organization/School

         Provide an explanation and disposition of the matter. If additional space is required, upload a certification supplementing your
         response. Additional instructions are provided in Section 1A of this Questionnaire.


        If you answered "yes" to this question, you are required to upload all documentation from the agency/organization/school
        through your User Home Page, after you have submitted your Character and Fitness Questionnaire on-line. Detailed
        instructions for uploading documents are available in Section 1A of this Questionnaire. In addition, you must request that
        your law school send your academic and disciplinary records and an official transcript DIRECTLY to the Board of Bar
        Examiners.


: - Unauthorized Practice of Law

        Have you EVER been accused of engaging in the Unauthorized Practice of Law in any jurisdiction?

        Date

        Jurisdiction


        Explanation


        Upload all documentation through your User Home Page after you have submitted your Character and Fitness Questionnaire
        on-line. Detailed instructions for uploading documents are available in Section 1A of this Questionnaire.


,ECTION 15 - BAR ADMISSIONS IN OTHER JURISDICTIONS

, - Admission in Other Jurisdictions



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    Have you EVER been admitted to the practice of law in any United States jurisdiction or territory? (This includes any
    court including but not limited to state, federal, military, etc. Please note, the application for any admission listed in
    Section 15 should also appear in Section 13.)

    You are required to upload the following for any jurisdiction in which you have EVER been admitted. If your license is no
    longer active in that jurisdiction, including retirement and resignation, you must provide a letter from the jurisdiction
    explaining your status.

    1. Certificate of Good Standing; and
    2. Certificate of Ethical Conduct (disciplinary history).

    Please note that these may not be the same documents and typically come from different agencies. A list of disciplinary
    offices is available on our web site (www.njbarexams.org) under the "General Application Information" tab. Online printouts
    from the jurisdiction's website are not accepted.

    NOTE: These jurisdictions must also be listed in Section 13A, Bar Applications.

    Please disclose the following information for each jurisdiction to which you have ever been admitted.

    Have you resigned or retired this license? If no, provide a Certificate of Good Standing and a Disciplinary History for
    each license. If yes, provide a verification of status and a Disciplinary History.

    Date of resignation or retirement

    Name of jurisdiction

    Country Name

    Court or agency

    Date of admission

    Have you EVER been disciplined as a member of the bar of this jurisdiction, including, but not limited to, being
   disbarred, suspended, disqualified, reprimanded, censured, permitted to resign, admonished, sanctioned or
   removed, or have any complaints, charges or grievances, formal or informal, ever been made or filed or proceedings
   instituted against you in such capacity?

   Provide a detailed explanation of the circumstances of each event and upload all relevant documents. State the dates, facts,
   exact charges, disposition of the matter and the name and complete address of the authority in possession of the records
   thereof. All documents must be uploaded through your User Home Page, after you have submitted this Character and Fitness
   Questionnaire on-line. Detailed instructions for uploading documents are available in Section 1A of this Questionnaire.

   Date

   Facts and exact charges



   Disposition of the matter. (You must request that a copy of your entire disciplinary file and your initial bar application be sent
   DIRECTLY to the New Jersey Board of Bar Examiners.)



   Name of authority
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    Address 1

    Address 2

    City

    State

    Zip

    Have you EVER held a law license in any jurisdiction that was administratively suspended or revoked (e.g., for
    failure to pay required fees or failure to complete required courses)?

    You are required to upload a detailed narrative, which provides all details, and upload all relevant documents through your
    User Home Page after submitting the Character and Fitness Questionnaire on-line. Detailed instructions for uploading
    documents are available in Section lA of this Questionnaire. State the dates, facts, exact charges, disposition of the matter
    and the name and complete address of the authority in possession of the records thereof.

    Date

    Facts and exact charges


    Disposition of the matter. You must request that a copy of your entire disciplinary file and your initial character application be
    sent DIRECTLY to the New Jersey Board of Bar Examiners.


    Name of authority

    Address 1

    Address 2

    City

    State

    Zip

    Provide the names, addresses and phone numbers of two (2) attorneys from each jurisdiction who are familiar with your
    professional conduct. Do not list close relatives, anyone used as a personal reference in Section 16, or yourself.

    Pursuant to RG 201:2, the responses of any named references are confidential and will not be released to you.

    Professional Reference 1

    Name

   Email address

   Phone number

   Address 1

   Address 2
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         City

         State

         Zip

         Professional Reference 2

         Name

         Email address

         Phone number

         Address 1

         Address 2

         City

         State

         Zip

:ECTION 16 - REFERENCES

1-   Personal References

         List the names, addresses and phone numbers of five (5) individuals who know you well enough to attest to your integrity
         and fitness to practice law. You may not use close relatives, law school classmates (if you are a recent graduate), significant
         others, or more than one member of the same law firm, business entity, or family unit. You may use employers. The
         Committee may, in its discretion, contact any or all of your named references.

         Pursuant to RG 201:2, the responses of any named references are confidential and will not be released to you.

        Name

        Email address

        Phone number

        Address 1

        Address 2

        City

        State

        Zip

:ECTION 17 - MISCELLANEOUS

lther Information

        Is there any information (event, incident, occurrence, etc.) that was not specifically addressed and/or asked of you
        in this application and/or in the instructions that could be considered a character issue?




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      Provide a full and detailed explanation.


      Within the past five years, have you engaged in any conduct that: (1) resulted in an arrest, discipline, sanction or
     warning not already disclosed in Sections 1 through 16; (2) resulted in termination or suspension from school or
     employment not already disclosed in Sections 1 through 16; (3) resulted in loss or suspension or other discipline for
     any license not already disclosed in Sections 1 through 16; (4) resulted in any inquiry, investigation, administrative or
     judicial proceeding by an educational institution, governmental agency, professional organization, or licensing
     authority, or in connection with an employment disciplinary or termination procedure not already disclosed in
     Sections 1 through 16; or (5) endangered the safety of others, breached fiduciary obligations or violated workplace
     or academic conduct rules not already disclosed in Sections 1 through 16? If so, explain below and include any
     asserted defense or claim in mitigation or as an explanation of your conduct and upload all related documentation.

     If you answered "yes" to this question, you are required to provide a full and detailed explanation. In addition, you must -
     upload all related documentation through your User Home Page, after you have submitted this Character and Fitness
     Questionnaire on-line. Detailed instructions for uploading documents are available in Section 1A of this Questionnaire.


:ERTIFICATION

1ttestation
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    I understand that the full and correct completion of this Certified Statement of Candidate is a prerequisite for the Committee
    on Character's consideration of me as an applicant for admission to the practice of law. Candor and truthfulness are
    significant elements of fitness. I must provide the Committee with all available information, however unfavorable, even if I
    doubt its relevance.

    If I am unable to provide all of the required documentation at the time I submit this Certified Statement of candidate, I will
    timely supplement my application. I understand that until all of the required documentation is provided, my file will be
    deemed incomplete for review by the Committee. I must answer all questions and upload all documentation to my
    account within a timely period.

    I understand further that I have a continuing duty to disclose all required information to the Committee, and that this
    duty continues until the date of my admission to the Bar of New Jersey.

    I understand that I have a continuing duty to amend this Certified Statement of Candidate within thirty (30) days
    of any occurrence that would change or render incomplete any answer.

    I will submit all additional information requested by the Committee in the form of an affidavit or certification, together with
    such supplemental documentation as the Committee deems necessary for its review.

    I understand that I must respond to requests by the Committee within the time prescribed by the Regulations Governing the
    Committee on Character or face the abandonment of my application.

    I will retain a copy of the completed Certified Statement of Candidate, with attachme~ts, to facilitate submission of
    supplemental information.

   I hereby certify that I have read the Regulations Governing the Committee on Character and all of the questions and my
    answers in this Certified Statement of Candidate. I further certify that all my answers are true and complete. I am aware that
    if any answers are willfully omitted or false, I may prejudice my admission to the Bar of the State of New Jersey, my
   subsequent good standing as a member of the Bar, and that I may be subject to such penalties as are provided by law.

   I further certify that I have read the foregoing Statement of Candidate and the facts stated therein are true and complete to
   the best of my knowledge and belief.


   You MUST submit your Character and Fitness Questionnaire on-line after you certify (by clicking on "agree")
   or your application packet will not be considered complete.

   I agree

   Date

   Full LEGAL name [First, Middle, Last, Suffix (Jr, III)]                                                                John Smith
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                        APPENDIXJ
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       Rule25
      Share:




      Model Rules for Lawyer Disciplinary Enforcement



AJ           Generally. Alawyer suspended for more than six months or a disbarred lawyer shall be
             reinstated or readmitted only upon order of the court. No lawyer may petition for
             reinstatement until [six months before] the period of suspension has expired. No lawyer may
             petition for readmission until [five] years after the effective date of disbarment. A lawyer who
             has been placed on interim suspension and is then disbarred for the same misconduct that
             was the ground for the interim suspension may petition for readmission at the expiration of
             [five] years from the time of the effective date of the interim suspension.

B. ,.;..,?   Petition. Apetition for reinstatement or readmission must be under oath or affirmation
             under penalty of perjury and shall specify with particularity the manner in which the lawyer
             meets each of the criteria specified in paragraph E or, if not, why there is good and sufficient
             reason for reinstatement or readmission. [Unless abated under Rule 26] the petition must be
             accompanied by an advance cost deposit in the amount set fron1 time to time by the board to
             cover anticipated costs of the proceeding.

C. 3 Service of Petition. The lawyer shall file a copy of the petition with disciplinary counsel and
             disciplinary counsel shall serve a copy of the petition upon each complainant in the
             disciplinary proceeding that led to the suspension or disbarment.

D. 4 Publication of Notice of Petition. At the same time that a lawyer files a petition for
     reinstatement or readmission, the lawyer shall also publish a notice of the petition in the
     journal of the state bar and in a newspaper of general circulation in each judicial district in
     which the lawyer maintained an office for the practice oflaw when the lawyer was suspended
     or disbarred. The notice shall inform members of the bar and the public about the application
     for reinstatement or readmission, and shall request that any individuals file notice of their
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      opposition or concurrence with the board within [sixty] days. In addition, the lawyer shall
      notify the complainant(s) in the disciplinary proceeding that led to the lawyer's suspension or
      disbarment that the lawyer is applying for reinstatement or readmission, and shall inform
      each complainant that he or she has [sixty] days to raise objections to or to support the
      lawyer's petition.

E. 5 Criteria for Reinstatement and Readmission. Alawyer may be reinstated or readmitted only
     if the lawyer meets each of the following criteria, or, if not, presents good and sufficient reason
     why the lawyer should nevertheless be reinstated or readmitted:

      (1) The lawyer has fully complied \Vith the terms and conditions of all prior disciplinary
      orders excep( to the extent that they are abated under Rule 26.

      (2) The la\vyer has not engaged nor attempted to engage in the unaurh01ized practice of
     la\v during the period of suspension or disbarment.

      (3) If the lawyer was suffering under a physical or mental disability or infirmity at the
     time of suspension or disbarment, including alcohol or other drug abuse, the disability
     or infirmity has been removed. \Vhere alcohol or other drug abuse \:vas a causative
     factor in the lav.,yer's misconduct, the lawyer shall not be reinstated or readmitted
     unless:

         (a) the lawyer has pursued appropriate rehabilitative treatment;

         (b) the lav,1yer has abstained from the use of alcohol or other drugs for ar least
         [one year]; and

         (c) the lawyer is likely to continue to abstain from alcohol or other d1ugs.

     (4) The lawyer recognizes the \vrongfulness and seriousness of the misconduct for
     which the lav\,'Yer was suspended or disbarred.

     (5) The lawyer has not engaged in any other professional misconduct since suspension
     or disbarment.
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       (6) Not\vithstanding the conduct for \Vhich rhe la\vyer ,vas disciplined, the lawyer has the
       requisite honesty and integrity to practice law

       (7) The lawyer has kept informed about recent developments in the lavv' and is
       competent to practice.

       (8) ln addition, a lawyer \vho has been disbarred must pass the bar examination and the
       character and fitness examination.

F. 6 Review of Petition. Within [ninety] days after receiving a lawyer's petition for reinstatement
     or readmission, disciplinary counsel shall either: (I) advise the lawyer and the [board] court
     that disciplinary counsel will stipulate to the lawyer's reinstatement or readmission, or (2)
     advise the lawyer and the [board] court that disciplinary counsel opposes reinstatement or
     readmission and request the [board] court to set a hearing.

G. 1 Hearing; Report. Upon receipt of disciplinary counsel's request for a hearing, the [board]
     court shall promptly refer the matter to a hearing committee. Within [ninety] days of the
     request, the hearing committee shall conduct a hearing at which the lawyer shall have the
     burden of demonstrating by clear and convincing evidence that he or she has met each of the
     criteria in paragraph E or, if not, that there is good and sufficient reason why the lawyer
     should nevertheless be reinstated or readmitted. The hearing committee shall file a report
     with the [board] court containing its findings and recommendations. [The board shall
     promptly review the report of the hearing committee and the record and shall file its own
     findings and recommendations with the court.]

H. 8 Decision as to Reinstatement or Readmission. The court shall review the report filed by the
     [hearing committee] [board] or any stipulation agreed to by the lawyer and disciplinary
     counsel. If the court finds that the lawyer has complied with each of the criteria of paragraph
     E, or has presented good and sufficient reason for failure to comply, the court shall reinstate
     or readmit the lawyer. If the court reinstates or readmits the lawyer, the court shall issue a
     written opinion setting forth the grounds for its decision; if the court denies reinstatement or
     readmission, the court shall issue a written opinion setting forth the ground for its decision
     and shall identify the period after which the lawyer may reapply. Generally, no lawyer should
     be permitted to reapply for reinstatement or readmission within one year following an
     adverse judgment upon a petition for reinstatement or readmission.
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 I. 9 Conditions of Reinstatement or Readmission. The court may impose conditions on a
      lawyer's reinstatement or readmission. The conditions shall be imposed in cases where the
      lawyer has met the burden of proof justifying reinstatement or readmission, but the court
      reasonably believes that further precautions should be taken to protect the public.

J. JO The court may impose any conditions that are reasonably related to the grounds for the
      lawyer's original suspension or disbarment, or to evidence presented at the hearing regarding
      the lawyer's failure to meet the criteria for reinstatement or readmission. Passing the bar
      examination and the character and fitness examination shall be conditions to readmission
      following disbarment. The conditions may also include any of the following: limitation upon
      practice (to one area oflaw or through association with an experienced supervising lawyer);
      participation in continuing legal education courses; monitoring of the lawyer's practice (for
      compliance with trust account rules, accounting procedures, or office management
      procedures); abstention from the use of drugs or alcohol; active participation in Alcoholics
      Anonymous or other alcohol or drug rehabilitation program; monitoring of the lawyer's
      compliance with any other orders (such as abstinence from alcohol or drugs, or participation
      in alcohol or drug rehabilitation programs). If the monitoring lawyer determines that the
      reinstated or readmiued lawyer's compliance with any condition of reinstatement or
      readmission is unsatisfactory and that there exists a potential for harm to the public, the
      monitoring lawyer shall notify the court and, where necessary to protect the public, the
      lawyer may be suspended from practice under Rule 20(B).

K JJ Reciprocal Reinstatement or Readmission. Where the court has imposed a suspension or
     disbarment solely on the basis of imposition of discipline in another jurisdiction, and where
     the lawyer gives notice to the court that he or she has been reinstated or readmiued in the
     other jurisdiction, the court shall determine whether the lawyer should be reinstated or
     readmitted. Unless disciplinary counsel presents evidence demonstrating procedural
     irregularities in the other jurisdiction's proceeding or presents other compelling reasons, the
     court shall reinstate or readmit a lawyer who has been reinstated or readmitted in the
     jurisdiction where the misconduct occurred.

  Commentary

  Readmission occurs when a disbarred lawyer is returned to practice. Since the purpose oflawyer
  discipline is not to punish, readmission may be appropriate; the presumption, though, should be
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against readmission. In no event should a lawyer be considered for readmission until at least five
years after the effective date of disbarment.

Reinstatement occurs when a suspended lawyer is returned to practice. Reinstatement is
appropriate when a lawyer shows rehabilitation. Application for reinstatement should be
permitted at the expiration of the ordered period of suspension. While reinstatement should not
be ordered prior to the expiration of the ordered period of suspension, application for
reinstatement may be allowed up to six months preceding the expiration so that the time
required for a decision on the application does not unfairly prolong the suspension.

As a condition of readmission or reinstatement, a disbarred or suspended lawyer is usually
required to establish rehabilitation, fitness to practice and competence, and may be required to
pay the costs of the disciplinary proceedings, to make restitution, to disgorge all or part of the
lawyer's or law firm's fee, to pass an examination in professional responsibility, and to comply ,vith
court orders.

There is a compelling reason not to grant reciprocal reinstatement under paragraph Jif the forum
jurisdiction imposed a longer suspension than the original jurisdiction or if there was a delay
between the imposition of the original discipline and the imposition of the reciprocal discipline.




Next-      . ABATEMENT OR MODIFICATION OF CONDITIONS OF DISCIPLINE,
REINSTATEMENT, OR READMISSION




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                      APPENDIXK
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ABA Survey on Attorney Disciplinary Systems

       Reinstatement/Readmission Data

                              1998-2019
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     STATE*                          Proceedings Public'!                 Public?                               Filed              Prior Years             Granted         Disbam1ent    Suspension    Denied/Dismissed


     Alabama                                  Yes                          Upon filing.                          14                      9                    13               4             10

      ,\lnska                                 Yes                          Upon filiug.                          0                       2                                     0                               0

      Arizona                                 Yes1                         Upon filing.                          3                       4                    3                0             2

     Califomia                                 Yes                         Upon filing.                          JI                     21                    14              NIA           NIA              NIA

     Colorado                                  Yes                         Upon filing.                         NIA                    NIA                   NIA              NIA           NIA               NIA

    Connecticut                               Yes                After investigation by Standing               NIA                     NIA                   NIA              NIA           NIA              NIA
                                                               Co111111ittee on reconuuendations for
                                                                           bor admissions.

     Delaware                                 Yes                          Upon filing.                          2                       0                    2                0             2                 0

Dishict of Columbia                           Yes                  Once submitted to Hearing                     11                    NIA                    2
                                                                  Committee of dte Professional
                                                                     Responsibility Board.


      Flotida                                 Yes                          Upon filing.                         28                                            15                             18                s
     Georgia                                  Yes                          Upon filing.                                                  6                    3                              0

      Haw11ii                                 Yes                          Upon filing.                                                                                        0

       ldalto                                 Yes                          Upon filing.                          0                      0                     0                0             0                 0
      lltinois                                Yes                          Upon filing.                          3                       5                    4                              3

      Indiana                                 Yes                          Upon filing.                          5                      21                    7                0             7                7

       Iowa                                   Yes                          Upon filing.                          5                                            6                0             6                0
      Kansas                                  Yes                    Every stage is public.                                                                   0                0             0

     Kentucky                                 No                               NIA                              10                      8                   NIA              NIA           NIA
    Louisiana                                 NIA                              NIA                             NIA                      9                    4                 2             2                6
                      1
                      Arizona• Unless reinstatement follows di$:lbility in~cch·e status.




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                                             Case: 2:24-cv-01200-ALM-CMV Doc #: 3-1 Filed: 03/20/24 Page: 232 of 352 PAGEID #: 620
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                                                                                                      REINSTATEMEJ;:!T AND READMISSION

                                                                                             SOURCE: Sun•ey on Lawver Discipline Svstcms. 1998_
                                                                                                 ABA Cenrer for Professional Respons.!l!i.!!Jy


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       Maine                                      Yes                          Upon filing.                                                          0                                                             5

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                                                                        investigation as Court
      Maryland                                    Yes                                                                   2                            3                         0                  0                0                  9
                                                                    directed. When Bar Counsel's
                                                                      recom-mendalion is filed.'

   Massachuscus                                   Yes                          Upon filing.                             13                          18                        8'                  3                5                  5

      Michigan                                    Yes                          Upon filing.                             16                         NIA                        18                  2               16                  4

     Minnesota                                    Yes                          Upon filing.                             8                           4                          4                  0                4                  3

     Mississippi                                  Yes                          Upon filing.                             4                           4                                             0

      Missouri                                    NIA                               NIA                                 7                           8                          6                 2                 4                  3

      Nebraska                                    Yes                          Upon filing.                             0                           0                         0                  0                0                   0

       Nevada                                     Yes                          Upon filing.                           NIA                          NIA                       NIA                NIA              NIA                NIA

  New Hampshire                                   Yes                          Upon filing.                             0                           0                         0                  0                0                   0

                                                                      Attorney required to publish
     New Jersey                                   Yes                  Notice of Application for                      NIA                         NIA                         18                 0                !8                NIA
                                                                              Reinstalcment.

    New Mexico                                    Yes                          Upon filing.                             5                         NIA                         4                  0                4

       New York                                   No                               NIA                                 18                           3                         15                 4                4>                  3
    l stJud. Dept

     New York                                     No                               NIA                                 JI                         NIA                                          NIA              NIA                  JO
   2nd Jud. Dept.
2nd & 11th Jud. Dist.

      New York                                    No                               NIA                                  8                         NIA                         3                  0                3                  s
   211d Jud. Dept.
    9th Jud. Dist.

     New York                                     No                               NIA                                  7                         NIA                         2                NIA              NIA                  5
   2nd Jud. Dept.
   I01h Jud. Dist.

     New York                                     No                               NIA                                 10                           3                         3                  0                3                  3
   3rd Jud. Dept.

                        :?Massad1useus .. t petition. motion1 or request for reinstatement/ rcndlt\ission was gmmcd after imposition of di~bility in:ictivc status:.
                        'NY 1st Jud. Dept.• This number does not include lawyers suspended for non-payment offces,                               10
                                          Case: 2:24-cv-01200-ALM-CMV Doc #: 3-1 Filed: 03/20/24 Page: 233 of 352 PAGEID #: 621



                                                                                                                      CHART II!

                                                                                               REINSTATEMENT AND READMISSION

                                                                                       SOURCE: Sµryev on Lnwvcr Discipline Svstcms. I 998
                                                                                               ABA Center for Professional Rcsnonsibility


                                                                                                                                      No. ofl'ctjljons.
                                                                                                         No. of Petitions.              Motions or                No. of Petitions.                                                     No. of Petitions.
                                                                                                            Motions or                 Requests for                 Motions or                                                            Motions or
                                                                                                           Requests for               Rcinstatemenr/               Requests for                                                          Requests for
                                 Are Reinstatement/                                                       Reinstatement/               Readmission                Reinstatement/              No. Granted                No. Granted    Reinstatement/
                                    Readmission               If So When Are Proceedings                   ReadmiS§ion                 ~                           Readmission                   Aller                      Aller        Readmission
                                 Proceedings Public'/                  Public?                                  !:ik4.                 Prior Years                    Granted                 Dishannent                 Suspension    Denied/Dismissed


  New York
                                            No                                NIA                                 7                            0                           5                        0                         5                2
4th Jnd. Dept

North Carolina                             Yes                           Upon filing.                             6                          NIA                           4                         0                        3                2

North Dakota                               .Yes                          Upon filing.                             0                                                        0                       NIA                      NIA                0

    Ohio                                   Yes                           Upon filing.                             6                            4                           9                        0                        7                 2

  Oklahoma                                 Yes                           Upon filing.                             7                            7                           4                        II                       8

   Oregon                                  Yes'                          Upon filing.                           NIA                          NIA                         NIA                        0                       NIA              NIA
                                                                                                                           _(l
Pennsylvania                                No                                                                   45                           19                          21                                                 2                 2

Rhode Island                               Yes                           Upon filing.                             2                          NIA                                                                             0

South Carolina                                                      Upon publication in
                                           Yes                                                                  NIA                          NIA                           7                        0                        7               NiA
                                                                         newspaper.

  Tennessee                                Yes                           Upon filing.                             s                           II                          4                       NIA                       NIA               0

    Texas                                  Yes                           Upon filing.                           NIA                          NiA                        NIA                       NIA                       NIA              NIA

    Utah

  Vennont                                  Yes                          Upon filing.                            NIA                          NIA                        NIA                       NIA                       NIA              NIA

  Virginia                                 Yes                  Upon posting on the VSB
                                                                                                                  2                           2                           0                         0                        0                0
                                                                           docket.

 Washington                                Yes                 Public hearing on Petition.                        0                           0                           0                         0                       NIA               0

West Virginia

 Wisconsin                                 Yes                          Upon filing.                              6                           4                                                     0                        0                4
  Wyoming                                  No                                NIA                                  0                           0                           0                       NIA                       NIA               0


                 ,.Oregon .. There arc n number of categories ohcinstatcmc.111, not all related to prior discipline. ln .1.ddilion. shon•tcnn disciplinary suspeflsions require o ronn of rcillsUllemcnt ;lpplication.




                                                                                                                                              II
Case: 2:24-cv-01200-ALM-CMV Doc #: 3-1 Filed: 03/20/24 Page: 234 of 352 PAGEID #: 622




                           1999
                  Case: 2:24-cv-01200-ALM-CMV Doc #: 3-1 Filed: 03/20/24 Page: 235 of 352 PAGEID #: 623


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                                                                                           SO!,.!RCE: Sur::.:t ou Lawyer Di;cipline Svst~111s. 1999
                                                                                                  ABA Center for Profession,! Rcsponsibilitv


                                                                                                                          No. 2fl'elil12ns
                                                                                                                            Mo1ion:02t         No. of Pctilions.                                   !'IQ. of Pe1i1ions,
                                                                                                    No. Qf Pe1itio11s,     Regucsts fot          Motions or                                           i\1QtiQrt~ or
                                                                                                      Motions or          Reiusta1eme111/       Rsiuests for                                         Reguests fQr
                              Are Rcius1;11eu1cn1l                                                    Reguests fgr         Read111j;si211       Rcins1a1ernen[/    )'JQ. Qrautc~   No. Grnn\sd      Reinstatemc11!!
                                 Readmission                        1rSQ, :M•cn Are                 Reinstatcmc11t/        Pending frnm          Readmission          After           After          Readmi~si211
     STATE>                   erocccdin~ Public'!                 Procccilin!l!i Public?           Readn1ii;~i2n Filed      f1for Yea[l;          Grnn1cd          Disbanncnt      Sus(!ell:ti2n   Denied/Di~mitm!

     Alabama                             Yes                           Upon filing.                         s                    8                     8                                5                  0

      Alaska                             Yes                           Upon filing.                         2                                          0                0               0                  0

      Ari2011a                          Yes'                           Upon filing.                         0                    3                     2

     Califomia                           Yes                           Upon filing.                         12                  NIA                   NIA              NIA             NIA               NIA

     Colorado                            Yes                           Upon filing.                         7                    0                     7                                4                  2

                                                                After iuvcstigation by
    Connecticut                                                Standing Commiuee 011
                                         Yes                                                              NIA                   NIA                   NIA              NIA             NIA               NIA
                                                               recommendation for bar
                                                                     admissions.

     Delaware                            Yes                           Upon filing.                         2                    0                     2                0               2                  0

                                                                 Once submiltcd to
District of Columbia                                            Hearing Committee of
                                         Yes                                                                6                  NIA                     4                                                   2
                                                                    Professional
                                                                Responsibilitv Board.

      flmida                             Yes                           Upon filing.                        25                    4                    21                               16                 4

      Georgia                            Yes                           Upon filing                          0                    4                                      0                                 0

      Hawaii                            Yes                            Upon filing.                                                                    3                0               3                 0

       Idaho                             Yes                           Upon filing.                         0                    0                     0                0               0                 0

      Illinois                          Yes                            Upon filing.                         4                    4·                    3                               2                  2

      Jndfana                            Yes                           Upon filing.                                             12                     2                0              2                  4

       Iowa                             Yes                            Upon filing.                        22                  NIA                    22                0              22                 0

      Kansas                            Yes                      Every s1age is public.                    0                     0                                      0                                 0

     Kennicky                            No                                                                9                    10                    NIA             NIA             NIA               NIA
                       1
                       A1izona · Unless reinslatctntnl follows dis;i.bility inactio;e stah.JS.
                Case: 2:24-cv-01200-ALM-CMV Doc #: 3-1 Filed: 03/20/24 Page: 236 of 352 PAGEID #: 624

                                                                                                                CHART Ill

                                                                                            81:;INSTATEMENT AND READ:vtl;iSION

                                                                                     SQ!JRrE: Survey Qll Lawyer Disci~!ill£ Sv,,cms, I999
                                                                                         ABA Cs;nt~r for Profcssio1rnl R~snon,;ibili1y


                                                                                                                             NQ, Qf l'etlliQIIS.
                                                                                                                                Motions or         No. of Petitions.                                No. of Petitions.
                                                                                                   NQ. of l'e1i1ions,          Regues1s for           Moti2n~or                                       M21io11sor
                                                                                                     Motions or              RcinstatemenV           8£9!1~at• fQr                                    Bcguest§ f2r
                          Arc Reinstatement/                                                         Re9!fil!il2L             Re:"tdmission        Bcin~tatement/      N2. Granted   ~o. Gra111eg    Rei11~1ntc1ncnt/
                              B~dmi£ 2ioo                      If SQ, Wj1en Are                     Reinitatcmcnt/            Pending from          Readn1i~~ion          After         After         R99,11i:;:;ion
   STATE•                 Procecdi11gs P112li~'!             Proceedings ~11blic?                  Rcadmi~§iQn Filed           Pri2r Y~a!]            Granted          Disbanncn!    s~             Denied/Dismissed

  Louisiana                         Yes                           Upon filing.                             6                                              2                   0           2                 2

    Maine                           Yes                           Upon filing.                             0                         0                    0                   4-          2

                                                         Afic:, background investigation
                                                         as Court dir«lcd. When Bar
  Maryland                          Yes                  Counsc:rs reconum:nd:uioo ls                      5                         8                                                    0
                                                                      filed.'


Massachuscus                        Yes                           Upon filing.                            13                         18                   9                   7           2                 5

  Michigan                          Yes                           Upon filing.                             6                       NIA                    9                               8                0

  Minnesot.-i                       Yes                           Upon filing.                             5                         5                    8                  0            8

  Mississippi                       Yes                           Upon ming.                               4                         4                                       0

   Missouri                         NIA                               NIA                                  9                         G                    3                              2                 2

  Nebraska                          Yes                           Upon Jiling.                             3                         0                                       0                             2

   Nc,•ada                          Yes                          Upon filing.                            NIA                       NIA                   Nii\              NIA          NIA               NIA

New Hampshire                       Yes                          Upon filing.                             2                          0                    2

                                                            Anomey required to
 New Jersey                         Yes                      publish Notice of
                                                                                                         NIA                      NIA'                   22                  0           22              NIA
                                                              Application for
                                                              Reinstatement.

 New Mexico                         Yes                          Upon liling.                            NIA                       NIA                                     NIA          NIA                0

  New York                          No                                NIA                                 18                        3                    15                  4           4'                3
Isl Jud. Dept.


                  'Ma,yland - Wl1ile petition is public. !he invcsligarion and heirings are privare until lk:uing Commiuce & Review Board Reports filed wilh the Court of Appenls.
                  JNcw Jersey - Rdnslalt:rnents art' handfcd by Disciplinlry Re'lriC'\.i.' Board
                  .i.NY lst. Jud. Dept.- This number does not in.cfudc lawyers suspended ror nou-p:tynttm or fees.




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                     Case: 2:24-cv-01200-ALM-CMV Doc #: 3-1 Filed: 03/20/24 Page: 237 of 352 PAGEID #: 625

                                                                                                                    CHART Ill

                                                                                               REIJ::!~TATE.MEl!!I 6l!!D READMISSION

                                                                                        SOURCE: Survey on La":Ycr Disci11line Systems, 1999
                                                                                               ABA Center for Prof~ssional Responsibility


                                                                                                                               No. of 1'£h!IQllS
                                                                                                                                 t~fQ!iQll~ Qr           No. of Petitions,                                                     No. of Petitio1rn,
                                                                                                    No. Qf Petitions,            RcgucSL"i for             Motio1rn2[                                                            Motion~ Qt
                                                                                                      Motions or                Reinstatement/            ~!.                                                                   Regucsis for
                               !:,_re R~instal£111£11!/'.                                            Rem•s~t§ for                Re?!ltni~~i21!           Rcin~t:ilcmcnt/            1::i!l- Granted         !::ill- Gramed    Bsin~!i1cment/
                                    Rcodmissi2n                   If SQ, When Are                    Reins1a1smc111/             Pendine from              Readmi~~ion                      8&L                 After           &adu1i~~i2n
     STATE*                   /!l'.Q£OCgins.s !31l!lic?         Proceedings Publi£?                Readmis~iQn Filed              P!io[Y~rs                   Granted                 Di§l!;Jmtem            S11sru;n~ion     Denicdt'.Llifilni~sed

     New York                            No                               NIA                                20                        NIA                         4                      NIA                    NIA                   16
   2nd Jud. Dept.
2nd & 11th Jud. Dist.

     New York                            No                               NIA                                6                        NIA                         2                         0                      2                   4
   2nd Jud, Dept.
   9tlt Jud. Dist.

     New York                            No                               NIA                                II                       NIA                         3                       NIA                    NIA                   8
   2nd Jud Dept.
   10th Jud. Dist.

     New York                            No                               NIA                                10                                                   3                        0                      3                    3
   3rd Jud. Dept.

     New York
                                         No                               NIA                                G                          0                         6                        0                      6                    0
   41h Jud. Dept.

      Nevada                            Yes                          Upon filing.                          NIA                        NIA                       NIA                      NIA                     NIA                 NIA

   North Carolina                       Yes                          Upon filing.                            4                        NIA                                                  0                                           3

   North Dakota                         Yes                          Upon filing.                            0                                                    0                      NIA                     NIA                   0

       Ohio                             Yes                          Upon filing.                            2                        NIA                         5                        0                      5                   0

     Oklahoma                           Yes                          Upou filing.                            8                          6                         5                        JI                     8                    5

      Oregon                            Yes                          Upon filing.                          NIA'                       NIA                       NIA                        0                     NIA                 NIA

   Pennsylvania                         No                                                                  56                         24                        40                        2                      15                  8

   RJ1ode lslond                        Yes                         Upon filing.                             2                        NIA                                                                         0

  South Carolina                        Yes                         Upon filing.                           NIA                        NIA                        10                        2                      s                 NIA
    Tennessee                           Yes                         Upon filing.                             3                         11                        4                       NIA                     NIA

       Texas                            Yes                         Upon filing.                           NIA                       NIA                        NIA                      NIA                     NIA                NIA
     Vennont                            Yes                         Upon filing.                                                       0                                                   0                                          0


                      'On:son ~ ~fl! ;i.n:: a number orn."lnst.attment categories not all rcl:utJ lo priOC" discipline. In addition. shon-1crm discipJjnary smpcn.sions rtquirc n ri:ins1atemc11t application.
             Case: 2:24-cv-01200-ALM-CMV Doc #: 3-1 Filed: 03/20/24 Page: 238 of 352 PAGEID #: 626
                                                                                  CHART Ill

                                                                   REINSTATEMENT AND READMISSION

                                                              SOURCE: Survcv on Lawver Dilli!l!iJ!c Systems. 1999
                                                                   ABA Ccrltcr for Professional Responsibility


                                                                                           No. of l'e11t1011s,
                                                                                              Motions or         l::!2· of Petitions~                                No. of Petition,,
                                                                      ~o. of Petitions.      Regue~ts for             Motion~gr                                        Motions or
                                                                        M9tionsor          R£hl§taicment/            Requesrs for                                     Bcgucsrs for
                  Are RcinstatCU]£J1r/                                  Regucsts for         Re3Qmi~~ion         Rcinsl3teme11t/        No. Gro!llcd   ~1111cd       Bcinst§lcmenr/
                    Readmission           lfSQ. When Are               B~in~taremenl/       f£ndi11g (rom          Reodmission             After         After        Readmission
 ru.ra·          Proceedings Pub!is;?    Emccedingi; Public?         B~1!!1ni~ion Filed      E1iorY£a~               Gran1ed            Qi~bannent     Su~n~n~ion   Denied/Dismissed

                                         Upon posting on rhc
 Virginia                Yes                                                                       2                     0                   0             0                2
                                            VSB docl:er.

                                          Public hearing on
Washington               Yes                                                                       6                     0                   0            NIA
                                              Pctilion.

Wisconsin                Yes                Upon filing.                      4                    4                     3                 NIA            NIA

Wyoming                   No                    NIA                          0                     0                     0                 NIA            NIA               0
Case: 2:24-cv-01200-ALM-CMV Doc #: 3-1 Filed: 03/20/24 Page: 239 of 352 PAGEID #: 627




                        2000
               Case: 2:24-cv-01200-ALM-CMV Doc #: 3-1 Filed: 03/20/24 Page: 240 of 352 PAGEID #: 628

                                                                           CHART Ill

                                                           REINSTATEMENT AND READMISSION

                                                     SOUR~E: Surve1 on La,,:xer Discipline S1srems. 2000
                                                         ABA Center fol' Professionaj Responsibility


                                                      Total No.Qf Petitions,
                       No. of Petitions Motions or   Motion~ or Reguesrs for                                                    NQ. of Petition~, Motions or
                       Reguests for Reinstarement/       Beinstatementl            No. Granted After       NQ. Granted After    Regue~ts for Reinstatement/
STATE*                     Readmission Filed          Readmission Granted             Disbarment              Suspension       Readmission Denied/Dismissed

Alabama                            It                          8                          2                       6                         0

Alaska                                                         2                          0                       2                         0

Arizona                            7                                                      0                                                 0

Arkansas                           4                           4                          0                       4                         0

California                         17                         NIA                        NIA                     NIA                        4

Colorado                           12                          3                          0                       3                         4

Delaware                           3                           0                          0                       0                        NIA
District of Columbia               4                                                      0                       0                         0

Florida                           NIA                          18                        NIA                      18                       NIA
Georgia                            2                           2                          2                       0                         0

Hawaii                             4                           3                          0                       3                         0

Illinois                                                       0                          0                       0                         2

[ndiana                            4                           3                          0                       3                         2

Iowa                               14                          12                         0                       12                        2

Ke11111cky                        NIA                          5                          0                       5                        NIA

Louisiana                          4                           4                                                  3                         0

Maine                              2                           2                          0                       2                         0
Maryland                           5                           3                          3                       0                         2
                   Case: 2:24-cv-01200-ALM-CMV Doc #: 3-1 Filed: 03/20/24 Page: 241 of 352 PAGEID #: 629

                                                                            CHART Ill

                                                            REINSTATEMENT AND READMISSION

                                                      SOURCE: Survey on Lawyer Discipline Systems, 2000
                                                          ABA Center lor Professional Responsibility


                                                      Total No.of Petitions.
                        No of Petitions. Motions or   Motions or Requests for                                                  No. of Petitions. Motions or
                        Reguests for Reinstatement/       Reinstatement/              No. Granted After   No. Granted After    Reguests for Reinstatement/
STATE*                      Readmission Filed          Readmission Granted               Disba1me11t         Suspension       Readmission Denied/Dismissed

Massachusetts                      NIA                          7                            2                   5                         3

Michigan                            II                          7                                                6                         3

Minnesota                           2                           2                            0                   2                         0

Mississippi                         4                           2                                                                          2

Missouri                            26                          2                            0                   2                         14

Nevada                              8                           8                            0                   8                         0

New Hampshire                                                                                0                                             0

New Jersey                         NIA                          17                           0                   17                       NIA

New Mexico                          3                           3                                                2                         0

New York                            10                          10                           4                   6                         10
I st Jud. Dept.

New York                           28                          NIA                          NIA                 NIA                       NIA
2nd Jud. Dept.
2nd & 11th Jud. Dist.

New York                            8                           2                                                                          3
9th Jud. Dist.

New York                            9                         NIA                           NIA                NIA                         7
2nd Jud. Dept.
10th Jud. Dist.

New York                            7                           4                            0                   4
3rd Jud. Dept.




                                                                                 10
                 Case: 2:24-cv-01200-ALM-CMV Doc #: 3-1 Filed: 03/20/24 Page: 242 of 352 PAGEID #: 630
                                                                            CHART Ill

                                                           REINSTATEMENT AND READMISSION

                                                      SOURCE: Survey on Lawyer Discigline Systems, 2000
                                                          Al3A Center for Professional Rcsgonsibilitv


                                                       Total No.of Petitions.
                       No. of Petitions, Motion~ or   Motions or Reguests for                                                  NQ. gf Petitions. Motions gr
                       R~uests for Reinstatement/         Rein~tatement/             No. Granted After    No. Granted After    Reguests for Rein~tatement/
STATE*                     Readmission Filed           Readmission Qranted              Disbaiment           Sl!g:iension     ReadmissiQn Denied/Dismissed

New York                            3                           2                           0                    2
4th Jud. Dept.

North Carolina                      6                           5                           0                    5

North Dakota                                                    0                           0                    0

Ohio                               10                           10                          0                    10                        2

Oklahoma                           LO                           3                          NIA                   2

Oregon                             171                          0                           0                   NIA                       NIA
Pennsylvania                       62                           6                           0                    6                         9

Rhode Island                        4                          NIA                         NIA                  NA

South Dakota                                                                                0                                              0

Tennessee                          11                         NIA                          NIA                  NIA                        3

Utah                                5                           5                                                4                         0

Vermont                                                                                     0                                              0

Virginia                           5                            0                           0                   NIA                        2

West Virginia                      2                          N/A                         NIA                  NIA

Wisconsin                          15                           2                           2                    0                         7

Wyoming                                                                                                          0                       NIA




                                                                                II
Case: 2:24-cv-01200-ALM-CMV Doc #: 3-1 Filed: 03/20/24 Page: 243 of 352 PAGEID #: 631




                         2001
                       Case: 2:24-cv-01200-ALM-CMV Doc #: 3-1 Filed: 03/20/24 Page: 244 of 352 PAGEID #: 632

                                                                             CHART IJl

                                                             REINSTATEMENT AND READMJSSION

                                                         SOURCE: Surve~ on La,~er Diseinline Systems. 200 I
                                                             ABA Center for Professional Responsibility


                             No. of Petitions, Motions     Total No.of Petitions,
                                 or Requests for          Motions or Requests for                                                  No. of Petitions, Motions or
                                  Reinstatement/              Reinstatement/             No. Granted After    No. Granted After    Reauests for Reinstatement/
STATE                           Readmission Filed          Readmission Granted              Disbam,cnt           Suspension       Readmission Denied/Dismissed

Alabama                                 11                          11                          4                    7

Alaska                                                              0                           0                    0

Arizona                                 3                                                       0                                              0

Arkansas                                4                           4                           0                    4

California                              12                          6                           6                   NIA                        5

Colorado                                9                           4                           0                    4                         3

Delaware                                2                           2                           0                    2                         0

District of Columbia                    3                           2                           0                    2

Florida                                NIA                          18                         NIA                   18                      NIA
Georgia                                                                                                              0                         0

Hawaii                                  2                           2                           0                    2                         0

lllinois                                4                           3                           0                    3

Indiana                                 4                                                       0                                              2

fowa                                    8                           8                           0                    8                        0

Kansas                                  2                                                       0                                             0

Louisiana                               0                           0                         NIA                  NIA                        0
Maine                                   2                                                                          NIA                        0

Maryland                                5                          3                                                2                         2
                        Case: 2:24-cv-01200-ALM-CMV Doc #: 3-1 Filed: 03/20/24 Page: 245 of 352 PAGEID #: 633

                                                                               CHART Ill

                                                               REINSTATEMENT AND READMISSION

                                                           SOURCE: Survey on Lawver Disciuline Systems, 2001
                                                               ABA Center for Professional Responsibility


                               No. of Petitions, Motions     Total No.of Petitions,
                                   or Reguests for          Motions or Reguests for                                                · No. of Petitions, Motions or
                                    Reinstatement/              Reinstatement/             No. Granted After   No. Granted After     Reguests for Reinstatement/
STATE                             Readmission Filed          Readmission Granted              Disbannent          Suspension       Readmission Denied/Dismissed

Massachusetts                             11                          4                           0                   4                         6

Michigan                                  9                           5                           0                   5                         4

Minnesota                                 6                           2                           0                   2                         0

Missouri                                  20                          8                                               7                         6

Montana                                                                                          NIA                                            0

Nebraska                                  6                           6                           0                   6                         0

Nevada                                    5                           2                           0                   0                         0

New Hampshire                             2                           2                           0                   2                         0

New Jersey                               NIA                         13                           0                  13                        NIA
New Mexico                                2                           2                                                                         0

New York                                  13                         11                           0                  II                         2
1st Jud. Dept.

New York                                 24                         NIA                         NIA                 NIA                        19
2nd Jud. Dept
2nd & 11th Jud. Dist.

New York                                 ·5                          2                                                                          3
2nd Jud. Dept.
9th Jud. Dist.

New York                                  8                          3                                               2                          5
2nd Jud. Dept.
I 0th Jud. Dist.

Ne\~ York                                12                          5                           0                   5                         2
3rd Jud. Dept.




                                                                                      10
                 Case: 2:24-cv-01200-ALM-CMV Doc #: 3-1 Filed: 03/20/24 Page: 246 of 352 PAGEID #: 634

                                                                                     CHART Ill

                                                                   REINSTATEMENT AND READMfSSION

                                                            SOURCE: Survey on Lawyer Discipline Systems. 2001
                                                                ABA Center for Professional Responsibilin,


                       No. of Petitions, Motions               Total No.of Petitions.
                            or Reguesls for                   Motions or Requests for                                                                           No. of Petitions. Motions or
                            Reinstatement/                       ' Reinstatement/                     No. Granted After                    No. Granted After    Requests for Reinstatement/
                          Readmission Filed                    Readmission Granted                       Disbarment                           ~ension          Readmission Denied/Dismissed

New York                             23                                       5                                                                         4                   2
4th Jud. Dept.

North Carolina                        0                                   NIA                                 NIA                                  NIA                     NIA
North Dakota                                                                                                    0                                                           0

Ohio                                 15 1                                     13                                0                                   13                      2

Oklahoma                              19                                      9'                                2                                       0                   5

Oregon                              178;                                      0                                 0                                 NIA 3                   NIN

Pennsylvania                         85                                       JO                                                                        9                   6

Rhode Island                          3                                       2                                2                                   NIA                      0

South Carolina                      NIA                                       9                                                                         8                 NIA
Tennessee                             5                                   NIA                                NIA                                   NIA                      0

Utah                                  7                                       3                                2                                                            3

Vermont                                                                                                        0                                                           0

Virginia                              3                                       0                                0                                  NIA

Washington                            0                                       0                                0                                    0                      0

West Virginia                                                                                                  0                                                           3

Wisconsin                            20                                       2                                2                                    0                      6

Wyoming                                                                       0                                0                                  NIA


                      'Ohio: Statewide statistics regarding reinstatements.
                     'Oklahoma: ·Includes reinstatements af\er voluntary resignation and after having license stricken for non-payment of dues/MC LE.
                     'Oregon: Reinstatement is required for other categories not related to prior discipline.

                                                                                             II
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                         2002
                       Case: 2:24-cv-01200-ALM-CMV Doc #: 3-1 Filed: 03/20/24 Page: 248 of 352 PAGEID #: 636

                                                                              CHART Ill

                                                              REINSTATEMENT AND READMfSSION

                                                          SOURCE: Surve)l on Lawyer Discipline Svstems, 2002
                                                              ABA Cenler for Professional Responsibility


                              No. of Petitions. Motions     Total No.of Petition~.
                                   or Requests for         Motions or Requests for                                                  No. of Petitions, Motions Qr
                                   Reinstatement/              Reinstatement/             No. Granted After    NQ. Granted After    Regues1,, for Reinstatement/
STATE                            Readmission Filed          Readmission Granted              Disbannent           Suspension       Readmission Denied/Dismissed

Alabama                                  11                          II                          5                    G                         2

Alaska                                                                                          NIA                                             0

Arkansas                                 5                          29                           8                    21                        2

California                               17                         NIA                         NIA                  NIA                        3

Colorado                                 13                          7                                                6                         4

Delaware                                 3                           3                           0                    3                         0

District of Columbia                     7                           0                           0                    0                         7

Florida                                 NIA                          18                         NIA                   18                       NIA
Georgia                                  2                         NIA                          NIA                  NIA
Hawaii                                   2                           2                           0                    2                         0

Idaho                                                                                           NIA                                             0
Illinois                                 6                         NIA                          NIA                 NIA                         2

hldiana                                  4                           4                           0                    4                         3

Iowa                                     10                         10                           0                   10                         0

Kansas                                                             NIA                           0                  NIA                         0
Kentucky                                IO                           6                           0                    6                        3
Louisiana                                9                           2                           0                    2

Maine                                    2                          2                                                                          2

Maryland                                 8                          5                            0                    2                        3

                                                                                     9
                         Case: 2:24-cv-01200-ALM-CMV Doc #: 3-1 Filed: 03/20/24 Page: 249 of 352 PAGEID #: 637

                                                                                kHART.lU

                                                                REINSTATEMENT AND READMISSION

                                                            SOUR~E: Survey on !,,awyer Discipline $)'.~tems, 2002
                                                               ABA Center for Professional Responsibility


                                No, of PetitiQns, Motions    Total NQ.of Petitions,
                                    or Requests for          Motions or Requests for                                                     No. of Petitions, Motions or
                                     Reinstatement/              Reinstatement/              No. Granted After      No. Granted After    Reguests for Reinstatement/
 STATE                             Readmission Filed          Readmission Granted              Disbannent              Suspension       Readmission Denied/Dismissed

· Massachusetts                            8                           2                             0                        2                       3
 Michigan                                  13                          8                             0                     8                          6

 Minnesota                                 9                           3                             0                     3                          0
 Mississippi                               4                                                                               0                          3

 Montana                                                                                            0                                                 0

 Nebraska                                  3                           3                            0                      3                          0
 Nevada                                    3                           3                            0                      3                          0
 New Hampshire                                                       NIA                           NIA                   NIA                         NIA
 New Jersey                              NIA                          23                            0                     23                         NIA
 New Mexico                                2                                                        0

 New York                                 34                          ll                            0                     II                         6
 1st Jud. Dept.
                                                                                                                                                 /


 New York                                  4                          2                             0                     2                          4
 2nd Jud. Dept.
 2nd & 11th Jud. Dist.

New York                                   5                          3                             0                     3                          2
2nd Jud. Dept.
9th Jud. Dist.

New York                                   5                          2                             0                     2                          3
2nd Jud. Dept.
I 0th Jud. Dist.

New York                                  LS                         12                            0                     12                          4
3rd Jud. Dept.

                                                                                       10
                 Case: 2:24-cv-01200-ALM-CMV Doc #: 3-1 Filed: 03/20/24 Page: 250 of 352 PAGEID #: 638

                                                                        CHARTIJI

                                                        RF.INSTATEMENT AND READMISSION

                                                    SOURCE: Survey on Lawyer Discipline Systems, 2002
                                                        ABA Ce111er for Professional ResRonsibility


                        No. of Petitions. Motions     Tow! No.of Petitions.
                             or Requests for         Motion~ Qr Requests fQr                                                 No. of Petitions, Motions or
                             Reinstatement/              Reinstatement/             No. Granted After   No. Granted After    Requests fQr Reinstatement/
STATE                      Readmission Filed          Readmission Granted              Dishannent          Suspension       Readmission Denied/Dismissed

New York                            5                                                      0                                             4
4th Jud. Dept.

North Carolina                     4                           4                                               3

North Dakota                                                                               0                                             0

Ohio                               12                                                      0                                             0

Oklahoma                           16                          11                                              2                         5

Oregon                            115                          0                           0                  NIA                       NIA
Pennsylvania                       G&                          10                          5                   5                         7

Rhode Island                       3                           3                           0                  .3

South Carolina                     6                          NIA                        NIA                  NIA                      NIA
Tennessee                          8                          NIA                         NIA                 NIA                        2

Utah                               3                           3                           0                   3                         0

Vennont                                                                                    0                                             0

Virginia                           0                           0                           0                 NIA                         3

Washington                         0                           0                           0                   0                         0
West Virginia                      2                           2                           0                   2

Wisconsin                          20                         19                                              18                        4

Wyoming                                                        0                           0                   0




                                                                               11
Case: 2:24-cv-01200-ALM-CMV Doc #: 3-1 Filed: 03/20/24 Page: 251 of 352 PAGEID #: 639




                          2003
                       Case: 2:24-cv-01200-ALM-CMV Doc #: 3-1 Filed: 03/20/24 Page: 252 of 352 PAGEID #: 640
                                                                               CHART llf

                                                               RE!NSTATEMENT AND READMISSION

                                                           SOURCE: Stuve~ on Lm~er Disci12line Svstcms, 2003
                                                               ABA Center for Professional Resnonsibility

                               No. of Petitions, Motions    Total No. of Petitions.
                                    or Requests for         Motions or Requests for                                                 No. of Petitions, Motions or
                                    Reinstatement/              Reinstatement/             No. Granted After   No. Qranted After    Regue~ts for 8,einstatement/
STATE                             Readmission Filed          Readmission Granted              Disbarment          Suspension       Readmission DeniedlOismi§sed

Alabama                                   JO                          4                                               3                         3

Alaska                                    0                           0                           0                   0                         0

Arizona                                   10                          10                                              9                         0

Arkansas                                  8                           7                           0                   7

California                                21                          21                         21                   0                         3

Colorado                                  12                          8                           2                   6                         4

Connecticut                              NIA                         NIA                         NIA                 NIA                       NIA
Delaware                                  2                           2                           0                   2                         0

District of Columbia                      4                           0                           0                   0

Florida                                  NIA                          12                         NIA                  12                      NIA
Georgia                                   2                           2                           0                   2                         0
Hawaii                                    4                           2                           0                   2                         2
Idaho                                                                                             0                                             0
Illinois                                  3                                                                           0                        3
Indiana                                   3                          .4                           0                   4                        3
Iowa                                      6                           6                           0                   6                        0
Kansas                                                                0                           0                  0                         0
Kentucky                                  6                           2                          0                   2
Louisiana                                 8                           7                          0                   7

Maine                                     3                          3                           0                   3                         0



                                                                                      9
                        Case: 2:24-cv-01200-ALM-CMV Doc #: 3-1 Filed: 03/20/24 Page: 253 of 352 PAGEID #: 641
                                                                                   CHART III

                                                                  REINSTATEMl;;NT AND READMISSION

                                                             SQURCE: Survey on La\,'.J'.er Disci121ine Systems, 20Q3
                                                                 ABA Center for Professional Resgon~ibility

                               No. of Petition~, Motions      Total No. of Petitions,
                                   oc Reguests for            Motions Qr Regue§t§ for                                                       No. of Petitions, Motions or
                                    Reinstatement/                Reinstatement/                 No. Granted After     No. Granted After    Reguests for Reinstatement/
                                  Readmil!~ion Filed           Readmi~~ion Granted                  Disbarment            Suspension       Readmission Denied/Dismis~ed

Maryland                                   9                             5                               0                    5                            4

Massachusetts                              9                             11                              0                    11                           5

Michigan                                   6                             6                               0                    6                            2

Minnesota                                  13                            13                              0                    13

Mississippi                                5                                                             0

Missouri                                   25                            20                             2                     18                        7

Montana                                    0                            NIA                            NIA                  NIA                         0

Nebraska                                   2                             2                              0                     2                         0

Nevada                                     6                             4'                                                                             2

New Hampshire                              0                            NIA                            NIA                  NIA
New Jersey                               NIA                            15                              0                    15                       NIA
New Mexico                                                                                              0                                              0

New York
I st Jud. Dept.                           27                            14                              4                    10                        7
New York
2nd Jud. Dept.
2nd & 11th Jud. Dist.                     13                             4                                                   3                         9
New York
2nd Jud. Dept.
9lh Jud. Dist.                                                           0                              0                    0

New York
2nd Jud. Dept.
I 0th Jud. Dist.                          10                            4                                                    3                         6

New York
3rd Jud. Dept.                            16                            9                               O                    9                         7
                              1
                               Nevada: Includes 2 Reinstateme111s granted from Disability Inactive Status.
                                                                                        10
                 Case: 2:24-cv-01200-ALM-CMV Doc #: 3-1 Filed: 03/20/24 Page: 254 of 352 PAGEID #: 642
                                                                                        CHART Ill

                                                                     REINSTATEMENT AND READMISSION

                                                                SOURCE: Survey on Lawyer Discipline Systems. 2003
                                                                    ABA Center for Professional ResP-onsibility

                               No. ot' Petitions. Motions        Total No. of Pclitions.
                                   or Requests for               Motions or Requests for                                                                               No. of Petitions. Motions or
                                    Reinstatement/                   Reinstatement/                    No. Gra111ed After               No. Granted After              Requests for Rei11statement/
                                  Readmission r-ilcd              Readmission Granted                     Disbarment                       Suspens.iQn                Readmission Denied/Dismissed

New York
4th Jud. Dept.                              IO                               5                                  0                                5                                     3

North Carolina                              4                                4                                  4                                0                                     2

North Dakota                                0                               NIA                               NIA                               NIA                                    0

Ohio                                        2                               NIA                                O'                               NIA                                  NIA
Oklahoma                                    17                               0                                  0                                0                                    17

Oregon                                    207'                               25                                o'                                25                                  NIA
Pennsylvania                                81                               18                                 3                                15                                   ll

Rhode Island                                3                                3                                  2                                                                     0

South Dakota                                                                 0                                  0                                0

Tennessee                                   5                               NIA                               NIA                               NIA
Texas                                      NIA                              NIA                               NIA                               NIA                                  NIA
Utah                                        5                                2                                  0                                2                                    0

Vermont                                     0                              NIA                                NIA                               NIA                                   0

Virginia                                                                     0                                 0                                NIA                                   0

Washington                                  3                                                                                                  NIA
West Virginia                               0                              NIA                                NIA                              NIA
Wisconsin                                  24                               24                                 7                                17                                    10
Wyoming                                     2                                2                                                                                                        0

                    'Ohio nnd Oregon: All Disbam1cnts are pcnnanent.
                    'Oregon: There are many types of Reinstatement, not all related to prior discipline, such as inactive members and members suspended for non-payment of dues. There is not a precise
                    breakdown of these categories by number.


                                                                                              II
Case: 2:24-cv-01200-ALM-CMV Doc #: 3-1 Filed: 03/20/24 Page: 255 of 352 PAGEID #: 643




                        2004
                       Case: 2:24-cv-01200-ALM-CMV Doc #: 3-1 Filed: 03/20/24 Page: 256 of 352 PAGEID #: 644

                                                                                            CHART Ill

                                                                          REINST6Tl;h,:!r,NT AND READMISSION

                                                                    ;2Q!,1R{;E; Survev on Law~er Discipline Systems. 2004
                                                                           ABA Center for Professional Resgonsibilin,

                              No. of Petitions. Motions        Total No. of Petition~,
                                   or Requests for             Mgtions or Requests for                                                                        NQ. Qf P!aitions, Mo1ions or
                                   ReinstalcmenU                   ll,ej1JS!il!cmenU                    No Qranl~d After                 ~Q, Q1m1tcd A!kr    Reguests for ReinStilleuien!l
STATE                            R~admi~si2n Filed              Rcadmissign Qra111ed                      Disbarment                       Suspension       Re~dmi~si2n Denied/Dismissed

Alabama                                    5                                5                                                                   ,j                        0

Alaska                                     2                                2                                    0                              2

Arizona                                                                    0                                     0                              0                         2

Arkansas                                  10                               9                                     0                              9

California                                18                               18                                    18                            o•                         14

Colorado                                   6                               7                                     2                              5

Connecticut                                                                                                                                   NIA                         0

Delaware                                   2                               2                                     0                              2                         0

District of Columbia                       3                                                                     0                                                       4

Florida                                   18                               18                                  NIA                            NIA                       N/A

Georgia                                   21                               2                                     0                             2                        NIA

Hawaii                                                                     3                                     0                             3                         3

ldnho                                                                                                            0                                                       0
Illinois                                  3                                0                                    0                              0

Indiana                                   4                                0                                    0                              0                         2

Iowa                                      3                                3                                    0                              3                         0

Kansas                                    3                                0                                    0                              0                         3

Kentucky                                  10                               6                                    0                              6
Louis inn.a                                                                                                                                    0                         0

Maine                                     2                                                                     0                                                        0


                            '.California: All Reinstatement proceedings follow Disban11ents or Rcsigna1ions with Disciplinruy Charges.
                            -Georgia: Most Retnstatcmcnts/Rcadmissions handlr:d by Office of Bnr Admissions,
                         Case: 2:24-cv-01200-ALM-CMV Doc #: 3-1 Filed: 03/20/24 Page: 257 of 352 PAGEID #: 645


                                                                                        CHART Ill

                                                                        REINSTATEMENT AND READMJSSION

                                                                  SOURCE: Survey on Lftwycr Discipline Systems. 2004
                                                                      ABA Center for Professional Resoonsibili(y
                              No. of Petitions Motions        Total No. of Petitions
                                  or Requests for             Motions or Requests for                                                       No. of Petitions. Mo!ions or
                                   Reinstatement/                 Reinstatcnu:nll               No. GranJed After      No. Grnn1cd Afler    Requests for Reinslatcmenl/
                                 Readmission Filed             Readmission Oran1cd                  Disba1ment           ,Siw.cnsion       Readmission Denied/Dismissed

Maryland                                  s                                                             0                     3                         2

Massachuseus                              13                             ll                                                   10                        2

Michigan                                 12                                                             0                                               4

Minnesota                                 7                              4                              0                     4

Mississippi                               2                                                                                   0

Missouri                                 31                              5                                                    4                         6

Montana                                                                                                 0                                               0

Nebraska                                  :5                             4                              0                     4

Nevada                                                                   S'                             0                     4                         0

New Hampshire                             2                                                             0                                               0

New Jersey                              NIA                              15                            o'                     IS                       NIA

New Mexico                                2                              2                              2                     0                         0

New York
I st Jud. Dept.                          21                             21                             10                    11                         7

New York
2nd Jud. Dept
2nd & 11 lh Jud, Dist.                    9                              s                                                    4                         4

New Yo1k
2nd Jud. Dept.
9th Jud. Dist.                                                           0                             0                      0

New York
2nd Jud. Dept.
I 0th Jud. Dist.                          8                              6                             3                     3                         2


                            'Nevada: I granted from disnbility inao1i,·e status.
                            'New Jersey, Ohio, Oregon: Disbarment is p<rmM<nt.
                 Case: 2:24-cv-01200-ALM-CMV Doc #: 3-1 Filed: 03/20/24 Page: 258 of 352 PAGEID #: 646

                                                                                      CH,\RT Ill

                                                                    REINSTATEMENT ANO READMIS~

                                                             .SOURCF,: Survey on Lawyer Di"sciulin<; Svstems. 7004
                                                                  All.A Center for Prole%ional Resrion,ihility

                      No. of Petitions. Motions          Toi?I No. qf Petitions.
                          or Requests for                Motions or Reouqts for                                                                No. of Pctitio11s, Motions or
                           Reinstatement/                    Reinstatement/                           No. Granted Alter   No. Granled After    Requests for Reinstatement/
                         Readmission Filed                Readmission Granted                            Disllanncnt        !;iu$pension      Readmission Denied/Dismissed

New York
3rd Jud. Dept.                     15                                10                                                          9                          2

New York
4th Jud. Dept.                      8                                7                                       0                   7

North Carolina                      3                                0                                       0                   0                          0

Nor1l1 Dakota                                                       NIA.                                    NIA                 NIA                         0

Ohio                                3                                2                                       o'                  2

Oklahoma                           10                                2                                                                                      5

Oregon                            200'                               20                                      o'                  20                       NIA

Pennsylvania                       75                                II                                                          8                         12

Rhode Island                                                         4                                                           3

South Cnrolinn                    NIA                                6                                       0                   6                        NIA

South Dakota                                                                                                 0                                             0

Tennessee                          II                               NIA                                     NIA                 NIA

Ulah                              NIA                                2                                       0                   2

Vermont                            2                                                                         0                                             0

Virginia                           0                               NIA                                      NIA                NIA                         0

Washington                         0                               NIA                                     NIA                 NIA.                        0

West Virginia                      2                                                                                           NIA                         0

Wisconsin                          19                                5                                                           4                         2

Wyominti                                                             0                                       0                   0                         0




                     :SOregon: There are mnny types of rcmst~tcmcnt, not nll related to discipline.
Case: 2:24-cv-01200-ALM-CMV Doc #: 3-1 Filed: 03/20/24 Page: 259 of 352 PAGEID #: 647




                         2005
              Case: 2:24-cv-01200-ALM-CMV Doc #: 3-1 Filed: 03/20/24 Page: 260 of 352 PAGEID #: 648

                                                                                                        Cl:lART 111

                                                                                           REfNSTATEMENT AND READMISSION

                                                                                    SOURCE: Srnvcv on Lawyer Discipline Systems. 2005
                                                                                        ABA Cemer for Professional Resp1J.filibility

                                  No. of Petitions. Motions or                                                                          No. of Petitions. Motions or Requests
                                  Requests for Reinstatement/                No. Granted After                 No. Granted Afler          for Reinstatement/ Readmission
                                      Readmission Filed                         Disbannent                        Suspension                     Denied/Dismissed



Alabama                                         5                                                                      4                                 0

Alaska                                                                                0                               NA
Arizona                                         2                                     0                                0                                 0

Arkansas                                        13                                    0                               II                                 2

California                                      18                                   18                                0                                 II

Colorado                                        5                                                                      2

Connecticut                                                                          NA                               NA                                 0

Delaware                                        3                                     0                                2

District of Columbia                            7                                     0                                                                  2

Florida                                        NA                                   NA 1                              NA                                NA
Georgia                                                                              NA                                                                  0

Hawaii                                                                                0                               0                                  0

Idaho                                           0                                    0                                0                                  0

Illinois                                        8                                    0                                0                                  2

Indiana                                         4                                    0                                4                                  2

Iowa                                            6                                    0                                6                                 0

Kansas                                          4                                    0                                2

Kentucky                                       7                                     0                                0                                 2
Louisiana                                      9                                     4                                5                                 2
Maine                                          0                                    NA                                NA                               NA
1
    Florida: l l total granted, but not distinguishable based on granted afler disbannent or suspension.
2
    lndiana: Reinstatements granted were all on matters filed in a prior year, not on cases liled in 2005.
               Case: 2:24-cv-01200-ALM-CMV Doc #: 3-1 Filed: 03/20/24 Page: 261 of 352 PAGEID #: 649


                                                                                                   CHART lll

                                                                                        REINSTATEMENT AND READMISSION

                                                                                  SOURCE: Survcv on La,rycr Discipline Svstems. 2005
                                                                                      ABA Center for Profcssion:il Resnonsibility

                                 No. of Petitions. Motions or                                                                          No. of Petitions. Motions or Requests
                                 Requests for Reinstatement/               No. Granted After               No. Granted Aficr             for Reinslatemcnt/ Readmission
                                     Readmission Filed                        Disbam1ent                      Syspension                        Denied/Dismissed



    Maryland                                 IO                                     0                             10

    Massachusetts                            15 3                                   0                             15                                    2

Michigan                                     11                                     0                             II                                    3

Minnesota                                    IO                                                                   5

Mississippi                                   3                                    NA

Missouri                                                                            3                             5                                     3

Montana                                                                             0                             0                                     0

Nebraska                                      5                                     0                             3

Nevada                                       3                                     0                              2

New Hampshire                                0                                     0                              0

New Jersey                                  NA                                     0                             18                                   NA

New Mexico                                   3                                                                    2                                    0

New York
1st Judicial Department                      13                                    5                              4

New York
2nd Judicial Department
2nd & I Ith Judicial Districts               9                                    NA                            NA
New York
2nd Judicial Depa1tmcnt
9th Judicial District                        0      .                              0                             0                                     0
New York
2nd Judicial Department
I 0th Judicial District                      8                                     2                                                                   5

New York
3rd Judicial Depa11mem                       6                                                                   5                                    NA
3
 Massachusens: 8 were automatic reinstatements after sho1t suspensions.
~Missouri: Includes petitions related to discipline, fees and restoration from inactive status.
New York
           Case: 2:24-cv-01200-ALM-CMV Doc #: 3-1 Filed: 03/20/24 Page: 262 of 352 PAGEID #: 650

                                                                                                  \:;HART HI

                                                                                     REINSTATEMENT AND READMISSION

                                                                              SOURCE: Survey on Lawyer Discipline Systems. 2005
                                                                                  ABA Center for Professional Rcsponsibilitv

                              No. of Petitions. Motions or                                                                                No. of Petitions, Motions or Requests
                              Requests for Reinstatement/               No. Granted Alier                 No. Granted After                 for Reinstatement/ Readmission
                                  Readmij;sion Filed                       Disbarment                        Suspension                            Denied/Dismissed



4th Judicial Depa11ment                     9                                   0                                  5                                       4

Nonh Carolina                               2                                   0                                  0                                       2

Nonh Dakota                                                                     0                                                                          0

Ohio                                       ll                                   0                                                                         NA

Oklahoma                                   10                                   0                                                                          3

Oregon                                    175•                                  0                                25*                                      NA

Pennsylvania                               94                                   6                                 ti                                       14

Rhode Island                                2                                   0                                 2

South Dakota                                                                    0                                                                          0

Tennessee                                  10                                  NA                                NA                                        3

Texas                                       6

Utah                                       0                                    0                                 0                                        0

Vcm10nr                                    0                                    0                                 0                                        0

Virginia                                   0                                   NA                                NA                                       NA
Washington                                 0                                   NA                                NA                                        0

               7
West Viginia                              NA                                   NA                                NA                                      NA
Wisconsin                                  26                                   0                                 3                                       2

Wyoming                                                                                                           0                                       0


• = Estimated.

5
  Ohio: "suspensions for tenn".
GTexas: Total of5 reinstatements granted, but statistic does not distinguish betweenthose granted after suspension or alter disbarment.
7
  West Virginia did not provide data.
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                         2006
       Case: 2:24-cv-01200-ALM-CMV Doc #: 3-1 Filed: 03/20/24 Page: 264 of 352 PAGEID #: 652


                                                                                                           REINSTATEMENT AND READMISSION

                                                                                                           Survcv on Lawyer Pjscfoline Systems. 2006
                                                                                                           ABA Center for Professional Responsibility

                                      No. of Pctiti9n~. Motions or                                                                                      No. of Petitions. Motions or Requests
                                      R!l9uests for Reinstatement/                        NI). Qranted AOer                  No. Granted After            ·ror Reinstatement/ Readmissio,1
                                           Readmission Filed                                  Disbamie!J.!                      fulli,.£1lfilQJ)                  l)eniecVDismissed

STATE

Alabama                                               9                                                0                               5                                 0

Alaska                                                2                                                0                                                                 0

Arizona                                               15                                               0                              JO                                 0

Arkansas                                              12                                               0                              II

Cnlifomia                                             10                                                                                                                 12

Colorado                                              12                                               0                              4                                  3

Connecticut                                           3                                                0                              3                                  0

Delaware                                              2                                                0

District of Columbia                                                                                   2                              0                                  0

Florida                                             NIA                                                3                             JO                                NIA

Georgia                                               3                                           NIA'                                3                                  0

Hawaii                                                                                                 0                              2                                  3

Idaho                                                 3                                                0                              2                                  0

Illinois                                              5                                                0                                                                 4

Indiana                                               8                                                0                              0                                  3

Iowa                                                 J,l                                               0                             14                                 0

Kansas                                                0                                           NIA

Kentucky                                              6                                                0                             5
Louisiana                                            12                                                0                             3                                  7

Maine                                                                                                  0                             0                                  0


'C.,Jifomia Rcins:t:uemc'n1 proecedings :m: not conducted on suspended attorneys.
1
Georgia: Dislr.ured luwycrs must appl)• to B:ir Admissions n-rn Gen.er-JI Counsel for rcinslatemcn1.
        Case: 2:24-cv-01200-ALM-CMV Doc #: 3-1 Filed: 03/20/24 Page: 265 of 352 PAGEID #: 653



                                                                                                                REINSTATEMENT AND READMISSION

                                                                                                                Survey 011 Lawver Distipline Svstcms. 2006
                                                                                                                AM Center for Professional Resnonsillility

                                         No. of Petitions. Motions or                                                                                        No. of Petitions, Motions or Rcgui:fil.
                                        Requests for Reinstatement/                            No. Granted After                  No. Granted Aftcr            for Reinstatement/ Readmission
                                            Readmission Filed                                        Disllaniw1•!                    fumlensign                       Denied/Dis111issed



    Maryland                                                                                                                            NIA                                    4

    Massachusetts                                                                                         0                              18                                    2

    Michigan                                              7                                               0                              6                                     2

    Minnesota                                            12                                              0                               9

    Mississippi                                           4                                             NIA                                                                    0

    Missouri                                                                                                                             13                                    6

    Montana                                              0                                               0                               0                                    0

    Nebraska                                             3                                               0                               2

    Nevada                                               2                                               0                               0                                    2

    New Jersey                                         NIA                                                                               15                                  NIA

New Mexico                                               0                                               0                               0                                    0

New York                                                26                                                                               6                                    II
I st Judicial Department

New York                                                 8                                               3                                                                    0
2nd Judicial Department
2nd & I Ith Judicial Districts

New York                                                 2                                               0
2nd Judicial Department
9th Judicial District

New York                                                 7                                                                               4                                    2
2nd Judicial Department
l 0th Judicial District

·'Massachusetts: Jl ,,·etc 3Ulom:itic rcinsla\cmenls ;.1(\er-sho,l suspensions.
4
  Missouri: Inc1udes petitions related lo discipline, fees :md restorations from in3Cth-c sla.tus.
1
  Ncw krsey: Disbarment is peml:J;ntnt
      Case: 2:24-cv-01200-ALM-CMV Doc #: 3-1 Filed: 03/20/24 Page: 266 of 352 PAGEID #: 654


                                                                                                             REINSTATEMENT ANO REAQMISSION

                                                                                                             ~ c v on 1,awver Discipline Svstems. 2006
                                                                                                             ABA Ccnrcr for Professional Responsihilitv

                                      No. of Petitions, Motionsot                                                                                         No. of Petitions; Motions or Requests
                                      Requests for Reinstatement/                         J::!!h_Qramed Afi£T                        No. Gramed After       for Reinstatcmenl/ Readmis!ilQJ!
                                          Readmission Filed                                    Qi~bannent                               ~ension                    Denicd/Dismig;ed



New York                                              10                                             0                                       9
3rd Judicial Depanmem

 New York                                              6                                             0                                       4                             3
4th Judicial Department 5th,
7th & 8th Judicial District

 Nonh Carolina                                         6                                             0                                       4                             2

 North Dakota                                          2                                             0                                       2                             0

Ohio                                                  18                                                 5
                                                                                                  N/A                                       16''                           2

Oklahoma                                               8                                                                                     0                             4

Oregon                                                     7
                                                     180                                            0                                       25                           NIA

Pennsylvania                                          91                                            6                                        10                           13

Rhode Island                                                                                                                                 0                             0

South Dakota                                                                                        0                                                                      0

Tennessee                                                                                                8
                                                      8                                           N/A                                      NIA'                            2

Texas                                                 8                                           NIA'                                     NIA'                          NIA

Utah                                                  0                                             0                                        0                             0

Vennont                                               0                                             0                                        0                            0

Virginia                                              3                                                                                    N!A

Washington                                            13                                            0                                       13                            0

Wesl Viginia                                          4                                                                                     0

Wisconsin                                            34                                            910
                                                                                                                                           28 11

Wyoming                                               0                                            0                                        0                             0

• n   Estima tcd.

'Ohio; Disb:unm1l is penn:mrnt.
'Ohio: Jnelmks ..tenn" :md ''indc:fini1c"' suspensions.
7
 0rcgon: Not 311 reinstatemems :ire related to disd~,tinc.
'Tcno«sce: Total of 3 lawyers rcins.talcd in 2006.
'Te~as~ Total of 8 reinstatements gr.in,cd, bul sutislic does not distinguish bch,·een those granted aficr ~nsion or aner disb-Jmtc:111.
111
    \Visconsin: 6 disciplinary andJ with conditions.
11
    Wisconsin: Aficr ad.ministr:.Ui\·c suspensions.
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                        2007
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                                                                                                       REINSTATEMENT AND READMISSION

                                                                                                       Survey on Lawyer Discipline Systems. 2007
                                                                                                       ABA Center for Professional Responsibility

                                    No. of Petitions. Motions or                                                                                    No. of Petitions. Motions or RequesLs
                                    Requests for Reinstatement/                       No. Granted Alter                  No. Granted Alter            for Reinstatement/ Readmission
                                        Readmission Filed                                Disbarment                         Suspension                       Denicd/Dismis.scd



 Alabama                                                                                         0                               6                                   2

 Alaska                                                                                         0                                                                    0

 Arizona                                            25                                          0                               14                                   3

 Arkansas                                            6                                          0                                6                                   0

                                                                                                                                      1
 California                                         II                                          2                              NIA

 Colorado                                           12                                                                           6

 Connecticut                                         7                                           0                               2

 Delaware                                                                                        0

 District of Columbia                                                                            2                               0                                   0

 Florida                                            10                                                                          10                                  NIA

 Georgia                                           NIA                                        NIA2                             NIA                                   0

 Hawaii                                              6                                           0                                                                   0

 Idaho                                                                                           0                                                                   0

 Illinois                                           II                                           0                               0                                   5

 Indiana                                            II                                           0                                                                   7

 Iowa                                               II                                           0                               II                                  0

 Kansas                                              3                                           0                               2                                   0

 Kentucky                                            7                                           0                               5                                   0

 Louisiana                                           6                                           0                               2                                   4

 Maine                                                                                           0                               0


 1
  Califomia: Reinstatement pmcudings are not conducted on suspended attorneys.
 2\.reorgia: Disbarred lawytrs must apply to Bar AdmiS'iion., nol General Counsel for reim1talemcnt.
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                                                                                                         REINSTATEMENT AND READMISSION

                                                                                                         Survey on Lawyer Discipline Systems. 2007
                                                                                                         ABA Center for Professional Responsibility

                                     No. of Petitions. Motions or                                                                                     No. of Petitions. Motions or Requests
                                     R£guests for Rein.statement/                         No. Granted After                No. Granted After            for Reinstatement/ Readmission
                                         Readmission Filed                                   Disbanncnt                       Suspension                       Denied/Dismissed

STATE

Maryland                                              8                                             0                              3                                   5

Massachusetts                                        163                                            0                             17                                   2

Michigan                                              12                                            0                              5                                   3

Minnesota                                             14                                            0                              7                                   2

Mississippi                                           3                                             0                              2

Missouri                                             35'                                            0                             16                                   8

Montana                                               2                                             0                              0

Nebraska                                               2                                                                           0                                   0

Nevada                                                3                                             0                              0                                   0

New Hampshire                                          2                                            0                                                                  0

New Jersey                                           NIA                                            os                            12                                  NIA

New Mexico                                                                                          0                                                                  0

New York                                              20                                            2                              4                                   4
l st Judicial Department

New York                                               9                                            2                                                                  6
2nd Judicial Department
2nd & 11th Judicial Districts

New York                                               4                                            0                              2                                   2
2nd Judicial Department
9th Judicial District

New York                                               8                                            4
2nd Judicial Department
I0th Judicial District

1
 Ma.ssachu.'iclts: Including automatic reinstatements after short suspensions.
4
 Missouri: Includes petitions related to discipline, fees and rc.,torntions from inae1ivc status.
'New Jersey, Ohio, Oregon: Disbarment is pennancnl.
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                                                                                                             REINSTATEMENT AND READMISSION

                                                                                                             Survey on Lawyer Discipline Systems. 2007
                                                                                                             ABA Center for Professional Responsibility

                                     No. of Petitions. Motion.< or                                                                                        No. of Petition.,. Motions or Request<
                                     R£9ucsts for Reinstatement/                         No. Granted After                          No. Granted After       for Reinstatement/ Readmission
                                         Readmission Filed                                  Disbannent                                 Suspension                   Denied/Dismissed

 STATE

 New York                                             8                                             0                                           8                           0
 3rd Judicial Department

 New York                                             8                                             0                                           6                           2
 4th Judicial Department 5th,
 7th & 8th Judicial District

 North Carolina                                       4                                             0                                           3

 North Dakota                                                                                       0                                                                       0

 Ohio                                                 2                                           NIA'                                         13•                        NIA

 Oklahoma                                             12                                            0                                           8

 Oregon                                              176   7
                                                                                                    o'                                         20                           4

 Pennsylvania                                         92                                            4                                           13                          16

 Rhode Island                                          0                                            0                                           0                           0

 South Carolina                                        0                                            II                                          0                           0

 South Dakota                                                                                       0                                                                       0

                                                                                                         1                                           8
 Tennessee                                            4                                           NIA                                          NIA

 Texas                                                 6                                            2•                                          0

 Utah                                                  5                                            0                                           3                           0

 Vermont                                               0                                            0                                           0                           0

 Virginia                                              2                                            2                                          NIA

 Washington                                           13                                            0                                           12                          0

 West Viginia                                         4                                             0                                           2

 Wisconsin                                            17                                                                                        4

 Wyoming                                                                                                                                        0                           0


 5Ohio. Oregon, New Jersey: Di&banncnl is permanent.
 &Ohio: Automatic rcinstatmcnt.-s from ..1erm suspensions" nnd "indefinite suspensions".
 7
  0rcgon: Not all reinstatements arc related to discipline,
 'TcnnessC-'C: Total of) lawyers reinstated in 2007.
 'Tc:'(as:Totru of 2 reinitatcment,; granted. but !tatistic does no1 distinguish between those granted after fiUSpcnsion or after disbannenl
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                         2008
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                                                                                                        REINSTATEMENT AND Rf;ADMISSIQi:i

                                                                                                        Survey on Lawyer Discipline Svstcms. 2008
                                                                                                        ABA Cenrer for Professional Rcsponsibilirv

                                    No, of Pe!itions. Motions or                                                                                     No. of Petitions, Motions qr Reg11es1s
                                    Requests for Reinstatement/                        No. Granted Aller                   !'IQ. Granted After         for Reinstatement/ Readmission
                                        Readmission Filed                                 Disbam1e11l                          Suspension                      Penied/Qismissed



Alabama                                             4                                                                               2

Alaska                                               2                                           0

Arizona                                             16                                           0                                 22

Arkansas                                             2                                           0

Califomia                                            8                                                                            NIA 1

Colorado                                            IO                                                                                                                 0

Connecticut                                         3                                                                              4


Delaware                                                                                         0                                 2

Dislrict of Columbia                                2                                            0                                 0


Florida                                             27                                                                             7                                   4


Georgia                                                                                        NIA'                                                                    0

Ha\Vaii                                                                                          0                                                                     2

·1daho                                              3                                            0                                 6                                   0

fllinois                                            5                                                                              {l


Indiana                                             5                                            0                                 9                                   3

Iowa                                                12                                           0                                 12                                  0

Kansas                                                                                           0                                 0                                   0

Kcnlllcky                                           16                                           0                                 10

Louisiana                                           7                                            0                                                                     5

Maine                                               0                                                                                                                 0


1
 C11:lifomia: Rcinsra1ement proeccdlng.s arc nor conducted on suspended lawyers.
20corgiil: Oiibarrcd ht,\')'Cl'S must reapply to Bar Admissioru Mt Gener.ti Coun.sd for rcins11nenmu.
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                                                                                                           REINSTATEMENT AND REAOMISSIQN.

                                                                                                           Survey on Lawyer Discipline Systems. 200$
                                                                                                           ABA Center for Professiomil Responsibilitv

                                       . No. of Petitions. Motions or                                                                                   No. of Petitions, Motions or Requcsls
                                         Requests for RcinMatemenV                            No. Granted After                No. Gtontcd After           for Reim;r~ccment/ Readmission
                                               Rcadn1ission Filed                                 ~                               ~                               DeniedlQismjsscd


Maryland                                                  (6                                           5                               4

Massachusc11s                                            26                                            0                              22                                  2

Michigan                                                  16                                                                                                             2

Minnesotn                                                 12                                           0                              3                                   2

Mississippi                                               4                                                                           0

Missouri                                                                                               0                              4

Montana                                                   2                                            0

Nebraska                                                  6                                                                           4


Nevada                                                                                                 0                                                                 2

New Hampshire                                                                                          0                              0

New Je<sey                                              NIA                                                                           12                                NIA

New Mexico                                                                                                                            0                                  0

New York                                                 25                                            2                                                                 8
1st Judicial Depanmcnt

New York                                                                                               2                                                                 2
2nd Juclicial Depar1111c111
9tl1 Judicfol District

New York
2nd Judicial Depar1n1cn1
10th Judicial District

New York                                                  9                                            4
2nd Judicial Deparnticnt
2nd & 11th Judicial Districts

3
    Missouri: Includes ~tition, rcl:lkd to disciJ>line. fcc.s and restoration; from inactive status.
"New Jersey. Ohio. Ottgon: Oisbannenf is pe:ffi\3nct1t.
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                                                                                                 REINSTATEMENT /\ND READMISSION

                                                                                                 Survey on Lawyer Dis£ipline Systems. WO$
                                                                                                 A8/\ Center for Professional Responsibilitv

                                   No. of Pctitiqns, Motions or                                                                                No. of Petitions, Motions or Requests
                                   B@ucst.~ for Reinstatement/                      ~...L<Jfil.                      No. Granted After            for Reins1a1emeo11 Re?dmission
                                      Readmission Fjle<l                                Disbam1cnt                      fu!snension                     Denied/Dismissed




New York                                          19                                        0                                15
3rd Judicial Department

New York                                           4                                        0                                                                    0
4tl1 Judicial Dep.utmcnt 5th,
7th & 8th Judicial DiSlrict

North Carolina                                                                              0                                4

North Dakota                                                                                0                                                                    0

Ohio                                                                                      NIA'                                                                 NIA

Oklahoma                                           II                                                                        6                                   3


Oregon                                                                                      o'                               15

Pennsylvania                                      88                                                                         13                                  8


Rhode Island                                                                                                                NIA                                  0

South Carolina                                   NIA                                       NIA                              NIA                                NIA

South Dakota                                       0                                        0                                0                                   0

Tennessee                                          6                                       NIA                               7

Texas                                              10                                       3                               NIA                                 4

Utah                                               5                                        0                                3                                   2

Vennont                                            0                                        0                                0                                   0

Virginia                                                                                    0                               N/A

Washington                                        20                                        0                                16                                 0

\1/cst Viginia                                     2                                        0

\Viscousin                                        22                                                                         21                                  5

Wyoming                                            2                                        0


~Ohio, Oregon. New Jersey: Disbarment ls p«m:menl.
1Ohfo: Atuonutic rein.n:umcnrs from "term suspensions" and "indefinite suspension$''.
4
  Ortgon: Noc .-ti reinstatements are related to discipline.
Case: 2:24-cv-01200-ALM-CMV Doc #: 3-1 Filed: 03/20/24 Page: 275 of 352 PAGEID #: 663




                         2009
                                     Case: 2:24-cv-01200-ALM-CMV Doc #: 3-1 Filed: 03/20/24 Page: 276 of 352 PAGEID #: 664
Nav.mtat 2010                                                                                                                                 CHAATHI                                                                                               Survey on l.8:wyerDb:dpUm Sy,hima 2009
O 2010 Arn•rlcan Bar AuodeUon                                                                                                                                                                                                                       ADA C•ntor tor Profoutonal Re•ponslbfllty
                                                                                                                                          REINSTATEMENT/
                                                                                                                                          READMISSION 2009




                                                                           Numbor of Pttltlona, MotJona or Requom 101'                                                                             Number of PotJtlon1, Motions or Requests for
                                                   STATE                         ReJn•tatoment/Readmff.lton Fifed              Numbtr Granted After Olsbamnont   Number Grantod Attar Suspen.Jon   Reln:1\atffllont/Rtadmlaslon O.nled/Of:1mf..•d

                                                  Alabama




                                                  Arizona                                                                                                                      19




                                                 cantomta                                        22                                                                           HIA'

                                                  Colorado

                                                Connecticut




                                            Df•lrtct of Columbia

                                                   Florida                                       32                                                                            19                                        16

                                                   Georgta                                                                                  HIA'

                                                   Hawall

                                                    Idaho                                        0

                                                   11.Unola

                                                   lndlana
                                                                                                                                                                                                                         '
                                                                                                                                                                                                                         2

                                                    Iowa                                                                                                                        6

                                                   Kanus                                          2

                                                  Kentucky                                       17                                                                            17

                                                                                                                                                                                2                                        2

                                                    Maine                                        3

                                                                                                 1,                                                                             6                                        7

                                               Mauacttuutts                                      15                                                                            13

                                                  MfchJgan                                       7

                                                 Minnesota                                       17                                                                            13                                        2

                                                 MJul ..lppl

                                                                                                M'                                                                            '2'                                       ,.
                                                  Montana

                                                  Nebraslua

                                                   Nevada




                                1
                                    C•llfomla: Relnatate-ment proc:eodfna• sn1 not conductod for t.USpondod lawyonJ.
                                1a.«gta: Olabamtd fawyara mU11t roopply to Bar Admlaolons not 0.n.,..( Counael for rolnstatomont.

                                'Mtsaourt: Includes podUoM ratatod to dfac:lpUne, fffS. and reslontfons from lnacdve atalus.
                                           Case: 2:24-cv-01200-ALM-CMV Doc #: 3-1 Filed: 03/20/24 Page: 277 of 352 PAGEID #: 665
Nowmbar 2010                                                                                                                                      CHARTnl                                                                                           SUJW)' on Lawyat' Dladpllnt Sptama 2001
0 20-tO AlMrlcan Bat' AasodatJon                                                                                                                                                                                                                    ABA c.nterfor ProfffaJon.al RHpoMlbHlty
                                                                                                                                            REINSTAlEMEHT I
                                                                                                                                            READMISSION 2009




                                                                              Number cf htltlona-, Motion• or Requtiats for                                                                          Number of Petitions. Motions or Requests for
                                                    STATE                         RelnatatonwntJRudmlnlon FU.d                 Numbar Granted Aft., Dt1barrment   Number Granted After SuaP41nslon   Relnatattmenll'Roadmlaalon DenlodfDlfll'\nnd




                                                 NowJtrSOy                                        N/A                                          N!A'                              18                                      N/A




                                     Haw York: 1st Judldel O.partmtnt                              21

                                   N<w York: 2nd Judicial Dopal1menli!l!h
                                                  Dlsttlcl

                                          Now Yorl<: 2nd Judicial
                                          Depa11menl/Ulth Dlslrlet                                 18                                                                           e•

                                          New Yorl<: 2nd Judicial
                                    Department/2nd, 11th & 13th Dlalrleta                          15

                                     Now YOik: 3rd Judicial D11partment                            10


                                   Now York: 4th Judldal O.partmentf!th,
                                             71h & 8th Dlslrleta                                                                                                                                                          3

                                                North Catoffna

                                                North Dakota                                        0

                                                     Ohio                                                                                      N!A'                             2•                                        2

                                                  Oktahormi                                        14

                                                    Oregon                                        175 1                                         ••                              12                                       2'

                                                Ponn1yfvanla                                       84                                                                           11

                                                 Rhode ldand

                                                South Caroffna                                     12                                                                           11

                                                SoU1h Dakota                                                                                                                                                              0

                                                  TenneHN

                                                                                                                                                                                NIA

                                                     Utoh

                                                                                                                                                                                 0

                                                    Vbglnls                                                                                                                     NIA

                                                 Wuh1ngton                                         16

                                                 WH1Vbglnla

                                                  WJ1conaln                                        21                                           5                               16

                                                   Wyomlno



                                   'N•w .,.,.._,., Ohlo, Oftg-on: Disbarment ls pemu.mint.
                                   'New York: 2nd Judlclal 0.partmenU10th Dlatrkt: 1 attorney ratndatctd afte1 prior voluntary non.cfftcipllnary rnlgnaUon.
                                   'Ohio: Automatic r.lnatatmonts from "ttm1 1us941nt:lons" and "fndofinlte 1u1pan1lons."
                                   'e>r.aon: Not all relnatat.menb ara ,-Jated to d1Klpl'lnct.
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                         2010
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                                            CHART Ill: REINSTATEMENT/ READMISSION STATISTICS 2010




                                                                                                                    13. # of Petitions,
                                                         11. # of Petitions,
                                                                                                                        Motions or
                                                             Motions or        12a. # Granted
                                                                                                 12b. # Granted       Requests for
                        Jurisdiction                       Requests for             After
                                                                                                After Suspension     Reinstatement I
                                                          Reinstatement /       Disbarrment
                                                                                                                      Readmission
                                                         Readmission Filed
                                                                                                                   Denied / Dismissed

                           Alabama                               9                   2                 5                    2
                            Alaska                               1                   0                 2                    1
                            Arizona                              13                  0                 8                    0
                           Arkansas                              16                  0                 2                    1
                           California                            9                   1                N/A                   4
                           Colorado                              12                  0                 5                    3
                         Connecticut                            N/A                 N/A               N/A                  N/A
                           Delaware                               6                  0                 1                    1
                     District of Columbia                         1                  0                0                    3
                            Florida                              34                  2                16                   12
                            Georgia                               2                 N/A                1                    1
                            Hawaii                                1                  2                N/A                  0
                              Idaho                               1                  0                 0                   0
                             Illinois                            10                  0                 3                   6
                            Indiana                              6                   0                 3                    1
                               Iowa                              7                   0                 7                   0
                           Kentucky                               9                  0                 6                   1
                           Louisiana                             4                   0                4                    3
                             Maine                               2                   1                 7                   2
                           Maryland                               7                  0                 0                   7
                       Massachusetts                             35                  1                22                    2
                           Michii::Jan                            8                  2                4                     5
                          Minnesota                               8                  0                 6                    2
                          Mississippi                             3                  1                 0                    1
                            Missouri                             41                  0                19                    4
                           Montana                                1                  0                 1                    0
                           Nebraska                               6                  0                6                     0
                       New Hampshire                             2                   0                 2                    0
                         New Jersey                             N/A                  0                12                   N/A
                         New Mexico                              1                   0                 0                    1

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                                          CHART Ill: REINSTATEMENT/ READMISSION STATISTICS 2010




                                                                                                                     13. # of Petitions,
                                                          11. # of Petitions,
                                                                                                                         Motions or
                                                              Motions or        12a. # Granted
                                                                                                  12b. # Granted       Requests for
                        Jurisdiction                        Requests for             After
                                                                                                 After Suspension     Reinstatement I
                                                           Reinstatement I       Disbarrment
                                                                                                                       Readmission
                                                          Readmission Filed
                                                                                                                    Denied / Dismissed

           New York: 2nd Department/9th District                  6                   3                 1                    2
           New York: 2nd Department/10th District                 10                  1                 3                    5
        New York: 2nd Department/11th &13th Districts             10                  2                 3                    3
       New York:4th Judicial Departments/5th, 7th & 8th
                                                                  6                   0                 5                    1
                           Districts
                       North Carolina                             3                   0                 0                    3
                        North Dakota                              0                   0                 0                    0
                             Ohio                                N/A                  0                 4                    0
                         Oklahoma                                23                   0                10                    3
                           Oregon                                170                  0                20                    5
                        Pennsylvania                             131                  1                 8                   11
                        Rhode Island                               1                  1                 1                    0
                       South Carolina                            N/A                 N/A               N/A                  N/A
                       South Dakota                               0                   0                 0                    0
                         Tennessee                                4                   1                 3                    2
                            Texas                                 5                   1                N/A                   3
                             Utah                                 3                   0                 1                    0
                          Vermont                                  1                  0                 1                    0
                           VirQinia                               0                   0                NIA                   0
                         Washington                               14                  1                 11                   2
                        West Virginia                             2                   1                  1                   0
                         Wisconsin                                19                  4                 15                   3
                          Wyoming                                 0                   0                  0                   0
                           TOTAL                                 663                 28                229                  106
                         AVERAGE                                  14                  1                 5                    2
                          MEDIAN                                  6                   0                 3                    1




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                                        CHART Ill: REINSTATEMENT/ READMISSION STATISTICS 2010



                     CHART Ill NOTES
                        California                   Q12b: Reinstatement proceedings are not conducted for suspended lawyers.
                                                     Q12a: Disbarred lawyers must reapply to Bar Admissions not General Counsel for
                             Georgia
                                                     reinstatement.
                                                     Q12a: Includes petitions related to discipline, fees, and restorations from inactive
                             Missouri
                                                     status.
                New Jersey, Ohio, and Oregon         Q12a: Disbarment is permanent.
                                                     Q12b: Automatic reinstatements from "term suspensions" and "indefinite
                              Ohio
                                                     suspensions."
                                                     Q11 & Q13: Not all reinstatements are related to discipline. Q12b & Q13: Estimates.
                             Oreqon




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                          2011
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                                               CHART Ill: REINSTATEMENT/ READMISSION STATISTICS 2011



                                                                                                                         13. # of Petitions,
                                                              11. # of Petitions,
                                                                                                                             Motions or
                                                                  Motions or        12a. # Granted
                                                                                                      12b. # Granted       Requests for
                                Jurisdiction                    Requests for             After
                                                                                                     After Suspension     Reinstatement /
                                                               Reinstatement /       Disbarrment
                                                                                                                           Readmission
                                                              Readmission Filed
                                                                                                                        Denied / Dismissed

                                   Alabama                            11                  2                 6                    3
                                    Alaska                            0                   1                 0                    0
                                    Arizona                           8                   0                 17                   5
                                   Arkansas                           5                   0                 2                    0
                                   California                         5                   1                 0                    1
                                   Colorado                            3                  1                 6                    1
                                   Delaware                            1                  0                 0                    1
                             District of Columbia                      8                  1                 0                    3
                                    Florida                           29                  2                 13                  16
                                    Georgia                          N/A                 N/A                 1                   1
                                      Idaho                            2                  0                 1                   0
                                     Illinois                          6                  1                  1                  5
                                    Indiana                            6                  0                  6                   1
                                       Iowa                           11                  0                 11                  0
                                    Kansas                             3                  9                 8                   0
                                   Kentucky                           11                  0                 8                    1
                                   Louisiana                          10                  0                 1                    1
                                     Maine                             3                  2                 5                    2
                                   Maryland                           12                  0                 0                    7
                               Massachusetts                          16                  2                 16                   4
                                   Michigan*                          15                  0                 8                    4
                                  Minnesota                           13                 20                20                    2
                                  Mississippi                         2                   0                 0                    1
                                    Missouri                         119                  3                48                    9
                                   Montana                            0                   0                 0                    0
                                   Nebraska                            3                  3                 3                    0
                                    Nevada                            6                   0                 4                    1
                               New Hampshire                          0                   2                 0                    1
                                 New Jersey                           7                   0                 8                    1




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                                            CHART Ill: REINSTATEMENT/ READMISSION STATISTICS 2011



                                                                                                                         13. # of Petitions,
                                                               11. # of Petitions,
                                                                                                                             Motions or
                                                                   Motions or        12a. # Granted
                                                                                                       12b. # Granted      Requests for
                             Jurisdiction                        Requests for             After
                                                                                                      After Suspension    Reinstatement I
                                                                Reinstatement I       Disbarrment
                                                                                                                           Readmission
                                                               Readmission Filed
                                                                                                                         Denied I Dismissed

                            New Mexico                                 2                   0                 1                    1
            New York: 2nd Department/9th Judicial District             5                   3                 3                   2
           New York: 2nd Department/10th Judicial District             4                   3                 1                  N/A
          New York: 2nd Department/2nd, 11th & 13th Judicial
                                                                       10                  3                 2                   5
                              Districts
           New York:4th Department/5th, 7th & 8th Judicial
                                                                        9                  0                 6                    3
                              Districts
                           North Carolina                              11                  0                  7                  2
                            North Dakota                                1                  0                  1                  0
                                Ohio                                   12                 NIA                 8                   1
                               Oregon                                 134                 N/A                11                  4
                            Pennsylvania                              84                   2                 11                  18
                            Rhode Island                               2                   1                  0                  1
                           South Carolina                              0                   0                 0                   0
                           South Dakota                                0                   0                  1                  0
                             Tennessee                                 5                   0                 4                   0
                               Texas                                   9                   3                 3                   3
                                Utah                                   5                   1                  3                  1
                              Vermont                                  0                   0                 0                   0
                               Virginia                                2                   0                NIA                  0
                            Washington                                 6                   0                 4                   2
                            West Virginia                              6                   0                 2                   3
                             Wisconsin                                51                   0                 6                   24
                              Wyoming                                   1                  1                 0                    0
                              TOTAL*                                  674                  67               267                 141
                            AVERAGE*                                   13                   1                5                   3
                              MEDIAN*                                  6                   0                 3                   1




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                                              CHART Ill: REINSTATEMENT/ READMISSION STATISTICS 2011


                                                             *Please note that data was not received from the following jurisdictions by the
                                                             publication date: Connecticut, Hawai'i, Michigan (AGS), New York: 1st Dept.,
                             CHART Ill NOTES                 New York: 3rd Dept., and Oklahoma.
                                California                   Q12b: Reinstatement oroceedinas are not conducted for suspended lawvers.
                                                             Q12a: Disbarred lawyers must reapply to Bar Admissions not General Counsel for
                                 Georgia
                                                             reinstatement.
                                Minnesota                    Q12b: 3 from resignation.
                                Mississiooi                  011: 1 still pending.
                                                             Q12a: Includes petitions related to discipline, fees, and restorations from inactive
                                 Missouri
                                                             status.
                    New Jersey, Ohio, and Oregon             Q12a: Disbarment is permanent.
                           North Carolina                    011: 3 from disabilitv.
                           North Carolina                    Q13: 1 from disability.
                                                             Q12b: Automatic reinstatements from "term suspensions" and "indefinite
                                   Ohio
                                                             susoensions."
                                                             Q11: Includes lawyers seeking reinstatement for any reason - after disciplinary and
                                 Oregon                      administrative susoension inactive status and voluntarv resianation.
                                 Oregon                      Q12b: Includes onlv lawvers reinstated after disciolinarv susoensions.




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                          2012
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                                                      CENTER FOR PROFESSIONAL RESPONSIBLITY
                                                    SURVEY ON LAWYER DISCIPLINE SYSTEMS (S.O.L.D.)

                                               CHART Ill: REINSTATEMENT/ READMISSION STATISTICS 2012


                                                                                                                           13. # of Petitions,
                                                                11. # of Petitions,
                                                                                                                               Motions or
                                                                    Motions or        12a. # Granted
                                                                                                        12b. # Granted       Requests for
                                Jurisdiction                      Requests for             After
                                                                                                       After Suspension     Reinstatement I
                                                                 Reinstatement/        Disbarrment
                                                                                                                             Readmission
                                                                Readmission Filed
                                                                                                                          Denied / Dismissed

                                   Alabama                              10                  1                 6                    3
                                    Alaska                               1                  0                 1                    0
                                    Arizona                             19                  0                 2                    7
                                   Arkansas                             14                  0                 13                   1
                                  CalifomiaN
                                   Colorado                              8                  0                  4                   1
                                   Delaware                              3                  0                  0                  2
                             District of Columbia                        6                  5                  1                   1
                                    Florida                             29                  2                113                  16
                                    Georgia                              5                  1                  0                  0
                                    Hawai'i                              2                  0                  0                   1
                                     Idaho                               2                  0                 2                   1
                                     Illinois                            4                  0                  1                  3
                                    Indiana                              9                  2                  0                  3
                                      Iowa                              21                  0                21                   0
                                    Kansas                               1                  0                  1                  0
                                   Kentucky                             10                  0                 11                  1
                                   Louisiana                            10                  1                 7                   6
                                     Maine                               6                  0                 0                   0
                                   Maryland                              7                  1                 0                   6
                               Massachusetts                            27                  0                24                   3
                                  MichiganN                             10                  0                 4                    5
                                  Minnesota                             17                  0                 7                    4
                                 Mississippi                             2                 1N                 0                    0
                                  Montana                                2                  0                 0                    0
                                  Nebraska                               1                  0                 1                    0
                                   Nevada                                3                  0                2                     1
                                 New Jersey                             12                NIAN               12                    0

                                                                                             N = See Chart Notes



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                                                      SURVEY ON LAWYER DISCIPLINE SYSTEMS (S.O.L.D.)

                                                   CHART Ill: REINSTATEMENT/ READMISSION STATISTICS 2012


                                                                                                                               13. # of Petitions,
                                                                     11. # of Petitions,
                                                                                                                                   Motions or
                                                                         Motions or        12a. # Granted
                                                                                                             12b. # Granted      Requests for
                                    Jurisdiction                       Requests for             After
                                                                                                            After Suspension    Reinstatement I
                                                                      Reinstatement I       Disbarrment
                                                                                                                                 Readmission
                                                                     Readmission Filed
                                                                                                                               Denied I Dismissed

                                    New Mexico                               4                   1                 2                   1
                             New York: 1st Department                       103                 NIA               NIA                  2
                             New York: 2nd Department/
                                                                              5                  2                 2                    1
                                     9th District
                             New York: 2nd Department/
                                                                             11                  3                 5                   2
                                     10th District
                             New York: 2nd Department/
                                                                             11                  4                 3                   4
                              2nd, 11th & 13th Districts
                             New York:4th Department/
                                                                              5                  0                 4                    1
                               5th, 7th & 8th Districts
                                   North Carolina                             8                  0                 5                   1
                                    North Dakota                              0                  0                 0                   0
                                        Ohio                                  5                 NIAN               5                   0
                                      Oklahoma                                8                  3                 1                   4
                                      Oregon                                116N                NIAN               10                   1
                                    Pennsylvania                             88                  0                 12                  2
                                    Rhode Island                              0                  0                 0                   0
                                    South Dakota                              0                  0                 0                   0
                                     Tennessee                               13                  0                 5                   2
                                       Texas                                  8                  0                NIA                  2
                                        Utah                                  5                  1                 3                    1
                                      Vermont                                 0                  0                 0                   0
                                      Virginia                                2                  0                NIA                  0
                                     Washington                               6                  0                 4                   2
                                     Wisconsin                               20                 NIA                2                    1
                                      Wyoming                                 1                  0                 0                   1

                                                                 i                                 N = See Chart Notes
                                     TOTAL*                                 544                  27                296                 93
                                    AVERAGE*                                 11                   1                 6                  2
                                     MEDIAN*                                  6                  0                 2                    1


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                                                 SURVEY ON LAWYER DISCIPLINE SYSTEMS (S.O.L.D.)

                                             CHART Ill: REINSTATEMENT/ READMISSION STATISTICS 2012

                                                            The following jurisdictions did not provide any data by the publication date:
                                                            Connecticut, Michigan: Attorney Griveance Commission, Missouri, New
                             CHART Ill NOTES                Hampshire, New York: 3rd Department, South Carolina and West Virginia.
                                                            Relevant data can be viewed at:
                                                            http:/lwww.calbar.ca.gov/LinkClick.aspx?fileticket=XDTlFwaTMM%3d&tabid=224&
                                 California                 mid=1534
                                  Michigan                  Data provided by the Michigan Attorney Discipline Board.
                                 Mississiooi                Q12a: 1 pending.
                        New Jersey, Ohio, and Oregon        Q12a: Disbarment is permanent.
                                                            Q11: Includes lawyers seeking reinstatement for any reason - after disciplinary and
                                  Oregon                    administrative suspension, inactive status and voluntary resignation.




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                                                    SURVEY ON LAWYER DISCIPLINE SYSTEMS (S.O.L.D.)

                                               CHART Ill: REINSTATEMENT/ READMISSION STATISTICS 2013


                                                                                                                           13. # of Petitions,
                                                                11. # of Petitions,
                                                                                                                               Motions or
                                                                    Motions or        12a. # Granted
                                                                                                        12b. # Granted       Requests for
                                Jurisdiction                      Requests for             After
                                                                                                       After Suspension     Reinstatement/
                                                                 Reinstatement/        Disbarment
                                                                                                                             Readmission
                                                                Readmission Filed
                                                                                                                          Denied / Dismissed

                                   Alabama                              12N                 0                 1                    4
                                    Alaska                               2                  1                 1                    2
                                    Arizona                              14                 1                 3                    6
                                  Arkansas                               9                  0                 9                    0
                                  CalifomiaN
                                   Colorado                              6                  1                 1                    2
                                   Delaware                              5                  0                 0                    0
                             District of Columbia                        5                  1                 4                    1
                                    Florida                             20                  1                 8                    8
                                    Georgia                             17                  2                 2                    1
                                    Hawai'i                              1                  0                 2                    1
                                     Idaho                               1                  0                 0                    1
                                     Illinois                            9                  0                 6                    3
                                    Indiana                              4                  1                 0                    4
                                      Iowa                              21                  0                20                    1
                                    Kansas                               6                  0                 6                    0
                                   Kentucky                             12                  0                 1                    3
                                   Louisiana                            11                  1                15                    3
                                     Maine                              2                   0                 0                    0
                                   Maryland                             15                  4                 5                    6
                               Massachusetts                            28                  3                21                    4
                                  MichiganN                             11                  0                 5                    3
                                  Minnesota                             23                  1                13                    3
                                  Mississippi                            2                  0                 1                    0
                                   Montana                               1                  1                 0                    0
                                   Nebraska                              2                  0                 1                    0
                                  Nevada                                5N                  0                  1                   2
                                 New Jersey                             12                N/~                 12                   0
                                                                                             N = See Chart Notes



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                                                  SURVEY ON LAWYER DISCIPLINE SYSTEMS (S.O.L.D.}

                                               CHART Ill: REINSTATEMENT/ READMISSION STATISTICS 2013


                                                                                                                        13. # of Petitions,
                                                              11. # of Petitions,
                                                                                                                            Motions or
                                                                  Motions or        12a. # Granted
                                                                                                      12b. # Granted      Requests for
                                Jurisdiction                    Requests for             After
                                                                                                     After Suspension    Reinstatement /
                                                               Reinstatement/        Disbarment
                                                                                                                          Readmission
                                                              Readmission Filed
                                                                                                                        Denied / Dismissed

                                New Mexico                            2                   0                 1                    1
                         New York: 1st Department                    114                 N/A               N/A                  6
                         New York: 2nd Department/
                                 9th District                          5                  0                 5                    0
                         New York: 2nd Department/
                                 10th District                         7                  1                 2                    5
                         New York: 2nd Department/
                          2nd, 11th & 13th Districts                  15                  2                 6                    7
                         New York:4th Department/
                           5th, 7th & 8th Districts                    6                  0                 6                   0
                               North Carolina                          8                  1                 7                   3
                                North Dakota                           2                  0                 1                   1
                                     Ohio                              1                NIAN                1                   1
                                  Oklahoma                            10                  0                 1                   3
                                   Oregon                            12QN               NIAN                9                   1
                                Pennsylvania                          80                  3                 8                   2
                                Rhode Island                           3                  1                 1                   1
                                South Dakota                           1                  0                 0                   0
                                 Tennessee                             9                  0                 3                   0
                                    Texas                              8                  6                N/A                  0
                                     Utah                              5                  0                 5                   1
                                  Vermont                              3                  1N                0                   0
                                   Virginia                            1                   1               N/A                  0
                                 Washington                           11                  0                 8                   3
                                  Wisconsin                           30                  0                 0                   4
                                  Wyoming                              0                  0                 0                   0
                                                                                          N = See Chart Notes




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                                                  CENTER FOR PROFESSIONAL RESPONSIBLITY
                                                SURVEY ON LAWYER DISCIPLINE SYSTEMS (S.O.L.D.)

                                            CHART Ill: REINSTATEMENT/ READMISSION STATISTICS 2013

                                                           The following jurisdictions did not provide any data by the publication date:
                                                           Connecticut, Michigan: Attorney Grievance Commission, Missouri, New
                             CHART Ill NOTES               Hampshire, New York: 3rd Department, South Carolina, and West Virginia.
                                Alabama                    One attorney who had been on disability inactive status was reinstated.
                                                            Relevant data can be viewed at:
                                                           http://www.calbar.ca.gov/LinkClick.aspx?fileticket=UR09RvplNv4%3d&tabid=224&
                                California                 mid=1534
                                Michigan                   Data provided by the Michigan Attorney Discipline Board.
                                 Nevada                    Q11: Includes two petitions for reinstatement after disability.
                       New Jersey, Ohio, and Oregon        Q12a: Disbarment is permanent.
                                                           1u11: Includes lawyers seeking reinstatement for any reason-after dIscIp11nary and
                                 Oregon                    administrative suspension, inactive status and voluntary resignation.
                                 Vermont                   Q12a: 2 pending at the start of FY 2014.




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                                                                     CENTER FOR PROFESSIONAL RESPONSIBILITY
                                                                   SURVEY ON LAWYER DISCIPLINE SYSTEMS (S.O.L.D.)

                                                                    CHART IV: REINSTATEMENT/ READMISSION 2014




                                                                      12. # of PetHlons,
                                                                                                                                13c. # Granted
                                                                          Motions or       13a. # Granted
                                                                                                             13b. # Granted    After Transfer to     14. #Denied/
                                               Jurisdiction             Requests for            After
                                                                                                            After Suspension   Dlsabllity Inactive    Dismissed
                                                                       Reinstatement I      Disbarment
                                                                                                                                    Status
                                                                      Readmission Flied

                                                  Alabama                    12                  2                 18                  3                  11
                                                   Alaska                     1                  0                 1                   0                  0
                                                   Arizona                   10                  0                 7                   0                  6
                                                  Arkansas                    7                  0                 1                   0                  0
                                                  Colorado                   8                   0                 4                   0                  2
                                                  Delaware                    8                  0                  3                  0                  4
                                            District of Columbia              3                  0                  3                  0                  1
                                                   Florida                   28                  2                 11                  1                 14
                                                   Georgia                    2                  0                  3                 NIA                NIA
                                                   Hawal'I                    2                  0                  0                  0                  0
                                                     Idaho                   2                   0                  0                  0                  1
                                                    Illinois                  4                  0                  1                  0                  6
                                                   Indiana                   8                   0                  0                  0                  5
                                                      Iowa                   10                  0                 10                  0                  0
                                                  Kentuckv                   10                  0                  1                  0                  2
                                                  Louisiana                  6                   0                 14                  2                  2
                                                    Maine                    3                   0                  0                  0                  1
                                                  Marv1and                   22                  2                  9                  0                 13
                                              Massachusetts                  22                  1                 14                  0                  3
                                                  Mlchlaan                    8                  1                  3                  1                  4
                                                 Minnesota                    9                  0                 9                  NIA                 5
                                                 Misslsslool                  0                  0                0                    0                  0
                                                   Missouri                  132                NIA               34                  66                  9
                                                  Montana                     1                  0                 0                   0                  1
                                                  Nebraska                    4                  1                3                    0                  0
                                             New Hampshire                    1                  0                0                    0                  1




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                                                                         CENTER FOR PROFESSIONAL RESPONSIBILITY
                                                                       SURVEY ON LAWYER DISCIPLINE SYSTEMS (S.O.L.D.)

                                                                        CHART IV: REINSTATEMENT/ READMISSION 2014




                                                                           12. # of Petitions,
                                                                                                                                      13c. # Granted
                                                                               Motions or        13a. # Granted
                                                                                                                   13b. # Granted    After Transfer to     14. #Denied/
                                                Jurisdiction                 Requests for             After
                                                                                                                  After Suspension   Disability Inactive     Dismissed
                                                                            Reinstatement/        Disbarment
                                                                                                                                          Status
                                                                           Readmission Flied


                                                NewJerse                           12                 NIA                12                  0                  0
                                                New Mexico                         3                   0                 3                   0                  0
                                                  Nevada                           6                   0                 4                   0                  0
                                         New York: 2nd DepartmenU
                                                 9th District                       3                  0                 3                   0                  0
                                         New York: 2nd DepartmenU
                                                10th District                      11                  4                                    N/A                 2
                                         New York: 2nd DepartmenU
                                          2nd, 11th & 13th Districts               4                   0                 0                  N/A                 4

                                         New York: 3rd De artment                  56                                    53                 N/A                 3
                                         New York: 4th DepartmenU
                                           5th, 7th & 8th Districts                 5                  0                 3                   0                  2
                                               North Carolina                       7                  0                 2                   1                  2
                                                 Oklahoma                           6                  0                 2                   0                  1
                                                   0    on                         180                NIA                10                  0                  0
                                                Penns vanla                        92                  2                 11                  0                  9
                                                Rhode Island                        3                  1                 1                  N/A                 1
                                               South Carolina                       8                  0                 7                   1                  1
                                                South Dakota                        0                  0                 0                   1                  0
                                                 Tennessee                          2                  0                 2                    0                 2
                                                    Texas                            1                 5                NIA                  0                  0
                                                     Utah                           7                  0                 3                    0                 4
                                                                                    2                  0                 0                    2                 0
                                                                                     1                 2                NIA                   1                 1
                                                                                    12                 0                 7                    0                 5
                                                                                    2                  0                 1                  N/A                 1
                                                                                   34                  0                 2                  19                  3
                                                                                    1                  0                 1                   0                  0




                                                                                          CHART IV NOTES

                                                                          Relevant data can be viewed at:
                                                 California               h :l/www.calber.ca. ov/LinkCllck.as x?flletickel=zZMLDYTCmJQ%3d&tabid=224&mld=1534.
                                                 Minnesota                Q14: 1 after resl nation.
                                                  Missouri                Q13c: Reinstated after transfer to Inactive status. NOT dlsablllt inactive status.
                                           New Jerse and O      on        Q13a: Disbarment is ermanent.
                                                   Texas                  Q13a: Petitions for reinstatement filed.



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                         2015
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                                         12. # of Petitions,
                                             Motions or                                            13c. # Granted
                                                                  13a. #
                                           Requests for                         13b. # Granted    After Transfer to     14. #Denied/
              Jurisdiction                                     Granted After
                                          Reinstatement /                      After Suspension   Disability Inactive     Dismissed
                                                                Disbarment
                                           Readmission                                                 Status
                                             Filed:2015
                Alabama                          11                 2                 4                   0                  5
                 Alaska                           1                 0                  1                  0                  0
                 Arizona                         10                 0                  7                  0                  4
                Arkansas                         11                 0                 11                  0                  0
                Colorado                          9                  1                 2                  0                  4
                Delaware                          1                N/A               NIA                 NIA                NIA
          District of Columbia                   4                   2                2                   0                  1
                 Florida                         17                  1                16                  0                  5
                 Georgia                          7                  1                6                  NIA                 0
                 Hawai'i                          1                  0                0                   0                  0
                   Idaho                          2                  0                 1                  0                  0
                  Illinois                       8                   0                2                   0                  6
                 Indiana                          7                  0               NIA                 N/A                 2
                  lowaN                           5                  0                5                   0                  0
                Kansas                            3                  1                 2                  0                  0
               Kentucky                           1                  0                 1                  0                  1
               Louisiana                          7                  1                10                  1                  4
                Maine                             3                  0                0                   0                  1
               Marvland                          13                  2                3                   0                  8
             Massachusetts                       21                  1                16                  1                  3
               Michigan                          15                  1                7                   0                  5


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                                         12. # of Petitions,
                                             Motions or                                            13c. # Granted
                                                                  13a. #                                                14. # penled /
                                           Requests for                         13b. # Granted    After Transfer to
              Jurisdiction                                     Granted After                                             Dismissed
                                          Reinstatement /                      After Suspension   Disability Inactive
                                                                Disbarment
                                           Readrnlssion                                                Status
                                             Filed: 2015
            MinnesotaN                          17                  0                13                   0                   3
            Mississiooi                          0                  0                 0                   0                   0
             MissouriN                          106                 1                27                  52                  11
             Montana                             0                 N/A               N/A                 N/A                 N/A
             Nebraska                            6                  0                 3                   0                   2
          New Hampshire                          1                  0                 1                   0                   1
           New JersevN                          21                 N/A               21                   0                   0
           New Mexico                            7                  0                 5                   1                   1
      New York: 1st Department                  20                 N/A               16                  N/A                  1
     New York: 2nd Department/
      2nd, 11th & 13th Districts                 10                  3                2                   0                   5
     New York: 2nd Department/
            9th District                          8                 2                 5                   0                   1
     New York: 2nd Department/
           10th District                          6                 4                 1                   0                   2
      New York: 3rd Department                   50                 0                50                  N/A                  0
      New York: 4th Department/
       · 5th, 7th & 8th Districts                11                 0                 8                   0                   3
             North Carolina                      15                 1                12                   0                   5
              North Dakota                        0                 8                 7                   0                   0
                  Ohio                            8                N/A               6                   N/A                  1


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                                         12. # of Petitions,
                                             Motions or                                            13c. # Granted
                                                                  13a. #
                                           Requests for                         13b. # Granted    After Transfer to     14. #Denied/
              Jurisdiction                                     Granted After
                                          Reinstatement /                      After Suspension   Disability Inactive    Dismissed
                                                                Disbarment
                                           Readmission                                                 Status
                                             Filed:2015
               Oklahoma                           9                 0                 3                   0                   3
                OregonN                         203                 0                 13                  0                   0
             Pennsylvania                       112                 2                 12                  0                  11
              Rhode Island                       0                  0                 0                   0                   0
             South Carolina                      5                  0                 4                   0                   0
               Tennessee                         18                 0                 19                   1                  1
                 Texas                           0                  0                 0                   0                   0
                  Utah                           4                  0                 4                   1                   2
                Vermont                          0                  0                 0                   0                   0
                Virninia                         0                  0                NIA                  0                   0
              Washington                         12                 0                 10                  0                   0
              West Virginia                       1                 0                  1                  0                   0
               Wisconsin                         36                NIA                16                 NIA                  5
                Wvomina                           2                  1                0                   0                  0


                TOTAL*                          845                 35               355                 57                 107
               AVERAGE*                          16                  1                7                   1                  2
                MEDIAN*                          7                  0                 5                   0                  1
              *=estimated




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                                                                                                                           3 I '

                                                                                                                                       24
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                                                                 CHART IV NOTES

 NIA = Data not available or applicable

 Connecticut, Nevada, and South Dakota had not provided data by the publication date.

                                         Relevant data can be viewed at:
                California               htto://www.calbar.ca.Qov/LinkClick.asox?fileticket=zZMLDYTCmJQ%3d&tabid=224&mid=1534.
                  Iowa                   Q12 & Q13b: Estimated.
                Minnesota                Q14: 1 reinstated after resignation.
              Missouri                   Q13c: Reinstated after transfer to inactive status, NOT disability inactive status.
       New Jersey and Oreqon             Q13a: Disbarment is permanent.




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                          2016
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                                         12. # of Petitions,
                                             Motions or                                               13c. # Granted
                                                                  13a. #
                                            Requests for                          13b. # Granted      After Transfer to    14. # Denied /
              Jurisdiction                                     Granted After
                                          Reinstatement /                         After Suspension   Disability Inactive     Dismissed
                                                                Disbarment
                                           Readmission                                                     Status
                                               FlledN
               Alabama                            9                  3                   3                   3                   5
                 Alaska                           0                  0                   0                   0                   0
                Arizona                          6                   1                   2                    1                  2
               Arkansas                          2                   0                   2                   0                   0
               Colorado                          9                   0                   3                   0                   7
               Delaware                          3                   0                   0                   0                   0
         District of Columbia                    3                   2                   l                   0                   2
                 Florida                         14                  0                   13                  l                   9
                Georaia                          4                   2                   0                   0                   0
                 Hawai'i                         0                   0                   0                   0                   1
                  Idaho                          4                   0                   3                   0                   0
                  Illinois                       3                   0                   1                   0                   2
                Indiana                          3                   2                  N/A                 N/A                  l
                   Iowa                          5                   1                   4                   0                   0
                 Kansas                          4                   0                   4                   0                   l
               Kentucky                          9                   0                   l                   0                   2
               Louisiana                         9                   l                   16                  0                   l
                 Maine                           8                   0                   2                   0                   0
               Maryland                          13                  3                   4                   0                   6
               Michioan                          3                   0                   2                   0                   5
               Minnesota                         25                  0                   18                  0                  SN
                                                                  * = Estimated
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                                         12. # of Petitions,
                                             Motions or                                               13c. # Granted
                                                                  13a. #
                                            Requests for                          13b. # Granted      After Transfer to    14. # Denied /
              Jurisdiction                                     Granted After
                                          Reinstatement /                         After Suspension   Disability Inactive     Dismissed
                                                                Disbarment
                                           Readmission                                                     Status
                                               FlledN
             Mississinni                          3                 0                    0                    1                  2
              Missouri                          146                 0                   21                  107N                 7
             Montana                              0                 0                    0                    0                  0
             Nebraska                             5                  2                   1                    1                  3
         New Hampshire                             l                0                    0                   0                   0
            New Jersev                            12                ]N                   11                  0                   0
            New Mexico                             1                 0                   1                   0                   0
     New York: 2nd Department
      2nd, 11th & 13th Districts                 22                  6                   7                   0                   9
     New York: 2nd Department
            9th District                          5                  3                   2                   0                   2
     New York: 2nd Department
           10th District                         12                  1                   3                   0                   9
     New York: 3rd Department                    40                  1                  34                  N/A                  4
     New York: 4Ih Department
       5th, 7th & 8'h Districts                  9                   0                   8                   0                   1
          North Carolina                         9                   1                   7                   0                   1
           North Dakota                          0                  0                    0                   0                   0
                Ohio                             19                 0                    19                 N/A                  0
             Oklahoma                            11                 0                    6                   0                   1
               Oreqon                           164                 ON                   9                   2                   0
                                                                  * = Estimated
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                                                                                                                               21
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                                         12. # of Petitions,
                                            Motions or                                               13c. # Granted
                                                                  13a. #
                                           Requests for                          13b. # Granted      After Transfer to    14. # Denied /
               Jurisdiction                                    Granted After
                                          Reinstatement /                        After Suspension   Disability Inactive     Dismissed
                                                                Disbarment
                                           Readmission                                                    Status
                                               FlledN
             Pennsylvania                       129                 2                   9                   26                  6
             Rhode Island                        2                  1                   0                   0                   1
            South Carolina                       5                  0                   5                   0                   1
            South Dakota                         2                  0                   0                   1                   1
              Tennessee                          11                 0                   10                  1                   0
                Texas                            0                  0                   0                   0                   0
                 Utah                            3                  0                   0                   0                   2
               Vermont                            1                 0                   0                   4                   0
               Virginia                          3                  0                   0                   0                   0
             Washinaton                          24                 0                   13                  0                   2
             West Virginia                       2                   1                   1                  0                   1
              Wisconsin                          40                  0                  2                   0                   4
              Wvomino                             l                  0                  1                   0                   0
                                                                 • = Estimated
                TOTAL*                          818                 33                 249                 148                 106
               AVERAGE*                          16                 1                   5                   3                   2
               MEDIAN*                           5                  0                   2                   0                   1




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                                                                CHART IV NOTES

 NIA= Data not available or applicable

 Connecticut, Nevada, and New York: 1st Department had not provided data by the publication date. Massachusetts was unable
 to provide data this year because ~fan IT system upgrade. Please derive California data from these     .1.1. H        ',I   {\i.. ~:.\'.•




 General: Total Petitions/Motions/Requests granted or denied may exceed the number filed in 2016, as those may be
 Petitions/Motions/Requests filed prior to 2016 that were not resolved until that year.

            Minnesota                    Q14: 2 reinstated after resianation.
             Missouri                    Q 13c: Reinstated after transfer to inactive status, NOT disability inactive status.
      New Jersey and Oregon              Q13a: Disbarment is oermanent.




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                      Jurisdiction                           12. # of Petitions,      13a. #       13b. # Granted      13c. # Granted       14. # Denied /
                                                                 Motions or        Granted After   After Suspension    After Transfer to      Dismissed
                                                                Requests for        Disbarment                        Dlsablllty Inactive
                                                              Reinstatement /                                               Status
                                                               Readmission
                                                                   FiledN
                      Alabama                                        13                 0                 3                   2                    5
                        Alaska                                       2                  0                 l                   l                    l
                       Arizona                                       26                 0                 9                   0                    2
                      Arkansas                                       2                  0                 2                   0                    0
                      Colorado                                       3                  0                                     6                    l
                      Delaware                                       4                  0                 l                                        2
                District of Columbia                                 7                   l                3                   5                    2
                        Florida                                      16                  2                14                  0                    5
                       Georgia                                       5                  0                 4                  NIA                   1
                       Hawai'i                                       l                  0                  l                  0                    0
                        Idaho                                        4                  0                 5                   0                    0
                        Illinois                                     3                  l                  l                  0                    1
                       Indiana                                       5                  2                N/A                 N/A                   3
                         Iowa                                        2                  0                                     0
                        Kansas                                       2                  0                 1                   0
                      Kentucky                                       9                  0                 0                   0                    l
                      Louisiana                                      6                  l                 7                   2                    2
                        Maine                                         7                 0                 0                   0                    1
                      Maryland                                       16                  2                5                                        8
                      Minnesota                                      11                                   6                                        2

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                         Jurisdiction                      12. # of Petitions,      13a. #       13b. # Granted      13c. # Granted       14. #Denied/
                                                               Motions or        Granted After   After Suspension    After Transfer to      Dismissed
                                                              Requests for        Disbarment                        Disability Inactive
                                                            Reinstatement /                                               Status
                                                             Readmission
                                                                 FlledN

                           Mississippi                             15                 0                 12                  3                  3



                   Missouri                                        4                   4                7                   0                  2
                  Nebraska                                        140                  l                43                 78N                 4
                   Nevada                                           5                  1                2                   1                  4
             New Hampshire                                          4                N/A                4                   1                  4
                New Jersey                                                            0                 0                   0                  1
                New Mexico                                         19                 0                 19                  0                  0
         New York: 2 nd Department                                  3                 0                 3                   0                  0
          2nd' 11 1h & 131h Districts
         New York: 2nd Department
                  9th District                                     18                 2                 4                   0                  7
         New York: 2 nd Department
                 10th District                                      6                 2                                     0                  3
         New York: 4111 Department
           5th, 7111 & s111 Districts                              8                  0                 3                  N/A                 5




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                            Jurisdiction                                12. # of Petlttons,      13a. #       13b. # Granted      13c. # Granted       14. # Denied /
                                                                            Motions or        Granted After   After Suspension    After Transfer to      Dismissed
                                                                           Requests for        Disbarment                        Disability Inactive
                                                                         Reinstatement /                                               Status
                                                                          Readmission
                                                                              FiledN

                           North Carolina
                                                                                 4                 0                 3                   0


                          North Dakota                                          14                                   8                   0                   2

                                    Ohio                                         0                  4                3                  N/A                 N/A

                            Oklahoma                                            14                N/A                14                  0                   0
                             Oregon                                             lO                  0                0                   0                   2
                           Pennsylvania                                        205                 ON               89                   0                   0
                           Rhode Island                                        120                  6                11                  3                   11
                            Tennessee                                            2                 0                  1                  0                   l
                              Texas                                              5                 0                 5                   0                   0
                               utah                                              0                 0                 0                   0                   0
                             Vermont                                             3                 0                 1                                       3
                             Virginia                                                              0                 0                                       0
                            Washington                                                             0                N/A                  2                   0




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Jurisdiction         12. # of Petitions,      13a. #       13b. # Granted      13c. # Granted       14. #Denied/
                         Motions or        Granted After   After Suspension    After Transfer to      Dismissed
                        Requests for        Disbarment                        Disability Inactive
                      Reinstatement /                                               Status
                       Readmission
                           FlledN
West Virginia                15                 0                 13                  0                  0
  Wisconsin                  3                  0                 3                   0                  l
  Wyoming                    36                 0                 2                   0                  9
* = Estimated                5                  0                 4                   0                  0
    TOTAL*                  805                 31              320                  31                 102
  AVERAGE*                 32.857              1.347           13.617               1.409               4.25
 MEDIAN                      6                      0            3                     0                       4
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                                                             CHART IV NOTES

N/ A = Data not availoble or applicable

Please_ derive California data from these , ,,

General: Toto! Petitions/Motions/Reques1s gronted or denied may exceed the number filed in 2017, as those may be
Petitions/Motions/Requests filed prior to 2017 that were not resolved until tha1 year.

           Missouri                  Q 13c: Reinstated ofter transfer to inactive status, NOT disability inactive status.
    New Jersey and Oregon            Ql 3a: Disbarment is permanent.




                                                                                                                            'i I F'nqc
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                         2018
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                                         12. # of Pettttons,
                                                                                                    13c. # Granted
                                            Motions or         13a. # Granted
                                                                                13b. # Granted      After Transfer to    14. # Denied /
               Jurisdiction                Requests for             After
                                                                                After Suspension   Dlsablllty Inactive     Dismissed
                                          Reinstatement /        Disbarment
                                                                                                         Status
                                         Readmission Flied
                Alabama                          8                   0                 2                   3                   3
                  Alaska                         3                   0                 1                   0                   0
                 Arizona                         12                  0                 8                    1                  4
                Arkansas                         2                   0                 2                   0                   0
                Colorado                         2                   0                 2                   0                   0
                Delaware                          3                  0                 0                   2                   1
          District of Columbia                    5                  3                 2                   0                   1

                 Florida                          9                  1                 7                    1                  10
                 Georaia                         13                  12                4                  N/A                  1
                 Hawai'i                          2                  0                 1                   0                   0
                  Idaho                           2                  0                 2                   0                   0
                   Illinois                       3                  2                 1                   0                   2
                  Indiana                         3                  2                N/A                 N/A                  0
                    Iowa                          2                  0                 2                   0                   0
                   Kansas                         1                  0                 1                   0                   0
                 Kentuckv                        14                  0                 7                   0                   0
                 Louisiana                        8                  3                 14                  4                   1
                   Maine                          4                  0                 3                   0                   1
               Maryland                          15                  0                 5                   0                   9
             Massachusetts                       11                  1                 4                   2                   4
               Michiaan                          12                  0                 9                   0                   1
                                                                     *-- Estimated
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                                         12. # of Petitions,
                                                                                                    13c. # Granted
                                             Motions or        13a. # Granted
                                                                                13b. # Granted      After Transfer to    14. #Denied/
                Jurisdiction                Requests for            After
                                                                                After Suspension   Disability Inactive     Dismissed
                                          Reinstatement /        Disbarment
                                                                                                         Status
                                         Readmission Flied
               Minnesota                         13                  0                  6                  0                  5
                 Missouri                       145N                 l                 27                 N/A                11
                Montana                           1                  0                  1                  0                  0
               Nebraska                           2                  0                  1                  0                  1
                 Nevada                           5                  0                 3                   3                  2
           New Hampshire                          2                  0                  l                  0                  0
              New Jersey                         12                  0                 12                  0                N/AN
              New Mexico                          1                  0                  1                  0                  0
      New York: 2nd Department
       2nd, 11 lh & 13th Districts               14                  2                 4                   0                  5
      New York: 2nd Department
                9th District                      1                  0                 0                   0                  1           -
      New York: 2nd Department
               10lh District                     12                  1                 4                   0                  3
      New York: 4th Department
                                                 4                   0                 3                   0                  1
         5th, 7th & 8th Districts
             North Carolina                      8                   0                 6                   2                  0
             North Dakota                         1                  0                 1                   0                  0
                  Ohio                           0                  N/A               N/A                 N/A                 0
              Oklahoma                           8                   0                 2                   5                  5
                Oreqon                          236                  0                100                  0                  0
                                                                     * = Estimated
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                                                                                                                                        271
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                                         12. # of Petitions,
                                                                                                      13c. # Granted
                                            Motions or
                                                               13a. # Granted     13b. # Granted      After Transfer to
              Jurisdiction                  Requests for                                                                   14. # Denied / Dismissed
                                                               After Disbarment   After Suspension   Disability Inactive
                                          Reinstatement /
                                                                                                           Status
                                         Readmission Flied
             Pennsvl vania                      163                   1                  4                   0                        6
             Rhode Island                        2                    l                  l                  NIA                       0
            South Carolina                       7                    l                  5                   0                        2
               Tennessee                          7                   0                  7                   0                        l
                  Texas                          8                    2                  66                  0                        3
                   Utah                          8                    0                  5                    l                       l
                                                                                                                     '
                Vermont                          0                   NIA                NIA                 NIA                      NIA
                 Viroinia                         l                   0                 NIA                  1                        1
              Washinqton                         17                   0                  13                  0                        0
                Wisconsin                        40                   0                  2                   0                        8
                Wvominq                           2                   0                  l                   0                        1
                                                                      * = Estimated
                 TOTAL*                         854                  33                 353                  25                      95
               AVERAGE*                          17                   1                  8                    1                       2
                MEDIAN*                           5                   0                  3                   0                        1




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                                                                  CHART IV NOTES

   NIA= Data not available or applicable

   Connecticut, Mississippi, New York: 3rd Department, South Dakota, and West Virginia had not provided data by the publication date. Please
   derive California data from these        .:.;(__ ) ( _:_1 '-.. (-~.:-~.




                                          Q12: 94 of the 145 reinstatements were Return to Active Reinstatements. Those individuals apply for
                                          reinstatement under Missouri Supreme Court Rule 6.06 but have not been suspended or disbarred. In
                                          2018, 83 of the 94 applicants returned to active status. The remaining 11 were pending at the end of
                   Missouri               2018.
                  New Jersey              Q 14: The Disciplinary Review Board handles this category.




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                          2019
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               Alabama                      6                                5              0
                 Alaska                     3               0                               0                    0
                Arizona                     4               0                4              0                    4
               Arkansas                     7               0                0              0                    0
              CaliforniaN                  N/A             N/A              N/A            N/A                  N/A
               Colorado                     5               0                2              0                    2
            Connecticut                     2               l                               0                   N/A
               Delaware                     2               0                               0                     l
         District of Columbia               12              5                7              0                    6
                 Florida                   23               0               11              0                    12
                Georgia                     4              N/A               4             N/A                  N/A
                 Hawai'i                     1              0                               0                    0
                  Idaho                     3               0                3              0                    0
                   Illinois                 6               0                l              0                    5
                 Indiana                    5               0               N/A            N/A                   3
                    Iowa                    4               0                4              0                    0
                  Kansas                    3               3                3              l                    0
                Kentucky                    1l              0                2              0
                                                            * = Estimated

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                Louisiana                  8               9               26              3                     0
                  Maine                                    0               0               0                     0
                Ma land                    18              0               8               0                     10
                Michi an                   11              2               6               0                     1
               Minnesota                   13              0               9               0
                Mississi                   4               0                0              0                     0
                 Missouri                                 N/A              110            N/A                    14
                Montana                                    0                               0                     0
                Nebraska                                                   0               8                     0
                 Nevada                    4               0               4               2                     0
            New Ham shire                                  0                               0
            New Mexico                     3               0               3               0                     0
     New York: 2nd Department
       2nd, 11th & 13th Districts
                                           13              3               4              N/A                    6

     New York: 2nd Department              3                               0               0                     2
            9th District
     New York: 2nd Department              19              6               11              0                     6
            1Q1h District
                                                           * = Estimated

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     New York: 4th Department
        5th , 7th & 8th Districts           4               2               2             N/A                  0
             North Carolina                 9               0                              2                   6

             North Dakota                   0               0              0               0                   0
                 Ohio                       9             N/A              12             N/A                  0
              Oklahoma                      3               0              0               2                   3
                                           327            N/AN             11              1
                                            15              2              10              0                   2
              Rhode Island                 24              0                3             N/A                  0
               Tennessee                    10             0                8              1                   1
                 Texas                      10             3               31              0                   0
                   Utah                     7             N/A               1             N/A                  2

               Vir inia                      1             0               N/A             5
              Washin ton                   19               0              15              0                   1
                                           39               1               1              0                   7
                                            0              0                0                                  0
                                                           * = Estimated




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                                                                 CHART IV NOTES

 NIA= Data not available or applicable

 Massachusetts, New Jersey, New York: 1st Department, New York: 3rd Department, South Carolina. South Dakota, Vermont, and West
 Virginia had not provided data by the publication date. Please derive California data from these ll  "
                                                                                                          ,',




                   Maine                 Q 12: All administratively reinstated.
                                         Q 12: 99 of the 142 reinstatements were Return to Active Status Reinstatements. Those individuals
                                         apply for reinstatement under Missou,i Suure,ncCourt l<ule{,.()6 but have not been suspended or
                   Missouri              disbarred. In 2019, 87 of the 99 applicants returned to active status. 9 applications were dismissed
                                         and 1 was still pending at the end of 2019.
                   Oregon                13a: Disbarment is permanent.




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                       APPENDIXL
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             REINSTATEMENT CRITERIA (BY JURISDICTION)-7/20/2022

   State/Territory     Permanent                                 Criteria
                      Disbarment?
   Alabama           No              Alabama Rule of Disciplinary Procedure, accessed here,
                                     Rule 28 addressing Reinstatement, accessed here and its
                     Can seek        Appendix A, accessed here.
                     reinstatement
                     after 5 years   The petitioner shall have the burden of demonstrating by
                                     clear and convincing evidence that he or she has the moral
                                     qualifications to practice law in this state and that his or her-
                                     resumption of the practice of law within the state will not be
                                     detrimental to the integrity and standing of the Bar or the
                                     administration of justice, and will not be subversive to the
                                     public interest.

                                     Potential Requirements:
                                     (1) Restitution;
                                     (2) Payment of the costs of reinstatement proceedings;
                                     (3) Probation or limitation upon practice;
                                     (4) Appointment of a probation supervisor, monitor, or
                                     trustee or receiver;
                                     (5) Proof of passage of the bar examination, the professional
                                     responsibility examination, or both, or any other proof of
                                     competency deemed appropriate by the Disciplinary Board;
                                     (6) Attendance at continuing legal education courses in
                                     addition to the annual mandatory continuing legal education
                                     requirement; and
                                     (7) Any other requirement that the Disciplinary Board deems
                                     appropriate.

   Alaska            No              Alaska Bar Rule 29, accessed here

                     Can seek        Petitioner will have the burden of demonstrating by clear and
                     reinstatement   convincing evidence that (s)he has the moral qualifications,
                     after 5 years   competency, and knowledge of law required for admission to
                                     the practice of law in this State and that his or her
                                     resumption of the practice of law in the State will not be
                                     detrimental to the integrity and standing of the Bar, or to the
                                     administration of justice, or subversive of the public interest.

                                     The retaking and passing of Alaska's general applicant bar
                                     examination will be conclusive evidence that the Petitioner
                                     possesses the knowledge of law necessary for reinstatement
                                     to the practice of law in Alaska.



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      Arizona        No                Arizona Rules of the Supreme Court 64

                     Can seek          In order to be reinstated to the active practice of law, a
                     reinstatement     disbarred lawyer must pass the bar exam and show by clear
                     after 5 years     and convincing evidence that the lawyer has been
                                       rehabilitated and possesses the moral qualifications and
                                       knowledge of the law required for admission to practice law
                                       in this state in the first instance.

                                       A lawyer convicted of a serious crime is presumed to be
                                       disqualified for reinstatement, but this is rebuttable by clear
                                       and convincing evidence.

                                       Arizona Rules of the Supreme Court 65

                                       The lawyer requesting reinstatement shall have the burden of
                                       demonstrating by clear and convincing evidence the lawyer's
                                       rehabilitation, compliance with all applicable discipline
                                       orders and rules, fitness to practice, and competence.

      Arkansas       No, unless        Procedures of the Arkansas SuQreme Court Regulating
                     disbarment was    Professional Conduct
                     a result of a
                        .       .
                     serious cnme or   No attorney who has been disbarred shall be readmitted
                     conduct           except upon application made to the State Board of Law
                     reflecting        Examiners in accordance with the Rules Governing
                     adversely on      Admission To The Bar, or any successor rules, and the
                     individual's      approval of the Arkansas Supreme Court.
                     honesty or
                     trustworthiness

                     Can seek
                     reinstatement
                     after 5 years

      California     No                California Rules of Procedure (Ch. 3, Rule 5.440)

                     Can seek          Petitioners for reinstatement must:
                     reinstatement     - Pay all discipline costs and monetary sanctions
                     after 5 years     - Reimburse any Client Security Fund payments
                                       - Pass the Attorneys' Examination within three years prior to
                                       the filing of the petition for reinstatement.
                                       - pass a professional responsibility examination within one
                                       year prior to filing the petition;
                                       - establish their rehabilitation; and
                                       - establish oresent moral qualifications for reinstatement.


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   Colorado       No               Colorado Rules of Professional Conduct Rule 242.39

                  Can seek         To petition for readmission, the lawyer must have satisfied
                  reinstatement    the supreme cou1t's bar examination and MPRE
                  after 8 years    requirements within the preceding eighteen months.

                                    The petitioner must prove by clear and convincing evidence
                                    that the petitioner:
                                    (A) Has been rehabilitated, as measured by considerations
                                    including the circumstances and seriousness of the original
                                    misconduct, conduct since being disbarred or suspended,
                                    remorse and acceptance of responsibility, how much time
                                    has elapsed, restitution for any financial injury, and evidence
                                   that the petitioner has changed in ways that reduce the
                                    Iikelihood of future 111 isconduct;
                                   (B) Has complied with all applicable disciplinary orders and
                                   with all provisions of Chapter 20, including the Colorado
                                   Rules of Professional Conduct; and
                                   (C) Is fit to practice law, as measured by the petitioner's
                                   satisfaction of the following eligibility requirements for the
                                   practice of law, as applicable:
                                   (i) Honesty and candor with clients, lawyers, comts,
                                   regulatory authorities, and others;
                                   (ii) The ability to reason logically, recall complex factual
                                   information, and accurately analyze legal problems;
                                   (iii) The ability to use a high degree of organization and
                                   clarity in communicating with clients, lawyers, judicial
                                   officers, and others;
                                   (iv) The ability to use good judgment on behalf of clients
                                  and in conducting professional business;
                                  (v) The ability to act with respect for and in accordance with
                                  the law;
                                  (vi) The ability to exhibit regard for the rights and welfare of
                                  others;
                                  (vii) The ability to comply with the Colorado Rules of
                                  Professional Conduct; state, local, and federal laws;
                                  regulations, statutes, and rules; and orders of tribunals;
                                  (viii) The ability to act diligently and reliably in fulfilling
                                  obligations to clients, lawyers, courts, and others;
                                  (ix) The ability to be honest and use good judgment in
                                  personal financial dealings and on behalf of clients and
                                  others; and
                                  (x) The ability to comply with deadlines and time
                                  constraints.




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      Connecticut    No                   Connecticut Rule of Su12erior Court 2-53
                                          Connecticut Practice Book, Sec. 2-53
                     Can seek
                     reinstatement        In the case of misappropriation, full restitution must be made
                     after 5 years, but   before reinstatement can be considered. Petitioner must pass
                     12 years for         the MPRE, have completed any criminal sentence, and any
                     misappropriation     other disciplinary conditions imposed.

      Delaware       No                   Delaware Lawyers' Rules of Disci12linary Procedure, Rule
                                          22
                     Can seek
                     reinstatement        The petitioner shall have the burden of demonstrating, by
                     after 5 years        clear and convincing evidence:
                                          (I) the petitioner's professional rehabilitation, including
                                          substantial rehabilitation from any drug or alcohol problem
                                          from which the petitioner had suffered;
                                          (2) the petitioner's compliance with all applicable
                                          disciplinary orders and other rules, including conditions of
                                          restitution;
                                          (3) the petiti"oner's fitness to practice;
                                          (4) the petitioner's overall competence and cunent
                                          awareness of recent developments in the law;
                                          (5) that the petitioner has not engaged in any other
                                          professional misconduct in any jurisdiction since suspension
                                          or disbarment;
                                          (6) that the petitioner sincerely recognizes the wrongfulness
                                          and seriousness of any misconduct upon which the
                                          suspension or disbarment was predicated;
                                          (7) that the petitioner has the requisite honesty and
                                          professional integrity to resume the practice of law; and
                                          (8) that the petitioner's resumption of the practice of law will
                                          not be detrimental to the administration of justice.

                                          The Court may attach any conditions it deems appropriate to
                                          a reinstatement order, including but not limited to, restitution
                                          to former clients or third pa1ties, the successful completion
                                          of the bar examination administered by the Board of Bar
                                          Examiners, or a period of probation with such terms and
                                          conditions as the Court deems appropriate.
      District of    No                   Rules Governing DC Bar/Rule XI Disci12linary Proceedings,
      Columbia                            Section 16
                     Can seek
                     reinstatement        An attorney seeking reinstatement shall have the burden of
                     after 5 years        proof to establish by clear and convincing evidence:




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                                       (a)That the attorney has the moral qualifications,
                                      competency, and learning in law required for readmission;
                                      and
                                       (b) That the resumption of the practice of law by the
                                      attorney will not be detrimental to the integrity and standing
                                      of the Bar, or to the administration of justice, or subversive
                                      to the public interest.

                                       If the attorney is found fit to resume the practice of law, the
                                       Court may condition reinstatement on the making of partial
                                      or complete restitution to persons harmed by the misconduct
                                      which led to the suspension or disbarment, or upon the
                                      payment of all or part of the costs of the reinstatement
                                      proceedings, or both. The reinstatement may also be
                                      conditioned upon the furnishing of evidence, in a form
                                      determined by the Court, of the attorney's successful
                                      completion of an examination for reinstatement subsequent
                                      to the date of suspension or disbarment. The Court may
                                      impose such other conditions on reinstatement as it deems
                                      appropriate.

   Florida        No                  Florida Bar Rules of Disci12line
                                      Rule 3-7.I0(n)
                  Can seek
                  reinstatement       A former member who has been disbarred may be admitted
                  after 5 years, or   again only upon full compliance with the rules and
                  longer if           regulations governing admission to the bar, and payment of
                  designated in       all restitution and disciplinary costs.
                  disbarment order

   Georgia        No                  Georgia Bar Rules Governing Admission, Part A, Section I 0

                  Can seek             An applicant who is seeking reinstatement to the State Bar of
                  reinstatement       Georgia pursuant to Bar Rule 1-501 (b) shall file a fitness
                  after 5 years       application after completing the requirements contained in
                                      that Bar Rule and shall not be required to take the bar
                                      examination. An applicant who has been terminated by the
                                      State Bar
                                      pursuant to Bar Rule 1-S0I(c) is required to comply with the
                                      provisions of that Bar Rule and is required to take and pass
                                      the bar examination before being readmitted.




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      Hawaii          No              Hawaii Rules of the Sugreme Court 2.17
                                      Hawaii Disciplinary Rule 30
                      Can seek
                      reinstatement   To be reinstated, a disbarred attorney must show proof of the
                      after 5 years   following by clear and convincing evidence: rehabilitation,
                      (as of          fitness to practice law, competence and compliance with all
                      6/14/2022)      applicable disciplinary or disability orders and rules, and
                                      compliance with any other requirements imposed by the
                                      supreme court, which may include the successful completion
                                      of requirements for passing the bar examination.

                                      No suspended or disbarred attorney shall be eligible for
                                      reinstatement except upon a showing that he or she has
                                      reimbursed both the Board for all costs ordered including
                                      those incurred under RSCH 2.20, if any, and the Lawyers'
                                      Fund for Client Protection for monies paid out on account of
                                      the attorney's conduct, together with interest at the Hawai'i
                                      statutory judgment rate.

      Idaho          No               Idaho Bar Commission Rule 506

                     Can seek         A disbarred lav-,yer seeking reinstatement shall have the
                     reinstatement    burden of overcoming the rebuttable presumption of
                     after 5 years    "unfitness to practice law."

      Illinois       No               Illinois Supreme Court Rule 767

                     Can seek         A hearing panel considering reinstatement of a disbarred
                     reinstatement    attorney shall consider the following factors, and such other
                     after 5 years    factors as the panel deems appropriate, in determining the
                                      petitioner's rehabilitation, present good character and current
                                      knowledge of the law:
                                      ( 1) the nature of the misconduct for which the petitioner was
                                      disciplined;
                                      (2) the maturity and experience of the petitioner at the time
                                      discipline was imposed;
                                      (3) whether the petitioner recognizes the nature and
                                      seriousness of the misconduct;
                                      (4) when applicable, whether petitioner has made restitution;
                                      (5) the petitioner's conduct since discipline was imposed;
                                      and
                                      (6) the petitioner's candor and fo1thrightness in presenting
                                      evidence in support of the petition.




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   Indiana        Yes             Indiana Admission Bar & Disci12line Rules (Section 23, Par.
                                  3(a))

                                  One of the following types of discipline may be imposed
                                  upon any attorney found to have committed professional
                                  misconduct: (I) permanent disbarment from the practice
                                  of law; (2) suspension from the practice of law without
                                  automatic reinstatement; (3) suspension from the practice of
                                  law for a fixed period of time, not to exceed 180 days, with
                                  provision for automatic reinstatement after the expiration of
                                  the fixed period, upon any conditions as the Supreme Court
                                  may specify in the order of suspension; (4) a public
                                  reprimand; (5) a private reprimand; or (6) a private
                                  administrative admonition.

   Iowa           No              Iowa Rule 34.25 Procedure on application for reinstatement

                  Can seek         To be reinstated, a revoked attorney must:
                  reinstatement    a. File the attorney's character and fitness application with
                  after 5 years    the National Conference of Bar Examiners (NCBE) and pay
                                   the NCBE's application fee.
                                   b. Pay an administrative fee of $525 to the Iowa Board of
                                   Law Examiners.
                                   c. Include satisfactory proof that the applicant is of good
                                   moral character and is in all respects worthy of readmission
                                  to the bar. The applicant must provide a detailed affidavit
                                  describing the applicant's personal, educational, and work
                                  history since the date of revocation. The application must be
                                  accompanied by the recommendation of at least three
                                  reputable attorneys currently practicing law in the judicial
                                  district in which the applicant then lives and has lived at
                                  least one year prior to filing the application. If the applicant
                                  does not reside in the district in which the applicant lived at
                                  the time of the revocation, the applicant must also file a
                                  recommendation from three reputable attorneys currently
                                  practicing law in the district where the applicant resided at
                                  the time of revocation.
                                  d. Include satisfactory proof that the applicant, at the time of
                                  the application, has paid all fees required by the provisions
                                  of chapters 39, 41, and 42 of the Iowa Court Rules.
                                  e. Include satisfactory proof that the Client Security Trust
                                  Fund has been repaid in full, or that the Client Security
                                  Commission has approved a repayment plan, for all client
                                  security claim payments paid from the Client Security Trust
                                  Fund under Iowa Court Rule 39.9 based on the applicant's
                                  conduct.

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                                     f. Include satisfactory proof that the applicant, at the time of
                                     the application, has paid all costs assessed against the
                                     applicant under rule 36.24.

                                     The supreme court in its discretion may place conditions on
                                     readmission, including, but not limited to, passing the Iowa
                                     bar examination. If the supreme court does not require the
                                     applicant to pass the bar examination, it will impose a
                                     requirement that the applicant must report up to 100 hours of
                                     continuing legal education. The applicant must post a scaled
                                     score of at least 80 on the Multistate Professional
                                     Responsibility Exam (MPRE) as a condition of readmission.
                                     The MPRE score must be from a test taken no longer than
                                     three years prior to the date of filing of the application for
                                     readmission.


      Kansas         No               Kansas Rule Relating to the Disci12line of Attornexs 322
                                     The petitioner has the burden of proof to establish that the
                     Can seek        petitioner is fit to practice law and that the following factors
                     reinstatement   weigh in favor of reinstatement.
                     after 5 years   (A) the petitioner's current moral fitness;
                                      (B) the petitioner's consciousness of the wrongful nature of
                                     the petitioner's misconduct and the disrepute the misconduct
                                     brought the profession;
                                     (C) the seriousness of the misconduct leading to disbarment
                                     or suspension does not preclude reinstatement;
                                     (D) the petitioner's conduct since the Supreme Comt
                                     imposed discipline;
                                     (E) the petitioner's present ability to practice law;
                                     (F) the petitioner's compliance with the Supreme Court's
                                     orders;
                                     (G) the petitioner has not engaged in the unauthorized
                                     practice of law;
                                     (H) the petitioner has received adequate treatment or
                                     rehabilitation for any substance abuse, infirmity, or problem;
                                     and
                                     (I) the petitioner has resolved or attempted to resolve any
                                     other initial complaint, report, or docketed complaint against
                                     the petitioner.

                                     If the Supreme Court grants a petition for reinstatement, it
                                     may order the attorney to comply with any condition or
                                     limitation on the attorney's practice. The comt may also
                                     order that the attorney's practice be supervised for a period
                                     of time.


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   Kentucky       Yes                 Kentucky Rules of the Supreme Court 3.380
                                      Upon findings of a violation of these rules, discipline may be
                                      administered by way of public reprimand, suspension from
                                      practice for a definite time, all of which may be with or
                                     without such conditions as the Court may impose, or
                                      permanent disbarment.
   Louisiana      Yes (by            Louisiana Rules for Lawyer Disciplinary Enforcement
                  discretion of the 10.A.1
                  Court)             Disbarment by the court. In any order or judgment of the
                                     court in which a lawyer is disbarred, the court retains the
                                     discretion to permanently disbar the lawyer and permanently
                                     prohibit any such lawyer from being readmitted to the
                                     practice of law.
   Maine          No                 Maine Bar Rule 29
                                     Criteria for Reinstatement. A petitioner may be reinstated
                  Can seek           only if the petitioner meets each of the following criteria:
                  reinstatement      (I) the petitioner has fully complied with the terms and
                  after 5 years,     conditions of all prior disciplinary orders issued in Maine or
                  unless otherwise in any other jurisdiction except to the extent they are abated
                  provided in        under Rule 30, unless such suspension, disbarment, or
                  disbarment         discipline is solely the result of reciprocal action resulting
                  Order              from disciplinary action taken by Maine authorities;
                                     (2) the petitioner has not engaged or attempted to engage in
                                     the unauthorized practice of law during the period of
                                    suspension or disbarment;
                                     (3) if the petitioner was suffering under a physical or
                                     mental disability or infirmity at the time of suspension or
                                    disbarment, including alcohol or other drug abuse, the
                                    disability or infirmity has been removed. Where alcohol or
                                    other drug abuse was a causative factor in the petitioner's
                                    misconduct, the petitioner shall not be reinstated unless:
                                           (A) the petitioner has pursued appropriate
                                    rehabilitative treatment;
                                           (B) the petitioner has abstained from the use of
                                    alcohol or other drugs for at least one year; and
                                           (C) the petitioner is likely to continue to abstain from
                                    alcohol or other drugs;
                                    (4) the petitioner recognizes the wrongfulness and
                                    seriousness of the misconduct for which the petitioner was
                                    suspended or disbarred;
                                    (5) the petitioner has not engaged in any other professional
                                    misconduct since suspension or disbarment;
                                    (6) notwithstanding the conduct for which the petitioner
                                    was disciplined, the petitioner has the requisite honesty and
                                    integrity to practice law;



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                                     (7) the petitioner has met the CLE requirements of Rule 5
                                     for each year the attorney has been suspended or disbarred,
                                     but need not complete more than 24 hours of approved credit
                                     hours for that entire period of absence from practice,
                                    provided that (i) no more than one half of the credit hours
                                    are earned through self study; (ii) at least two credit hours
                                    are primarily concerned with the issues of ethics or
                                    professionalism; and (iii) at least two credit hours are
                                    primarily concerned with issues of recognition and
                                    avoidance of harassment and discriminatory communication
                                    or conduct related to the practice of law; and
                                    (8) In addition to all of the requirements in this provision,
                                    the attorney shall comply with Rule 4(a) and (b), and remit
                                    to the Board an arrearage registration payment equal to the
                                    total registration fee that the attorney would have been
                                    obligated to pay the Board under Rule 4(a) and (b) had the
                                    attorney remained actively registered to practice in Maine.

                                    The Court may impose conditions on a petitioner's
                                    reinstatement that are reasonably related to the grounds for
                                    the petitioner's original suspension or disbarment, or to
                                    evidence presented at the hearing regarding the petitioner's
                                    failure to meet the criteria for reinstatement. Passing the bar
                                    examination and the character and fitness examination shall
                                    be conditions to reinstatement following disbarment. The
                                    conditions may include, but are not limited to any of the
                                    following: (l) limitation upon practice to one area of law or
                                    through association with an experienced supervising lawyer;
                                    (2) participation in continuing legal education courses; (3)
                                    monitoring of the petitioners practice for compliance with
                                    trust account rules, account procedures, or office
                                    management procedures; (4) abstention from the use of
                                    drugs or alcohol; (5) active participation in an alcohol or
                                    drug rehabilitation program; (6) active participation in
                                    mental health treatment; or (7) monitoring of the petitioners
                                    compliance with these conditions and any other orders.

      Maryland       No             Maryland Rule of Disciplinary Procedure 19-752

                     No minimum     In determining whether to grant a petition for reinstatement,
                     period-        the Court of Appeals shall consider the nature and
                     whatever       circumstances of the attorney's conduct that led to the
                     timeframe is   disciplinary or remedial order and the attorney's (A)
                     indicated in   subsequent conduct, (B) current character, and (C) current
                     disbarment     qualifications and competence to practice law.
                     Order

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                                   The Court may order reinstatement if the attorney meets
                                   each of the following criteria or presents sufficient reasons
                                   why reinstatement should be ordered in the absence of
                                   satisfaction of one or more of those criteria:
                                   (A) the attorney has complied in all respects with the
                                   provisions of Rule 19-741 or, if applicable, 19-743 and with
                                   the terms and conditions of prior disciplinary or remedial
                                  orders;
                                  (B) the attorney has not engaged in or attempted or offered
                                  to engage in the unauthorized practice of la~, during the
                                  period of disbarment, suspension, or inactive status;
                                  (C) if the attorney was transferred to disability inactive
                                  status, the incapacity or infirmity, including alcohol or drug
                                  abuse, no longer exists and is not likely to recur in the
                                  future;
                                  (D) if the attorney was disbarred or suspended, the petitioner
                                  recognizes the wrongfulness and seriousness of the
                                  professional misconduct for which discipline was imposed;
                                  (E) the attorney has not engaged in any professional
                                  misconduct or, other than minor traffic or municipal
                                  infractions, any unlawful activity since the imposition of
                                 discipline;
                                 (F) the attorney currently has the requisite honesty and
                                  integrity to practice law;
                                 (G) the attorney has kept informed about recent
                                 developments in the law and is competent to practice law;
                                 and
                                 (H) the attorney has complied with all financial obligations
                                 required by these Rules or by court order, including (i)
                                 reimbursement of all amounts due to the attorney's former
                                 clients, (ii) payment of restitution which, by court order, is
                                 due to the attorney's former clients or any other person, (iii)
                                 reimbursement of the Client Protection Fund for all claims
                                 that arose out of the attorney's practice of law and
                                 satisfaction of all judgments arising out of such claims, and
                                 (iv) payment of all costs assessed by court order or otherwise
                                 required by law.

                                 An order that reinstates an attorney may include, as a
                                 condition precedent to reinstatement or as a condition of
                                 probation after reinstatement that the attorney:

                                 (I) take the oath of attorneys required by Code, Business
                                 Occupations and Professions Article, § I 0-212;
                                 (2) pass the Uniform Bar Examination;



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                                          (3) successfully complete the Maryland Law Component
                                          required for admission to the Maryland Bar;
                                          (4) take the Multistate Professional Responsibility
                                          Examination and earn a score that meets or exceeds the
                                         passing score in Maryland established by the Board of Law
                                          Examiners;
                                         (5) attend a bar review course approved by Bar Counsel and
                                         submit to Bar Counsel satisfactory evidence of attendance;
                                         (6) submit to Bar Counsel evidence of successful completion
                                         of a professional ethics course at an accredited law school;
                                         (7) engage an attorney satisfactory to Bar Counsel to
                                         monitor the attorney's legal practice for a period stated in the
                                         order of reinstatement;
                                         (8) limit the nature or extent of the attorney's future practice
                                         of law in the manner set forth in the order of reinstatement;
                                         (9) participate in a program tailored to individual
                                         circumstances that provides the attorney with law office
                                         management assistance, attorney assistance or counseling,
                                         treatment for substance or gambling abuse, or psychological
                                         counseling;
                                         (10) demonstrate, by a report of a health care professional or
                                         other evidence, that the attorney is mentally and physically
                                         competent to resume the practice of law;
                                         (11) issue an apology to one or more persons; or
                                         (12) take any other corrective action that the Court deems
                                         appropriate.

      Massachusetts   No                 Supreme Judicial Court Rule 4:01

                      Can seek            A petitioner for reinstatement shall have the burden of
                      reinstatement      demonstrating that he or she has the moral qualifications,
                      after 8 years,     competency and learning in law required for admission to
                      unless court       practice law in this Commonwealth, and that his or her
                      orders otherwise   resumption of the practice of law will not be detrimental to
                                         the integrity and standing of the bar, the administration of
                                         justice, or to the public interest.

      Michigan        No                 MCR 9.119 described in this FAO
                                         Rule 9.123 / Rule 9.124
                      Can seek
                      reinstatement      Lawyers who have been disbarred and are seeking
                      after 5 years      reinstatement must establish by clear and convincing
                                         evidence that:
                                         (I) they desire in good faith to be restored to the privilege of
                                         practicing law in Michigan;


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                                   (2) the term of the suspension ordered has elapsed or 5 years
                                   have elapsed since their disbarment or resignation;
                                   (3) they have not practiced or attempted to practice law
                                   contrary to the requirement of their suspension or
                                   disbarment;
                                   (4) they have complied fully with the order of discipline;
                                   (5) their conduct since the order of discipline has been
                                   exemplary and above reproach;
                                   (6) they have a proper understanding of and attitude toward
                                   the standards that are imposed on members of the bar and
                                   will conduct themselves in conformity with those standards;
                                  (7) taking into account all of the past conduct, including the
                                   nature of the misconduct which led to the revocation or
                                  suspension, they nevertheless can safely be recommended to
                                  the public, the courts, and the legal profession as a person fit
                                  to be consulted by others and to represent them and
                                  otherwise act in matters of trust and confidence, and in
                                  general to aid in the administration of justice as a member of
                                  the bar and as an officer of the comt;
                                  (8) they are in compliance with the requirements of subrule
                                  (C), if applicable; and
                                  (9) they have reimbursed the client security fund of the State
                                  Bar of Michigan or has agreed to an arrangement satisfactory
                                  to the fund to reimburse the fund for any money paid from
                                  the fund as a result of his or her conduct. Failure to fully
                                  reimburse as agreed is ground for vacating an order of
                                  reinstatement.

                                  An attorney who is disbarred must be rece1tified by the
                                  Board of Law Examiners before the attorney may be
                                  reinstated to the practice of law.

                                  A reinstatement order may grant reinstatement subject to
                                  conditions that are relevant to the established misconduct or
                                  otherwise necessary to insure the integrity of the profession,
                                  to protect the public, and to serve the interests of justice.
   Minnesota      No              Rule 18

                  No set          Unless specifically waived by this Court, no lawyer shall be
                  timeframe for   reinstated to the practice of law following the lawyer's
                  seeking         disbarment until the lawyer shall have satisfied (1) the
                  reinstatement   requirements imposed under the rules for Continuing Legal
                                  Education on members of the bar as a condition to a change
                                  from a restricted to an active status and (2) any subrogation
                                  claim against the lawyer by the Client Security Board.



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                                      Minnesota standards for reinstatement are laid out in the case
                                      of In re Anderley 696 N.W.2d 380 (2005). An applicant
                                      must have "undergone a moral change," plus these five
                                      criteria are considered: 1) recognition that the previous
                                      conduct was wrong, 2) the length of time since the
                                      misconduct and disbarment; 3) the seriousness of the
                                      original misconduct; 4) the attorney's physical or mental
                                      illness or pressures that are susceptible to correction, and 5)
                                      the attorney's intellectual competency to practice law.

      Mississippi    No, but felony   Rules of Discipline (12(e))
                     conviction may
                     result in        A disbarred attorney seeing reinstatement shall be required
                     permanent        to take and pass the complete Bar examination administered
                     disbarment       by the Mississippi Board of Bar Admissions and achieve the
                                      score required for admission of new attorneys to the Bar and
                     Can seek         the Multi-State Professional Responsibility Exam with the
                     reinstatement    score required for admission of new attorneys to the Bar.
                     after 5 years
                                      Petitioners must also show that they have made full amends
                                      and restitution in connection with their prior misconduct,
                                      give specific reasons justifying reinstatement, and discuss in
                                      detail their rehabilitation and attainment of the requisite
                                      moral character and legal learning to be reinstated to the
                                      Privilege of oracticinfl law.
      Missouri       No               Rule 5.28

                     Can seek         Petitioners for reinstatement are required to show that :
                     reinstatement    (1) The cause for suspension or disbarment has abated;
                     after 5 years    (2) All persons injured as a result of the conduct that resulted
                                      in the loss of the privilege to practice law have received
                                      restitution, their claims have been discharged by operation of
                                      law, or the injured persons have been notified at least 10
                                      days but not more than 90 days in advance of the filing of
                                      the petition for reinstatement;
                                      (3) All special conditions for reinstatement required by this
                                      Court at the time the privilege to practice law was lost have
                                      been accomplished; and
                                      (4) The person has taken within the two years immediately
                                      preceding filing of the petition the multistate professional
                                      responsibility examination and scored a grade at least equal
                                      to that established by the board of lav,1 examiners as passing
                                      at the time the examination was taken.
                                      (5) The person has taken the bar examination prescribed by
                                      Rule 8.08 and has attained a passing score within one year
                                      prior to the date of filing the petition.


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                                   The person must establish, by clear and convincing
                                   evidence, that the person is of good moral character, is fit to
                                   practice law, and the best interest of the public will be served
                                   by reinstatement of the person's license to practice law.
                                   Factors to consider in determining whether the person has
                                   met this burden include the following:
                                   (I) The person's acceptance of responsibility for wrongdoing
                                   with sincerity and honesty and a lack of malice toward those
                                   who brought evidence against the person;
                                   (2) The extent of the person's rehabilitation, as demonstrated
                                   by good current reputation for character and moral standing
                                   in the community;
                                   (3) The nature and severity of the misconduct leading to
                                   discipline;
                                  (4) The person's conduct since discipline, including strict
                                   compliance with the specific conditions of any disciplinary,
                                  judicial, administrative, or other order, where applicable;
                                  (5) The time elapsed since discipline;
                                  (6) Other instances of dishonesty, criminal behavior,
                                  professional discipline, unauthorized practice of law,
                                  academic and employment misconduct, financial
                                  irresponsibility, or involvement in or neglect of legal and
                                  professional matters;
                                  (7) The cumulative effect of all misconduct;
                                  (8) The person's current competency and qualifications to
                                  practice law;
                                  (9) Restitution;
                                  (10) Candor in the discipline and reinstatement processes;
                                  and
                                  (11) Positive social contributions since the misconduct.

  Montana         No              Rules for Lawyer Disciplina1y Enforcement (Rule 29)

                  Can seek        The petitioner shall have the burden of demonstrating by
                  reinstatement   clear and convincing evidence that they meet the following
                  after 5 years   criteria or, if not, why they should nevertheless be reinstated:
                                  (1) The lawyer has fully complied with the terms of all prior
                                  disciplinary orders; (2) The lawyer has not engaged nor
                                  attempted to engage in the unauthorized practice of law; (3)
                                  If the lawyer was suffering under a physical or mental
                                  disability or infirmity at the time of suspension, including
                                  alcohol or other drug abuse, the disability or infirmity has
                                  been removed, and where alcohol or other drug abuse was a
                                  causative factor in the lawyer's misconduct, the lawyer: (a)
                                  has pursued appropriate rehabilitative treatment; and (b) has

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                                      abstained from the use of alcohol or other drugs for at least
                                      one year, and is likely to continue to abstain from alcohol or
                                      other drugs; (4) The lawyer recognizes the wrongfulness and
                                      seriousness of the misconduct; (5) The lawyer has not
                                      engaged in any other professional misconduct since
                                      suspension; (6) The lawyer has the requisite honesty and
                                      integrity to practice law; and (7) The lawyer has kept
                                      informed about recent developments in the law and is
                                      competent to practice.

      Nebraska        No              Rule 3-310
                                      All applications for reinstatement from an order of
                      Can seek        disbarment shall include a character and fitness evaluation
                      reinstatement   pursuant to Neb. Ct. R. § 3-803(F). Upon completion of the
                      after 5 years   character and fitness evaluation, the Commission shall make
                                      a recommendation to the Supreme Court concerning the
                                      member's character and fitness to practice law.


      Nevada          Yes             Rule 102
                                      Misconduct is grounds for "irrevocable disbarment" by the
                                      supreme court.
      New Hampshire   Yes             N.H. R. Sup. Ct. 37

                      Can seek        The petition shall be under oath and shall: (A) specify with
                      reinstatement   particularity the manner in which the petitioner has fully
                      after 7 years   complied with all of the terms and conditions set forth in all
                                      prior disciplinary orders; (B) certify, if the attorney was
                                      disbarred in New Hampshire as a result of having been
                                      disbarred in another jurisdiction, that they have been
                                      readmitted to practice law in the other jurisdiction prior to
                                      applying for readmission in New Hampshire; (C) certify that
                                      the petitioner has taken the New Hampshire Bar
                                      Examination within one year of the filing of the petition and
                                      has received a passing grade as established by the Board of
                                      Bar Examiners; and (D) certify that the petitioner has taken
                                      the Multistate Professional Responsibility Examination after
                                      entry of the order of disbarment, and has received a passing
                                      grade as established by the Board of Bar Exam.

                                      The petitioner shall bear the burden of demonstrating by
                                      clear and convincing evidence that they have the competence
                                      and learning in the law required for admission to practice
                                      law in this State and that the resumption of the practice of
                                      law will be neither detrimental to the integrity and standing
                                      of the bar or the administration of justice nor subversive to

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                                    the public interest. The petitioner shall also bear the burden
                                    of demonstrating by clear and convincing evidence that they
                                    have good moral character and fitness.

   New Jersey       Yes             Rule 1:20 (15A(a)(l))
                                    An- attorney who is disbarred shall have his or her name
                                    permanently stricken from the roll of attorneys.

   New Mexico       Yes             Rule 17-214
                                    A person who has been disbarred may not apply for
                                    reinstatement.

   New York         No              Comt Rules 1240. I 6&808.16
                                    Lawyers seeking reinstatements must show by clear and
                    Can seek        convincing evidence, that: they have complied with the order
                    reinstatement   of disbarment, suspension or the order removing the
                    after 7 years   respondent from the roll of attorneys; they have has
                                    complied with the rules of the court; they have the requisite
                                    character and fitness to practice law; and it would be in the
                                    public interest to reinstate them to the practice of law.

   No1th Carolina   No              27NCAC ChaQter IB- Seciton.0100
                                    .0129 reinstatement
                    Can seek
                    reinstatement   The petitioner will have the burden of proving by clear,
                    after 5 years   cogent, and convincing evidence that
                                    - the petitioner has reformed and presently possesses the
                                     moral qualifications required for admission to practice law in
                                    this state taking into account the gravity of the misconduct
                                    which resulted in the order of disbarment;
                                    - permitting the petitioner to resume the practice of law
                                    within the state will not be detrimental to the integrity and
                                    standing of the bar, to the administration of justice, or to the
                                    public interest, taking into account the gravity of the
                                    misconduct which resulted in the order of disbarment;
                                    - the petitioner's citizenship has been restored if the
                                    petitioner has been convicted of or sentenced for the
                                    commission of a felony;
                                    - the petitioner has complied with Rule .0128 of this
                                    subchapter;
                                    - the petitioner has complied with all applicable orders of the
                                    commission and the council;
                                    - the petitioner has complied with the orders and judgments
                                    of any court relating to the matters resulting in the
                                    disbarment;


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                                    - the petitioner has not engaged in the unauthorized practice
                                    of law during the period of disbarment;
                                    - the petitioner has not engaged in any conduct during the
                                    period of disbarment constituting grounds for discipline
                                    under G.S. 84-28(b);
                                    - the petitioner understands the current Rules of Professional
                                    Conduct. Participation in continuing legal education
                                    programs in ethics and professional responsibility for each of
                                    the three years preceding the petition date may be considered
                                    on the issue of the petitioner's understanding of the Rules of
                                    Professional Conduct;
                                    - the petitioner has reimbursed the Client Security Fund of
                                    the North Carolina State Bar for all sums, including costs
                                    other than overhead expenses, disbursed by the Client
                                    Security Fund as a result of the petitioner's misconduct.
                                    - the petitioner has reimbursed all sums which the
                                    Disciplinary Hearing Commission found in the order of
                                    disbarment were misappropriated by the petitioner and
                                    which have not been reimbursed by the Client Security
                                    Fund;
                                    - the petitioner paid all dues, Client Security Fund
                                    assessments, and late fees owed to the North Carolina State
                                    Bar as well as all attendee fees and late penalties due and
                                    owing to the Board of Continuing Legal Education at the
                                    time of disbarment.
                                    - if a trustee was appointed by the court to protect the
                                    interests of the petitioner's clients, the petitioner has
                                    reimbursed the State Bar all sums expended by the State Bar
                                    to compensate the trustee and to reimburse the trustee for
                                    any expenses of the trusteeship;
                                    - the petitioner has properly reconciled all trust or fiduciary
                                    accounts, and all entrusted funds of which the petitioner took
                                    receipt have been disbursed to the beneficial owner(s) of the
                                    funds or the petitioner has taken all necessary steps to
                                    escheat the funds.

                                    If less than seven years have elapsed between the effective
                                    date of the disbarment and the filing date of the petition for
                                    reinstatement, the petitioner will also have the burden of
                                    proving by clear, cogent, and convincing evidence that the
                                    petitioner has the competency and learning in the law
                                    required to practice law in this state.




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                                  Factors which may be considered in deciding the issue of
                                  competency include
                                  (i) experience in the practice of law;
                                  (ii) areas of expertise;
                                  (iii) certification of expertise;
                                  (iv) participation in continuing legal education programs in
                                  each of the three years immediately preceding the petition
                                  date;
                                  (v) certification by three lawyers who are familiar with the
                                  petitioner's present knowledge of the law that the petitioner
                                  is competent to engage in the practice of law.

                                  Attainment of a passing score on a regularly scheduled
                                  written Uniform Bar Examination prepared by the National
                                  Conference of Bar Examiners and successful completion of
                                  the State-Specific Component prescribed by the North
                                  Carolina Board of Law Examiners, no more than nine
                                  months before filing the petition, and taken voluntarily by
                                  the petitioner, shall be conclusive evidence on the issue of
                                  the petitioner's competence to practice law.

                                  If the petition is filed seven years or more after the effective
                                  date of disbarment, reinstatement will be conditioned upon:

                                  (A) attainment of a passing score, within nine months
                                  following an order conditionally granting the petition, on a
                                  regularly-scheduled Uniform Bar Examination prepared by
                                  the National Conference of Bar Examiners;
                                  (B) attainment of a passing score, within nine months
                                  following an order conditionally granting the petition, on a
                                  regularly-scheduled Multistate Professional Responsibility
                                  Examination administered by the National Conference of
                                  Bar Examiners; and
                                  (C) successful completion, within nine months following an
                                  order conditionally granting the petition, of the State-
                                  Specific Component prescribed by the No1th Carolina Board
                                  of Law Examiners.

   North Dakota   No              Court Rule 4.5

                  Can seek        Reinstatement must be conditioned upon the cettification by
                  reinstatement   the bar examiners of the successful ~ompletion, after the
                  after 5 years   order for reinstatement of an examination for admission to
                                  practice.




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                                      The petitioner has the burden of demonstrating the
                                      petitioner's qualifications for reinstatement or readmission.

                                       Factors that may be considered include evidence of the
                                      following:

                                      l .The petitioner's fitness and competence to practice law;
                                     2.The petitioner has fully complied with the terms and
                                     conditions of all applicable disciplinary orders and rules;
                                     3.The petitioner has not engaged or attempted to engage in
                                     the unauthorized practice of law during the period of
                                     suspension or disbarment;
                                     4.Where alcohol or drug abuse was a causative factor in the
                                     lawyer's misconduct, the petitioner must show that the
                                     petitioner bas been successfully rehabilitated or is pursuing
                                     appropriate rehabilitative treatment;
                                     5.The petitioner recognizes the wrongfulness and
                                     seriousness of the misconduct for which the petitioner was
                                     suspended or disbarred;
                                     6.The petitioner has not engaged in any other professional
                                     misconduct since suspension or disbarment; or
                                     ?.Notwithstanding the conduct for which the petitioner was
                                     disciplined, the petitioner has the requisite honesty and
                                     integrity to practice law.

      Ohio           Yes             Rule V. l2(b)
                                     A person who is disbarred, who has resigned with
                                     discipline pending, or, who has retired from the practice of
                                     law on or after September 1, 2007 shall not be readmitted to
                                     the practice of law in Ohio.
     Oklahoma        No              Oklahoma Rules Governing Disci12lina1:x Procedure (Rule
                                     ill
                     Can seek
                     reinstatement    An applicant for reinstatement must establish affirmatively
                     after 5 years   that, if readmitted, the applicant's conduct will conform to
                                     the high standards required of a member of the Bai·. The
                                     severity of the original offense and the circumstances
                                     smTOunding it shall be considered in evaluating an
                                     application for reinstatement. The burden of proof, by clear
                                     and convincing evidence, in all such reinstatement
                                     proceedings shall be on the applicant. An applicant seeking
                                     such reinstatement will be required to present stronger proof
                                     of qualifications than one seeking admission for the first
                                     time and must be sufficient to overcome the Supreme
                                     Court's former judgment adverse to the applicant. If
                                     applicable, restitution, or the lack thereof, by the applicant to
                                     an injured party will be taken into consideration.

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                                    Specific findings shall be made upon each of the following:
                                    (a) Whether or not the applicant possesses the good moral
                                    character which would entitle him to be admitted to the
                                    Oklahoma Bar Association;
                                   (b) Whether or not the applicant has engaged in any
                                   unauthorized practice of law during the period of suspension,
                                   disbarment or resignation;
                                   (c) Whether or not the applicant possesses the competency
                                   and learning in the law required for admission to practice
                                   law in the State of Oklahoma, except that any applicant who
                                   has been disbarred shall be required to take and successfully
                                   pass the regular examination given by the Board of Bar
                                   Examiners of the Oklahoma Bar Association. Provided,
                                   however, before the applicant shall be required to take and
                                   pass the bar examination, they shall have a reasonable
                                   opportunity to show by clear and convincing evidence that,
                                   notwithstanding their long absence from the practice of law,
                                   they have continued to study and kept themselves info1med
                                   as to current developments in the law sufficient to maintain
                                   his competency.
   Oregon         Yes              Bar Rule 6.1 (e)
                                   An attorney disbarred as a result of a disciplinary proceeding
                  Can seek         commenced by formal complaint before January 1, 1996,
                  reinstatement    may not apply for reinstatement until five years has elapsed
                  after 5 years    from the effective date of his or her disbarment. An attorney
                                  disba1Ted as a result of a disciplinary proceeding commenced
                                   by a formal complaint after December 31, 1995, shall never
                                  be eligible to apply and shall not be considered for
                                  admission under ORS 9.220 or reinstatement under Title 8 of
                                  these rules.
   Pennsylvania   No              Pennsylvania Rules of Disci12linary Enforcement (218)
                                  A disbarred attorney seeking reinstatement shall have the
                  Can seek        burden of demonstrating by clear and convincing evidence
                  reinstatement   that such person has the moral qualifications, competency
                  after 5 years   and learning in law required for admission to practice law in
                                  this Commonwealth and that the resumption of the practice
                                  of law within the Commonwealth by such person will be
                                  neither detrimental to the integrity and standing of the bar or
                                  the administration of justice nor subversive of the public
                                  interest.

   Rhode Island   No              Reinstatement rule here.

                                  An attorney seeking reinstatement shall have the burden of
                                  demonstrating by clear and convincing evidence that they

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                       Can seek        have the moral qualifications, competency and learning in
                       reinstatement   law required for admission to practice law in this State and
                       after 5 years   that their resumption of the practice of law within the State
                                       will be neither detrimental to the integrity and standing of
                                       the Bar or the administration of justice nor subversive of the
                                       public interest.

      South Carolina   No              As governed by Rule 33, found here.

                       Can seek        A lawyer may be reinstated or readmitted only if the lawyer
                       reinstatement   meets each of the following criteria:
                       after 5 years
                                       (1) The lawyer has fully complied with the terms and
                                       conditions of all prior disciplinary orders.
                                       (2) The lawyer has not engaged nor attempted to engage in
                                       the unauthorized practice of law during the period of
                                       suspension or disbarment.
                                       (3) If the lawyer was suffering under a physical or mental
                                       infirmity at the time of suspension or disbarment, including
                                       alcohol or other drug abuse, the infirmity has been removed.
                                       Where alcohol or other drug abuse was a causative factor in
                                       the lawyer's misconduct, the lawyer shall not be reinstated
                                       unless:
                                       (A) the lawyer has pursued appropriate rehabilitative
                                       treatment;
                                       (B) the lawyer has abstained from the use of alcohol or other
                                       drugs for at least 1 year or the period of suspension,
                                       whichever is shorter; and
                                       (C) the lawyer is likely to continue to abstain from alcohol
                                       or other drugs.
                                       (4) The lawyer recognizes the wrongfulness and seriousness
                                       of the misconduct for which the lawyer was suspended or
                                       disbarred.
                                       (5) The lawyer has not engaged in any other professional
                                       misconduct since suspension or disbarment.
                                       (6) Notwithstanding the conduct for which the lawyer was
                                       disciplined, the lawyer has the requisite honesty and
                                       integrity to practice law.
                                       (7) The lawyer has kept informed about recent developments
                                       in the law and is competent to practice.
                                       (8) If disbarred, the lawyer has successfully completed the
                                       examinations and training required by Rule 402(c)(5), (6)
                                       and (8), SCACR.
                                       (9) If suspended for a definite period of 9 months or more,
                                       the lawyer has, during the period of suspension, completed
                                       and reoorted continuing legal education and legal


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                                   ethics/professional responsibility credits equal to those
                                   required of regular members of the South Carolina Bar and
                                   is currently in good standing with the Commission on
                                  Continuing Legal Education and Specialization. The lawyer
                                  must also complete the Legal Ethics and Practice Program
                                  Ethics School within the year prior to filing the petition for
                                  reinstatement. The lawyer shall attach to the petition for
                                  reinstatement a statement from the Commission on
                                  Continuing Legal Education and Specialization confirming
                                  compliance with this requirement.
                                  ( 10) If suspended or disbarred for conduct resulting in a
                                  criminal conviction and sentence, the lawyer has
                                  successfully completed all conditions of the sentence,
                                  including, but not limited to, any period of probation or
                                  parole.
                                  ( 11) The lawyer has paid necessary expenses and
                                  compensation approved by the Supreme Court to the
                                  receiver or the attorney appointed to assist the receiver
                                  pursuant to Rule 31, RLDE, to protect the interests of the
                                  lawyer's clients for necessary expenses, or to the Lawyers'
                                  Fund for Client Protection if the Fund has paid the appointed
                                  attorney under Rule 31 (g), RLDE.
                                  (12) The lawyer has reimbursed the Lawyers' Fund for
                                  Client Protection for all claims paid on the lawyer's behalf or
                                  has entered into a payment plan with the Commission on
                                  Lawyer Conduct for reimbursement to the Lawyers' Fund for
                                  Client Protection for all claims paid on the lawyer's behalf.

                                 The Supreme Court may impose any conditions that are
                                 reasonably related to the grounds for the lawyer's original
                                 suspension or disbarment, or to evidence presented at the
                                 hearing regarding the lawyer's failure to meet the criteria for
                                 reinstatement. The conditions may include, but are not
                                 limited to, any of the following: limitation upon practice (to
                                 ony area of law or through association with an experienced
                                 supervising lawyer); participation in continuing legal
                                 education courses; monitoring of the lawyer's practice (for
                                 compliance with trnst account rules, accounting procedures,
                                 or office management procedures); abstention from the use
                                 of drugs or alcohol; active participation in Alcoholics
                                 Anonymous or other alcohol or drug rehabilitation program;
                                 monitoring of the lav,ryer's compliance with any other orders
                                 (such as abstinence from alcohol or drugs, or participation in
                                 alcohol or drug rehabilitation programs).

   South Dakota   No             Statute 16-19-83

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                                      Statute 16-19-84
                     Can seek         Statute 16-19-86
                     reinstatement    Statute 16-19-87
                     after 5 years
                                      The petitioner shall have the burden of demonstrating by
                                      clear and convincing evidence that the petitioner has the
                                      moral qualifications, competency, and learning in law
                                      required for admission to practice law in this state and that
                                      petitioner's resumption of the practice of law within the state
                                      will not be detrimental to the integrity and standing of the
                                      bar, the administration of justice, or subversive of the public
                                      interest.

                                     If the Supreme Court finds the petitioner fit to resume the
                                     practice of law, the Supreme Court shall enter a judgment of
                                     reinstatement. The judgment may make reinstatement
                                     conditional upon:
                                     (I) The payment of all or part of the expenses of the
                                     reinstatement and all prior proceedings; and
                                     (2) The making of partial or complete restitution to parties
                                     harmed by the misconduct which led to petitioner's
                                     suspension or disbarment; and
                                     (3) The furnishing of proof of competency as may be
                                     required in the discretion of the Supreme Court, which proof
                                     may include certification by the bar examiners of petitioner's
                                     successful completion of examinations for admission to
                                     practice after the suspension or disbarment

      Tennessee      Yes             Individuals disbarred on or after July 1, 2020, are not
                                     eligible for reinstatement.

                                     On January 23, 2020, the Tennessee Supreme Court
                                     amended its rules on discipline of lawyers to state that
                                     attorneys who are "disbarred on or after July 1, 2020, are not
                                     eligible for reinstatement."

                                     Release where information found is here.

                                     Rule 9 (Disci12lina1:y Enforcement) (Sec. 12.1) states:
                                     Disbarment terminates the individual's status as an attornev.
     Texas           No              Discipline for professional conduct outlined here.
                                     Rule 11.02, petition for reinstatement here.
                     Can seek
                     reinstatement   The disbarred lawyer must prove that reinstatement is in the
                     after 5 years   best interest of the public and the profession, as well as the



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                                   ends of justice. The disbarred lawyer must still pass the Bar
                                   Exam administered by the Texas Board of Law Examiners.

                                  In determining the petitioner's fitness for reinstatement, in
                                  addition to any other relevant matters, the trial court may
                                  consider:

                                   A. Evidence concerning the nature and degree of
                                   Professional Misconduct for which the petitioner was
                                  disbarred or resigned and the circumstances attending the
                                  offenses.
                                  B. The petitioner's understanding of the serious nature of the
                                  acts for which he or she was disbarred or resigned.
                                  C. The petitioner's conduct during the Disciplinary
                                  Proceeding and Disciplinary Action.
                                  D. The profit to the petitioner and the hardship to others.
                                  E. The petitioner's attitude toward the administration of
                                  justice and the practice of law.
                                  F. The petitioner's good works and other accomplishments.
                                  G. Any other evidence relevant to the issues of the
                                  petitioner's fitness to practice law and the likelihood that the
                                  petitioner will not engage in further misconduct.

   Utah           No              Info from Bar Association here.
                                  UCJA Rule 14-707
                  Can seek
                  reinstatement    UCJA Rule 14-717
                  after 5 years
                                  An Applicant for readmission to the Bar after disbarment or
                                  resignation with discipline pending shall satisfy all
                                  requirements of this article, including Rules 14-703 (,MPRE
                                  exam, record of ethical conduct) 14-707(c) (5-year wait for
                                  reinstatement), 14-708 (character & fitness) and 14-716
                                  (license fees/oath), and shall satisfy all other requirements
                                  imposed by Rule 14-525, the OPC, and Utah courts.
                                  A Disbarred Attorney Applicant has the burden of proving
                                  rehabilitation by clear and convincing evidence. To prove
                                  rehabilitation, the Applicant must demonstrate and provide
                                  evidence of the following:


                                  - strict compliance with all disciplinary and judicial orders;
                                  - full restitution of funds or property where applicable;
                                  - a lack of malice toward those who instituted the original
                                  proceeding against the Applicant;

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                                     - unimpeachable character and moral standing in the
                                     community;
                                     - acceptance of responsibility for the conduct leading to the
                                     discipline;
                                     - a desire and intent to conduct one's self in an exemplary
                                     fashion in the future;
                                     - treatment for and current control of any substance abuse
                                     problem and/or psychological condition, if such were factors
                                     contributing to the disbarment or resignation; and
                                     - positive action showing rehabilitation by such things as a
                                     person's occupation or community or civic service.

      Vermont        No              Vermont Admin. Order 9, (Sec. 26(A) and (D))
                                     An attorney seeking reinstatement shall have the burden of
                     Can seek        demonstrating by clear and convincing evidence that they
                     reinstatement   have the moral qualifications, competency, and learning
                     after 5 years   required for admission to practice law in the state, -and the
                                     resumption of the practice of law will be neither detrimental
                                     to the integrity and standing of the bar or the administration
                                     of justice nor subversive of the public interest and that the
                                     attorney has been rehabilitated.

      Virginia       No              Virginia Sugreme Court Rules, Pait VI, Sec. IV, Par. 13 (I 3-
                                     25)
                     Can seek
                     reinstatement   The Petitioner must show:
                     after 5 years   - Within five years prior to the filing of the petition,
                                     Petitioner has attended 60 hours of continuing legal
                                     education, of which at least ten hours shall be in the area of
                                     legal ethics or professionalism;
                                     - The Petitioner has taken the Multistate Professional
                                     Responsibility Examination and received a scaled score of
                                     85 or higher;
                                     - The Petitioner has reimbursed all costs previously assessed
                                     and all sums paid by the Bar as a result of Petitioner's
                                     Misconduct.

                                     Petitioner must fmther prove by clear and convincing
                                     evidence that Petitioner is a person of honest demeanor and
                                     good moral character and possesses the requisite fitness to
                                     practice law.

                                     The following factors are taken into consideration:
                                     i. The severity of the Petitioner's Misconduct, including, but
                                     not limited to, the nature and circumstances of the
                                     Misconduct;

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                                    ii. The Petitioner's character, maturity and experience at the
                                   time of his or her Revocation;
                                   iii. The time elapsed since the Petitioner's Revocation;
                                   iv. Restitution to the clients and/or the Bar;
                                   v. The Petitioner's activities since Revocation, including, but
                                   not limited to, his or her conduct and attitude during that
                                   period of time;
                                   vi. The Petitioner's present reputation and standing in the
                                   community;
                                   vii. The Petitioner's familiarity with the Virginia Rules of
                                   Professional Conduct and his or her current proficiency in
                                   the law;
                                  viii. The sufficiency of the punishment undergone by the
                                  Petitioner;
                                   ix. The Petitioner's sincerity, frankness and truthfulness in
                                  presenting and discussing factors relating to his or her
                                  Revocation and Reinstatement; and
                                  x. The impact upon public confidence in the administration
                                  of
                                  justice if the Petitioner's License is restored.

                                   Upon approval of a petition by this Couii, the Petitioner
                                   shall meet the following requirements prior to and as a
                                   condition of his or her Reinstatement:
                                   a) Pay to the Bar any Costs assessed in connection with the
                                   Reinstatement Proceeding;
                                   b) Take and pass the written portion of the Virginia State
                                  Bar examination;
                                  c) If required by the Board, obtain and maintain a
                                  professional liability insurance policy issued by a company
                                  authorized to write such insurance in Virginia at the cost of
                                  the Petitioner in an amount and for such term as set by the
                                  Board; and
                                  d) If required by the Board, obtain and maintain a blanket
                                  fidelity bond or dishonesty insurance policy issued by a
                                  company authorized to write such bonds or insurance in
                                  Virginia at the Petitioner's cost in an amount and for such
                                  term as set by the Board.

   Washington     No              Washington State Court Rules APR 25.1. is here.

                  Can seek        All Petitions for Reinstatement after Disbarment shall be
                  reinstatement   referred for hearing before the character and Fitness Board.
                  after 5 years   The provisions of APR 20 through 24.3 shall apply to
                                  petitions for reinstatement unless otherwise provided for in
                                  APR 25 through 25.6.


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       West Virginia   No              WVA DisciQlinarx Conduct Rule (3.33)
                                         A person seeking reinstatement must recite in a petition the
                       Can seek        cause of the disbarment and what the person has done to
                       reinstatement   satisfy requirements as to rehabilitation, restitution,
                       after 5 years   conditions or other acts incident thereto, by reason of which
                                       the person should be reinstated as a member of the state bar
                                       with their license to practice law restored.

       Wisconsin       No              Wisconsin Disciplinary Rule 22.2-.34

                       Can seek        A petition for reinstatement shall show all of the following:
                       reinstatement   (a) The petitioner desires to have the petitioner's license
                       after 5 years   reinstated.
                                       (b) The petitioner has not practiced law during the period of
                                       suspension or revocation.
                                       (c) The petitioner has complied fully with the terms of the
                                       order of suspension or revocation and will continue to
                                       comply with them until the petitioner's license is reinstated.
                                       (d) The petitioner has maintained competence and learning
                                       m
                                       the law by attendance at identified educational activities.
                                       (e) The petitioner's conduct since the suspension or
                                       revocation
                                       has been exemplary and above reproach.
                                       (f) The petitioner has a proper understanding of and attitude
                                       toward the standards that are imposed upon members of the
                                       bar and will act in conformity with the standards.
                                       (g) The petitioner can safely be recommended to the legal
                                       profession, the courts and the public as a person fit to be
                                       consulted by others and to represent them and otherwise act
                                       in matters of trust and confidence and in general to aid in the
                                       administration of justice as a member of the bar and as an
                                       officer of the courts.
                                       (h) The petitioner has fully complied with the requirements
                                       set
                                       forth in SCR 22.26.
                                       U) The petitioner's proposed use of the license if reinstated.
                                       (k) A full description of all of the petitioner's business
                                       activities during the period of suspension or revocation.
                                       (m) The petitioner has made restitution to or settled all
                                       claims of persons injured or banned by petitiom::r's
                                       misconduct, including reimbursement to the Wisconsin
                                       lawyers' fund for client protection for all payments made
                                       from that fund, or, if not, the petitioner's explanation of the
                                       failure or inability to do so.

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                                          The petitioner has the burden of demonstrating. by clear,
                                          satisfactory, and convincing evidence, all of the following:
                                          (I) Thal they have the moral character to practice law in
                                          Wisconsin.
                                          (2) That their resumption or the practice of la\v ,viii not be
                                          detrimental to the administration of justice or subversive of
                                          the pub] ic interest.
                                          (3) That their representations in the petition, including the
                                          representations required by SCR 22.29(4)(a) to (m) and
                                          22.29(5), are substantiated.
                                          (4) That they have complied fully with the terms of the order
                                          of suspension or revocation and with the requirements or
                                          SCR 22.26.

                                          Here is information about reinstatement.

   \Vyoming           No                  Wyoming Rules of Disciplinary Procedure are here.

                      Can seek            Reinstatement Ruic 22.
                      reinstatement
                      after 5 years       The attorney seeking reinstatement must prove by clear and
                                          convincing evidence that the attorney has been rehabilitated,
                                          has complied \Vith all applicable disciplinary orders and with
                                          all provisions of these rules, has not engaged in the
                                      i   unauthorized practice of' law. and is fit to practice law.
                  I                   I         ·----•--•-.-•~--




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